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                       EXHIBIT A
 Jan 16 2018 10:43AM Marsha11-Cnty-Circ-Clerl< 3048453948       page 2
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CASE 17-C-248                 MARSHALL                                   PAGE OOCl

BROOKE COUNTY COMMISSION               VS. PURDUE PHARMA L.P.


LINE     DATE     ACTION

   1 12/13/17      COMPLAINT & CCIS FILED; ISSUED TO SEC OF STATE FOR SERVICE ON
   2               29 DEFS, TO 1 DEF VIA CERT '.>ffiIL; TO 4 DEFS VIA SHERIFF OF
   3               OTHER COUNTIES; HOLD SERVICE ON 4 DEFS; SUMMONS ISSUED W/
   4               COMPLAINTS
   5 12/21/17       1 SUMMONS AND COMPLAINT ACCEP.B'i SECRETARY OF STATE: ON 12/19/17
   6               FOR:  EDITA P. MILAN,M.D.; AMERISOURCEBERGEN DRUG CORP.;
   7                     CVS INDIANA, L.L.C.; RITE AID OF MARYLAND,INC.;
   8                     MCKESSON CO~P.;            WV.BOARD OF PHARMACY;
   9                     WAL-MART STORES EAT,LPi WATSON LABORATORIES, INC.;
  10                     CARDINAL HEALTH, INC.;        ACTAVIS, INC.;
  11                  ALLERGAN PLC;       JOHNSON & JOHNSON;  GOODWIN DRUG COMPANY.
  12   12/2:/17    RET.CERT.MAIL WV.30ARD OF PHARMACY ACCEPTED BY RONALD J KUS
  13   12/26/17    RET SERV ON EUGENIO MENEZ, MD---- SERVED 12/19/17
  14   12/28/17    PERSONAL SERVICE ON TRESSIE MONTENE DURRY, M.D. 12/20
  15   12/29/17    RETURN SERVICE FROM SEC'Y OF STATE,l SUMMONS, 1 COMPLAINT,
  16               DEF AC':'AVIS PHARMA, INC.
  17   12/29/17    RETURN SERV FROM SEC'Y OF STATE 1 SUMM 1 COMP FOR ACTAVIS,LLC
  18   12/29/17    RET SERV FROM SEC'Y OF STATE 1 SUM AND COMP FOR ENDO
  19               PHARMACEUTICALS, INC.
  20   12/29/17    RETURN SERV SEC'Y OF STATE, 1 SUMMONS Jl.ND COMPLAINT ON DEE"
  21               ENDO HEALTH SOLUTIONS, INC.
  22 12/29/17      RETURN SER FROM SEC'Y OF STATE, 1 SUMMONS AND COMPLAINT ON
  23               DEF PURDUE PHARMA, LP
  24 01/02/18      RET. CIVIL SUMMONS TO AMY LYNN BEAVER LAST ATTEMI? ON 12/26/17.
  25 01/03/18      RET. 1 SUMMONS .A.N'.:J COMPLAINT ACCEPT.BY SECRETARY OF STATE ON
  26               12/28/17 FOR DEFENDANTS: TEVA PHARMACEUTICALS USA, INC.;
  27               WATSON PHARMA, INC NOW ACTA.VIS PHARMA, INC.; ORTHO-MCNEIL-JANSSE
  28               N PHARMACEUTICALS INC.; WATS8N PHARMACEUTICALS, INC.; JANSSEN
  29               PHARMACEUTICA, INC.
  30   01/03/18    RETURN SUMMONS ON SCOTT JAMES FEATHERS, DOES NOT LIVE AT
  31               ADDRESS PROVIDED 1128 WASHI~3TON GARDEN CIRCLE, WASHINGTON
  32               WV   26181.
  33   12/29/17    LETTER FROM SEC OF ST- RETURNING SERVICE DUE TO INCOMPLETE
  34               ADDRESS- CALLED KENDRA @ FITZSIMMONS- WILL PROVIDE UPDATED
  35               ADDRESS
  36   01/04/18    NEW ADDRESS PROVIDED FOR SERVICE BY SEC OF STATE ON KROGER
  37               LIMITED PARTNERSHIP- ISSUED TO SEC OF STATE W/NEW CHECK
  38   01/10/18    RET. : SUMMONS AND COMPLAINT ACCEP.BY SECRETARY OF STATE ON
  39               01/08/2018 FOR DEF: JANSSEN PHARMACEUTICALS,INC.;   THE PURDUE
  40               FREDERICK CO., INC.; CEPHALO~, INC.; ACTAVISPLC MORRIS CORP.
  41               CENTER III; PURDUS PHARMA I~~.; ACCP.01/09/18 KROGER LIMITED
  42               PARTNERSHIP I I .
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CJF/klc: 12/1 3/17




                           IN THE CIRCUIT COURT OF
                        MARSHALL COUNTY, WESTVIRG~t:C 13 M-1!0: 39

BROOKE COUNTY COMMISSION,
HANCOCK COUNTY COMMISSION,
HARRISON COUNTY COMMISSION,
LEWTS COUNTY COMMISSION,
                                          Civil Action No: 17-C-    :J4t I'd
MARSHALL COUNTY COMMISSION,               Civil Action No. 17-C-     )L/9 -ff
OHIO COUNTY COMMISSION,
TYLER COUNTY COMMISSION, and
                                          Civil Action No. 17-C-    )60 +t
WETZEL COUNTY COMMISSION,

                     Plaintiffs,          Civil Action No. t 7-C-   2Gl     -rt
           vs.
                                          Civil Action No. 17-C-    ~5;}.   ff
PURDUE PHARMA L.P.; PURDUE
PHARMA INC.; THE PURDUE                   Civil Action No. t 7-C-   J.G3 ~
FREDERICK COMPANY, INC.; MARK
RADCLIFFE; MARK ROSS; PATTY               Civil Action No. t 7-C-   JS-t{    tf
CARNES; TEVA PHARMACEUTICALS
USA, INC.; CEPHALON, INC.; JANSSEN
PHARMACEUTICALS, JNC.; ORTHO-
                                          Civil Action No. 17-C-    d-65"     tf
MCNEIL-JANSSEN
PHARMACEUTICALS, lNC. n/k/a Janssen
Phannaceuticals, Inc.; JANSSEN
PHARMACEUTICA, INC. n/k/a Janssen
Phannaceuticals, Inc.; JOHNSON &
JOHNSON; ENDO HEALTH SOLUTIONS
INC.; ENDO PHARMACEUTICALS, INC.;
ALLERGAN pie; ACT AVIS pie; ACT AVIS,
INC.; ACT AVIS LLC; ACT AVIS PHARMA,
INC.; WATSON PHARMACEUTICALS,
INC.; WATSON PHARMA, INC.; WATSON
LABORATORIES, INC.; MCKESSON
CORPORATION; CARDINAL HEALTH,
INC. ; AMERISOURCEBERGEN DRUG
CORPORATION; RITE AID OF
MARYLAND, INC.; KROGER LIMITED
PARTNERSHIP Il; CVS INDIANA, L.L.C.;
WAL-MART STORES EAST, LP;
GOODWIN DRUG COMPANY; WEST
VIRGINlA BOARD OF PHARMACY;
DAVID POTTERS; EDITA P. MILAN,
M.D.; TRESSIE MONTENE DUFFY, M.D.;
EUGENIO ALDEA MENEZ, M.D.; SCOTT
JAMES FEATHERS, D.P.M.; and AMY
LYNN BEAVER, P.A.-C,

                     Defend ants.
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                                              COMPLAINT

     Plaintiffs,      BROOKE        COUNTY        COMMISSION,            HANCOCK         COUNTY

COMMISSION,              HARRISON        COUNTY         COMMISSION,           LEWIS      COUNTY

COMMISSION,              MARSHALL         COUNTY         COMMISSION,           OHIO      COUNTY

COMMISSION,             TYLER      COUNTY       COMMISSION,          and    WETZEL       COUNTY

COMMISSION (hereinafter collectively "Plaintiffs" or "the Plaintiff Counties") bring this civil

action to el iminate the hazard to publ ic health and safety and to abate the public nuisance caused

by the opioid epidem ic in their respective counties, and to recoup monies and costs they have

spent because of Defendants' false, deceptive and unlawful marketing and/or unlawful diversion

of prescription opioids. ln support of their Complaint, Plaintiffs state as follows:

                                         INTRODUCTION

          1.       This case is about one thing: corporate greed. Defendants put their desire for

profits above the rights and interests of the Counties and the health and weU-being of the citizens

of Brooke County, Hancock County, Harrison County, Lewis County, Marshal l Cow1ty, Ohio

County, Tyler County, and Wetzel County (hereinafter "the Counties").

          2.       Brooke County, Hancock County, Harrison County, Lewis County, Marshall

County, Ohjo County, Tyler County, and Wetzel County, like much of the United States, are in

the midst of an opioid epidemic that threatens and harms the well-being of its citizens. The

opioid epidemic has grown to such proportions that on October 26, 20 17, President Donald J.

Trump proclainled the abuse of prescription opioid drugs a National Public Health Emergency.

Notably, West Virginia was one of only two states mentioned by name in President Trump's

speech.




                                                  2
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        3.       The opioid epidemic was created as a direct and proximate result of the negligent

and reckless actions, conduct and omissions of Defendants and has caused the Counties to

expend exorbitant amounts of money to combat this crisis, as is described further below.

        4.       Defendants knew that opioids were effective treatments for short-term post-

surgjcaJ and trauma-related pain, and for paJliative (end-of-life) care. Yet they also knew- and

had known for years-that opioids were addictive and subject to abuse, particularly when used

long-term for chronic non-cancer pain (pain lasting three months or longer, hereinafter referred

to as "chronic pain"), and should not be used except as a last-resort.

        5.       Defendants further knew- and had known for years- that with prolonged use, the

effectiveness of opioids wanes, requiring increases in doses and markedly increasing the risk of

significant side effects and addiction.'· 2

        6.       Defendants also knew that contro lled studies of the safety and efficacy of opioids

were limited to short-term use (not longer than 90 days), and in managed settings (e.g. ,

hospitals), where the risk of addiction and other adverse outcomes was much less significant.

        7.       Indeed, the U.S. Food and Drug Administration ("FDA") has expressly

recognized that there have been no long-term studies demonstrating the safety and efficacy of

opioids for long-term use.3

        8.       Prescription opioids, which           include well-known brand-name drugs like

OxyContin and Percocet, and generics like oxycodone and hydrocodone, are narcotics. They are

1
 See, e.g., Russell K. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, I Progress in Pain
Res. & Mgmt. 247 (1994).
2
  The authoritative Diagnostic and Statistical Manual of Mental Disorders, (5th ed. 2013) ("DSM-V") classifies
addiction as a spectrum of "substance use disorders" that ranges from misuse and abuse of drugs to addiction.
Patients suffer negative consequences wherever they fall on the substance use disorder continuum. Throughout this
Complaint, "addiction" refers to this range of substance use disorders.
3
  Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physic ians
for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. I0, 2013).
                                                       3
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derived from or possess properties similar to opium and heroin, which is why they are regulated

as controlled substances.4 Like heroin, prescription opioids work by binding to receptors on the

spinal cord and in the brain, dampening the perception of pain. Opioids also can create a

euphoric high, which can make them addictive. At certain doses, opioids can slow the user's

breathing, causing respiratory depression and death.

         9.       In order to expand the market for opioids and realize blockbuster profits,

Defendants needed to create a sea of change in the medical and public perception that would

permit the use of opioids not just for acute and palliative care, but also for long periods of time to

treat more common aches and pains, like lower back pain, arthritis, and headaches.

         10.      Defendants, through a sophisticated and highly deceptive and unfair marketing

campaign that began in the late 1990s, deepened around 2006, and continues to the present, set

out to, and did, reverse the popular and medical understanding of opioids. Chronic opioid

therapy- the prescribing of opioids to treat chronic pain long-term- is now commonplace.

         l J.    To accomplish this reversal, Defendants spent hundreds of millions of dollars: (a)

developing and disseminating seemingly truthful scientific and educational materials and

advertising that misrepresented the risks, benefits, and superiority of opioids long-term use to



4
  Opioids are controlled substances. Controlled substances are categorized in five schedules, ranked in order of their
potential for abuse, with Schedule I being the highest. There is a hierarchy of restrictions on prescribing and
dispensing drugs based on their medicinal value, likelihood of addiction or abuse, and safety. Opioids generally had
been categorized as Schedule II or Schedule 111 drugs. Schedule II drugs have a high potential for abuse, have a
currently accepted medical use, and may lead to severe psychological or physical dependence. Schedule II drugs
may not be dispensed without an original copy of a manually signed prescription from a doctor, which may not be
refilled, and filled by a pharmacist who both must be licensed by their state and registered with the DEA. Opioids
that have been categorized as Schedule U drugs include morphine (Avinza, Embeda, Kadian, MS Contin), fentanyl
(Duragesic, Actiq, Fentora), methadone, oxycodone (OxyContin, Percocet, Percodan, Tylox), oxymorphone
(Opana), and hydromorphone (Dilaud.id, Palladone). Schedule lll drugs are deemed to have a lower potential for
abuse, but their abuse still may lead to moderate or low physical dependence or high psychological dependence.
Schedule 111 drugs may not be dispensed without a written or oral prescription, which may not be filled or refilled
more than six months after the date of the prescription or be refi lled more than five times. Some opioids had been
categorized as Schedule Ill drugs, including forms of hyd.rocodone and codeine combined with other drugs, like
acetaminophen. However, in October 20 13, all medications rhat contained hyd.rocodone were reclassified from
Schedule Ill to Schedule JI.
                                                          4
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treat chronic pain (b) deploying sales representatives who visited doctors and other prescribers

and delivered misleading messages about the use of opioids (c) recruiting prescribing physicians

as paid speakers as a means to secure those physicians' future "brand loyalty" and extend their

reach to all physicians; (d) funding, assisting, encouraging, and directing certain doctors, known

as "key opinion leaders" ("KOLs''), not only to deliver scripted talks, but also to draft misleading

studies, present continuing medical education programs ("CMEs") that were deceptive and

lacked balance, and serve on the boards and committees of professional societies and patient

advocacy groups that delivered messages and developed guidelines supporting chronic opioid

therapy; and (e) funding, assisting, directing, and encouraging seemingly neutral and credible

professional societies and patient advocacy groups (referred to hereinafter as "Front Groups")

that developed educational materials and treatment guidelines that were then distributed by

Defendants, which urged doctors to prescribe, and patients to use, opioids Jong-term to treat

chronic pain.

       12.      These efforts, executed, developed, supported, and directed by Defendants, were

designed not to present a fai r view of how and when opioids could be safely and effectively used,

but rather to convince doctors and patients that the benefits of using opioids to treat chronic pain

outweighed the risks and that opioids could be used safely by most patients. Defendants and the

third parties whom they recruited and supported, all profited handsomely through their

dissemination of the deceptive information. KOLs and Front Groups saw their stature in the

medical community elevated dramatically due to Defendants' funding, and Defendants saw an

equally dramatic rise in their revenues.

        13.     Working individually, with, and through these Front Groups and KOLs,

Defendants pioneered a new and far broader market for their potent and highly addictive drugs-

the chronic pain market. Defendants persuaded doctors and patients that what they had long
                                                 5
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understood- that opioids are addictive drugs and unsafe in most circumstances for long-term

use-- was untrue, and to the contrary, that the compassionate treatment of pain required opioids.

Ignoring the limitations and cautions in their own drugs' labels, Defendants: (a) overstated the

benefits of chronic opioid therapy, promised improvement in patients' function and quality of

life, and failed to disclose the lack of evidence supporting long-tenn use; (b) trivialized or

obscured their serious risks and adverse outcomes, including the risk of addjction, overdose, and

death; (c) overstated their superiority compared with other treatments, such as other non-opioid

analgesics, physical therapy. and other alternatives; and (d) mischaracterized the difficulty of

withdrawal from opioids and the prevalence of withdrawal symptoms. There was, and is, no

reliable scientific evidence to support Defendants' marketing claims, and there was, and is, a

wealth of scientific evidence that these claims are simply false. Defendants also deceptively and

unfairly marketed the drugs for indications and benefits that were outside of the drugs' labels and

not supported by substantial evidence.

       14.     Even Defendants' KOLs initially were very cautious about whether opioids were

appropriate to treat chronic pain. Some of these same KO Ls have since recanted their pro-opioid

marketing messages and acknowledged that Defendants' marketing went too far. Yet despite the

voices of renowned pain specialists, researchers, and physicians who have sounded the alarm on

the overprescribing of opioids to treat chronic pain, Defendants continue to disseminate their

misleading and unfair marketing claims to this day.

       15.     Defendants' efforts were wildly successful. The Uruted States is now awash in

opioids. Jn 2012, heaJth care providers wrote 259 million prescriptions for opioid painkillers-

enough to medicate every adult in America around the clock for a month. Twenty percent of all

doctors' visits in 2010 resulted in the prescription of an opioid, nearly double the rate in 2000.

Opioids--0nce a ruche drug- are now the most prescribed class of drugs-more than blood
                                                 6
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pressure, cholesterol, or anxiety drugs. While Americans represent only 4.6% of the world's

population, they conswne 80% of the opioids supplied around the world and 99% of the globaJ

hydrocodone supply. Together, opioids generated $8 billion in revenue for drug companies in

2012.

         16.    It was Defendants' marketing- and not any medical breakthrough-that

rationalized prescribing opioids for chronic pain and opened the floodgates of opioid use and

abuse. The result has been catastrophic.

         17.    According to the U.S. Centers for Disease Control and Prevention ("CDC"), the

nation has been swept up in an opioid-induced "publ ic health epidemic." 5 According to the

CDC, prescription opioid use contributed to 16,651 overdose deaths nationally in 2010; 16,917

in 2011; and 16,007 in 2012. One Defendant's own 2010 internal data shows that it knew that the

use of prescription opioids gave rise to 40% of drug-related emergency department visits in 2010

and 40% of drug poisoning deaths in 2008, and that the trend of opioid poisonings was

increasing from 1999-2008. For every death, more than 30 individuals are treated in emergency

rooms.

         18.    In West Virginia, the opioid crisis is the "epidemic of epidemics" and has affected

all families and communities of West Virginia regardless of economic status, age, race or gender.

         19.    West Virginia has one of the highest prescription opioid rates in the Country.

West Virginia also has the highest rate of deaths from drug overdoses of any state.

         20.    During the past several years, drug wholesalers, such as the Distributor

Defendants named herein, have flooded West Virgin ia with 780 mill ion hydrocodone and




5
  CDC, Examining the Growing Problems of Prescription Drug and Heroin Abuse (Apr. 29, 20 14),
http://www.cdc.gov/washington/testimony/20 14/t201 40429.htm (accessed May 30, 20 17).
                                                     7
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 oxycodone pills. With approximately l.84 million residents, this works out to an average of 433

 pain pills per resident of the state.

         21.     This volume alone is suspicious. But at the height of the pill shipments to West

 Virginia, there were other warning signs the prescription opioid epidemic was growing. During

 this time, drug wholesalers were shipping a declining number of 5 milligram oxycodone pills

 (the drug's lowest and most common dose), and at the same time, a dramatic increase in stronger

 doses. Between 2007 and 2012, the number of 30 milligram OxyContin tablets increased six-

 fold, the nwnber of 15 milligram OxyContin pills tripled and the number 10 milligram

 OxyContin doses nearly doubled.

         22.     During this period of time, three of the Distributor Defendants, McKesson

 Corporation, Cardinal Health, and AmerisourceBergen Corporation, made $17 billion dollars by

 send ing 523 million opioids pain killers to West Virginia between 2007 and 2012.6 These three

 distdbutors supplied more than half of all the opioids sold in West Virginia alone. Largely in part

 to the opioid market, Defendant McKesson has grown into the fifth largest corporation in

 America.

         23.     Additionally, over the past four years, the CEOs of Defendants McKesson,

 Cardinal Health, and AmerisourceBergen "collectively received salaries and other compensation

 of more than $450 million. "

         24.     While Defendants were reaping excessive profits and paying out astronomical

 bonuses during this time, approximately 1,728 West Virginians suffered fatal overdoses from

 opioids, including many residents and citizens from Brooke County, Hancock County, Harrison

 County, Lewis County, Marshall County, Ohio County, Tyler County, and Wetzel County.

 6
   Charleston Gazette-Mail, "Drug Firms poured 780 million painkillers into WV amid rise of overdoses",
 (December I61h, 20 t 6), accessed at http://www.wvgazettemail.com/news-health/20 I61217/drug-firms-poured-
 780m-painkillers-into-wv-amid-rise-of-overdoses.
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          25.    Fatal drug overdoses continue to rise in West Virginia and its overdose death rate

far outpaces any other state in the country. 7 In 2016, 818 West Virginians died of drug

overdoses, four times as many as died in 2001 and a 13 percent increase over 2015. 8 According

to the Centers for Disease Control and Prevention, West Virginia's overdose rate was about 41.5

overdoses per 100,000 in 2015. This was the highest rate in the country. 9 Between 2007 and

2012, Hydrocodone and oxycodone overdose deaths increased by 67 percent in West Virginia.

          26.    Apart from the devastating loss of human life, and the destruction of countless

families, this epidemic has had a profound economic effect on our local communities and

governments. As a result of this crisis, the Plaintiff Counties were caused to expend resources

through various agencies, including, but not limited to, increased costs for law enforcement fire

departments, paramedics, and first responders; criminal prosecutions; court proceedings; public

defender services; corrections and correctional facilities; probation and parole; public welfare

and service agencies; healthcare and medical services; drug abuse education and treatment; the

costs of Naloxone and its necessary training and requirements; youth development community

programs; and property damage.

          27.    The Plaintiff Counties' social services agencies are also becoming overwhelmed

by the problems resulting from the opioid epidemic.

          28.    Over the past several years, West Virginia has seen a nse in the number of

children in foster care. From 2012 - 2016, more than a thousand additional children were

introduced into the system, bringing the total to 5,182 - a 24% increase - according to the West


7
   U.S. News, "Overdose Deaths Continue to Rise in West Virginia" (March 7th, 2017),
https://www.usnews.com/news/best-statcs/west-v irgi n ia/articles/2 0 I 7-03-07Ioverdose-deaths-continue-to-rise-in-
west-virg in ia (accessed June 28th, 20 I7).

8
    Id.
9
    Id.
                                                         9
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 Virginia Department of Human Services. About 42 percent of these children were removed from

 their homes due to family drug abuse.

         29.      Opioid abuse has also triggered a resurgence in the use of heroin, imposing

 additional burdens on the Plaintiff Counti.e s and local agencies that address heroin use and

 addiction. According to the CDC, the percentage of heroin users who also use opioid pain

 relievers rose from 20.7% in 2002-2004 to 45.2% in 2011-2013. Heroin produces a very similar

 high to prescription opioids, but is often cheaper. While a single opioid pill may cost $10-$15 on

 the street, users can obtain a bag of heroin, with multiple highs, for the same price. It is hard to

 imagine the powerful pull that would cause a law-abiding, middle-aged person who started on

prescription opioids for a back injury to tum to buying, snorting, or injecting heroin, but that is

the dark side of opioid abuse and addiction.

         30.      Dr. Robert DuPont, former director of the National Institute on Drug Abuse,

 opines that opioids are more destructive than crack cocaine:

         [Opioid abuse] is building more slowly, but it's much larger. And the potentialO
         for death, in particular, [is] way beyond anything we saw then .... [F]or pain
         medicine, a one-day dose can be sold on the black market for $100. And a single
         dose can (be] lethal to a non-patient. There is no other medicine that
         has those characteristics. And if you think about that combination and the
         millions of people who are using these medicines, you get some idea of the
                                                                   10
         exposure of the society to the prescription drug problem.

         31.      Countless residents of the Counties suffer from chronic pain, which takes an

 enormous toll on their health, their lives, and their families. These residents deserve both

 appropriate care and the ability to make decisions based on accurate and complete information

 about treatment risks and benefits. But Defendants' deceptive and unfair marketing practices

 deprived residents of the Counties and their doctors of the ability to make informed medical

 10 Transcript, Use and Abuse of Prescription Painkillers, The Diane Rehm Show (Apr. 21 , 2011 ),
 http://thedianerehmshow.org/shows/2011-04-21 /use-and-abuse-prescription-painkillers/transcript (accessed May 30,
 2017).
                                                        10
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decisions and, instead, caused important, sometimes life-or-death decisions to be made based not

on science, but on hype. Defendants deprived patients, their doctors, and health care payors of

the chance to exercise informed judgment and subjected them to enormous costs and suffering.

       32.    Defendants' actions are not permitted or excused by the fact that their labels (with

the exception of Cephalon's labels for Fentora and Actiq) may have allowed, or djd not exclude,

the use of opioids for chronic non-cancer pain. The FDA's approval did not give Defendants

license to misrepresent the risks, benefits, or superiority of opioids. Indeed, what makes

Defendants' efforts particularly nefarious- and dangerous-is that, unlike other prescription

drugs marketed unJawfully in the past, opioids are highly addictive controlled substances.

Defendants deceptively and unfairly         engaged   a patient     base that- physically     and

psychologically-could not turn away from their drugs, many of whom were not helped by the

drugs or were profoundly damaged by them.

       33.    Nor is Defendants' causal role broken by the involvement of doctors. Defendants'

marketing efforts were both ubiquitous and highly persuasive; their deceptive messages tainted

virtually every source doctors could rely on for infonnation and prevented them from making

infonned treatment decisions. Defendants targeted not only pain specialists, but also primary

care physicians (PCPs), nurse practitioners, physician assistants, and other non-pain specialists

who were even less likely to be able to assess the companies' misleading statements. Defendants

were also able to callously manipulate what doctors wanted to believe- namely, that opioids

represented a means of relieving their patients' suffering and of practicing meclicine more

compassionately.




                                               11
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           34.      By 2014, nearly two million Americans were either abusing opioid medications or

 were dependent on opioids. 11 According to the CDC, opioids have created a "public health

 epidemic" as of2016. 12

           35.      Defendants' marketing campaign has been extremely harmful and has cost

 American lives - including lives of residents of the Counties. Deaths from prescription opioids

 have quadrupled since 1999. From 2000 to 2014 nearly 500,000 people died from such

 overdoses; seventy-eight Americans die every day from opioid overdoses. 13

           36.     It is estimated that, in 20 12, 2.1 million people in the United States suffered from

 substance use disorders related to prescription opioid pain relievers. 14

           37.      The National Institutes of Health ("NIH") not only recognizes the opioid abuse

 problem, but also identifies Defendants' "aggressive marketing" as a major cause: "Several

 factors are likely to have contributed to the severity of the current prescription drug abuse

 problem. They include drastic increases in the number of prescriptions written and dispensed,

 greater social acceptability for using medications for different purposes, and aggressive

 marketing by pharmaceutical companies." 15 As shown below, the "drastic increases in the

 number of prescriptions written and dispensed" and the "greater social acceptability for using



 11
    CDC, Injury Prevention & Control: Opioid Overdose, Prescription Opioids, Addiction and Overdose. Available at
 http://www.cdc.gov/drugoverdoselopioids/prescribed.html (accessed May 30, 2017).

 12
     CDC, F..xamining the Growing Problems of Prescription Drug and Heroin Abuse, (Apr. 29, 2014),
 http://www.cdc.gov/washington/testimony/2014/ts0140429.htm (accessed May 30, 2017).

 13
      CDC, Injury Prevention & Control: Opioid Overdose, Understanding the Epidemic.
 14 Substance Abuse and Mental Health Services Administration, Results from the 2012 National Survey on Drug

 Use and Health: Summ01y of National Findings, NSDUH Series H- 46, HHS Publication No. (SMA) 13-4795.
 Rockville, MD: Substance Abuse and Mental Health Services Administration, 2013 .

 is    America's Addiction to Opioids:             Heroin and         Prescription   Drug Abuse. Available at
 http://www.drugabuse.gov/about-n ida/legis lative-acti vities/testimony-to-      congress/2015/ameri cas-add iction-to-
 opioids-heroin-prescription-drug-abuse#_ ftn2 (accessed May 30, 2017) (emphasis added).

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medications for different purposes" are not really independent causative factors but are in fact the

direct result of "the aggressive marketing by pharmaceutical companies."

           38.      The rising numbers of persons addicted to opioids have led to a major increase in

issues such as drug abuse, diversion, 16 and crimes related to obtaining opioid medications.

           39.      According to the CDC, more than 12 million Americans age 12 or older have

used prescription painkillers without a prescription in 2010, and adolescents are abusing opioids

in alarming numbers.

           40.      The Plaintiff Counties have been severely and negatively impacted due to the

fraudulent misrepresentations and omissions by Defendants regarding the use and risk related to

opioids. In fact, upon informatjon and belief, Defendants have been and continue to be aware of

the rugh levels of diversion of their product.

           41.      Due to the conduct of Defendants, the commission of criminal acts have been

undertaken not only by individuals seeking to obtain opioids, but by physicians themselves. The

actions of Defendants have created an envirorunent where select physicians have sought to profit

at the expense of their patients who become addicted to opioid pain medications, often accepting

cash payments and ordering unnecessary medical tests, again at the expense of the Counties.

           42.      As a direct and foreseeable consequence of Defendants' wrongful conduct,

Plaintiffs have been required to expend large sums of money each year in their efforts to combat

the public nuisance created by Defendants' deceptive marketing campaign and their negligent

and reckless conduct relating to the marketing, promotion, distribution, and prescribing of

opioids. Plaintiffs have incurred and continue to incur costs related to opioid addiction and

abuse, including, but not Limited to, health care costs, criminal justice and victimization costs,



16
     The CDC defines using or obtaining opioids illegally as "diversion."
                                                           13
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 social costs, and lost productivity costs. Defendants' misrepresentations regarding the safety and

 efficacy oflong-term opioid use proximately caused injury to Plaintiffs and its residents.

        43.     At all times material herein, Defendants took steps to avoid detection of, and

fraudulently concealed, their conspiratorial behavior and their negligent and reckless conduct

 relating to their marketing, promotion, sale, distribution, and prescribing of opioid drugs.

        44.     Plaintiffs directly and foreseeably sustained all economic damages alleged herein.

Defendants' conduct has exacted a financial burden for which the Plaintiffs seeks relief.

Categories of past and continuing sustained damages include, without limitation: (l) costs for

providing medical care, additional therapeutic, and prescription drug purchases, and other

treatments for patients suffering from opioid-related addiction or disease, including overdoses

and deaths; (2) costs for providing treatment, counseling, and rehabilitation services; (3) costs for

proving treatment of infants born with opioid-related medical conditions; (4) costs associated

with law enforcement and public safety relating to the opioid epidemic; (5) and costs associated

with providing care fo r children whose parents suffer from opioid-related disability or

incapacitation. These damages have been suffered, and continue to be suffered directly, by

Plaintiffs.

        45.     Plaintiff also seeks the means to abate the epidemic created by Defendants'

wrongful and/or unlawful conduct. Plaintiff is authorized by law to abate any nuisance and

prosecute in any court of competent jurisdiction any person who creates, continues, contributes

to, or suffers such nuisance to exist and prevent injury and annoyance from such nuisance. W.

Va. Code§ 8-12-5.

        46.     Plaintiffs bring this action against five classes of Defendants all of whom have

caused and/or contributed to the occurrence of the opioid epidemic in the Counties:



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             a) "The Manufacturer Defendants" which consist of Defendants Purdue Pharma
                L.P.; Purdue Pharma Inc.; The Purdue Frederick Company, Inc.; Teva
                Pharmaceuticals USA. lnc.; Cephalon, fnc.; Janssen Pharmaceuticals, Lnc.;
                Johnson & Johnson; Ortho-McNei1-Jansscn Pharmaceuticals, Inc. n/k/a Janssen
                Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals,
                Inc.; Endo Health Solutions, Inc.; Endo Pharmaceuticals, Inc.; Allergan pie;
                Actavis pie; Actavis, Inc.; Actavis LLC; Actavis Pharma, lnc.; Watson
                Pharmaceuticals, Inc.; Watson Pharma, Inc.; and Watson Laboratories, Inc.
                (collectively hereinafter "the Manufacturer Defendants");

             b) "The Purdue Sales Representative Defendants" which consist of Defendants
                Mark Radcliffe, Mark Ross, and Patty Carnes (collectively hereinafter "the
                Purdue Sales Representative Defendants");

             c) "The Distributor Defe11da11ts" which consist of Defendants McKesson
                Corporation; Cardinal Health, lnc.; Amerisourcebergen Corporation; Rite Aid of
                Maryland, Inc.; Kroger Limited Partnership 11; CVS Indiana, L.L.C.; Wal-Mart
                Stores East, LP; and Goodwin Drug Company (collectively hereinafter "the
                Distributor Defendants");

             d) The West Virginia Board of Pharmacy (hereinafter "BOP") and its former
                Executive Director, David Potters (hereinafter "Potters"); and

             c) "The Doctor Defendants" which consist of Defendants Edita P. Milan, Tressie
                Montene Duffy, Eugenio Aldca Menez, Scott James Feathers, and Amy Lynn
                Beaver (collectively hereinafter "the Doctor Defendants").

       47.      The unlawful marketing, distribution, and sale of prescription opiates by the

Defendants named herein has created a serious public health crisis of opioid abuse, addiction,

morbidity and mortality and is a public nuisance.

       48.      Plaintiffs bring this action to hold Defendants accountable for their reckless

conduct and to take responsibility for the opioid epidemic that they have created.

       49.      Plaintiffs seek economic damages from Defendants as reimbursement for the

costs associated with past efforts to eliminate lhe hazards lo public health and safety.

       50.      Plaintiffs seek economic damages from Defendants to pay for the cost to

permanently eliminate the hazards to public health and safety and abate the temporary public

nuisance.

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           51.   Plaintiffs seek non-economic damages from Defendants as just compensation for

 annoyance, discomfort, and inconvenience caused by the public nuisance. Syl. Pt. 3, Taylor v.

 Culloden Pub. Serv. Dist., 21 4 W. Va. 639, 591 S.E.2d 197 (2003).

           52.   Plaintiffs seek punitive damages to deter Defendants and others from committing

 like offenses in the future. Hensley v. Erie Ins. Co. , 168 W. Va. 172, 183, 283 S.E.2d 227, 233

 (1981).

           53.   Plaintiffs continue to suffer harm from the negligent and/or reckless and/or

 unlawful actions by Defendants.

           54.   The continued tortious conduct by Defendants causes a repeated or continuous

 injury. The damages have not occurred all at once but have increased as time progresses. The tort

 is not completed nor have all the damages been incurred until the wrongdoing ceases. The

 wrongdoing has not ceased and the public nuisance remains unabated. Rhodes v. E. l. du Pont de

 Nemours & Co., 657 F. Supp. 2d 751, 760 (S.D.W. Va. 2009), afj'd in part, appeal dismissed in

part, 636 F.3d 88 (4th Cir. 2011).

           55.   Redress of the wrong to the entire community is left to its duly appointed

 representatives, the Plaintiffs herein. Restatement (Second) of Torts§ 821C (1979).

           56.   Plaintiffs seek compensatory and punitive damages from Defendants for the harm

 and damage inflicted upon them by the opioid epidemic and for Defendants' creation of a public

 nuisance.

                                            PARTIES

                                            Plaintiffs

           1.    Plaintiffs, Brooke County Commission, Hancock County Commission, Harrison

 County Commission, Lewis County Commission, Marshall County Commission, Ohio County

 Commission, Tyler County Commission, and Wetzel County Commission are public
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corporations which may sue and plead in their own name. W.Va. Code§ 7-1-l(a). Plaintiffs are

 "political subdivisions" and are neither an agency nor agent of the State of West Virginia. W. Va.

Code§ 29-12A-3(c) (1986]; W. Va. Code§ 14-2-3 (1 967]; Kucerav. City of Wheeling, 153 W.

Va. 531, 170 S.E.2d 217 (1969).

        2.     Plaintiffs have declared, inter alia, that the opioid epidemic has created a serious

public health and safety crisis, and is a public nuisance within their respective Counties.

Plaintiffs have also passed an Order declaring the opioid epidemic to be a public nuisance and

bring this civil action against Defendants seeking damages necessary to eliminate the hazard to

public health and safety and public nuisance, as well as abate, or cause to be abated, the hazard

to public health and safety and public nuisance, and to recover damages caused to them by the

opioid epidemic.

                                       P11rdue Defendants

        3.     Purdue Pharma L.P. is a limited partnership organized under the laws of Delaware

with its principal place of business in Stamford, Connecticut. Purdue Pharma L.P. is registered to

do business in West Virginia and its registered agent for service of process is Corporation

Service Company, 209 West Washington Street, Charleston, West Virginia 25302. Purdue

Pharma Inc. is a New York corporation with its principal place of busi ness in Stamford,

Connecticut. The Purdue Frederick Company, Inc. is a New York corporation with its principal

place of business in Stamford, Connecticut. Purdue Pharma L.P., Purdue Phanna Inc. and The

Purdue Frederick Company, Inc. are hereinafter collectively referred to as "Purdue."

        4.     Purdue is primarily engaged in the manufacture, promotion, sale, and distribution

of opioids nationally and in the Counties, including the followi ng:




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                  a) OxyContin (oxycodone hydrochloride extended release) is a Schedule 11
                     opioid agonist 17 tablet first approved in 1995 and indicated for the
                     "management of pain severe enough to require daily, around-the-clock, long-
                     term opioid treatment and for which alternative treatment options are
                     inadequate." Prior to April 2014, 18 OxyContin was indicated for the
                     "management of moderate to severe pain when a continuous, around-thc-
                     clock opioid analgesic is needed for an extended period of time."

                  b) MS Contin (morphine sulfate extended release) is a Schedule II opioid agonist
                     tablet first approved in l 987 and indicated for the "management of pain severe
                     enough to require daily, around-the-clock, long-term opioid treatment and for
                     which alternative treatment options are inadequate.'' Prior to April 2014, MS
                     Contin was indicated for the "management of moderate to severe pain when a
                     continuous, around-the-clock opioid analgesic is needed for an extended
                     period of time."

                  c) Dilaudid (bydromorpbone hydrochloride) is a Schedule 11 opioid agonist first
                     approved in 1984 (injection) and 1992 (oral solution and tablet) and indicated
                     for the "management of pain in patients where an opioid analgesic is
                     appropriate."

                  d) Dilaudid-HP (bydromorphone hydrochloride) is a Schedule II opioid agonist
                     injection first approved in 1984 and indicated for the "relief of moderate-to-
                     severe pain in opioid-tolerant patients who require larger than usual doses of
                     opioids to provide adequate pain relief."

                  e) Butrans (buprenorphine) is a Schedule III opioid partial agonist transdcrmal
                     patch first approved in 20 10 and indicated for the "management of pain severe
                     enough to require daily, around- the-clock, long-term opioid treatment and for
                     which alternative treatment options arc inadequate." Prior to April 2014,
                     Butrans was indicated for the "management of moderate to severe pain when a
                     continuous, around-the-clock opioid analgesic is needed for an extended
                     period of time. 1'

                  f) Hysingla ER (hydrocodonc bitrate) is a Schedule II opioid agonist tablet first
                     approved in 2014 and indicated for the management of pain severe enough to

17
   An opioid agonist is a drug that activates certain opioid receptors in the brain. An antagonist, by contrast, blocks
the receptor and can also be used in pain relief or to counter the effect of an opioid overdose.
18
   The labels for OxyContin and other long-acting opioids were amended in response to a 20 12 citizens' petition by
doctors. The changes were intended to clarify the existing obligation to ''make an individualized assessment of
patient needs. ' 1 The petitioners also successfully urged that the revised labels heighten the requirements for boxed
label warnings related to addiction, abuse, and misuse by changing "Monitor for signs of misuse, abuse, and
addiction" to ''[Drug name] exposes users to risks of addiction, abuse, and misuse, which can lead to overdose and
death." Letter trom Bob Rappaport, Dir. Ctr. for Drug Evaluations & Res., Labeling Supplement and PMR [Post-
Marketing Research) Required (Sept. I 0, 20 13 ), http://www.fda.gov/down loads/Drugs.iDrugSafety/
InfonnationbyDrugClass/UCM367697. pdf(accessed May 30, 2017).

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                         require daily, around-the-clock, long-term opioid treatment and for which
                         alternative treatment options are inadequate.

                     g) Targiniq ER (oxycodone hydrochloride and naloxone hydrochloride) is a
                        Schedule II combination product of oxycodone, an opioid agonist, and
                        naloxone, an opioid antagonist, fi rst approved in 2014 and indicated for the
                        management of pain severe enough to require daily, around- the-clock, long-
                        term opioid treatment and for which alternative treatment options are
                        inadequate.

            5.      OxyContin is Purdue's largest-selling opioid. Since 2009, Purdue's national annual

 sales of OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from

 2006 sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic

 drugs (i.e., painkillers).

            6.      In 2007, Purdue settled criminal and civil charges against it fo r misbranding

 OxyContin and agreed to pay the United States $635 million -                    at the time one of the largest

 settlements with a drug company for marketing misconduct. 19 Pursuant to its settlement, Purdue

 operated under a Corporate Integrity Agreement with the Office of Inspector General of the U.S.

 Department of Health and Human Services, which required the company, inter alia, to ensure

 that its marketing was fair and accurate, and to monitor and report on its compliance with the

 Agreement.

                                 Tile Purdue Sales Representative Defendants

           7.       Defendant Mark Radcliffe (hereinafter "Defendant Radcliffe") is a resident and

 citizen of West Virginia. At all times material herein, Defendant Radcliffe was a sales detail

person and/or district manager in West Virginia and/or a management employee for Defendant

 Purdue.




 19
      https://oig.hhs.gov/publications/docs/press/2007/SemiannualRelfall2007E.pdf (accessed May 30, 20 17).
                                                          19
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        8.        Upon informati on and belief, Mark Ross (hereinafter "Defendant Ross") is a

resident and citizen of West Virginia. At al l times material herein, Defendant Ross was a sales

detail person for Defendant Purdue.

        9.        Upon infonnation and belief, Patty Carnes (hereinafter ''Defendant Carnes") is a

resident and citizen of West Virginia. At all times material herein, Defendant Carnes was a sales

detail person for Defendant Purdue. Defendants Radcliffe, Ross and Carnes are hereinafter

collectively referred to as "the Purdue Sales Representative Defendants. 11

                                       Cephalon De{enda11ts

        10.      Defendant Teva Pharmaceuticals USA, lnc. ("Teva USA") is a Delaware

corporation with its principal place of business in North Whales, Pennsy lvania. Teva USA was

formerly registered to do business in West Virginia and its registered agent for service of process

was identified as Corporate Creations Network lnc., 5400-D Big Tyler Road, Charleston, West

Virginia      25313. Teva USA is a who!Jy owned subsidiary of Teva Pham1aceutical Industries,

Ltd. ("Teva Ltd."), an Israeli corporation.

        11.      Defendant Cephalon, lnc. is a Delaware corporation with its principal place of

business in Frazer, Pennsylvania. ln 20 11 , Teva Ltd. acquired Cephalon, Inc.

       12.       Teva USA and Cephalon, Inc. work together closely to market, manufacture,

distribute and sell Cephalon products in the United States. Teva USA conducts Teva Ltd.'s sales

and marketing activities fo r Cephalon in the United States and has done so since Teva Ltd.'s

October 20 11 acquisition of Cephalon. Teva USA holds out Actiq and Fentora as Teva products

to the public. Teva USA sells all former Cephalon branded produl;LS through its "specialty

medicines" division. The FDA approved prescribing information and medication guide, which is

distributed with Cephalon opioids marketed and sold in the Counties, discloses that the guide



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 was submitted by Teva USA, and directs physicians to contact Teva USA to report adverse

 events. Teva USA and Cephalon, Inc. are hereinafter collectively referred to as "Cephalon."

            13.     Cephalon has been in the business of manufacturing, selling, and distributing the

 fo llowing opioids, nationally and in the Counties:

                    a) Actiq (fentanyl citrate) is a Schedule II opioid agonist lozenge (lollipop) first
                       approved in 1998 and indicated for the "management of breakthrough cancer
                       pain in patients 16 years of age and older who are already receiving and who
                       are tolerant to opioid therapy for their underlying persistent cancer pain."

                    b) Fentora (fontanyl citrate) is a Schedule II opioid agonist buccal tablet (similar
                       to plugs of smokeless tobacco) first approved in 2006 and indicated for the
                       "management of break.through pain in cancer patients I 8 years of age and
                       older who are already receiving and who are tolerant to around-the-clock
                       opioid therapy for their underlying persistent cancer pain."

            14.     In November 1998, the FDA granted restricted marketing approval for Actiq,

 limiting its lawful promotion to cancer patients experiencing pain. The FDA specified that Actiq

 should not be marketed for off-label uses, stating that the drug must be prescribed solely to

 cancer patients. In 2008, Cephalon pleaded guilty to a criminal violation of the Federal Food,

 Drug and Cosmetic Act for its misleading promotion of Actiq and two other drugs, and agreed to

 pay $425 million in fines, damages, and penalties.

            15.     Teva USA was in the business of selling generic opioids, including a generic form

 of OxyContin from 2005 through 2009 nationally and within the Counties.

            16.     On September 29, 2008, Cephalon entered into a five-year Corporate Integrity

 Agreement with the Office of Inspector General of the U.S. Department of Health and Human

 Services.20 The agreement, inter alia, required Cephalon to send doctors a letter advising them

 of the settlement terms and gave them a means to report questionable conduct of its sales




 20   https://www.justicc.gov/archive/opa/pr/2008/Septembcr/08-civ-860.html (accessed May 30, 2017).
                                                         21
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representatives; disclose payments to doctors on its web site; and regularly certify that the

company has an effective compliance program.

                                       Ja11sse11 Def e11da11ts

       17.     Janssen Pharmaceuticals, lnc. is a Pennsylvania corporation with its principal

place of business in Titusville, New Jersey, and is a wholly owned subsidiary of Johnson &

Johnson, a New Jersey corporation with its principal place of business in New Brunswick, New

Jersey. Janssen Pharmaceuticals, Inc. was formerly known as ("f/kJa") Ortho-McNeiJ- Janssen

Pharmaceuticals, Inc., which in turn was former ly known as Janssen Pharmaceutica Inc.

Defendant Ortho-Mcnei l-Janssen Pharmaceuticals, Inc. , now known as Janssen Pharmaceuticals,

Inc. , is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey.

Janssen Phannaceutica, lac., now known as Janssen Pharmaceuticals, Inc., is a Pennsylvania

corporation with its principal place of business in Titusville, New Jersey. Johnson & Johnson is

the only company that owns more than 10% of Janssen Pharmaceuticals, Inc.'s stock. and it

corresponds with the FDA regarding Janssen's products. Upon information and belief, Johnson &

Johnson controls the sale and development of Janssen Pharmaceutical's drugs, and Janssen

Pharmaceuticals, lnc.'s profits inure to Johnson & Johnson's benefit. Janssen Phannaccuticals,

lnc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., and Johnson &

Johnson arc herein after coUectively referred to herein as "Janssen."

       18.     Janssen manufactures, sells, and distributes a range of medical devices and

pharmaceutical drugs in the Counties and the rest of the nation, including Duragesic (fentanyl),

which is a Schedule II opioid agonist transdermal patch first approved in 1990 and indicated for

the "management of pain in opioid-tolerant patients, severe enough to require daily, around-the-

clock, long-tenn opioid treatment and for which alternative treatment options are inadequate."



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         19.     Until January 2015, Janssen also developed, marketed, and sold Nucynta and

 Nucynta ER:

                 a) Nucynta ER (tapentadol extended release) is a Schedule II opioid agonist
                    tablet first approved in 20 J l and indicated for the "management of pain severe
                    enough to require daily, around-the-clock, long-term opioid treatment and for
                    which alternative treatment options are inadequate." Prior to April 2014,
                    Nucynta ER was indicated for the "management of moderate to severe chronic
                    pain in adults [and) neuropathic pain associated with diabetic peripheral
                    neuropathy (DPN) in adults.'' The DPN indication was added in August 2012.

                 b) Nucynta (tapentadol) is a Schedule II opioid agonist tablet and oral solution
                    first approved in 2008 and indicated for the "relief of moderate to severe acute
                    pain in patients 18 years of age or older."

         20.     Together, Nucynta and Nucynta ER accounted for $172 million in sales in 2014.21

 Prior to 2009, Duragesic accounted for at least $1 billion in annual sales.

                                             Endo Defendants

         21.     Endo Health Solutions Inc. is a Delaware corporation with its principal place of

 business in Malvern, Pennsylvania. Endo Pharmaceuticals, Inc. is a wholly-owned subsidiary of

 Endo Health Solutions Inc. and is a Delaware corporation with its principal place of business in

 Malvern, Pennsylvania. Endo Pharmaceuticals, Inc. is registered to do business in West Virginia

 and its registered agent for service of process is CT Corporation System, 5400 D Big Tyler Road,

 Charleston, West Virginia 25313. Endo Health Solutions Inc. and Endo Pharmaceuticals, Inc.

collectively are hereinafter collectively referred to as "Endo."

         22.     Endo develops, markets, and sells prescription drugs, includ ing the following

 opioids, in the Counties and nationally:

                 a) Opana ER (oxymorphone hydrochloride extended release) is a Schedule II
                    opioid agon ist tablet first approved in 2006 and indicated for the
                    "management of pain severe enough to require daily, around-the-clock, long-

 21
    hLtp://www.pmewswirc.com/ncws-releases/depomed-announccs-closing-of-acq uisirion-of-us-rights-to-nucynta-
 tapenladol-nucynta-er-tapentadol-extended-releasc-tablets-and-nucynta-tapentadol-oral-solution-from-jansscn-
 pharmaceuticals-inc-for-I 05-billion-300060453.html (accessed May 30, 20 17).
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                      term opioid treatment and for which alternative treatment options are
                      inadequate." Prior to April 2014, Opana ER was indicated for the "relief of
                      moderate to severe pain in patients requiring continuous, around-the-clock
                      opioid treatment for an extended period of time." On June 8, 2017, the FDA
                      requested that Endo Pharmaceuticals remove its opioid medication,
                      reformulated Opana ER (oxymorphone hydrochloride), from the market. 22

                  b) Opana (oxyrnorphone hydrochloride) is a Schedule II opioid agonist tablet
                     first approved in 2006 and indicated for the "relief of moderate to severe acute
                     pain where the use of an opioid is appropriate."

                 c) Percodan (oxycodone hydrochloride and aspirin) is a Schedule II opioid
                    agonist tablet first approved in 1950 and first marketed by Endo in 2004 and
                    indicated for the "management of moderate to moderately severe pain."

                 d) Percocet (oxycodone hydrochloride and acetaminophen) is a Schedule II
                    opioid agonist tablet first approved in 1999 and first marketed by Endo in
                    2006 and indicated for the "relief of moderate to moderately severe pain. "23

        23.      Opioids made up roughly $403 million of Endo's overall revenues of $3 billion in

2012. Opana ER yielded revenue of $1.15 billion from 2010 to 2013, and alone accounted for

 10% of Endo's total revenue in 2012. Endo also manufactures and sells generic opioids

nationally and in the Counties, both itself and through its subsidiary, Qualitest Pharmaceuticals,

Inc., including generic oxycodone, oxyrnorphone, hydromorphone, and hydrocodone products.

                                             Actavis Defendants

        24.      Allergan plc is a public limited company incorporated in Ireland with its principal

place of business in Dublin, Ireland. Actavis pie acquired Allergan pie in March 2015, and the

combined company changed its name to Allergan pie in March 2015. Prior to that, Watson

Pharmaceuticals, Inc. acquired Actavis, Inc. in October 20 12; the combined company changed its

name to Actavis, Inc. in January 2013 and then to Actavis plc in October 2013. Watson


22
  FDA Requests Removal ofOpana ERfor Risks Related to Abuse.https://www.fda.gov/NewsEvents/Newsroom/
PressAnnouncements/ucm56240 l .htJn.
23
   In addition, Endo marketed Zydone (hydrocodone bitartrate and acetaminophen), a Schedule ll1 opioid agonist
tablet indicated for the "relief of moderate to moderately severe pain," from 1998 through 2013 . The FD A's website
indicates this product is currently discontinued, but it appears on Endo's own website.
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Laboratories, Inc. is a Nevada corporation with its principal place of business in Corona,

California, and is a wholly owned subsidiary of Allergan pie (f/k/a Actavis, Inc., f/k/a Watson

Pharmaceuticals, Inc.). Actavis Pharma, Inc. (f/k/a Actavis, Inc.) is a Delaware corporation with

its principal place of business in New Jersey, and was formerly known as Watson Pharma, Inc.

Actavis Pharma, Inc. is registered to do business in West Virginia and its registered agent for

service of process is Corporate Creations Network, Inc., 5400-D Big Tyler Road, Charleston,

West Virginia 25313. Actavis LLC is a Delaware limited liability company with its principal

place of business in Parsippany, New Jersey. Each of these defendants is owned by Allergan plc,

which uses them to market and sell its drugs in the United States. Upon infonnation and belief,

Allergan plc exercises control over these marketing and sales efforts, and profits from the sale of

Allergan/Actavis products ultimately inure to its benefit. Allergan plc, Actavis plc, Actavis, Inc.,

Actavis LLC, Actavis Phanna, Inc., Watson Pharmaceuticals, Inc., Watson Phaima, Inc., and

Watson Laboratories, Inc. are hereinafter collectively referred to as "Actavis."

       25.     Actavis engages in the business of marketing and selling opioids in the Counties

and across the country, including the branded drugs Kadian and Norco, a generic version of

Kadian, and generic versions of Duragesic and Opana. Kadian (morphine sulfate extended

release) is a Schedule II opioid agonist capsule first approved in 1996 and indicated for the

"management of pain severe enough to require daily, around-the-clock, long-term opioid

treatment and for which alternative treatment options are inadequate." Prior to April 2014,

Kadian was indicated for the ''management of moderate to severe pain when a continuous,

around-the-clock opioid analgesic is needed for an extended period of time." Actavis acquired

the rights to Kadian from King Pharmaceuticals, Inc., on December 30, 2008 and began

marketing Kadian in 2009.


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                                    The Distributor Defe11da11ts

        26.     Defendant McKesson Corporation ("McKesson") is a Delaware corporation with

 its principal place of business in San Francisco, California. Defendant McKesson is a

 pharmaceutical distributor registered to do business in West Virginia and its registered agent for

 process is Corporation Service Company, 209 West Washington Street, Charleston, West

 Virginia 25302.

        27.     Defendant McKesson bad a net income in excess of $1.5 Billion in 2015.

        28.     Defendant McKesson distributes pharmaceuticals to retail pharmacies and

 institutional providers to customers in all 50 states, including West Virginia and the Counties.

        29.     Defendant McKesson is the largest pharmaceutical distributor in North America.

        30.     Upon information and belief, McKesson delivers one-third of a ll pharmaceuticals

 used in North America.

        31.     Defendant McKesson docs substantial business m the State of West Virginia

 including within the Counties.

        32.     Defendant Cardinal Health Inc. ("Cardinal") is an Ohio Corporation with its

 principal place of business in Dublin, Ohio.

        33.     Defendant Cardinal distributes pharmaceuticals to retail pharmacies and

 institutional providers to customers in all 50 states, including West Virginia and the Counties.

        34.     Upon information and belief, Defendant Cardinal is a pharmaceutical distributor

 licensed to do business in West Virginia.

        35.     Defendant Cardinal docs substantial business m the State of West Virginia

 including within the Counties.

        36.     Upon information and belief, defendant Cardinal is one of the largest distributors

 of opioid pain medications in the country, including West Virginia and the Counties.
                                                 26
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       37.     Upon information and belief, Defendant AmerisourceBergen Drug Corporation

("Amerisource") is a Delaware Corporation with its principal place of business in Chesterbrook,

Pennsylvania. Defendant Amerisource is a pharmaceutical distributor registered to do business in

West Virginia and its registered agent for process is CT Corporation System, 5400 D Big Tyler

Road, Charleston, West Virginia 25313.

       38.     Defendant Amerisource does substantial business in the State of West Virginia

and The counties.

       39.     Defendant Arnerisource distributes pharmaceuticals to retail pharmacies and

institutional providers to customers in all 50 states, including West Virginia and The counties.

       40.     Upon information and belief, defendant Amerisource is one of the largest

distributors of opioid pain medications in the Country, including West Virginia

       41.     Defendant, Rite Aid of Maryland, Inc., d.b.a. Rite Aid Mid-Atlantic Customer

Support Center, Inc. (hereinafter "Rite Aid") is a Maryland corporation with its principal place of

business at Camp Hill, Pennsylvania.      Defendant Rite Aid is registered to do business in West

Virginia and its registered agent for service of process is CT Corporation System, 5400 D Big

Tyler Road, Charleston, West Virginia 25313.

       42.     At all times material herein, Defendant Rite Aid regularly and purposefully

engaged in commerce in West Virginia, specifically including within the Counties and

distributes pharmaceuticals to retail pharmacies and institutional providers to customers in and

around the Counties.

       43.     Defendant, Kroger Limited Partnership II (hereinafter "Kroger") is an Ohio

limited partnership with its principal office located in Columbus, Ohio.      Defendant Kroger is

registered to do business in West Virginia and its registered agent for service of process is

Corporation Service Company, 209 West Washington Street, Charleston, West Virginia 25301.
                                                27
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       44.     At all times material herein, Defendant Kroger regularly and purposefully

engaged in commerce in West Virginia, specifically including within the Counties and

distributes pharmaceuticals to retail pharmacies and institutional providers to customers in and

around the Counties.

       45.     Defendant, CVS Indiana, L.L.C. (hereinafter "CVS") is an Indiana corporation

with its principal place of business at Woonsocket, Rhode Island. Defendant CVS is registered to

do business in West Virginia and its registered agent for service of process is CT Corporation

System, 5400 D Big Tyler Road, Charleston, West Virginia 25313.

       46.     At all times material herein, Defendant CVS regularly and purposefully engaged

m commerce in West Virginia, specifically including within the Counties and distributes

pharmaceuticals to retail pharmacies and institutional providers to customers in and around the

Counties.

       47.     Defendant, Wal-Mart Stores East, LP, is registered with the West Virginia

Secretary of State as a Delaware limited partnership with its principal office located in

Bentonville, Arkansas and does business as Wal-Mart Pharmacy Warehouse #46 (hereinafter

"Wal-Mart").

       48.     At all times material herein, Defendant Wal-Mart regularly and purposefully

engaged in commerce in West Virginia, specifically including within the Counties and

distributes pharmaceuticals to retail pharmacies and institutional providers to customers in and

around the Counties.

        49.    Defendant Goodwin Drug Company (hereinafter "Goodwin Drug") is a West

Virginia corporation with its principal place of business at 1410 Main Street, Wheeling, WV

 26003. Defendant Goodwin Drug is registered to do business in West Virginia and its registered

 agent for process is William M. Albers, Sr., 1410 Main St., Wheeling, WV 26003.
                                               28
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         50.    At all times material herein, Defendant Goodwin Drug regularly and purposefully

 engaged in commerce in West Virginia, specifically including within the Counties and

 distributes pharmaceuticals to retail phrumacies and institutional providers to customers in ru1d

 around the Counties.

                    Defendants West Virgi11ia Board o(Phannacy and Potters

        51.     The West Virginia Board of Phrumacy (hereinafter "BOP") is an agency of the

 State of West Virginia with its principal place of business located at 2310 Kanawha Boulevard

 East, Charleston, WV 253 11 .

        52.     Plaintiffs properly served upon Defendant BOP and the Attorney General of West

 Virginia notice of this claim pursuant to W.Va. Code § 55-17-3 at least thirty days prior to the

 filing of this Complaint.

        53.     At all times material herein, Defendant David Potters was the Executive Director

 of the West Virginia Board of Pharmacy. Upon infonnation and belief, Defendant Potters is a

 resident and citizen of West Virginia.

        54.     Plaintiffs only seeking recovery fro m Defendant BOP's liability insurance carrier

 aI'ld, therefore, venue does not lie exclusively in Kanawha County, West Virginia under W.Va.

 Code§ 14-2-2. Pittsburgh Elevator Co. v. W. Virginia Bd. ofRegents, 172 W. Va. 743, 744, 310

 S.E.2d 675, 676 (1983) ("The exclusive venue provision of W.Va. Code § 14-2-2 is not

 applicable to a cause of action wherein recovery is sought against the liability insurance coverage

 of a state agency.")

                                      Tile Doctor Defeuda11ts

         55.    At all times material herein, Defendant Edita P. Milan, M .D., was a physician

 licensed to practice medicine in West Virginia. Or. Milan was instrumental in promoting opioids



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 for sale and distribution in the Counties. Upon information and belief, Dr. Milan is a resident and

 citizen of California.

           56.   At all times material herein, Defendant Tressie Montene Duffy, M.D., was a

 physician licensed to practice medicine in West Virginia. Dr. Du ffy was instrumental in

promoting opioids for sale and distribution which were diverted in the Counties. Upon

information and belief, Dr. Duffy is a resident and citizen of West Virginia.

           57.   At all times material herein, Defendant Eugenio Aldea Menez, M.D., was a

physician licensed to practice medicine in West Virginia. Dr. Menez was instrumental in

promoting opioids for sale and distribution in the Counties. Upon information and belief, Dr.

Menez is a resident and citizen of West Virginia.

           58.   At all times material herein, Defendant Scott James Feathers, D.P.M., was a

physician licensed to practice medicine in West Virginia. Dr. Feathers was instrumental in

promoting opioids for sale and distribution in the Counties. Upon information and belief, Dr.

Feathers is a resident and citizen of West Virginia.

           59.   At all times material herein, Defendant, Amy Lynn Beaver, P.A.-C., was a

physician assistant licensed to practice medicine in West Virginia. Ms. Beaver was instrumental

 in promoting opioids for sale and distribution in the Counties. Upon information and belief, Ms.

 Beaver is a resident and citizen of West Virginia.

                                 JURISDICTION AND VENUE

           60.   The Court has subject matter jurisdiction over the claims made by Plaintiffs

herein pursuant to Article Vlll, Section 6 of the West Virginia Constitution and W.Va. Code §

 51-2-2.

           61.   This Court has personal jurisdiction over Defendants in that they conducted

 business in West Virginia at all times material herein, committed acts and/or omissions in or
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 outside West Virginia which caused to1tious injury to Plaintiffs, and!or breached a warranty

 expressly or impliedly made in the sale of goods outside this state when they might have

 reasonably expected such person to use, consume or be affected by goods in this State.

         62.        Venue is proper in this Court pursuant to W.Va. Code §56-1 -1 because, inter alia,

Defendants deliberately and regularly transact business in MarshaJJ County, West Virginia and

 Plaintiffs' causes of action arose in MarshaJI County, West Vi rginia.

                        FACTS RELEVANT TO ALL CAUSES OF ACTION

     A. Background on Pain Medicine.

         1. Safe and Effective Treatment of Chronic Pain Centers on Informed Risk
            Management.

         63.        The practice of medicine centers on informed risk management. Prescribers must

weigh the potential risks and benefits of each treatment option, as well as the risk of non-

 treatment.

         64.        Accordingly, the safe and effective treatment of chronic pain requires that a

 physician be able to weigh the relative risks of prescribing opioids against both (a) the relative

 benefits that may be expected during the course of opioid treatment and (b) the risks and benefits

 of alternatives.

         65.        This bedrock principle of full disclosure is particularly important in the context of

 chronic opioid therapy because of the risk that patients will become physically and

psycbologically dependent on the drugs, finding it difficult to manage or terminate their use.

         66.        The FDA-approved drug labels on each of Defendants' opioids do not attempt to

 advise physicians how to maximize the benefits and minimize the risks for patients on long-term

 chronic opioid therapy. The labels contain no dosing cap above which it would be unsafe for any

 doctor to prescribe to any patient. Nor do any of the labels provide a duration limit, after which

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 the risks to a patient might increase. Thus, doctors and patients rely more heavily on educational

materials such as treatment guidelines, CMEs, and scientific and patient education articles and

websites to inform their treatment decisions.

        2. Opioid Use Is Associated with Known and Substantial Risks.

        67.     Opium has been recognized as a tool to relieve pain for millennia; so has the

magnitude of its potential for abuse, addiction and its dangers. Opioids are related to illegal

drugs like opium and heroin. In fact, types of fentanyl, a widely-distributed opioid in the United

States, have now been made illegal in China

        68.    During the Civil War, opioids, then known as ''tinctures of laudanum," gained

popularity among doctors and phannacists for their ability to reduce anxiety and relieve pain -

particularly on the battlefield - and they were popularly used in a wide variety of commercial

products ranging from pain elixirs to cough suppressants and beverages. By 1900, an estimated

300,000 people were addicted to opioids in the United States.24 Many doctors prescribed opioids

solely to avoid patients' withdrawal. Both the numbers of opioid addicts and the difficulty in

weaning patients from opioids made clear their highly addictive nature.

        69.    Due to concerns about their addictive properties, opioids have been regulated at

the federal level as controlled substances by the U.S. Drug Enforcement Administra6on

("DEA") since I 970. The labels for scheduled opioid drugs carry black box warnings of

potential addiction and '' [s]erious, life-threatenjng, or fatal respiratory depression," as the result

of an excessive dose.

        70.    Studks and articles from the 1970s and 1980s also made the reasons to avoid

opioids clear. Scientists observed negative outcomes from long-term opioid therapy io pain

 24
   Substance Abuse and Mental I lealth Services Administration, Medication-Assisted Treatment for Opioid
 Addiction in Opioid Treatment Programs, Treatment Improvement Protocol (TIP Services), No. 43 (2005).

                                                   32
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management programs; opioids' mixed record in reducing pain long-term and failure to improve

patients' function; greater pain complaints as most patients developed tolerance to opioids; opioid

patients' diminished ability to perform basic tasks; their inability to make use of complementary

treatments like physical therapy due to the side effects of opioids; and addiction. Leading

authorities discouraged, and even prohibited, the use of opioid therapy for chronic pain.

        71.     Discontinuing opioids after more than just a few weeks of therapy will cause

most patients to experience withdrawal symptoms. These withdrawal symptoms include: severe

anxiety, nausea, vomiting, headaches, agitation, insomnia, tremors, hal1ucinations, delirium,

pain, and other serious symptoms, which may persist for months after a complete withdrawal

from opioids, depending on how long the patient had been using opioids.

        72.      When under the continuous influence of opioids over time, patients grow tolerant

to their analgesic effects. As tolerance increases, a patient typically requires progressively

higher doses to obtain the same levels of pain reduction to which he or she has become
                                                                                    25
accustomed - up to and including doses that are "frighteningly high."                    At higher doses, the

effects of withdrawal are more substantial, thus leaving a patient at a much higher risk of

addiction. A patient can take the opioids at the continuously escalating dosages to match pain

tolerance and still overdose at recommended levels.

        73.     Dr. Andrew Kolodny, Chief Medical Officer for Phoenix House, a national

addiction treatment program, has explained the effect of opioids as akin to "hijack[ing] the
                                                                                                             26
brain's reward system," which in tum convinces a user that "the drug is needed to stay alive."

A patient's fear of the unpleasant effects of discontinuing opioids combined with the negative


25 M. Katz, Long-term Opioid Treatment of Nonmalignant Pain: A Believer Loses His Faith, 170(16) Archives
oflntemal Med. 1422 (20 I0).

26 David Montero, Actor's Death Sows Doubt Among O.C. 's Recovering Opioid Addicts, The Orange Cnty. Reg.

(Feb. 3, 20 l4 ), http://www.ocregister.com/articles/heroin-600148-shaffer-hoffman.html (accessed May 30, 2017).
                                                      33
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 reinforcement during a period of actual withdrawal can drive a patient to seek further opioid

 treatment-even where ineffective or detrimental to quality of life-simply to avoid the deeply

 unpleasant effects of withdrawal.

         74.       Patients that receive high doses of opioids as part oflong-tcrm opioid therapy are

 three to nine times more likely to suffer an overdose from opioid-related causes than those on

 low doses. As compared to available alternative pain remedies, scholars have suggested that

 tolerance to the respiratory depressive effects of opioids develops at a slower rate than tolerance

.to analgesic effects. Accordingly, the practice of continuously escalating doses to match pain

 tolerance can, in fact, lead to an overdose even when opioids arc taken as recommended.

         75.       Further, ''a potential side effect from chronic use [of opioidsj can be abuse and

 addiction .... fi]n fact, correct use and abuse of these agents arc not polar opposites-they are

 complex, inter-related phenomena. "27 It is very difficult to tell whether a patient is physically

 dependent, psychologically dependent, or addicted. Drug-seeking behaviors, which are signs of

 addiction, will exist and emerge when opioids arc suddenly not available, the dose is no longer

 effective, or tapering of a dose is undertaken too quickly.

         76.       Studies have shown that between 30% and 40% of long-term users of opioids

 experience problems with opioid use disorders. 28

         77.       Each of these risks and adverse effects-dependence, tolerance, and addiction- is

 ful ly disclosed in the labels for each of Defendants' opioids (though, as described below, not in



 17Wilson M. Compton & Nora D. Volkow, Major Increases in Opioid Analgesic Abuse in the United States:
 Concerns and Strategies, 81 (2) Drug & Alcohol Dependence I03, I06 (2006).
 28Joseph A. Boscarino et al., Risk/actors for dmg dependence among out-patients on opioid therapy in a large US
 health-care system, I05(10) Addiction 1776 ( 20 IO); Joseph A. Boscarino et al., Prevalence of Prescription Opioid-
 Use Disorder Among Chronic Pain Patients: Comparison of the DSM-5 vs. DSM-4 Diagnostic Criteria, 30(3)
 Journal of Addictive Diseases 185 (20 11 ).

                                                         34
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 Defendants' marketing).29 Prior to Defendants' deceptive marketing scheme, each of these risks

 was well-recognized by doctors and seen as a reason to use opioids to treat chronic pain

 sparingly and only after other treatments had failed.

         78.     Opioids vary by duration. Long-acting opioids, such as Purdue's OxyContin and

MS Conlin, Janssen's Nucynta ER and Duragesic, Endo's Opana ER, and Actavis's Kadian, are

designed to be taken once or twice daily and are purported to provide continuous opioid

 therapy for, in general, 12 hours. Short-acting opioids, such as Cephalon's Actiq and Fentora,

are designed to be taken in addition to long-acting opioids to address "episodic pain" and

provide fast-acting, supplemental opioid therapy lasting approximately 4 to 6 hours.

         79.     The Manufacturer Defendants promoted the idea that pain shouJd be treated by

taking long-acting opioids continuously and supplementing them with short-acting, rapid- onset

opioids for episodic pain.

         80.     Defendant Purdue was aware that its drug OxyContin did not provide pain relief

for up to 12 hours. Purdue was aJso aware of the risk that patients would then take additional

pain medications, beyond what was prescribed, to make of up for that gap in time. Despite this

knowledge, Purdue continued to market OxyContin as lasting for 12 hours.

         81.     While it was once thought that long-acting opioids would not be as susceptible to

abuse and addiction as short-acting ones, this view has been discredited. OxyContin's label now

 states, as do all labels of Schedule II Long-acting opioids, that the drug "exposes users to risks of

addiction, abuse, and misuse, which can lead to overdose and death." The FDA has required




 2
   For example, Purdue's OxyConlin label (October 5, 2011 ) states: "Physical dependence and tolerance are not
  .,
 unusual during chronic opioid therapy."
                                                      35
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extended release and long-acting opioids to adopt "Risk Evaluation Mitigation Strateg[ies]" on

the basis that they present "a serious public health crisis of addiction, overdose, and death. 1130

              82.       In 20 13, in response to a petition to restrict the labels of long-acting opioid

products, the FDA noted the "grave risks" of opioids, "the most well-known of which include

addiction, overdose, and even death."31 The FDA further warned that "[e]ven proper use of

opioids under medical supervision can result in life-threatening respiratory depression, coma,
                      32
and death."                The FDA required that-going forward-opioid makers of Jong-acting

formulations clearly communicate these risks in their labels. Thus, the FDA confirmed what had

previously been accepted practice in the treatment of pain-               that the adverse outcomes from

opioid use incJude "addiction, unintentional overdose, and death " and that long-acting or
                                                                                                           33
extended release opioids "should be used         011/y when altemative treafme11ts are inadequate."


              83.       Notably, in reaching its conclusion, the FDA did not rely on new or otherwise

previously unavailable scientific studies regarding the properties or effects of opioids.

              84.       The labels on each of the Manufacturer Defendant's opioids do not attempt to

advise physicians on how to maximize the benefi ts and minimize the risks for patients on long

term opioid therapy. The labels contain no dosage cap above which it would be unsafe to

prescribe to any patient. Nor do they provide a duration limit. Doctors and patients rely heavily

on education materials, such as treatment guidelines, CMEs, and scientific and patient education

articles and websites, to inform their treatment decisions.

3°FDA, Risk Evaluation and Mitigation Strategy (REMS) for Extended-Release and Long-Acting Opioids (last
updated Oct. 9, 20 14), http://www.fda.gov!Drugs!DrugSafcty/lnfonnationbyDrugClass/ucm 163647 .htm (accessed
May 30, 2017).
31
   Letter from Janet Woodcock, M.D., D ir., Ctr. for Drug Eval. & Res., co Andrew Kolodny, M.D., Pres. Physicians
for Responsible Opioid Prescribing, Re Docket No. FDA-20 I2-P-0818 (Sept. I 0, 2013 ).

n Id.

3
    '   Id. at 7 (emphasis in original).
                                                       36
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         85.    On July 25, 20 12, the Physician For Responsible Opioid Prescribing ("PROP"), a

non-profit organization made up of doctors and other health care professionals, petitioned the

FDA to change the labeLing of opioid medjcations. The petition was signed by thllty-seven

physicians located nationwide. In its letter to the POA, the group stated that "an increasing body

of medical literature suggests that long term-use of opioids may be neither safe nor effective for

many patients, especially when prescribed in hjgh doses. "34

         86.    In its petition, PROP also stated that ''many clinicians are under the false

impression that chronic opioid therapy (COT) is an evidence-based treatment for chronic non-

cancer pain" and that "these misconceptions lead to overprescribing and high dose prescribing."

It was also their opinion that "the current label on opioid analgesics does not comply with [FDA

Jaw]".

         87.    As the basis for its petition, PROP provided ''Statements of Scientific Basis for

Petition" which provided a list of detailed reports and studies proving the risks of opioid

medications, the high risk of addiction, the exaggerated and false benefits, and further medically

backed reasons to change the labelling of opioid medications to reduce prescribing.

         88.    In 2013, in response to a petition to require manufacturers to strengthen

warnings on the labels of long-acting opioid products, the FDA warned of the "grave risks" of

opioids, including "addiction, overdose, and even death." The FDA further warned, "[ejven

proper use of opioids under medical supervision can result in life- threatening respiratory

depression, coma, and death.'' Because of those grave risks, the FDA said that long-acting or




34
  July 25, 20 12 Jetter from PROP to FDA, accessed at http://www.citizen.org/documents/2048.pdf on May 30,
2017.

                                                   37
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 extended release opioids "should be used only when alternative treatments are inadequate." 35

 The FDA required that - going forward - opioid makers of long-acting fonnulations clearly

 communicate these risks on their labels.

         89.     In 2016, the FDA expanded its warnings for immediate-release opioid pain

 medications, requiring similar changes to the labeling of immediate-release for opioid pain

medications as it had for extended release opioids in 2013. The FDA also required several

 additional safety-labeling changes across all prescription opioid products to include additional

 infonnation on the risk of these medications. 36

         90.     The facts on which the FDA relied m 2013 and 20 16 were well known to

 Defe ndants for many years since they began marketing these drugs.

         3. Long-Term Opioid Use Benefits Are Unproven and Contradicted.

         91.     Despite the fact that opioids are now routinely prescribed, there has never been

evidence of their safety and efficacy for long-term use.

         92.     The Manufacturer Defendants have always been aware of these gaps in

 knowledge. While promoting opioids to treat chronjc pain, the Manufacturer Defendants have

failed to disclose the lack of evidence to support their long-term use and have failed to disclose

 the contradjctory evidence that chrome opioid therapy actually makes patients sicker.

         93.     There are no controlled studies of the use of opioids beyond 16 weeks, and no

 evidence that opioids improve patients' pain and function long-term. The first random, placebo-



 35
    Letter from Janet Woodcock, M.O., Dir., Ctr. For Drug Eva!. & Res., to Andrew Kolodny, M.O., Pres.
 Physicians for Responsible Opioid Prescribing, Re Docket No. F'DA-2012-P-08 18 (Sept. 10, 20 13) (emphasis in
 original).
 36
   FDA announces enhanced warnings for immediate-release opioid pain medications related to risks of misuse,
 abuse, addiction, overdose and death. Available atbrtp://www.fda.gov/newsevents/newsroom/
 pressannouncements/ucm491739.htm (accessed May 30, 2017).

                                                      38
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controlled studies appeared in the 1990s, and revealed evidence only for short-term efficacy and

only in a minority of patients.37

         94.      A 2004 report reviewed 213 randomized, controlled trials of treatments for cancer

pain and showed that, while opioids had short-term efficacy, the data was insufficient to establish

long-term effectiveness. Subsequent reviews of the use of opioids for cancer and non-cancer pain

consistentl y note the lack of data to assess long-term outcomes. For example, a 2007 systematic

review of opioids for back pai n concluded that opioids have limited, if any, efficacy for back

pain and that evidence djd not allow j udgments regarding long-term use. Similarly, a 2011

systematic review of studies fo r non-cancer pain found that evidence of long-term efficacy is

poor. One year later, a similar review reported poor evidence of long-tcnn efficacy fo r morphine,

tramadol, and oxycodone, and fair evidence for transdermal fentanyl (approved only for use for

cancer pain).

        95.      On the contrary, evidence exists to show that opioid drugs are not effective to

treat chronic pain, and may worsen patients' health. A 2006 study-of-studies fo und that opioids

as a class did not demonstrate improvement in functional outcomes over other non-addicting

treatments. Most notably, jt stated: "For fu nctional outcomes, the other analgesics were

significantly more effective than were opioids. "38 Another review of evidence relating to the use

of opioids for chronic pain found that up to 22. 9% of patients in opioid trials dropped out before




37
  Nathaniel Katz, Opioids: Ajier Thousands of Years, Still Gelling to Know You, 23(4) Clin J. Pain 303 (2007);
Roger Chou et al., Re.~earch Gaps on Use ofOpioidsfor Chronic Noncancer Pain, 10(2) J. Pain 147 (2009).
38
  Andrea 0. Furlan et a l. , Opioids for chronic noncancer pain: a meta-analysis of effectiveness and side effects,
174{1 I) Can. Med. Ass'n J. 1589 (2006). This same study revealed that efficacy studies do not typically include data
on opioid addiction. In many cases, patients who may be more prone to addiction are pre-screened out of the study
pool. This does not reflect how doctors actually prescribe the drugs, because even patients who have past or active
substance use disorders tend to receive higher doses of opioids. Karen H. Seal, Association of Mental Ilea/th
Disorders With Prescription Opioids and High-Risk Opioids in US Veterans of lraq and Afghanistan, 307(9) J. Am.
Med. Ass'n 940 (2012).
                                                         39
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the study began because of the intolerable effects of opioids, and that the evidence of pain relief

over time was weak.

          96.      Endo's own research shows that patients taking opioids, as opposed to other

prescription pain medicines, report hi gher rates of obesity (30% to 39%); insomnia (9% to 22%);

and self-described fair or poor health (24% to 34%).

          97.      Increasing duration of opioid use is strongly associated with an increasing

prevalence of mental health conditions (depression, anxiety, post-traumatic stress disorder, or

substance abuse), increased psychological distress, and greater health care utilization.

          98.      As a pain specialist noted in an article titled Are We Making Pain Patients

Worse?, "[O]pioids may work acceptably well for a while, but over the long tenn, function

generally declines, as does general health, mental health, and social functioning. Over time, even

high doses of potent opioids often fail to control pain, and these patients are unable to function

normally. "39

          99.      This is true both generally and for specific pain-related conditions. Studies of the

use of opioids long-term for chronic lower back pain have been unable to demonstrate an

improvement in patients' function. Conversely, research consistently shows that long-term opioid

therapy for patients who have lower back injuries does not help patients return to work or to

physical activity. This is due partly to addiction and other side effects.

          100.     As many as 30% of patients who suffer from migraines have been prescribed

opioids to treat their headaches. Users of opioids had the highest increase in the number of

headacht:: days per month, scored significantly higher on the Migraine Disability Assessment

(MIDAS), and had higher rates of depression, compared to non-opioid users. A survey by the

National Headache Foundation found that migraine patients who used opioids were more likely

39   Andrea Rubenstein, Are we making pain patients worse?, Sonoma Medicine (Fall 2009).
                                                       40
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 to experience sleepiness, confusion, and rebound headaches, and reported a lower quality of life

 than patients taking other medications.

           101.     The lack of evidence for the efficacy of opioid use long-tenn has been well-

documented nationally in the context of workers' compensation claims, where some of the most

detailed data exists. Claims involv1ng workers who take opioids are almost four times as likely to

reach costs of over $100,000 than claims without opioids, as these patients suffer greater side

effects and are slower to return to work. Even adjusting for injury severity and self-reported pain

score, taking an opioid for more than seven days and receiving more than one opioid prescription

increased the risk that the patient would be on work disability one year later. A prescription for

opioids, as the first treatment for a workplace injury, doubled the average length of the claim.

          4. The Manufacturer Defendants' Impact on the Perception and Prescribing of
             Opioids.

           I 02.   Before the Manufacturer                Defendants began           the   marketing    campaign

complained of herein, generally accepted standards of medical practice dictated that opioids

should only be used short-term, for instance, for acute pain, pain relating to recovery from

surgery, or for cancer or palliative care. In those instances, the risks of addiction are low or of

lit1le significance.

           103.     In 1986, the World Health Organization ("WHO") published an "analgesic ladder"

for the treatment of cancer pain.40 The WHO recommended treatment with over-the- counter or

prescription acetaminophen or non-steroidal anti-inflammatory drugs ('NSAIDs") first, and then

the use of unschedu led or combination opioids, and then stronger (Schedule II or ill) opioids if

 pain persisted. The WHO ladder pertained only to the treatment of cancer pain, and did not



44
     htrp://apps.who.int/irislbitstream/10665/43944/ I /924 I561009_ eng.pdf (accessed May 30, 2017).

                                                          41
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 contemplate the use of narcotic opioids for chronic pain- because the use of opioids for chronic

 pain was not considered appropriate medical practice at the time.

         104.    Studies and articles from the I 970s and I 980s made the reasons to avoid opioids

clear. Scientists observed negative outcomes from long-tenn opioid therapy in pain management

programs: opioids' mixed record in reducing pain long-tcnn and failure to improve patients'

function; greater pain complaints as most patients developed tolerance to opioids; opioid

patients' diminished ability to perform basic tasks; their inability to make use of complementary

treatments like physical therapy due to the side effects of opioids; and addiction. Leading

authorities discouraged, or even prohibited, the use of opioid therapy for chronic pain.

         l 05.   In 1986, Dr. Russell Portenoy, who later became Chairman of the Department of

 Pain Medicine and Palliative Care at Beth Israel Medical Center in New York, while at the same

time serving as a top spokesperson for drug companies, published an article reporting that "lf]ew

substantial gains in employment or social function could be attributed to the institution of opioid

therapy. ,,41

         106.    Writing in 1994, Dr. Portenoy described the prevailing attitudes regarding the

dangers of long-tenn use of opioids:

                 The traditfonal approach to chronic nonmalignant pain does not accept the
                 long-tenn administration of opioid drugs. This perspective has been
                 justified by the perceived likelihood of tolerance, which would attenuate
                 any beneficial effects over time, and the potential for side effects,
                 worsening disability, and addiction. According to conventional thinking,
                 the initial response to an opioid drug may appear favorable, with partial
                 analgesia and salutary mood changes, but adverse effects inevitably occur
                 thereafter. It is assumed that the motivation to improve function will cease
                 as mental clouding occurs and the belief takes hold that the drug can, by
                 itself, return the patient to a nonnal life. Serious management problems
                 are anticipated, including difficulty in discontinuing a problematic

 41
   Russell K. Portenoy & Kathleen M. Foley, Chronic Use ofOpioid Analgesics in Non-Malignant Pain: Report of
 38 cases, 25(2) Pain 171 ( 1986).

                                                    42
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                  therapy and the development of drug seeking behavior induced by the
                  desire to maintain analgesic effects, avoid withdrawal, and perpetuate
                  reinforcing psychic effects. There is an implicit assumption that little
                  separates these outcomes from the highly aberrant behaviors associated
                  with addiction.42

According to Portenoy, these problems could constitute "compelling reasons to reject long term

opioid administration as a therapeutic strategy in all but the most desperate cases of chronic
                       43
nonmalignant pain. "

           107.   For the reasons outlined by Dr. Portenoy, and in the words of one researcher from

the Harvard Medical School, "it did not enter [doctors'] minds that there could be a significant

number of chronic pain patients who were successfully managed with opioids." 44 Defendants

changed that perception.

      B. The Manufacturer Defendants Promoted Their Branded Products Through Direct
         Marketin g to Prescribcrs and Consumers.

           108.   The Manufacturer Defendants' direct marketing proceeded on two tracks, serving

two related purposes. First, the Manufacturer Defendants worked through branded and

unbranded marketing to build confidence in long-term opioid use by overstating its benefits and

downplaying its risks, thereby expanding the chronic pain market. In addition, the Manufacturer

Defendants worked through their own staffs of sales representatives, physician speakers whom

those representatives recruited, and advertising in medical journals to claim their share of that

broader market. The Manufacturer Defendants directed all of this activity through carefully




42
 Russell K. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, I Progress in Pain Res. &
Mgmt. 247 (1994) (emphasis added).

43   Id.

44
  Igor Kissin, Long-term opioid treatment of chronic nonmalignant pain: unproven efficacy and neglected safety?,
6 J. Pain Research 513, 514 (2013) (quoting Loeser JD, Five crises in pain management, 20(1) Pain Clinical
Updates 1-4(2012).
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designed marketing plans that were based on extensive research into prescriber habits and the

efficacy of particular sales approaches and messages.

        1. The Manufacturer Defendants Relied Upon Branded Advertisements.

        l 09.    The Manufacturer Defendants engaged in widespread advertising campaigns

touting the benefits of their branded drugs. The Manufacturer Defendants published print

advertisements in a broad array of medical journals, ranging from those aimed at special ists, such

as the Journal of Pain and Clinical Journal of Pain, to journals with wider medical audiences,

such as the Journal of the American Medical Association. The Manufacturer Defendants'

advertising budgets peaked in 2011, when they collectively spent more than $14 million on the

medical journal advertising of opioids, nearly triple what they spent in 2001. The 2011 total
                                                                                                 45
includes $8.3 million by Purdue, $4.9 million by Janssen, and $1. l million by Endo.

        110.     A number of these branded advertisements deceptively portrayed the benefits of

opioid therapy for chronic pain. As just one example, a 2005 Purdue advertisement for

OxyContin that ran in the Journal of Pain touted the drug as an "around-the-clock analgesic ...

for an extended period of time." The advertisement featured a man and boy fishing and

proclaimed that "There Can Be Life With Relief." This depiction false ly im plied that OxyContin

provides both effective long-term pain relief and functional improvement, claims that, as

described below, are unsubstantiated and contradicted in medical li terature.

        2. T he Manufacturer Defendants Relied Upon Their Sales Forces and Recruited
           Physician Speakers.

        11 1.    Each Manufacturer Defondant promoted the use of opioids for chronic pain

through "detailers"- sales representatives who visited individual physicians and their staff in


45Jn 20 J J, Acta vis spent less than $I 00,000 on such advertising, and Cephalon spent nothing. These companies'
medical journal advertising peaked earlier, with Actavis spending $11.7 million in 2005, and Cephalon spending
about $2 million in each of2007 and 2008.

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their offices- and small group speaker programs. By establisrung close relationships with

doctors, the Manufacturer Defendants' sales representatives were able to disseminate their

misrepresentations in targeted, one-on-one settings that allowed them to differentiate their

opioids and to address individual prescribers' concerns about prescribing opioids for chronic

pain. Representatives were trained on techniques to build these relationships, with Actavis even

rolling out an "Own the Nurse" kit as a "door opener" to time with doctors.

       112.    The Manufacturer Defendants developed sophisticated plans to select prescribcrs

for sales visits based on their specialties and prescribing habits. In accordance with common

industry practice, Defendants purchase and closely analyze prescription sales data from IMS

Health. This data allows them to precisely track the rates of initial prescribing and renewal by

individual doctors, which in turn allows them to target, tailor, and monitor the impact of their

appeals.

       11 3.   The Manufacture Defendants, in particular, relied upon "influence mapping," i.e.. ,

using decile rankings or similar breakdowns to identify the high-volume prescribers on whom

detailing would have the greatest sales impact. Endo, for example, identified prescribers

representing 30% of its nationwide sales volume and planned to visit these physicians three times

per month. The Manufacturer Defendants also closely monitored doctors' prescribing after a

sales representative's visit to allow them to refine their planning and messaging and to evaluate

and compensate their dctailcrs.

       114.    The Manufacturer Defendants' sales representatives have visited hundreds of

thousands uf doctors, including visits to prcscribers in the Counties, and as described herein,

spread misinformation regarding the risks, benefits, and superiority of opioids for the treatment

of chronic pain. This misinfonnation includes deceptive and unfair claims regarding the risks of


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opioids for chronic pain, particularly the risks of addiction, withdrawal, and high doses, as well

as the benefits.

        115.       Each Manufacturer Defendant carefully trained its sales representatives to deliver

company-approved messages designed to generate prescriptions of that company's drugs

specifically, and opioids in general. Pharmaceutical companies exactingly direct and monitor

their sales representatives-through detailed action plans, trainings, tests, scripts, role-plays,

supervisor tag-alongs, and other means- to ensure that individual detailers actually deliver the

desired messages and do not veer off-script. Pharmaceutical companies likewise require their

detailers to deploy sales aids reviewed, approved, and supplied by the company and forbid them

to use, in industry parlance, "homemade bread"- i.e., promotional materials not approved by the

company's marketing and compliance departments. Sales representatives' adherence to their

corporate trainjog is typically included in their work agreements. Departing from their company's

approved messaging can, and does, lead to severe consequences including termination of

employment.

        116.    Besides carefully training their sales          representatives, the Manufacturer

Defendants used surveys of physicians--conducted by third-party research firms- to assess how

well their core messages came across to prescri hers.

        11 7.      Jn addition to making sales calls, the Manufacturer Defendants' detailers also

identified doctors to serve, for payment, on Defendants' speakers' bureaus and to attend programs

with speakers and meals paid for by Defendants. The Manufacturer Defendants almost always

selected physicians who were "product loyalists," as they were sure to be asked whether they

prescribe the drug themselves. Endo, for instance, sought to use specialists in pain medicine-

including high prescribers of its drugs-as local "thought leaders" to market Opana ER to

primary care doctors. Such invitations are lucrative to the physicians selected for these bureaus;
                                                   46
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honorarium rates range from $800 to $2,000 per program, depending on the type of event,

speaker training is typically compensated at $500 per hour.

        118.   These speaker programs and associated speaker trainings serve three purposes:

they provide an incentive to doctors to prescribe, or increase their prescriptions of, a particular

drug; a forum in which to further market to the speaker him or herself; and an opportunity to

market to the speaker's peers. The Manufacturer Defendants grade their speakers and future

opportunities are based on speaking performance, post-program sales, and product usage. The

Manufacturer Defendants also track the prescribing of event attendees, with Endo noting that

"physicians who came into our speaker programs wrote more prescriptions for Opana ER after

attending than before." It would make little sense for the Manufacturer Defendants to devote

significant resources to programs that did not increase their sales.

        119.   Like the sales representatives who select them, speakers are expected to stay "on

message"-indeed, they agree in writing to follow the slide decks provided to them. Endo's

speaker rules, for exarnple, provide that "all slides must be presented in their entirety and without

alterations ... and in sequence." This is important because the FDA regards promotional talks as

part of product labeling, and requires their submission for review. Speakers thus give the

appearance of providing independent, unbiased presentations on opioids, when in fact they are

presenting a script prepared by the Manufacturer Defendants' marketing departments. Although

these meal-based speaker events are more expensive to host, and typically have lower attendance

than CMEs, they are subject to less professional scrutiny and thus afford the Manufacturer

Defendants greater freedom jn the messages they present.

        120.   The Manufacturer Defendants devoted massive resources to these direct sales

contacts with prescribers. In 2014, the Manufacturer Defendants collectively spent $168 million

 on detailing branded opioids to physicians nationwide. This figure includes $108 million spent
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by Purdue, $34 million by Janssen, $13 million by Cephalon, $10 million by Endo, and $2

million by Actavis. The total figure is more than double the Manufacturer Defendants' collective

spending on detailing in 2000. Detailers' role in the Manufacturer Defendants' overall

promotional efforts was also carefully calibrated. Endo, for example, found that devoting 61 % of

its marketing budget to sales representatives reflected an "[a]ppropriate combination of personal .

. . and non-personal ... selling initiatives."

           121.   The Manufacturer Defendants have spent hundreds of millions of dollars

promoting their opioids through their respective sales forces because they understand that

detailers' sales pitches are effective. Numerous studies indicate that marketing can and does

impact doctors' prescribing habits,46 and face-to-face detailing has the highest influence on intent

to prescribe. The Manufacturer Defendants could see this phenomenon at work not only in the

aggregate, as their sales climbed with their promotional spending, but also at the level of

individual prescribers whom they targeted for detailing, and who responded by prescribing more

of the Manufacturer Defendants' drugs.

          3. The Manufacturer Defendants Directed These Promotional Efforts Through
             Detailed Marketing Plans.

           122.   The Manufacturer Defendants guided their efforts to expand opioid prescribing

through comprehensive marketing and business plans for each drug. These documents, based on

the companies' extensive market research, laid out ambitious plans to bring in new prescribers

and increase overall prescribing of the Manufacturer Defendants' opioids.

46 See, e.g., Puneet Manchanda & Pradeep K. Chintagunta, Responsiveness of Physician Prescription Behavior to
Salesforce Effort: An Individual Level Analysis, 15 (2-3) Mktg. Letters 129 (2004) (detailing has a positive impact
on prescriptions written); Ian Larkin, Restrictions on Pharmaceutical Detailing Reduced Off-Label Prescribing of
Antidepressants and Antipsychotics in Children, 33(6) Health Affairs 1014 ( 2014) (finding academic medical
centers that restricted direct promotion by pharmaceutical sales representatives resulted in a 34% decline in on-label
use of promoted drugs); see also Art Van Zee, The Promotion and Marketing of OxyContin: Commercial Triumph,
Public Health Tragedy, 99(2) Am J. Pub. Health 22 1 (2009) (correlating an increase of OxyContin prescriptions
from 670,000 annually in 1997 to 6.2 million in 2002 to a doubling of Purdue's sales force and trebling of annual
 sales calls).
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               a. Targeting categories of prescribers

        123.   The Manufacturer Defendants targeted, by zip codes and other local boundaries,

individual health care providers for detailing. The Manufacturer Defendants chose their targets

based on the potential for persuading a provider to prescribe, ease of in-person access, and the

likelihood of higher numbers of prescriptions at higher doses, with no correlation to

demonstrated need or demand for opioid therapy, or to risk of abuse.

        124.   Collectively, the Manufacturer Defendants' marketing plans evmce dual

strategies, which often operated parallel to one another. The Manufacturer Defendants' sales

representatives continued to focus their detailing efforts on pain specialists and anesthesiologists,

the highest-volume prescribers of opioids and, as a group, more educated than other practitioners

about opioids' risks and benefits. Seeking to develop market share and expand sales, however,

the Manufacturer Defendants also targeted increasing numbers and types of prescribers for

marketing.

        125.   This expanded market of prescribers was, as a group, less informed about opioids

and, as market research concluded, more susceptible to the Manufacturer Defendants' marketing

messages. These prescribcrs included nurse practitioners and phys ician assistants who, a 2012

Endo business plan noted. were "share acquisition" opportunities because they were "3x times

more responsive than MDs to details" and wrote "96% of [their] prescriptions . . . without

physician consult."

        126.   The expanded market also included internists and general practitioners who were

low- to mid-volume prcscribers. Actavis, for example, rolled out a plan in 2008 to move beyond

 "Kadian loyalists" to an "expanded audience" of "low morphine writers. 1'




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                b. Increasing "direct to consumer" marketing

        127.    The Manufacturer Defendants knew that physicians were more likely to prescribe

 their branded medications when patients asked for those medications. Endo's research, for

 example, fow1d that such communications resulted in greater patient "brand loyaJty," with longer

 durations of Opana ER therapy and fewer discontinuations. The Manufacturer Defendants thus

 increasingly took their opioid sales campaigns directly to consumers, including through patient-

 focused "education and support" materials. These took the form of pamphlets, videos, or other

 publications that patients could view in their physician's office, as well as employer and workers'

 compensation plan initiatives to, as Endo put it, "[d]rive demand for access through the employer

 audience by highlighting cost of disease and productivity loss."

        128.    The Manufacturer Defendants also knew that one of the largest obstacles to

 patients starting and remaining on their branded opioids- incJuding by switching from a

 competitor's drug- was out- of-pocket cost. They recognized they could overcome this obstacle

 by providing patients financial assistance with their insurance co-payments, and each of the

 Manufacturer Defendants did so through vouchers and coupons distributed during detailing visits

 with prescribers. A 2008 Actavis business review, for example, highlighted co-pay assistance,

 good for up to $600 per patient per year, as a way to drive conversions to Kadian from

 competitor drugs like Avinza and MS Contin. In 2012, Janssen planned to distribute 1.5 million

 savings cards worth $25 each.

                c. Differentiating each brand

        129.    Purdue's OxyContin was the clear market leader in prescription opioid therapy,

 with 30% of the market for analgesic drugs in 2012. However, by 2010, the Manufacturer

 Defendants had begun facing increasing pushback from the medical community and regulators

 based on the growing problems of opioid addiction and abuse. Both market conditions prompted
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the Manufacturer Defendants to pursue product differentiation strategies-particularly an

emphasis on their products being less subject to diversion, abuse, and addiction- as a means of

grabbing market share from Purdue and other competitors.

       130.   Endo, for example, tracked in detail prescriber "switching" from OxyContin to

Opana ER Actavis and Janssen did the same for switches to Kadian and Nucynta ER,

respectively. Pressure to stand out among other drugs resulted in the Manufacturer Defendants

identifying marketing themes that thereafter were reflected in the Manufacturer Defendants'

deceptive and harmful messages to physicians and consumers. A 2008 Janssen plan emphasized

"value" messaging in support of Nucynta ER, including claims of less dose escalation, lower

toxicity, fewer withdrawal symptoms, and less dependence, and a 2009 Opana ER market

research report focused on greater potency and lower abuse potential of Opana ER vis-a-vis

OxyContin.

              d. Moving beyond office visits

       131.   The Manufacturer Defendants sought to reach additional prescribers by expanding

beyond traditional sales calls and speaker events to new channels for their messages. For their

sales forces, these included marketing to prescribers through voice mail, postcards, and email-

so- called "e-detailing." The Manufacturer Defendants also created new platforms for their

speakers by implementing "peer to peer" programs such as teleconferences and webinars that

were available to prescribers nationally. These programs allowed the Manufacturer Defendants

to use this more seemingly credible vehicle to market to, among other hard-to-reach audiences,

prescribers at hospitals, academfo centers, and other locations that limit or prohibit in-person

detailing. Employing these new approaches, each Defendant relied heavily on speakers to

promote its drugs.


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        4. T he Manufacturer Defendants Marketed Opioids in the Counties Using the
           Same Strategies and Messages They Employed Nationwide.

         132.   The Manufacturer Defendants employed the same marketing plans and strategies

 and deployed the same messages in Brooke County, Hancock County, Harrison County, Lewis

 County, Marshall County, Ohio County, Tyler County, and Wetzel County as they did

 nationwide.

        133.    Across the pharmaceutical industry, "core message" development is funded and

 overseen on a national basis by corporate headquarters. This comprehensive approach ensures

 that the Manufacturer Defendants' messages are accurately and consistently delivered across

 marketing charmels-including detailing visits, speaker events, and advertising-and in each

 sales territory. Defendants consider this high level of coordination and uniformity crucial to

 successfully marketing their drugs.

        134.    The Manufacturer Defendants ensure marketing consistency nationwide through

 national and regional sales representative training; national training of local medical liaisons, the

company employees who respond to physician inquiries; centralized speaker training; single sets

of visual aids, speaker slide decks, and sales training materials; and nationally coordinated

 advertising. The Manufacturer Defendants' sales representatives and physician speakers were

 required to stick to prescribed talking points, sales messages, and sl ide desks, and supervisors

traveled with them periodically to check on both their performance and compliance.

        135.    As they did nationwide, the Manufacturer Defendants extensively tracked the

 prescribing behavior of County-area health care providers and used that data to target their

 detailing and speaker- recruiting efforts. Top prescribcrs were profiled at the city,    region~   zip

 code, and sometimes facility levels, with information about their specialty, prescribing patterns




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(including product and dose), product loyalty and refill history. Providers' prescribing volume

was ranked and sorted into deciles.

       136.    As described herein, misrepresentations and deceptions regarding the risks,

benefits, and superiority of opioid use to treat chronic pain were part and parcel of Defendants'

marketing campaigns in the Counties.

   A. Th e Manufacturer Defendants Used ''Unbranded " M arketing to Evade Regulations
      and Cons umer Protection Laws.

       137.    In addition to their direct marketing efforts, the Manufacturer Defendants used

unbranded, third- party marketing, which they deployed as part of their national marketing

strategies for their branded drugs. Each Manufacturer Defendant executed these strategies

through a network of third-party KOLs and Front Groups, with which it acted in concert by

funding, assisting, encouraging, and directing their efforts. At the same time, the Manufacturer

Defendants exercised substantial control over the content of the messages third parties generated

and disseminated, and distributed certain of those materials themselves. As with their other

marketing strategics, the Manufacturer Defendants' unbranded marketing created, and relied

upon, an appearance of independence and credibility that was undeserved but central to its

effectiveness. Unlike their direct promotional activities, the Manufacturer Defendants' unbranded

marketing allowed them to evade the oversight of federal regulators and gave them greater

freedom to expand their deceptive messages.

       1. R egulations Governing Branded Promotion Require th at it Be T ruthful,
          Balanced, and Suppor ted by Substantial Evidence.

       l 38.   Drug companies that make, market, and di stribute opioids are subject to generally

applicable rules requiring truthful marketing of prescription drugs. A drug company's branded

marketing, which identifies and promotes a specific drug, must: (a) be consistent with its label

and supported by substantial scientific evidence; (b) not include false or misleading statements or
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 material omissions; and (c) fairly balance the drug's benefits and risks. TI1esc rules reflect a

 public policy designed to ensure that drug companies, which are best suited to understand the

 properties and effects of their drugs, are responsible for providing prescribers with the

 information they need to accurately assess the risks and benefits of drugs for their patients.

        139.    Further, drug companies are prohibited from selling drugs that are misbranded. A

 drug is misbranded if it lacks adequate directions for use or if the label is false or misleading in

 any particular. Adequate directions for use are directions under which the layman can use a drug

 safely and for the purposes for which it is intended. Labeling includes more than the drug's

physical label; it also includes all ... other written, printed, or graphic matter ... accompanying

 the drug, including promotional material. The term "accompanying" is interpreted broadly to

 include promotional materials- posters, websites, brochures, books, and the like-<iisseminatcd

 by or on behalf of the manufacturer of the drug. Thus, the Manufacturer Defendants' promotional

 materials are part of their drugs' labels and are required to be accurate, balanced, and not

 misleading.

        140.    Labeling is misleading if it is not based on substantial evidence, if it materially

 misrepresents the benefits of the drug, or if it omits material information about or minimizes the

 frequency or severity of a product's risks. The most serious risks set forth in a product's labeling

 arc generally material to a11y presentation of efficacy. Promotion that fails to present the most

important risks of the drug as prominently as its benefits lacks fair balance and is therefore

 deceptive.

        141.    IL is also improper for drug companies to distribute materials that exclude contrary

 evidence or information about the drug's safety or efficacy or present conclusions that clearly

 cannot be supported by the results of the study. Further, drug companies must not make

 comparisons between their drugs and other drugs that represent or suggest that a drug is safer or
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more effective than another drug in some particular when it has not been demonstrated to be

safer or more effective in such particular by substantial evidence or substantial clinical

expenence.

       142.    Drug companies have a duty to ensure that the material in their label(s) is accurate

and complete and is updated to reflect any new information. Promotional materials also must be

submitted to the FDA when they are first used or disseminated.

       2. The Manufacturer Defendants Deployed Front Groups and Doctors to
          Disseminate Unbranded Information on Their Behalf.

       143.    Drug companies market both directly and indirectly, using third party validators

(such as scientists, physicians, patient or professional organizations) that appear to be

independent and therefore more credibJe. Regardless of which form of marketing it utilizes, a

drug company is responsible for all of its marketing material and has a duty to ensure that the

marketing material is not deceptive or misleading.

       144.    In addition to being carried out directly or through third parties, drug companies'

promotional activity can be branded or unbranded; unbranded marketing refers not to a specific

drug, but more generally to a disease state or treatment. By using unbranded communications,

drug companies can attempt to sidestep their legal obligations and duties.

       145.    The Manufacturer Defendants disseminated many of their false, misleading,

imbalanced, and unsupported statements indirectly, through KOLs and Front Groups, and in

unbranded marketing materials. These KOLs and Front Groups were important elements of the

Manufacturer Defendants' marketing plans, which specifically contemplated their use, because

they seemed independent and therefore unregulated. Through unbranded materials, the

Manufacturer Defendants, with their own knowledge of the risks, benefits and advantages of

opioids, presented information and instructions concerning opioids generally that were contrary

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 to, or at best, inconsistent with information and instructions listed on the Manufacturer

 Defendants' branded marketing materials and drug labels. The Manufacturer Defendants did so

 knowing that unbranded materials typically are not submitted to or reviewed by any regulatory

 authority.

          146.     Even where such unbranded messages were channeled through third-party

 vehicles, the Manufacturer Defendants adopted these messages as their own when they cited to,

 edited, approved, and distributed such materials knowing they were false, misleading,

 unsubstantiated, unbalanced, and incomplete. Unbranded brochures and other materials that are

disseminated by or on behalf of the manufacturer constitute drug "labeling" that may not be false

or misleading in any particular. The Manufacturer Defendants' sales representatives distributed

 third-party marketing material that was deceptive to the Manufacturer Defendants' target

audiences. The Manufacturer Defendants are responsible for these materials.

          147.    Moreover, the Manufacturer Defendants took an active role in guiding, reviewing,

and approving many of the misleading statements issued by these third parties, ensuring that the

Manufacturer Defendants were consistently aware of their content. By funding, directing,

editing, and distributing these materials, the Manufacturer Defendants exercised control over

their deceptive messages and acted in concert47 with these third parties to fraudulently promote

 the use of opioids for the treatment of chronic pain.

          148.    For example, drug companies have been admonished for making functional

claims in branded materials if there is no evidence for such claims. Thus, drug companies were

 put on notice that the authorities would not allow such claims in branded materials. The

 Manufacturer Defendants instead created and disseminated these same unsupported claims- that

 47
   As used in this Complaint, lhe allegation that Defendants "acted in concert'' with third parties is intended to mean
 both that tbey conspired with these third parties to achieve some end and that they aided and abetted these third
 parties in the commission of acts necessary to achieve it.
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opioids allow patients to sleep, return to work, or walk more easily-through unbranded

marketing materials.

        149.   The third-party publications the Manufacturer Defendants assisted in creating and

distributing did not include the warnings and instructions mandated by their required drug labels

and consistent with the risks and benefits known to the Manufacturer Defendants. For example,

these publications either did not disclose the risks of addiction, abuse, misuse, and overdose, or

affirmatively denied that patients faced a serious risk of addiction.

       150.    By acting through third parties, the Manufacturer Defendants were able to both

avoid scrutiny and give the false appearance that the messages reflected the views of independent

third parties. Later, the Manufacturer Defendants would cite to these sources as "independent"

corroboration of their own statements. As one physician adviser to the Manufacturer Defendants

noted, third-party documents not only had greater credibility, but broader distribution as doctors

did not "push back" at having materials from, for example, the non-profit American Pain

Foundation (''APF") on display in their offices, as they might with first party, drug company

pieces. Nevertheless, the independence of these materials was a ruse--the Manufacturer

Defendants were in close contact with these third parties, paid for and were aware of the

misleading information they were disseminating about the use of opioids to treat chronic pain,

and regularly helped them to tailor and distribute their misleading, pro-opioid messaging.

       151.    As part of a strategic marketing scheme, the Manufacturer Defendants spread and

validated their deceptive messages through the following vehicles: (a) KOLs, who cou ld be

counted upon to write favorable journal articles and deliver supportive CMEs; (b) a body of

biased and unsupported scientific literature; (c) treatment guidelines; (d) CMEs; (e) unbranded

patient education materials; and (f) Front Group patient-advocacy and professional



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organizations, which exercised their influence both directly and through Defendant-controlled

KO Ls who served in leadership roles in those organizations.

               a. Defendants' Use of KOLs

        152.   The Manufacturer Defendants cultivated a small circle of doctors who, upon

information and belief, were selected and sponsored by the Manufacturer Defendants solely

because they favored the aggressive treatment of chronic pain with opioids. The Manufacturer

Defendants' support helped these doctors become respected industry experts. In return, these

doctors repaid the Manufacturer Defendants by touting the benefits of opioids to treat chronic

pain.

        153.   Pro-opioid doctors have been at the hub of the Manufacturer Defendants'

promotional efforts, presenting the appearance of unbiased and reliable medical research

supporting the broad use of opioid therapy for chronic pain. KOLs have written, consulted on,

edited, and lent their names to books and articles, and given speeches and CMEs supportive of

chronic opioid therapy. They have served on committees that developed treatment guidelines that

strongly encourage the use of opioids to treat chronic pain (even while acknowledging the Jack

of evidence in support of that position) and on the boards of pro-opioid advocacy groups and

professional societies that develop, select, and present CMEs. Defendants were able to exert

control of each of these modalities through their KO Ls.

        154.   In return, the KOLs' association with the Manufacturer Defendants provided not

only money, but prestige, recognition, research funding, and avenues to publish. This positioned

them to exert even more influence in the medical community.

        155.   Although some KOLs initially may have advocated for more pemussive opioid

 prescribing with honest intentions, the Manufacturer Defendants cultivated and promoted only

 those KOLs who could be relied on to help broaden the chronic opioid therapy market. The
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 Manufacturer Defendants selected, funded, and elevated those doctors whose public positions

 were unequivocal and supportive of using opioids to treal chronic pain. 48 These doctors'

 professional reputations were then dependent on continuing to promote a pro-opioid message,

 even in activities that were not directly funded by the drug companies.

         156.     The Manufacturer Defendants cited and promoted favorable studies or articles by

 these KOLs. By contrast, the Manufacturer Defendants did not support, acknowledge, or

 di sseminate the publications of doctors critical of the use of chronic opioid therapy. Indeed, one

 prominent KOL sponsored by the Manufacturer Defendants, Russell Portenoy, stated that he was

 told by a drug company that research critical of opioids (and the doctors who published that

 research) would never obtain funding. Some KOLs have even gone on to become direct

 employees and executives of the Manufacturer Defendants, like Dr. David Haddox, Purdue's

 Vice President of Risk Management, or Dr. Bradley Galer, Endo's former Chief Medical Officer.

         157.     The Manufacturer Defendants provided substantial opportunities for KOLs to

 participate in research studies on topics the Manufacturer Defendants suggested or chose, with

the predictable effect of ensuring that many favorable studies appeared in the academic literature.

 As described by Dr. Portenoy, drug companies would approach him with a study that was well

 underway and ask if he would serve as the study's author. Dr. Portenoy regularly agreed.

         158.     The Manufacturer Defendants also paid KOLs to serve as consultants or on their

 advisory boards and give talks or present CMEs, typically over meals or at conferences. Since

2000, Cephalon, for instance, has paid doctors more than $4.5 million for programs relating to its

 opioids.


 48
    Opioid-makers were not the first to mask their deceptive marketing efforts in purported science. The tobacco
 industry also used KOLs in its effort to persuade the public and regulators that tobacco was not addictive or
 dangerous. For example, the tobacco compan ies funded a research program at Harvard and chose as its chief
 researcher a doctor who had expressed views in line with industry's views. He was dropped when he criticized low-
 tar cigarettes as potentially more dangerous, and later described himself as a pawn in the industry's campaign.
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       159.   These KOLs were carefully vetted to ensure that they were likely to remain on-

message and supportive of a pharmaceutical industry agenda. One measure was a doctor's prior

work for trusted Front Groups.

       J60.   The Manufacturer Defendants kept close tabs on the content of the misleading

materials published by these KOLs. In many instances, they also scripted what these KOLs

said-as tbey did with all their recruited speakers. The KOLs knew, or deliberately ignored, the

misleading way in which they portrayed the use of opioids to treat chronic pain to patients and

prescribers, but they continued to publish those misstatements to benefit themselves and the

Manufacturer Defendants, all the while causing harm to County prescribers and patients.

                    i.   Russell Portenoy

       161.   Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom the

Manufacturer Defendants identified and promoted to further their marketing campaign. Dr.

Portenoy received research support, consulting fees, and honoraria from Cephalon, Endo,

Janssen, and Purdue (among others), and was a paid consultant to Cephalon and Purdue.

       162.   Dr. Portenoy was instrumental in opening the door for the regular use of opioids

to treat chronic pain. He served on the American Pain Society ("APS") I American Academy of

Pain Medicine ("AAPM") Guidelines Committees, which endorsed the use of opioids to treat

chronic pain, first in 1997 and again in 2009. He was also a member of the board of APF, an

advocacy organization almost entirely funded by the Manufacturer Defendants.

       163.   Dr. Portenoy aJso made frequent media appearances promoting opioids and

spreading misrepresentations. He appeared on Good Morning America in 2010 to discuss the use

of opioids long-term to treat chronic pain. On this widely watched program, broadcast in the

Counties and across the country, Dr. Portenoy claimed: "Addiction, when treating pain, is
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 distinctly uncommon. If a person does not have a history, a personal history, of substance abuse,

 and does not have a history in the family of substance abuse, and does not have a very major

 psychiatric disorder, most doctors can feel very assured that that person is not going to become

 addicted. "49

            164.    Dr. Portenoy has recently admitted that he "gave innumerable lectures in the late

 1980s and '90s about addiction that weren't true." These lectures falsely claimed that fewer than

 1% of patients would become addicted to opioids. According to Dr. Portenoy, because the

 primary goal was to "destigmatize" opioids, he and other doctors promoting them overstated

 their benefits and glossed over their risks. Dr. Portenoy also conceded that "ld]ata about the

 effectiveness of opioids does not exist. 1150 Portenoy candidly stated: "Did I teach about pain

 management, specifically about opioid therapy, in a way that reflects misinformation? Well, ... I

 guess I did." 51

                          11.   Lynn Webster

            165.    Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

 of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

 Webster was President in 2013 and is a current board member of AAPM, a front group that

 ardently supports chronic opioid therapy. 52 He is a Senior Editor of Pain Medicine, the same

journal that published Endo special advertising supplements touting Opana ER. Dr. Webster was

 the author of numerous CMEs sponsored by Cephalon, Endo, and Purdue. At the same time, Dr.



 49
      Good Morning America television broadcast, ABC News (Aug. 30, 2010).

 50
      Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17, 2012.

 >•   Id.

 52
    Journal supplements are paid for by drug manufacturers and, although they may be designed m blend into the rest
 of the journal, are not peer-reviewed and constitute drug company advertising.
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Webster was receiving significant funding from Defendants (including nearly $2 million from

Cephalon).

       166.    Dr. Webster had been under investigation for overprescribing by the DEA, which

raided his clinic in 2010. More than 20 of Dr. Webster's former patients at the Lifetree Clinic

have died of opioid overdoses. Ironically, Dr. Webster created and promoted the Opioid Risk

Tool, a five question, one-minute screening tool relying on patient self-reports that purportedly

allows doctors to manage the risk that their patients will become addicted to or abuse opioids.

The claimed ability to pre-sort patients likely to become addicted is an important tool in giving

doctors confidence to prescribe opioids long-term, and for this reason, references to screening

appear in various industry-supported guidelines. Versions of Dr. Webster's Opioid Risk Tool

appear on, or are linked to, websites run by Endo, Janssen, and Purdue. In 2011, Dr. Webster

presented, via webinar, a program sponsored by Purdue titled, Managing Patient's Opioid Use:

Balancing the Need and the Risk. Dr. Webster recommended use of risk screening tools, urine

testing, and patient agreements to prevent "overuse of prescriptions" and "overdose deaths." This

webinar was available to and was intended to reach County doctors.

       167.    Dr. Webster also was a leading proponent of the concept of "pseudoaddiction,"

the notion that addictive behaviors should be seen not as warnings, but as indications of

undertreated pain. In Dr. Webster's description, the only way to differentiate the two was to

increase a patient's dose of opioids. As he and his co-author wrote in a book entitled Avoiding

Opioid Abuse While Managing Pain (2007), when faced with signs of aberrant behavior,

increasing the dose "in most cases ... should be the clinician's first response." Endo distributed

this book to doctors. Years later, Dr. Webster reversed himself, acknowledging that




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"[pseudoaddiction] obviously became too much of an excuse to give patients more

medication. "53

                    b. "Research" That Lacked Supporting Evidence

           168.     Rather than find a way to actually test the safety and efficacy of opioids for Jong-

term use, the Manufacturer Defendants led people to believe that they already had. The

Manufacturer Defendants created a body of false, misleading, and unsupported medical and

popular literature about opioids that (a) understated the risks and overstated the benefits of long-

term use; (b) appeared to be the result of independent, objective research; and (c) was thus more

likely to shape the perceptions of prescribers, patients and payors. This literature was, in fact,

marketing material focused on persuading doctors and consumers that the benefits of long-term

opioid use outweighed the risks.

           169.    To accomplish this, the Manufacturer Defendants- sometimes through third-party

consultants and/or advocacy organizations-commissioned, edited, and arranged for the

placement of favorable articles in academic journals. The Manufacturer Defendants' internal

documents reveal plans to submit research papers and "studies" to long lists of journals,

including back-up options and last resort, "fast-track" application journals, that they could use if

the pending paper was rejected everywhere else.

           170.    The Manufacturer Defendants coordinated the timing and publication of

manuscripts, abstracts, posters/oral presentations, and educational materials in peer-reviewed

journals and other publications to support the launch and sales of their drugs. The plans for these

materials did not originate in the departments within the Manufacturer Defendant organizations

that were responsible for research, development or any other area that would have specialized

knowledge about the drugs and their effects on patients, but in the Manufacturer Defendants'

53
     John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, Milwaukee Wisc. J. Sentinel (Feb. I 9, 20 12).
                                                         63
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marketing departments and with the Manufacturer Defendants' marketing and public relations

consuJtants. The Manufacturer Defendants often relied on "data on file" or presented posters,

neither of which are subject to peer review. They aJso published their articles not through a

competitive process, but in paid journaJ supplements, which allowed the Manufacturer

Defendants to publish, in nationaJly circuJated journals, studies supportive of their drugs.

        171.    The Manufacturer Defendants also made sure that favorable articles were

disseminated and cited widely in the medical literature, even where references distorted the

significance or meaning of the underlying study. Most notably, Purdue promoted a 1980

reference in the well-respected New England Journal of Medicine: J. Porter & H. Jick, Addiction

Rare in Patients Treated with Narcotics, 302(2) New Eng. J Med. 123 (1980) ("Porter-Jick

Letter"). 1t is cited 856 times in Google Scholar, and 86 times since 2010. It also appears as a

reference in two CME programs in 2012 sponsored by Purdue and Endo. 54 The Manufacturer

Defendants and those acting on their behalf fail to reveaJ that this "article" is actually a letter-to-

the-editor, not a peer-reviewed study (or any kind of study at all). The Porter-Jick Letter,

reproduced in fuJI below, describes a review of the charts of hospitalized patients who had

received opioids. (Because it was a 1980 study, standards of care aJmost certainly would have

limited opioids to acute or end-of-life situations, not chronic pain.)




54
   AAPM, Safe Opioid Prescribing Course, February 25-26, 20 12, sponsored by Purdue and Endo; ''Chronic Pain
Management and Opioid Use," October 11 , 20 12, sponsored by Purdue. Each CME is available for online credit,
including to prescribers in The counties.
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                      ADDICTION RARE IN PATIENTS TREATED
                               WITH NARCOTICS
              To the Editor: Recently, we examined our current files to deter-
            mine the incidence of narcotic addiction in 39,946 hospitalized
            medical patients' who were monitored consecutively. Although
            there were 1 1 ,882 patients who received at least one narcotic prep-
            aration. there were only four cases of reasonably well documented
            addiction in patients who had no history of addiction. The addic-
            tion was considered major in only one instance. The drugs im-
            plicated were meperidine in two patients. 2 Percodan in one, and
            hydromorphone in one. We conclude that despite widespread use of
            narcotic drug• in hospitals, the development of addiction is rare in
            medical patients with no history of addiction.
                                                                                       J
                                                                                    A.NE PORTER
                                                                             HERSHEL J1cx, M . D .
                                                                Boston Collaborative Drug
                                                                     Surveillance Program
            Waltham, MA 021 54                           Boston University Medical Cen ter
               l . .lick H. Miettinen OS. Shapiro          s.   Lewia OP, Siskind V, Slone D .
                 Comprehensive drua surveillance. JAMA. 1970: 213:1455-60.
            2. Miller RR, .lick H. Clinical effects of tneperidinc in hoapltalized medical
               patients. .I Clin Pharnaacol. 1978; 18: 180-8.


       172.      The Porter-Jick Letter notes that, when these patients' records were reviewed, it

found almost no references to signs of addiction, though there is no indication that caregivers

were instructed to assess or document signs of addiction. None of these serious limitations is

disclosed when the Manufacturer Defendants, or those acting on their behalf, cite the Porter-Jick

Letter, typically as the so le scientific support for the proposition that opioids are rarely addictive,

even when taken long-term. ln fact, Dr. Jick later complained that his letter had been distorted

and misused.

        173.     The Manufacturer Defendants worked not only to create or elevate favorable

studies in the literature, but to discredit or bury negative information. The Manufacturer

Defendants' studies and articles often targeted articles that contradicted the Manufacturer

Defendants' claims or raised concerns about chronic opioid therapy. In order to do so, the

Manufacturer Defendants---0ften with the help of third-party consultants-targeted a broad

range of media to get their message out, including negative review articles, letters to the editor,

commentaries, case-study reports, and newsletters.

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         174.    The Manufacturer Defendants' strategies-first, to plant and promote supportive

 literature and then, to cite the pro-opioid evidence in their promotional materials, while failing to

 disclose evidence that contradicts those claims-are in dereliction of their legal obligations. The

 strategies were intended to, and did, knowingly and intentionally distort the truth regarding the

 risks, benefits and superiority of opioids for chronic pain relief resulting in distorted prescribing

 patterns.

                 c. Treatment Guidelines

         175.    Treatment guidelines bave been particularly important in securing acceptance for

 chronic opioid therapy. They are relied upon by doctors, especially the general practitioners and

 family doctors targeted by the Manufacturer Defendants, who are otherwise not experts, nor

 trained, in the treatment of chronic pain. Treatment guidelines not only directly inform doctors'

 prescribing practices, but are cited throughout the scientific Jiterature and referenced by third-

 party payors in determining whether they should cover treatments for specific indications.

 Furthermore, Endo's internal documents indicate that pharmaceutical sales representatives

 employed by Endo, Actavis, and Purdue discussed treatment guidelines with doctors during

 individual sales visits.

                        i.   FSMB

         176.    The Federation of State Medical Boards ("FSMB") is a trade organization

 representing the various state medical boards in tbe United States. The state boards that comprise

 the FSMB membership have the power to license doctors, investigate complaints, and discipline

 physicians. The FSMB finances opioid- and pain-specific programs through grants from

 Defendants.

         177.    In 1998, the FSMB developed Model Guidelines for the Use of Controlled

 Substances for the Treatment of Pain ("FSMB Guidelines"), which FSMB admitted was
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 produced ''in collaboration with pharmaceutical companies." The FSMB Guidelines taught not

 that opioids could be appropriate in limited cases or after other treatments had failed, but that

 opioids were "essential" for treatment of chronic pain, including as a first prescription option.

 The FSMB Guidelines failed to mention risks relating to respiratory depression and overdose,

 and they discussed addiction only in the sense that "inadequate understandings" of addiction can

 lead to "inadequate pain control."

         178.    A 2004 iteration of the FSMB Guidelines and the 2007 book adapted from the

 2004 guidelines, Responsible Opioid Prescribing, also make these same claims. These guidelines

 were posted on1ine and were available to and intended to reach County physicians.

         I 79.   The publication of Responsible Opioid Prescribing was backed largely by drug

 manufacturers, including Cephalon, Endo, and Purdue. The FSMB financed the distribution of

 Responsible Opioid Prescribing by its member boards by contracting with drug companies,

 including Endo and Cephalon, for bulk sales and distribution to sales representatives (for

 distribution to prescribing doctors).

         180.    In all, 163,131 copies of Re~ponsible Opioid Prescribing were distributed to state

 medical boards (and through the boards, to practicing doctors), and the FSMB benefitted by

 earning approximately $250,000 in revenue and commissions from their sale. The FSMB website

 describes the book as the "leading continuing medication education (CME) activity for

 prescribers of opioid medications."

         18 J.   Drug companies relied on FSMB guidelines to convey the message that "under-

 treatment of pain" would result in official discipline, but no discipline would result if opioids

 were prescribed as part of an ongoing patient relationship and prescription decisions were

 documented. FSMB turned doctors' fear of discipline on its head-doctors, who used to believe



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 that they would be disciplined if their patients became addicted to opioids, were taught that they

 would be punished instead if they failed to prescribe opioids to their patients with pain.

            182.   FSMB, more recently, has moderated its stance. Although the 201 2 revision of

 Responsible Opioid Prescribing continued to teach that "pseudoaddiction" is real and that opioid

 addiction risk can be managed through risk screening, it no longer recom mended chronic opioid

 therapy as a first choice after the failure of over-the-counter medication a nd has heightened its

 addiction and risk warnings.

                        11.   AAP'MIAPS Guidelines

            183.   AAPM and the APS are professional medical societies, each of which received

 substantial funding from Defendants from 2009 to 2013 (with AAPM receiving over $2 million).

            184.   They issued a consensus statement in 1997, The Use of Opioids for the Treatment

of Chronk Pain, which endorsed opioids to treat chronic pain and claimed that the ri sk that

patients would become addicted to opioids was low. 55 The co-author of the statement, Dr.

Haddox, was, at the time, a paid speaker for Purdue. Dr. Portenoy was the sole consultant. The

consensus statement, which also formed the foundation of the FSMB Guidelines, remained on

 AAPM's website unti I 201 1. The statement was taken down from AAPM's website only after a

 doctor complained, though it lingers on the internet elsewhere. 56

            185.   AAPM and APS issued their own guidelines in 2009 ("/\APM/APS Guidelines")

 and continued to recommend the use of opioids to treat chronic pain. 57 Fourteen of the 21 panel



 5
  s Consensus statement, The Use oJOpioidsfor the Treatment ofChronic Pain, APS & AAPM (1997), available at
 http://opi.areastematicas.com/generalidades/OPIOI DES.DOLORCRONICO.pdf (accessed May 30, 20 17).

 S6   Id.

 n Roger Chou et al., Clinical Guidelines for the Use ofChronic Opioid Therapy in Chronic Noncancer Pain, I0(2)
 The Journal of Pain: Official Journal of the American Pain Society 113-130 (2009).

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 members who drafted the AAPM/APS Guidelines, including KOLs Dr. Portenoy and Dr. Perry

 Fine of the University of Utah, received support from Janssen, Cephalon, Endo, and Purdue.

         186.   The 2009 Guidelines promote opioids as "safe and effective" for treating chronic

 pain, despite acknowledging limited evidence, and conclude that the risk of addiction is

 manageable for patients regardless of past abuse histories. One panel member, Dr. Joel Saper,

 Clinical Professor of Neurology at Michigan State University and founder of the Michigan

 Headache & Neurological Institute, resigned from the panel because of his concerns that the

 2009 Guidelines were influenced by contributions that drug companies, including Defendants,

 made to the sponsoring organizations and committee members. These AAPM/APS Guidelines

 have been a particularly effective channel of deception and have influenced not only treating

 physicians, but also the body of scientific evidence on opioids; the Guidelines have been cited

 732 times in academic literature, were disseminated in The counties during the relevant time

 period, are still available onJine, and were reprinted in the Journal of Pain.

        187.    The Manufacturer Defendants widely referenced and promoted the 2009

 Guidelines without discJosing the acknowledged lack of evidence to support them.

                     111.   American Geriatrics Society

        188.    The American Geriatrics Society ("AGS"), a nonprofit organization serving health

 care professionals who work with the elderly, disseminated guidelines regarding the use of

 opioids for chronic pain in 2002 (The Management of Persistent Pain in Older Persons,

 hereinafter "2002 AGS Guidelines") and 2009 (Pharmacological Management of Persistent Pain

 in Older Persons, hereinafter "2009 AGS Guidelines"). The 2009 AGS Guidelines included the

 following recommendations: "All patients with moderate to severe pain ... should be considered

 for opioid therapy (low quality of evidence, strong recommendation)," and "the risks [of

 addiction] are exceedingly low in older patients with no current or past history of substance
                                                  69
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 abuse." 58        These recommendations, which continue to appear on J\GS's website, are not

 supported by any study or other reliable scientific evidence. Nevertheless, they have been cited

 278 times in Google Scholar since their 2009 publication.

            189.     AGS contracted with Defendants Endo, Purdue, and Janssen to disseminate the

 2009 Guidelines, and to sponsor CMEs based on them. These Defendants were aware of the

 content of the 2009 Guidelines when they agreed to provide funding for these projects. The 2009

 Guidelines were first published online on July 2, 2009. AGS submitted grant requests to

 Defendants including Endo and Purdue beginning July 15, 2009. Internal AGS discussions in

 August 2009 reveal that it did not want to receive up-front funding from drug companies, which

 would suggest drug company influence, but would instead accept commercial support to

 disseminate the publication. However, by drafting the guidelines knowing that pharmaceutical

 company funding would be needed, and allowing these companies to determine whether to

 provide support only after they had approved the message, AGS ceded significant control to

 these companies. Endo, Janssen, and Purdue all agreed to provide support to distribute the

 guidelines.

           190.      According to one news report, J\GS has received $344,000 in funding from opioid

 makers since 2009. 59 Five of l 0 of the experts on the guidelines panel disclosed financiaJ ties to

 the Manufacturer Defendants, including serving as paid speakers and consultants, presenting

 CMEs sponsored by the Manufacturer Defendants, receiving grants from the Manufacturer

 Defendants, and investing in the Manufacturer Defendants' stock. The Institute of Medicine



 58
    Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc'y 1331 , 1339, 1342
 (2009), available at bttp://onlinelibrary.wiley.com/doi/10. J 1 I J/j . 1526-4637.2009.00699.x/full (accessed May 30,
 2017).
 59
      John Fauber & Ellen Gabler, Narcotic Painkiller Use Booming Among Elderly, .Milwaukee J. Sentinel, May 30,
 2012.
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 recommends that, to ensure an unbiased result, fewer than 50% of the members of a guidelines

 committee should have financial relationships with drug companies.

                      iv.    Guidelines That Did Not Receive Defendants' Support

         191.    The extent of the Manufacturer Defendants' influence on treatment guidelines is

 demonstrated by the fact that independent guidelines- the authors of which did not accept drug

 company funding- reached very different conclusions. The 2012 Guidelines for Responsible

 Opioid Prescribing in Chronic Non-Cancer Pain, issued by the American Society of

 Interventional Pain Physicians ("ASIPP"), warned that "[t]he recent revelation that the

 pharmaceutical industry was involved in the development of opioid guidelines as well as the bias

 observed in the development of many of these guidelines illustrate that the model guidelines are

 not a model for curtailing controlled substance abuse and may, in fact, be facilitating it." ASIPP's

 Guidelines further advise that ''therapeutic opioid use, specifically in high doses over long

 periods of time in chronic non-cancer pain starting with acute pai~ not only lacks scientific

 evidence, but is in fact associated with serious health risks including multiple fatalities, and is

 based on emotional and political propaganda under the guise of improving the treatment of

 chronic pain." ASIPP recommends long-acting opioids in high doses only "in specific

 circumstances with severe intractable pain" and only when coupled with "continuous adherence

 monitoring, in well- selected populations, in conjunction with or after failure of other modalities

 of treatments with improvement in physical and functional status and minimal adverse effects. 1160

         192.    Similarly, the 2011 Guidelines for the Chronic Use of Opioids, issued by the

 American College of Occupalional and Environmental Medicine, recommend against the



 60 Laxmaiah Manchikanti, ct al., American Society of lntcrventional Pain Physicians (ASIPP) Guidelines f or
 Responsible Opioid Prescribing in Chronic Non-Cancer Pain: Part I , Evidence Assessment, 15 Pain Physician
 (Special Issue) S1-S66; Part 2 - Guidance, 15 Pain Physician (Special Issue) S67-S 116(2012).

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 "routine use of opioids in the management of patients with chronic pain," finding "at least

 moderate evidence that hanns and costs exceed benefits based on limjted evidence," wrule

 conceding there may be patients for whom opioid therapy is appropriate. 61

         193.    The Clinical Guidelines on Management of Opioid Therapy for Chronic Pain,

 issued by the U.S. Department of Veterans Affairs ("VA") and Department of Defense ("DOD")

 in 2010, notes that their review:

                 revealed the Lack of solid evidence based research on the efficacy of long-term
                 opioid therapy. Almost all of the randomized trials of opioids for chronjc non-
                 cancer pain were short-term efficacy studies. Critical research gaps ... include:
                 lack of effectiveness studies on long-term benefits and hanns of opioids ... ;
                 insufficient evidence to draw strong conclusions about optimal approaches to risk
                 stratification ... ; lack of evidence on the utility of informed consent and opioid
                 management plans ...; and treatment of patients with chronic non-cancer pain at
                 higher risk for drug abuse or misuse.62

                 d. Continuing Medical Education

         194.    CMEs are ongoing professional education programs proyjded to doctors. Doctors

 are required to attend a certain number and, often, type of CME programs each year as a

 condition of their licensure. These programs are delivered in person, often in connection with

 professional organizations' conferences, online, or through written publications. Doctors rely on

 CMEs not only to satisfy licensing requirements, but to get information on new developments in

 medicine or to deepen their knowledge in specific areas of practice. Because CMEs are typically

 delivered by KOLs who are rughly respected in their fields, and are thought to reflect these

 physicians' medical expertise, they can be especially influential with doctors.



 61
    American College of Occupational and Environmental Medicine's Guidelines for the Chronic Use of Opioids,
 (2011 ), available at: bttps://www.nhms.org/sitcs/default/files/Pdfs/ ACOEM%2020 I I-Chronic%
 20Pain%200pioid%20.pdf (accessed May 30, 2017).

 62
    Management of Opioid Therapy for Chronic Pain Working Group, VA/ DoD Clinical Practice Guideline for
 Management of Opioid Therapy for Chronic Pain (May 20 I0), available at
 http://www.healthquality.va.gov/guidelines/Pain/cot/COT_312_Full-er.pdf (accessed May 30, 2017).
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          195.    The countless doctors and other health care professionals who participate m

 accredited CMEs constitute an enormously important audience for opioid reeducation. As one

 target, the Manufacturer Defendants aimed to reach general practitioners, whose broad area of

 focus and lack of specialized training in pain management made them particularly dependent

 upon CMEs and, as a result, especially susceptible to the Manufacturer Defendants' deceptions.

         196.     ln all, the Manufacturer Defendants sponsored CMEs that were delivered

 thousands of times, promoting chronic opioid therapy and supporting and clisseminating the

 deceptive and biased messages described in this Complaint. These CMEs, while often

 generically titled to relate to the treatment of chronic pain, focused on opioids to the exclusion of

 alternative treatments, inflated the benefits of opioids, and frequently omitted or downplayed

 their risks and adverse effects.

         197.     The American Medical Association ("AMA") has recognized that support from

 drug companies with a financ ial interest in the content being promoted "creates conditions in

 which external interests could influence the availability and/or content" of the programs and

 urges that "[w]hen possible, CME[s] should be provided without such support or the
                                                                                                     63
 participation of individuals who have financial interests in the educational subject matter."

          198.    Dozens of CMEs that were available to and attended or reviewed by County

 doctors during the relevant time period did not live up to the AMA's standards.

          199.    The influence of the Manufacturer Defendants' funding on the content of these

 CMEs is clear. One study by a Georgetown University Medical Center professor compared the

 messages retained by medical students who reviewed an industry-funded CME article on opioids

 versus another group who reviewed a non-industry-funded CME article. The industry-funded

 63  Opinion 9.0115, Financial Relationships with Industry in CME, Am. Med. Ass'n (Nov. 2011), available al
  hrtp://eo2.commpartncrs.com/uscrs/ama/downloads/ 120328_ 0pinion_E-9_ 0 I I5.pdf (accessed May 30, 20 I 7).

                                                      73
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 CME did not mention opioid-related death once; the non-industry-funded CME mentioned

 opioid-related death 26 times. Students who read the industry-funded article more frequently

 noted the impression that opioids were underused in treating chronic pain. The "take-aways" of

 those reading the non- industry-funded CME mentioned the risks of death and addiction much

 more frequently than the other group. Neither group could accurately identify whether the article

 they read was industry-funded, making clear the difficulty health care providers have in

 screening and accounting for source bias. 64

         200.    By sponsoring CME programs presented by Front Groups like APF, AAPM, and

 others, the Manufacturer Defendants could expect messages to be favorable to them, as these

 organizations were otherwise dependent on the Manufacturer Defendants for other projects. The

 sponsoring organizations honored this principle by hiring pro-opioid KOLs to give talks that

 supported chronic opioid therapy. The Manufacturer Defendant-driven content in these CMEs

 had a direct and immediate effect on prescribers' views on opioids. Producers of CMEs and the

 Manufacturer Defendants measured the effects of CMEs on prescribers' views on opioids and

 their absorption of specific messages, confirming the strategic marketing purpose in supporting

 them.

                 e. Unbranded Patient Education

         20 l.   Phannaceutical industry marketing experts see patient-focused advertising,

 including direct-to-consumer marketing, as par:ticularly valuable in "increas[ing] market share ...

 by bringing awareness to a particular disease that the drug treats. "65 Evidence also demonstrates

 that physicians are willing to acquiesce to patient demands for a particular drug-              even for

 64
   Adriane Fugh-Berman, Marketing Messages in Industry-Funded CME, PharmedOut (June 25, 2010), available at
 pharmedout.galacticrealms.com/fugh-BermanPrescriptionforContlict6-25- IO.pdf.

 6
 s Kanika Johar, An Insider's Perspective: Defense of the Pharmaceutical Industry~~ Marketing Practices, 76
 Albany L. Rev. 299, 308 (2013).

                                                    74
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 opioids and for conditions for which they are not generally recommended. 66 An Actavis

 marketing plan, fo r example, noted that "[d)irecc-to-consumer marketing affects prescribing

 decisions." Recognizing this fact, the Manufacturer Defendants put their relationships with Front

 Groups to work to engage in largely unbranded patient education about opioid treatment for

 chronic pain.

         202.     The drug companies expect that they will recoup their investment in direct-to-

 consumer advertisements by capturing at least some of any additional prescriptions that result

 from patients "asking their doctor" about drugs that can treat their pain. Doctors also may review

 direct-to-consumer materials sales representatives give them to distribute to patients.

                  f.   Defendants' Use of Front Groups

         203.     As noted above, Defendants Cephalon, Endo, Janssen, and Purdue entered into

 arrangements with numerous organizations to promote opioids. These organizations depend upon

 Defendants for significant funding and, in some cases, for their survival. They were involved not

 only in generating materials and programs for doctors and patients that supported chronic opioid

 therapy, but also in assisting Defendants' marketing in other ways-for example, responding to

 negative articles and advocating against regulatory changes that would constrain opioid

 prescribing. They developed and disseminated pro-opioid treatment guidelines; conducted

 outreach to groups targeted by Defendants, such as veterans and the elderly; and developed and

 sponsored CMEs that focused exclusively on use of opioids to treat chronic pain. Defendants

 funded these Front Groups in order to ensure supportive messages from these seemingly neutral

 and l:rt:clible Lhfrd parties, ru1d their funding did, in fact, ensure such supportive messages.



 66 Prescribers often accede to patient requests. According to one study, nearly 20% of sciatica patients requesting
 oxycodone would receive a prescription for it, compared with I% making no request. More than half of patients
 requesting a strong opioid received one. J.B. McKinlay et al., Effects of Patient Medication Requests on Physician
 Prescribing Behavior, 52(2) Med. Care 294 (20 14).
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         204.     Several representative examples of such Front Groups arc highlighted below, but

  there are others, too, such as APS, AGS, FSMB, American Chronic Pain Association ("ACPA"),

  AAPM, American Society of Pain Educators ("ASPE"), NPF, and PPSG.

                           1.   American Pain Foundation

         205.    The most prominent of the Manufacturer Defendants' Front Groups was J\PF,

  which received more than $10 million in funding from opioid manufacturers from 2007 until it

 closed its doors in May 2012. Endo alone provided more than half of that funding; Purdue was

  next, at $1.7 million.

         206.    APF issued education guides for patients, reporters, and policymakers that touted

  the benefits of opioids for chronic pain and trivialized their risks, particularly the risk of

 addiction. APF also launched a campaign to promote opioids for returning veterans, which has

 contributed to high rates of addiction and other adverse outcomes-including death- among

  returning soldiers. J\PF also engaged in a significant multimedia campaign-through radio,

  television and the internet-to educate patients about their "right" to pain treatment, namely

 opioids. All of the programs and materials were available nationally and were intended to reach

 County residents.

         207.    In addition to Perry Fine, Russell Portenoy, and Scott Fishman, who served on

  APF's Board and reviewed its publications, another board member, Lisa Weiss, was an employee

 of a public relations finn that worked for both Purdue and APF.

          208.   In 2009 and 2010, more than 80% of APF's operating budget came from

  phannaceutical industry sources. Including industry grants for specific projects, APF received

  about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

  budget for 2010 projected receipts of roughly $2.9 million from drug companies out of total

  income of about $3.5 million. By 2011, APF was entirely dependent on incoming grants from
                                                  76
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 Defendants Purdue, Cephalon, Endo, and others to avoid using its line of credit. As one of its

 board members, Russell Portenoy, explained, the Jack of funding diversity was one of the biggest

 problems at APF.

           209.     APF held itself out as an independent patient advocacy organization. It often

 engaged in grassroots lobbying against various legislative initiatives that might limit opioid

 prescribing, and thus the profitability of its sponsors. It was often called upon to provide "patient

 representatives" for the Manufacturer Defendants' promotional activities, including for Purdue's

 Partners Against Pain and Janssen's Let's Talk Pain. As laid out below, APF functioned largely

 as an advocate for the interests of the Manufacturer Defendants, not patients. Indeed, as early as

 2001 , Purdue told APF that the basis of a grant was Purdue's desire to "strategically align its

 investments in nonprofit organizations that share [its] business interests."

           2 10.   In practice, APF operated in close collaboration with opioid makers. On several

 occasions, representatives of the drug companies, often at infonna l meetings at Front Group

 conferences, suggested activities and publications APF could pursue. APF then submitted grant

 proposals seeking to fund these activities and publications, knowing that drug companies would

 support projects conceived as a result of these communications.

           2 11.    APF assisted in other marketing projects for drug companies. One project funded

 by another drug company-APF Reporter's Guide: Covering Pain and Its Management

 (2008)67- recycled text that was originally created as part of the company's training document.

           212.     The same drug company made general grants, but even then, it directed bow APF

  used Lhem. Jn response to an APF request for funding to address a potentially damaging state

 Medicaid decision related to pain medications generally, the company representative responded,


 67
      hnpsJ/assets.documentcloud.org/documents/277606/apf-reporters-guide.pdf (accessed May 30. 2017).

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 "1 provided an advocacy grant to APF this year- this would be a very good issue on which to

 use some of that. Ilow does that work?"

            213.    The close relationship between APP and the drug company was not unique, but in

 fact mirrors the relationships between APF and Defendants. APF's clear lack of independence-

 in its finances, management, and mission- and its willingness to allow the Manufacturer

 Defendants to control its activities and messages, support an inference that each Manufacturer

 Defendant that worked with APF was able to exercise editorial control over its publications.

           214.     Indeed, the U.S. Senate Finance Committee began looking into APF in May 2012

 to detennine the links, financial and otherwise, between the organization and the manufacturers

 of opioid painkiUers. The investigation caused considerable damage to APF's credibility as an

 objective and neutral third party and the Manufacturer Defendants stopped funding it. Within

 days of being targeted by Senate investigation, APF's board voted to dissolve the organization

 "due to irreparable economic circumstances." APF "cease[d] to exist, effective immediately." 68

                          11.    The American Academy of Pain Medicine

           215.     The American Academy of Pain Medicine, with the assistance, prompting,

 involvement, and funding of the Manufacturer Defendants, issued treatment guidelines and

 sponsored and hosted medical education programs essential to the Manufacturer Defendants'

 deceptive marketing of chronic opioid therapy.

           216.     AAPM has received over $2.2 million in funding since 2009 from opioid

 manufacturers. AAPM maintains a corporate relations council, whose members pay $25,000 per

 year (on top of other funding) to participate. The benefits include allowing members to present

 educational programs at off-site dinner symposia in connection with AAPM's marquee event-



 68
      hnp://www.painfoundation.org (last visited May 30, 2017).
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 its annual meeting held in Palm Springs, California, or other resort locations. AAPM describes

 the annual event as an "exclusive venue" for offering education programs to doctors.

         217.    Membership in the corporate relations council also allows drug company

 executives and marketing staff to meet with AAPM executive committee members in small

 settings. Defendants Endo, Purdue, Cephalon and Actavis were members of the council and

 presented deceptive programs to doctors who attended this annual event.

         2 18.   AAPM is viewed internally by Endo as "industry friendly," with Endo advisors

 and speakers among its active members. Endo attended AAPM conferences, funded its CMEs,

 and distributed its publications. The conferences sponsored by AAPM heavily emphasized

 sessions on opioids-37 out of roughly 40 at one conference alone. AAPM's presidents have

 included top industry-supported KOLs Perry Fine, Russell Portcnoy, and Lynn Webster. Dr.

 Webster was even elected president of AAPM while under a DEA investigation. Another past

 AAPM president, Dr. Scott Fishman, stated that he would place the organization "at the

 forefront" of teaching that "the risks of addiction are ... small and can be managed. "69

         219.    AAPM's staff understood that they and their industry funders were engaged in a

 common practice. Defendants were able to influence AAPM through both their significant and

 regular funding, and the leadership of pro-opioid KOLs within the organization.

         3. The Manufacturer Defendants Acted in Concert with KOLs and Front Groups
            in the Creation, Promotion, and Control of Unbranded Marketing.

         220.    Like cigarette manufacturers, which engaged in an industry-wide effort to

 misrepresent the safety and risks of smoking, the Manufacturer Defendants worked with each




 69 Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Aneslhesiology and Pain Medicine, Chief
 of the Division of Pain Medicine, Univ. of Cal., Davis (2005), http://www.medscape.org/viewarticJe/500829
 (accessed May 30, 2017).
                                                      79
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 other and with the Front Groups and KOLs they funded and directed to carry out a common

 scheme to deceptively present the risks, benefits, and superiority of opioids to treat chronic pain.

         221.   The Manufacturer Defendants acted through and with the same network of Front

 Groups, funded the same KOLs, and often used the very same language and format to

 disseminate the same deceptive messages. These KOLs have worked reciprocally with the

 Manufacturer Defendants to promote misleading messaging regarding the appropriate use of

 opioids to treat chronic pain. Although participants knew this information was false and

 misleading, these misstatements were nevertheless disseminated to the Counties' prescribers and

 patients.

         222.   One vehicle for their collective collaboration was Pain Care Porum ("PCF"). PCF

 began in 2004 as an APF proj ect \vith the stated goals of offering "a setting where multiple

 organizations can share information" and to "promote and support taking collaborat ive action

 regarding federal pain policy issues." APF President Will Rowe described the Forum as "a

 deliberate effort to positively merge the capacities of industry, professional associations, and

 patient organizations."

         223.   PCF is comprised of representatives from opioid manufacturers and distributors

 (including Cephalon, Endo, Janssen, and Purdue); doctors and nurses in the field of pain care;

 professional organizations (e.g., American Academ y of Pain Management, APS, and American

 Society of Pain Educators); patient advocacy groups (e.g., APF and ACPA); and other like-

 minded organizations (e.g., FSMB and Wisconsin Pain & Policy Studies Group), almost all of

 which re::ceivt:d substantial funding from the Manufacturer Defendants.

         224.   PCF, for example, developed and disseminated "consensus recommendations" for

 a Risk Evaluation and Mitigation Strategy ("REMS") for Jong-acting opioids that the FDA



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 mandated in 2009 lo communicate the risks of opioids to prescribers and patients. 70 This was

 critical as a REMS that went too far in narrowing the uses or benefits, or highlighting the risks of

 chronic opioid therapy, would deflate the Manufacturer Defendants' marketing efforts. The

 recommendations-drafted by Will Rowe of APF--claimed that opioids were "essential'' to the

 management of pain, and that the REMS "should acknowledge the importance of opioids in the

 management of pain and should not introduce new barriers." 71 The Manufacturer Defendants

 worked with PCF members to limit the reach and manage the message of the REMS, which

 enabled them to maintain, and not undermine, their deceptive marketing of opioids for chronic

 pain.

         4. The Manufacturer Defendants Targeted Vulnerable and Lucrative Populations.

                 a. The Elderly

         225.    Elderly patients talcing opioids have been found to be exposed to elevated fracture

 risks, a greater risk fo r hospitalizations, and increased vulnerability to adverse drug effects and

 interactions, such as respiratory depression, which, as the Manufacturer Defendants acknowledge

 in their labels (but not in their marketing), occurs more freq uently in elderly patients. A 2010

 paper in the Archives of Internal Medicine reported that elderly patients who used opioids had a

 significantly higher rate of death, heart attacks, and strokes than users of NSAIDs. The

 Manufacturer Defendants' targeted marketing to the elderly and the absence of cautionary

 language in their promotional materials flies in the face of scientific evidence and their own

 labels, and creates a heightened risk of serious injury to elderly patients.




 70
    The FDA can require a drug maker lo develop a REMS-which could entail (as in this case) an education
 requirement or distribution limitation- to manage serious risks associated with a drug.

 71
    The Manufacturer Defendants also agreed that short-acting opioids should also be included in REMS as not to
 disadvantage the long-acting, branded drugs.
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        226.      The Manufacturer Defendants also promoted the notion- also without adequate

 scientific foundation- that the elderly are particularly unlikely to become addicted to opioids.

 AGS's 2009 Guidelines, for example, which Purdue, Endo, and Janssen publicized, described the

 risk of addiction as "exceedingly low in older patients with no current or past history of

 substance abuse." Yet, a 2010 study examining overdoses among long-term opioid users found

 that patients 65 or older were among those with the largest number of serious overdoses.

        227.      The Manufacturer Defendants' efforts have paid off. Since 2007, prescriptions for

 the elderly have grown at twice the rate of prescriptions for adults between the ages of 40 and 59.

                  b. Veterans

        228.      Veterans, too, are suffering greatly from the effects of the Manufacturer

 Defendants' targeted marketing. A 2008 survey showed that prescription drug abuse among

 military personnel doubled from 2002 to 2005, and then nearly tripled again over the next three

 years. In 2009, military doctors wrote 3.8 million prescriptions for narcotic pain pills- four

 times as many as they did in 2001. Further, one-third of veterans prescribed opioids as of 2012

 remained on take-home opioids for more than 90 days. Although many of these veterans are

 returning from service with traumatic injuries, the increase in opioid prescribing is

 disproportionate to the population and, in far too many cases, unsuited for their treatment.

 Among former service members receiving VA services nationally in a single year (2005), 1,013

 had died of accidental drug overdoses-double the rate of the civilian population.

        229.      The Counties have a substantial population of veterans who must cope with the

 consequenc~::;   of overprescribing opioids.

        230.      Opioids are particularly dangerous to veterans. According to a study published in

 the 2013 Journal of American Medicine, veterans returning from Iraq and Afghanistan who were

 prescribed opioids have a higher incidence of adverse cl inical outcomes, such as overdoses and
                                                  82
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 self-inflicted and accidental injuries; 40% of veterans with post-traumatic stress disorder

  received opioids and benzodfazepines (anti-anxiety drugs) that, when mixed with alcohol, can

 cause respiratory depression and death. According to a VA Office of Inspector General Report,

 despite the risks, 92.6% of veterans who were prescribed opioid drugs were also prescribed
                       72
  benzodiazepines.          Again, as with elderly patients, the Manufacturer Defendants both

  purposefully sought to increase opioid prescribing to this vulnerable group and omitted from

 their promotional materials the known, serious risks opioids pose to them.

           231.     Exit Wounds, a 2009 publication sponsored by Purdue, distributed by APF with

 grants from Janssen and Endo, and written as a personal narrative of one veteran, describes

 opioids as "underused" and the "gold standard of pain medications" and fails to disclose the risk

 of addiction, overdose, or injury. It notes that opioid medications "increase a person's level of

 functioning" and that "[l]ong experience with opioids shows that people who are not predisposed

 to addiction are unlikely to become addicted to opioid pain medications." The book also asserts

 that "[d)enying a person opioid pain medication because he or she has a history of substance

 abuse or adcliction is contrary to the model guidelines for prescribing opioids, published by the

 U.S. Federation of State Medical Boards." As laid out above, the FSMB itself received support

 from Defendants during the time it created and published its guidelines.

           232.     Exit Wounds minimizes the risks of chronic opioid therapy and does not disclose

 the risk that opioids may have fatal interactions with benzodiazepines, which were taken by a

 significant number of veterans. 73 It is not the unbiased narrative of a returning war veteran. It is

  pure marketing, sponsored by Purdue, Endo, and Janssen. Yet, Janssen, for example, supported

 72
      https://www.va.gov/oig/pubsN AOTG-14-00895-163 .pdf (accessed May 30, 20 I 7).

 73
   FDA guidance states that materials designed to rarget a particular audience should disclose risks particular to that
 audience. See FDA Notice, Guidance for Industry, "Brief Summary and Adequate Directions for Use: Disclosing
 Risk Information in Consumer-Directed Print Advertisements and Promotional Labeling for Prescription Drugs,"
 August 6, 20 J5.
                                                          83
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 the marketing effort, and its insufficient disclosures, despite acknowledging on the label for its

 opioid Duragesic that its use with benzodiazepines "may cause respiratory depression,

 hypotension, and profound sedation or potentially result in coma" A similar warning is found on

  the labels of other Defendants' opioids.

         233.    The deceptive nature of Exit Wounds is obvious in comparing it to guidance on

 opioids published by the VA and DOD in 2010 and 2011. The V A's Taking Opioids Responsibly

 describes opioids as "dangerous." It cautions against taking extra doses and mentions the risk of

 overdose and the dangers of interactions with alcohol. The list of side effects from opioids

 includes decreased hormones, sleep apnea, byperalgesia, addiction, immune system changes,

 birth defects and death- none of which is disclosed in Exit Wounds.

     B. Why the Manufacturer Defendants' Marketing Messages Are Misleading and
        Unfair

         234.    The Manufacturer Defendants' marketing of opioids for long-term use to treat

 chronic pain, both directly and with and through third parties, included information that was

 false, misleading, contrary to credible scientific evidence and their own labels, and lacked

 balance and substantiation. Their marketfog materials omitted material information about the

 risks of opioids, and overstated their benefits. Moreover, the Manufacturer Defendants

 inaccurately suggested that chronic opioid therapy was supported by evidence, and failed to

 disclose the Jack of evidence in support of treating chronic pain with opioids.

         235.    There arc seven primary misleading and unfounded representations. The

 Manufacturer Defendants and the third parties with which they teamed:

             •   misrepresented that opioids improve function;

             •   concealed the link between long-term use of opioids and addiction;

             •   misrepresented that addiction risk can be managed;

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              •    masked the signs of addiction by calling them "pseudoaddiction";

              •    falsely claimed withdrawal is easily managed;

              •    misrepresented or omitted the greater dangers from higher doses of opioids; and

              •    deceptively minimized the adverse effects of opioids and overstated the risks of

                   NSAIDs.

          236.     In addition to these misstatements, Purdue purveyed an eighth deception that

 OxyContin provides a ful l 12 hours of pain relief.

          237.     Exacerbating each of these misrepresentations and deceptions was the coUective

 effort of the Manufacturer Defendants and third parties to hide from the medical community the

 fact that the FDA "is not aware of adequate and well-controlled studies of opioid use longer than
              74
 12 weeks."

          1. The Manufacturer Defendants and Their Third-Party Allies Misrepresented
              that Opioids Improve Function

          238.     Each of the following materials was created with the expectation that, by

 instructing patients and prescribers that opioids would improve patients' function and quality of

 life, patients would demand opioids and doctors would prescribe them. These claims also

 encouraged doctors to continue opioid therapy in the belief that failure to improve pain, function,

 or quality of life, could be overcome by increasing doses or prescribing supplemental short-

 acting opioids to take on an as-needed basis for breakthrough pain.

          239.     However, not only is there no evidence of improvement in long-term functioning,

 a 2006 study-of-studies found that "(f]or functional outcomes . . . other analgesics were




 74
     Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug EvaJ. & Res., to Andrew Kolodny, M.D., Pres. Physicians
  for Responsible Opioid Prescribing, Re Docket No. FDA-20 12-P-08 18 (Sept. I 0, 2013).

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 significantly more effective than were opioids."                   Studies of the use of opioids in chronic

 conditions for which they are commonly prescribed, such as low back pain, corroborate this

 conclusion and have failed to demonstrate an improvement in patients' function. Instead,

 research consistently shows that long-tenn opioid therapy for patients who have lower back

 injuries does not cause patients to return to work or physical activity. 76 Indeed, one of the

 Manufacturer Defendant's own internal marketing plans characterized functional improvement

 claims as "aspirational." Another acknowledged in 2012 that "[s]ignificant investment in clinical

 data [was] needed" to establish opioids' effect on mitigating quality of life issues, like social

 isolation.

         240.     The long-term use of opioids carries a bost of serious side effects, including

 addiction, mental clouding and confusion, sleepiness, hyperalgesia, and immune-system and

 hormonal dysfunction that degrade, rather than improve, patients' ability to function. The

 Manufacturer Defendants often omitted these adverse effects as well as certain risks of drug

 interactions from their publications.

         241.     Yet each of the following statements by the Manufacturer Defendants, suggests

 that the long-term use of opioids improve patients' function and quality of life, and that scientific

 evidence supports this claim.




 15Andrea O. Furlan et al., Opioids for chronic noncancer pain: a meta-analysis of e.fiectiveness and side effects,
 174(1 J) Can. Med. Ass'n J. 1589-1594 (2006). This study revealed that efficacy studies do not typically include data
 on opioid addiction, such that, iranything, the data overstate effectiveness.
 76
    Moreover, users of opioids had the highest increase in the number or headache days per month, scored
 significantly higher on the Migraine Disability Assessment (MlDAS), and had higher rates or depression, compared
 to non-opioid users. They also were more likely to experience sleepiness, confusion, and rebound headaches, and
 reported a lower quality of lifo than patients taking other medications.

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 Actavis         a.   Docwnents from a 2010 sales training indicate that Actavis trained its sales
                       force to instruct prescribers that "most chronic benign pain patients do have
                      markedly improved ability to function when maintained on chronic opioid
                      therapy." (Emphasis added.)

                 b.    Documents from a 2010 sales training indicate that Actavis trained its sales
                      force that increasing and restoring function is an expected outcome of chronic
                      Kadian therapy, including physical, social, vocational, and recreational function.

                 c.   Actavis distributed a product advertisement that claimed that use of Kadian to
                      treat chronic pain would allow patients to return to work, relieve "stress on your
                      body and your mental health," and cause patients to enjoy their lives. The
                      FDA warned Actavis that such claims were misleading, writing: "We are not
                      aware of substantial evidence or substantial clinical experience demonstrating
                      that the magnitude of the effect of the drug has in alleviating pain, taken
                      together with any drug-related side effects patients may experience . . .
                      results in any overall positive impact on a patient's work, physical and mental
                      functioning, daily activities, or enjoyment of life. "77

                 d.   Actavis sales representatives told The counties prescribers that prescribing
                      Actavis's opioids would improve their patients' ability to function and improve
                      their quality of life.


 Cephalon        e.   Cephalon sponsored the FSMB's Responsible Opioid Prescribing (2007),
                      which taught that relief of pain itself improved patients' functitm. Responsible
                      Opioid Prescribing explicitly describes functional improvement as the goal of a
                       "long-term therapeutic treatment course.'' Cephalon also spent $150,000 to
                       purchase copies of the book in bulk and distributed the book through its pain
                       sales force to 10,000 prescribers and 5,000 pharmacists.

                 f.   Cephalon sponsored the American Pain Foundation's Treatment Options: A
                      Guide for People Living with Pain (2007), which taught patients that opioids, when
                      used properly "give [pain patients] a quality of life we deserve." The Treatment
                      Options guide notes that non-steroidal anti-inflammatory drugs have greater risks
                      associated with prolonged duration of use, but there was no similar warning for
                      opioids. APF distributed 17 ,200 copies in one year alone, according to its 2007
                      annual report. The publication is also currently available online.

                 g.    Cephalon sponsored a CME written by key opinion leader Dr. Lyon Webster,
                       titled Optimizing Opioid Treatment for Breakthrough Pain, which was offered online
                       by Medscape, LLC from September 28, 2007, to December 15, 2008.
                       The CME taU2'ht that Cephalon's Actiq and Fentora imorove patients' quality of


 77 Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc'ns, to Doug Boothe, CEO,
 Acta vis Elizabeth LLC (Feb. 18. 20 I 0), available at http://www.fda.gov/Drugs/GuidanceComplianceRegulatory
 lnformation/EnforcementActivitiesbyFDA/WamingLettersandNoticeofViolationLetterstoPharmaceuticalCompanies
 /ucm259240.htm.
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                        life and allow for more activities when taken in conjunction with long- acting
                        opioids.

                 h.     Cephalon sales representatives told The counties presccibers that opioids
                        would increase patients' abilitv to function and improve their quality of life.


 Endo            l.     E ndo sponsored a website, pain.knowledge.com, through APF and NIPC,
                       which, in 2009, claimed that with opioids, "your level of function should
                       improve; you may find you are now able to participate in activities of daily living,
                       such as work and hobbies, that you were not able to enjoy when your pain was
                       worse." E ndo continued to provide funding for this website through 2012, and
                       closely tracked unique visitors to it

                 J·    A CME sponsored by Endo, titled Persistent Pain in the Older Patient, taught that
                       chronic opioid therapy has been "shown to reduce pain and improve
                       depressive symptoms and cognitive functioning."

                 k.     Endo distributed handouts to prescribers that claimed that use of Opana ER to
                        treat chronic pain would allow patients to perform work as a chef. This flyer
                        also emphasized Opana E R's indication without including equally prominent
                        disclosure of the "moderate to severe pain" qualification.78

                 l.     Endo's sales force distributed FSMB's Responsible Opioid Prescribing (2007), which
                        taught that relief of pain itself improved patients' function. Responsible Opioid
                       Presclibing explicitly describes functional improvement as the goal of a "long-term
                        therapeutic treatment course."

                 m. Endo provided grants to APP to distribute Exit Wounds to veterans, which
                 taught
                      that opioid medications "increase your level of functioning'' (emphasis in the
                      original). Exit Wounds also omits warnings of the risk of interactions between
                      opioids and benzodiazepines, which would increase fatality risk.
                      Benzodiazepines are frequently prescribed to veterans diagnosed with post-
                      traumatic stress disorder.

                  n.    Endo sales representatives told The counties prescribers that opioids would
                        increase patients' ability to function and improve their quality of life by helping
                        them become more physically active and return to work.


 Janssen          o.     Janssen sponsored a patient education guide titled Finding Relief Pain
                        Management for Older Adu/ts (2009), which its personnel reviewed and approved,
                        and its sales force distributed. This "de features a man la ·       olf on the

 78Pursuant lo applicable law, warnings or limitations must be given equal prominence in disclosure, and failure to
 do so constitutes "misbranding" of the product.

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                  cover and lists examples of expected functional improvement from opioids, like
                  sleeping tluough the night, returning to work, recreation, sex, walking, and
                  climbing stairs. The guide states as a "fact" that "opioids may make it easier for
                  people to live normally'' (emphasis in the original). The myth/fact structure
                  implies authoritative backing for the claims that does not ex.ist. The targeting of
                  older adults also ignored heightened opioid risks in this population.

             p. Janssen sponsored, developed, and approved content of a website, Let's Talk
                Pain in 2009, acting in conjunction with the APF, AAP.M, and ASPMN, whose
                 participation in Let's Talk Pain Janssen financed and orchestrated. This website
                 featured an interview, which was edited by Janssen personnel, claiming that
                 opioids were what allowed a patient co "continue to function," inaccurately
                implying her experience would be representative.

             q. Janssen provided grants to APF to distribute Exit Wo1mds to veterans, which
                taught that opioid medications "increase your level of functioning" (emphasis in
                the original). E:i..-it Wo1mds also omits warnings of the risk of interactions between
                opioids and benzodiazepines, which would increase fatality risk. Benzodiazepines
                are frequently prescribed to veterans diagnosed with post-traumatic stress
                disorder.

             r.   Janssen sales representatives told The counties prescribe.rs that opioids would
                   increase patients' ability to function and improve their quality of life by helping
                   them become more physically active and return to work.


 Purdue      s.   Purdue ran a series of advertisements for OxyContin in 2012 in medical journals
                   titled "Pain vignettes," which were case srudics featuring patients, each with
                   pain conditions persisting over several months, recommending OxyContin for
                  each. One such patient, "Paul," is described as a "54-year- old writer with
                  osteoarthritis of the han<ls," and the vignettes imply that an OxyContin
                   prescription will help him work more effectively.

             t.   Purdue sponsored AP F's A Polirymaker's Guide to U11dersta11di11g Pain & Its
                  Management, which inaccurately claimed that "multiple clinical studies" had
                  shown that opioids arc effective in improving daily function, psychological
                  health, and health-related quality of life for chronic pain patients." The sole
                  reference for the functional improvement claim noted the absence of long-term
                  srudies and actually stated: "For functional outcomes, the other analgesics were
                  significantly more effective than were opioids." 1be Polirymaklr's G11ide is still
                  available online.

             u. Purdue sponsored AP.F's Treatment Optiom: A G11ide far People U11i11g with Pain
                (2007), which counseled patients that opioids, when used properly, "give [pain
                parientsJ a quality of life we deserve." APF distributed 17,200 copies in one year
                alone, according to its 2007 annual report. The guide is currently available
                online.

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                v. Purdue sponsored AP F's Exit WoundJ (2009), which taught veterans that opioid
                   medications "increase your level of functioning." Exit WoundJ also omits
                    warnings of the risk of interactions between opioids and benzodiazepines, which
                    would increase fatality risk. Benzodiazepines are frequently prescribed to
                    veterans diagnosed with post-traumatic stress disorder.

                w. Purdue sponsored the FSMB's ResponJib/e Opioid Pmcribing (2007), which taught
                     that relief of pain itself improved patients' function. Responsible Opioid
                    Pmcribing explicitly describes functional improvement as the goal of a "long-
                     term therapeutic treatment course." Purdue also spent over $100,000 to
                     support distribution of the book.

                x. Purdue sales representatives told The counties prescribers that opioids
                   would increase patients' ability to function and improve their quality of life.

        2. The Manufacturer Defendants and Their Third-Party Allies Concealed the
           Truth About the Risk of Addiction from Long-Term Opioid Use

        242.    The fraudulent representation that opioids are rarely addictive is central to the

 Manufacturer Defendants' scheme. To reach chronic pain patients, the Manufacturer Defendants,

 and the Front Groups and KOLs that they directed, assisted, and collaborated with, had to

 overcome doctors' legitimate fears that opioids would addjct their patients. The risk of addiction

 is an extremely weighty risk-condemning patients to, among other things, dependence,

 compulsive use, haziness, a lifetime of battling relapse, and a dramatically heightened risk of

 serious injury or death. But for the Manufacturer Defendants' campaign to convince doctors

 otherwise, finding benefits from opioid use for common chronic pain conditions sufficient to

 justify that risk would have, and previously had, posed a nearly insurmountable challenge.

        243.    Through their well-funded, comprehensive marketing efforts, the Manufacturer

 Defendants and their KOLs and Front Groups were able to change prescriber perceptions despite

 the well-settled historical understanding and clear evidence that opioids taken long-term are

 often addictive. The Manufacturer Defendants and their third-party partners: (a) brazenly

 maintained that the risk of addiction for patients who take opioids long-term was low; and (b)

 omitted the risk of addiction and abuse from the list of adverse outcomes associated with chronic

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 opioid use, even though the frequency and magnitude of the risk-and the Manufacturer

 Defendants' own labels-compelled disclosure.

         244.   Further, in addition to falsely claiming opioids had low addiction risk or omitting

 disclosure of the risk of addiction altogether, the Manufacturer Defendants employed language

 that conveyed to prescribers that the drugs had lower potential for abuse and addiction. Further,

 in addition to making outright misrepresentations about the risk of addiction, or failing to

 disclose that serious risk at all, the Manufacturer Defendants used code words that conveyed to

 prescribers that their opioid was less prone to abuse and addiction. For instance, sales

 representatives for Actavis, Endo, Janssen, and Purdue promoted their drugs as having "steady-

 state" properties with the intent and expectation that prescribers would understand this to mean

 that their drugs caused less of a rush or a feeling of euphoria, which can trigger abuse and

 addiction. Further, Endo actively promoted its reformulated Opana ER on the basis that it was

 "designed to be crush-resistant," suggesting both (a) that Endo bad succeeded in making the drug

 harder to adulterate, and (b) that it was less addictive, in consequence. In fact, however, Endo

 knew that ''the clinical significance of INTAC Technology or its impact on abuse/misuse has not

 been established for Opana ER" and that Opana ER could still be ground and cut into small

 pieces by those looking to abuse the drug. In the same vein, Janssen denied that Nucynta ER was

 an opioid and claimed that it was not addictive, and Purdue claimed that its opioids were not

 favored by addicts and did not produce a buzz, all of which falsely suggested that its opioids

 were less likely to be abused or addictive.

        245.    Each of the following was created with the expectation that, by instructing

 patients and prescribers that addiction rates are low and that addiction is unlikely when opioids

 are prescribed for pain, doctors would prescribe opioids to more patients. For example, one

 publication sponsored exclusively by Purdue-APF's 2011 A Policymaker's Cruide Lo
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 Understanding Pain & Its Management- claimed that opioids are not prescribed often enough

 because of "misconceptions about opioid addktion." 79

            246.    Acting directly or with and through third parties, each of the Manufacturer

 Defendants claimed that the potential for addiction from its drugs was relatively small, or non-

 existent, even though there was no scientific evidence to support those claims, and the available

 research contradicted them. A recent literature survey found that while ranges of "problematic

 use" of opioids ranged from < 1% to 81 %,so abuse averages between 21% and 29% and addiction

 between 8% and 12%.s 1 These estimates are well in line with Purdue's own studies, showing

 that between 8% and 13% of OxyContin patients became addicted, but on which Purdue chose

 not to rely, instead citing the Porter-Jick letter.

            247.    The FDA has found that 20% of opioid patients use two or more pharmacies, 26%

 obtain opioids from two or more prescribers, and 16.5% seek early refil ls-all potential "red

 flags" for abuse or addiction. 82 The FDA in fact has ordered manufacturers of long-acting

 opioids to "[c]onduct one or more studies to provide quantitative estimates of the serious risks of

 misuse, abuse, addiction, overdose and death associated with long-term use of opioid analgesics

 for management of chronic pain," in recognition of the fact that it found "high rates of addiction"

 in the medical literature.s3


 79
      http://s3 .documentcloud.org/documents/277603/apf-policymakers-guide.pdf (accessed May 30, 2017).

 ° Cited for the low end of that range was the 1980 Porter-Jick letter in the New England Journal ofMedicine.
 8


 81
   Kevin Vowels et al., Rates of opioid misuse, abuse, and addiction in chronic pain: a systematic review and data
.synthesis, l 56 PATN 569-76 (April 2015).
 82
    Len Paulozzi, M.D., "Abuse of Marketed Analgesics and Its Contribution to the National Problem of Drug
 Abuse," available at http://www.fda.gov/downloads/AdvisoryCommittees/
 CommineesMeetingMat.erials/Drugs/AnestheticAndLifeSupportDrugsAdvisoryCommittee/UCM233244.pdf
 (accessed May 30, 2017).
 8
  ~ September I 0, 20 13 letter from Bob Rappaport, M.D., to NOA applicants of ER/LA opioid analgesics, available
 at http://www.fda.gov/down loads/Drugs/DrugSafety/ ln formationbyDrugClass/UCM367697 .pdf (accessed May 30,
                                                         92
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           248.   Of course, the significant (and growing) incidence of abuse, misuse, and addiction

 to opioids is also powerfuJ evidence that the Manufacturer Defendants' statements regard ing the

 low risk of addiction were, and are, untrue. This was well-known to the Manufacturer

 Defendants who bad access to sales data and reports, adverse event reports, federal abuse and

 addiction-related surveillance data, and other sources that demonstrated the widening epidemic

 of opioid abuse and addiction.

         249.     Acting directly or through and with third parties, each of the Manufacturer

 Defendants claimed that the potential for addiction even from long-term use of its drugs was

 relatively small, or non-existent, despite the fact that the contention was false and there was no

 scientific evidence to support it. Examples of these misrepresentations are laid out below:

 Actavis             a. Documents from a 2010 sales training indicate that Actavis trained its sales
                        force that long-acting opioids were less likely to produce addiction than
                        short-acting opioids, although there is no evidence that either form of opioid
                        is less addictive or that any opioids can be taken long-term without the risk
                        of addiction.

                     b. Actavis had a patient education brochure distributed in 2007 that claimed
                        addiction is possible, but it is "less likely if you have never had an addiction
                        problem." Although the tenn "less likely" is not defined, the overall
                        presenration suggests the risk is so low as not to be a worry.

                     c. Kadian sales representatives told The counties prescribers that Kadian was
                        "steady state" and had extended release mechanisms, the implication of
                        which was that it did not produce a rush or euphoric effect, and therefore
                        was less addictive and less likely to be abused.

                     d. Kadian sales representatives told The counties prescribers that the contents
                        of Kadian could not be dissolved in water if the capsu1e was opened,
                        implying that Kadian was less likely to be abused-and thereby less
                        addictive-than other opioids.

                     e. K.adiaa sales representatives omitted any discussion of adcliction risks related
                        to Actavis's drugs to County prescribers.



 2017).; Letter from Janet Woodcock., M.D., Dir.. Ctr. for Drug Eval. & Res., to Andrew Kolodny, M.O., Pres.
 Physicians for Responsible Opioid Prescnbing, Re Docket No. FDA-2012-P-0818 (Sept lO, 2013).
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 Cephalon       f.   Cephalon sponsored and facilitated the development of a guidebook, Opioid
                     Medicatio11s and REMS: A Patient's Guide, which claims, among other things,
                     that "patients without a bjstory of abuse or a family history of abuse do not
                     commonly become addicted to opioids."

                g. Cephalon sponsored APF's Treatmmt Options: A Guide far People Living with
                   Pain (2007), which taught that addiction is rare and limited to extreme cases
                   of unauthorized dose escalations, obtaining opioids from multiple sources, or
                   theft.

                b. Cephalon sales representatives omitted any cliscussion of adcliction risks
                     related to Cephalon's drugs to County prescribers.



 Endo           1.   Endo trained its sales force in 2012 that use of long-acciog opioids resulted in
                     increased patient compliance, without any supporting evidence.

                J·   Endo's advertisements for the 2012 reformulation of Opana ER claimed it
                     was designed to be crush refista11t, in a way that conveyed that it was less likely to
                     he abused. This claim was false; the FDA warned in a May 10, 2013 letter
                     that there was no evidence Endo's design "would provide a reduction in
                     oral, intranasal or intravenous abuse" and Endo's "post-markeciog data
                     submitted are insufficient to support any conclusion about the overaJJ or
                     route-specific rates of abuse." Further, Endo instructed its sales
                     representatives to repeat this claim about "design," with the intention of
                     conveying Opaoa ER was less subject to abuse.

                k. Endo sponsored a website, painknowledge.com, through APF and NIPC,
                   which, in 2009, claimed that "[p]eople who take opioids as prescribed usually
                   do not become addicted." Although the term "usually" is not defined, the
                   overall presentation suggests the risk is so low as oot to be a concern. The
                   language also implies that, as long as a prescription is given, opioid use will
                   not become problematic. Endo continued to provide funding for this website
                   through 2012, and closely tracked unique visitors to it.

                I.   Endo sponsored a website, PainAction.com, which stated "Did you know?
                     Most chronic pain patieacs do not become addicted to the opioid
                     medications that are prescribed for them."

                m. Endo sponsored CMTis published by A PF's NIPC, of which E ndo was the
                   sole funder, titled Persistent Pain in the Older Adult and Persistent Pain in the Older
                   Patient. These CMEs claimed that opioids used by elderly patients present
                   "possibly less potential for abuse than in younger patients~]" which lacks
                   evidentiary support and deceptively minimizes the risk of addiction for
                   elderly patients.

                n.    Endo clistributed an education pamphlet with the Endo logo titled IiviltJ..

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                    with Someo11e with Chronic Pai11, which inaccurately minimized the risk of
                    addiction: "Mosr health care providers who treat peopJe with pain agree that
                    most people do not develop an addiction problem."

               o. Endo distributed a patient education pamphlet edited by key opinion leader
                  Dr. Russell Portcnoy titJed U11dersla11di11g Yo11r Pai11: Taking Oral Opioid
                  A11aige.rics. It claimed that "(a]ddicrs take opioids for other reasons (than pain
                  relief!, such as unbearable emotional problems." This i.mplies that pain
                  patients prescribed opioids will not become addicted, which is unsupported
                  and untrue.

               p. Endo contracted with AGS to produce a CME promoting the 2009
                  guidelines for the PhaonacologicaJ Management of Persistent Pain in Older
                  Persons. These guidelines falsely claim that "the risks [of addiction) arc
                  exceedingly low in older patients with no current or past history of substance
                  abuse." None of the references in the guidelines corroborates the claim that
                  elderly patients arc less likeJy to become addicted to opioids, and there is no
                  such evidence. Endo was aware of the AGS guidelines' content when it
                  agreed to provide this funding, and AGS drafted the guidelines with the
                  expectation it would seek drug company funding to promote them after their
                  completion.

               'l· Endo sales representatives told The counties prescribers that its drugs were
                   "steady state," the implications of which was that they did not produce a rush
                   or euphoric effect, and therefore were less addictive and less likely to be
                   abused.

               r.   Endo provided grants to APF to distribute Ex.it Wounds (2009) to veterans,
                    which taught that "Q]ong experience with opioids shows that people who are
                    not predisposed to addiction arc very unlikely to become addicted to opioid
                    pain medications." Although the term "very unlikely" is not defined, the
                    overall presentation suggests that the risk is so low as not to be a concem.

               s.   Endo sales representatives omitted discussion of addiction .risks related to
                    Endo's drugs.


 Janssen       t.   Janssen sponsored a patient education guide titled Fi11di11g Relief Pain Ma11oge111ent
                    for Older Adults (2009), which its personnel reviewed and approved and which
                     its sales force distributed. This guide described a "myth" that opioids are
                     addictive, and asserts as fact that "[m]any studies show that opioids arc rarefy
                     addictive when used properly for the management of chronic pain." Alt.hough
                     the term "rarely" is nor defined, the overaJl presentation suggests the .risk is so
                     low as not to be a concern. The language also implies that as long as a
                     prescription is given, opioid use is not a problem.

               u. Janssen contracted with AGS to produce a CME promoting the 2009 guidelines
                  for the Phar111acolo;jcal Ma11a,1?,eme11t of Persistent Pain i11 Older Perso11s. These
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                  guidelines falsely claim that "the risks [of addiction] are exceedingly low in older
                  patients with no current or past history of substance abuse." The study
                  supporting this assertion does not analyze addiction rates by age and, as already
                  noted, addiction remains a significant risk for elderly patients. Janssen was
                  aware of the AGS guidelines' content when it agreed to provide this funding,
                  and AGS drafted the guidelines with the expectation it would seek drug
                  company funding to promote them after their completion.

               v. Janssen provided grants to APF to distribute Exit Wounds (2009) to veterans,
                   which taught that ~]ong experience with opioids shows that people who are not
                   predisposed to addiction are very unlikely to become addicted to opioid pain
                   medications." Although the term "very unlikely" is not defined, the overall
                   presentation suggests the risk is so low as not to be a concern.

               w. Janssen currently runs a website, Prescriberesponsib/y.cotn (last modified July 2,
                  2015), which claims that concerns about opioid addiction are "overstated."

               x. A June 2009 Nucynta Training module warns Janssen's sales force that
                  physicians are reluctant to prescribe controlled substances like Nucynra, but
                  this reluctance is unfounded because "the risks . . . are much smaller than
                  commonly believed."

               y. Janssen sales representatives told The counties prescribers that its drugs were
                  "steady state," the implication of which was that they did not produce a rush or
                  euphoric effect, and therefore were less addictive and less likely to be abused.

               z. Janssen sales representatives told The counties p:rescribers that Nucyota and
                  Nucynta ER were "not opioids," implying that the risks of addiction and other
                  adverse outcomes associated with opioids were not applicable to Jansseo's
                  drugs. In truth, however, as set out in Nucynta's FDA-mandated label, Nucynta
                  "contains tapentadol, an opioid agonist and Schedule II substance with abuse
                  liability similar to other opioid agonists, legal or illicit."

               aa. Janssen sales representatives falsely told prescribers that Duragesic had anti
                   abuse properties when it had none.

               bb. Jansseo's sales representatives told The counties prescribers that Nucynta's
                   unique properties eliminated the risk of addiction associated with the drug.

               cc. Janssen sales representatives omitted discussion of addiction risks related to
                   Janssen's drugs.




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 Pardue               dd. Pw:due published a prescriber and law enforcement education pamphlet in 2011
                          entitled Providing Relief, Preventing Abuse, which under the heading, "Indications of
                          Possible Drug Abuse," shows pictures of the stigmat~ of injecting or snorting
                          opioids-skin popping, track marks, and perforated nasal septa. In fact, opioid
                          addicts who resort to these extremes are uncommon; the far more typical reality
                          is patients who become dependent and addicted through oral use. 84 Thus,
                          these misrepresentations wrongly reassure doctors that, as long as they do not
                          observe those signs, they need not be concerned that their patients are abusing
                          or addicted to opioids.

                     ee. Pw:due sponsored APF's A PolifYnJaker's Guide to U11dersta11di11g Pain & its
                         Ma11age111e11t, which inaccurately claimed that less than 1% of children prescribed
                         opioids will become addicted. This publication is still available ooline. This
                         publication also asserted that pain is undertreated due to "misconceptions about
                         opioid addiction."

                     ff. Purdue sponsored APF1s Treatment Optums: A Guide far People Living wilh Pai11
                         (2007), which asserted that addiction is rare and limited to extreme cases of
                         unauthorized dose escalations, obtaining opioids from mulciple sources, or
                         theft.

                     gg. A Purdue-funded study with a Pw:due co-author claimed that "evidence that the
                         risk of psychological dependence or addiction is low in the absence of a history
                         of substance abuse." 85 The study relied only on the Portcr-Jick letter to the
                         editor concerning a chart review of hospitalized patients, not patients taking
                         Purdue's long-acting, take-home opioid.      Although the term "low" is not
                         defined, the overall presentation suggests the risk is so low as not to be a
                         concern.

                     hh. Purdue contracted with AGS to produce a CME promoting the 2009 guidelines
                         for the Pharmacohgica/ Management of Persistent Pain i11 Older Persons. These
                         guidelines falsely claim that "the risks Lof addiction] arc exceedingly low in older
                         patients with no cun:cnt or past history of substance abuse." None of the
                         references in the guidelines corroborates the claim that elde.rly patients are less
                         likely to become addicted to opioids and the claim is, in fact, untrue. Purdue
                         was aware of the AGS guidelines' content when it agreed to provide this
                         funding, and AGS clraftcd the guidelines with the expectation it would seek
                         drug company funding co promote them after their completion.

                     u. Pw:due sponsored APf's Exit Wou11ds (2009), which counseled veterans that
                        "nlong experience with opioids shows that people who are not
                        predisposed co addiction arc very unlikely to become addicted to opioid pain

84
  Purdue itself submitted briefing materials in October 2010 to a meeting of the FDA's Joint Meeting of the
Anesthetic and Life Support Drugs Advisory Commillee and the Drug Safety and Risk Management Advisory
Committee in which it stated that OxyContin was used non-medically by injection 4-17% of the time.

Sj C. Peter N. Watson et al., Controlled-release oxycodone relieves neuropathic pain: a randomized controlled trial
I painful diabetic neuropathy, I 05 Pain 71 (2003).
                                                       97
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                         medications." Although the term "very unlikely" is not defined, the overall
                         presentation suggests it is so low as not to be a worry.

                    JJ· Purdue sales representatives told The counties prescribers that its drugs were
                        "steady state," the implication of which was that they did not produce a rush or
                        euphoric effect, and therefore were less addictive and less likely to be abused.

                    kk. Purdue sales representatives told The counties prescribers that Butrans lits a
                        lower abuse potential than other drugs because it was essentially tamper- proof
                        and, after a certain point, patients no longer experience a "buzz" from increased
                        dosage.

                    ll. Advertisements that Purdue sent to The counties prescribers stated that
                        OxyContin ER was less likely to be favored by addicts, and, therefore, less likely
                        to be abused or diverted, or result in addiction.

                  mm. Purdue sales representatives omitted discussion of addiction risk related to
                      Purdue's drugs.



        250.    In addition to denying or minimizing the risk of addiction and abuse general ly, the

 Manufacturer Defendants also falsely claimed that their particular drugs were safer, less

 addictive, and less likely to be abused or diverted than their competitors' or predecessor drugs. In

 making these claims, the Manufacturer Defendants said or implied that because their drug had a

 "steady-state" and did not produce peaks and valleys, which cause drug-seeking behavior-either

 to obtain the high or avoid the low- it was less likely to be abused or addicting. Endo also

 asserted in particular that, because a reformulation of Opana ER was (or was designed to be)

 abuse-deterrent or tamper-resistant, patients were less likely to become addicted to it. The

 Manufacturer Defendants had no evidence to support any of these claims, which, by applicable

 law, must be based on head-to-head triaJs; 86 the claims also were false and misleading in that

 they misrepresented the risks of both the particular drug and opioids as a class.




 86
    See Guidance for Industry, "Abuse-Deterrent Opioids- Evaluation and Labeling," April 2015 (describing
 requirements for premarket and postmarket studies).
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         251.    Further, rather than honestly disclosing the risk of addiction, the Manufacturer

 Defendants, and the third parties they directed and assisted and whose materials they distributed,

 attempted to portray those who were concerned about addiction as unfairly denying treatment to

 needy patients. To increase pressure on doctors to prescribe chronic opioid therapy, the

 Manufacturer Defendants turned the tables; it was doctors who fail to treat their patients' chronic

 pains with opioids-not doctors who cause their patients to become addicted to opioids-who

 are failing their patients (and subject to discipline). The Manufacturer Defendants and their third-

 party allies claimed that purportedly overblown worries about addiction cause pain to be under-

 treated and opioids to be over-regulated and under-prescribed. This mantra of under-treated pain

 and under-used drugs reinforced the Manufacturer Defendants' messages that the risks of

 addiction and abuse were not significant and were overblown.

        252.    For example, Janssen's website, Let's Talk Pain, warns in a video posted online

 that "strict regulatory control has made many physicians reluctant to prescribe opioids. The

 unfortunate casualty in al1 of this is the patient, who is often undertreated and forced to suffer in

 silence." The program goes on to say: "Because of the potential for abusive and/or addictive

 behavior, many healthcare professionals have been reluctant to prescribe opioids for their

 patients .... This prescribing environment is one of many barriers that may contribute to the

 undertreatment of pain, a serious problem in the United States."

        253.    In the same vein, a Purdue website called In the Face of Pain complains, under

 the heading of "Protecting Access," that, through at least mid-2013, policy governing the

 prescribing of opioids was "at odds with" best medical practices by "unduly restricting the

 amounts that can be prescribed and dispensed"; "restricting access to patients with pain who also

 have a history of substance abuse"; and "requiring special government-issued prescription forms

 only for the medications that are capable of relieving pain that is severe." This unsupported and
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 untrue rhetoric aims to portray doctors who do not prescribe opioids as uncaring, converting their

 desire to relieve patients' suffering into a mandate to prescribe opioids.

         3. The Manufacturer Defendants and Their Third-Party Allies Misrepresented
            that Addiction Risk Can Be Avoided or Managed

         254.    To this day, the Manufacturer Defendants each continue to maintain that most

 patients can safely take opioids long-term for chronic pain without becoming addicted.

 Presumably only to explain why doctors encounter so many patients addicted to opioids, the

 Manufacturer Defendants and their third-party allies have come to admit that some patients could

 become addicted, but that doctors can avoid or manage that risk by using screening tools or

 questionnaires. These tools, they say, identify those with higher addiction risks (stemming from

 personal or family histories of substance abuse, mental illness, or abuse) so that doctors can more

 closely monitor patients at greater risk of addiction.

        255.    There are three fundamental flaws in these assurances that doctors can identify

 and manage the risk of addiction. First, there is no reliable scientific evidence that screening

 works to accurately predict risk or reduce rates of addiction. Second, there is no reliable

 scientific evidence that high-risk or addicted patients can take opioids long-term without

 triggering addiction, even with enhanced monitoring and precautions. Third, there is no reliable

 scientific evidence that patients without these red flags are necessari ly free of addiction risk.

        256.    Addiction is difficult to predict on a patient-by-patient basis, and there are no

 reliable, validated tools to do so. A recent Evidence Report by the Agency for Healthcare

 Research and Quality ("AHRQ"), which "systematically review[ed] the current evidence on

 long-term opioid therapy for chronic pain" identified "[n]o study" that had "evaluated the

 effectiveness of risk mitigation strategies, such as use of risk assessment instruments, opioid

 management plans, patient education, urine drug screening, prescription drug monitoring

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 program data, monitoring instruments, more frequent monitoring intervals, pill counts, or abuse-

 deterrent formulations on outcomes related to overdose, addiction, abuse or misuse."                               87


 Furthermore, attempts to treat high-risk patients, such as those who have a documented

 predisposition to substance abuse, by resorting to patient contracts, more frequent refills, or urine

 drug screening are not proven to work in the real world, if busy doctors even in fact attempt

 them.

           257.    Most disturbingly, despite the widespread use of screening tools, patients with

 past substance use disorders-which every tool rates as a risk factor- receive, on average,

 higher doses of opioids.

           258.    Each of the Manufacturer Defendants claimed that the risk of addiction could be

 avoided or managed, claims that are deceptive and without scientific support:

      Actavis            a. Documents from a 2010 sales training indicate that Actavis trained its sales
                            force that prescribers can use risk screening tools to limit the development of
                            addiction.

      Cephalon           b. Cephalon sponsored APF's Treatment Options: A Guide for People Living with Pain
                            (2007), which taught patients that "opioid agreements" between doctors and
                            patients can "ensure that you take the opioid as prescribed."

      Endo               c. Endo paid for a 2007 supplement88 available fot continuing education credit
                            in the Journal of Family Practice. This publication, titled Pain Management
                            Dilemmas in Primary Care: Use of Opioids, recommended screening patients
                            using tools like the Opioid Risk Tool or the Screener and Opioid Assessment
                            for Patients with Pain, and advised that patients at high risk of addiction could
                            safely (e.g., without becoming addicted) receive chronic opioid therapy using a
                            "maximally structured approach" involving toxicology screens and pill counts.

      Purdue             d. Purdue's unbranded website, In the Face of Pain (inthefaceofpain.com) states
                            that policies that 11restrictO access to patients with pain who also have a
                            history of substance abuse" and "requiring special government-issued


 87
      The Effectiveness and Risks of Long-term Opioid Treatment of Chronic Pain, Agency for Healthcare Res. &
 Quality (September 19, 20 14).
 88
   T he Medical Journal, The lancet found that all of the supplement papers it received failed peer-review. Editorial,
 "The Perils of Journal and Supplement Publishing," 375 The Lancet 9712 (347) 2010.
                                                         101
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                          prescription forms for the only medications that are capable of relieving pain
                          that is severe" are "at odds with" best medical practices.89
                       e. Purdue sponsored a 2012 CME program taught by a KOL titled Chronic Pain
                          Management and Opioid Use: Easing Fears, Managing Risks, and Improving
                          Outcomes. This presentation reco1Ilmended that use of screening tools, more
                          frequent refills, and switching opioids could treat a high-risk patient showing
                          signs of potentially addictive behavior.

                       f.   Purdue sponsored a 2011 webinar taught by Dr. Lynn Webster, titled
                            Managing Patient's Opioid Use: Balancing the Need and Risk. This
                            publication taught prescribers that screening tools, urine tests, and patient
                            agreements have the effect of preventing "overuse of prescriptions" and
                            "overdose deaths."

                       g. Purdue sales representatives told The counties prescribers that screening tools
                          can be used to select patients appropriate for opioid therapy aod to manage
                          the risks of addiction.

        4. The Manufacturer Defendants and Their Third-Party Allies Created Confusion
           By Promoting the Misleading Term "Pseudoaddiction."

        259.     The Manufacturer Defendants and their third-party allies developed and

 disseminated each of the following misrepresentations with the intent and expectation that, by

 instructing patients and prescribers that signs of addiction are actually the product of untreated

 pain, doctors would prescribe opioids to more patients and continue to prescribing them, and

 patients would continue to use opioids despite signs that the patient was addicted. The concept of

 "pseudoaddiction" was coined by Dr. David Haddox, who went to work for Purdue, and

 popularized by Dr. Russell Portenoy, who consulted for Cephalon, Endo, Janssen, and Purdue.

 Much of the same language appears in other Defendants' treatment of this issue, highlighting the

 contrast between "undertreated pain" and "true addiction," as if patients could not experience

 both. As KOL Dr. Lynn Webster wrote: "[Pseudoaddiction] obviously became too much of an




 89See Jn the Face of Pain Fact Sheet: Protecting Access to Pain Treatment, Purdue Pharma L.P. (Resources
 verified Mar. 2012), www.inthefaceofpain.com/content/uploads/2011112/factsheet_ProtectingAccess.pdf (accessed
 May 30, 2017).

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 excuse to give patients more medication.... It led us down a path that caused harm. It is already

 something we are debunking as a concept. "90

            260.    Each of the publications and statements below falsely states or suggests that the

 concept of "pseudoaddiction" is substantiated by scientific evidence aod accurately describes the

 condjtjon of patients who onJy need, and should be treated with, more opioids:


 Actavis                 a. D ocuments from a 2010 sales training indicate tlrnt Actavis trained its sales
                            force to instruct physicians tl1at aberrant behaviors like self-escalation of doses
                            constituted "pseudoaddiction.''

 Cephalon                b. Cephalon sp onsored FSMB's Responsible Opioid PreJCribi11g (2007), which taught
                            that behaviors such as "requesting drugs by name," "demanding or manipulative
                            behavior," seeing more than one doctor to obtain opioids, and boarding are
                            all signs of "pseudoaddicrion." Cephalon also spent $150,000 to purchase copies
                            of the book :in bulk and clisa:.ibuted ir through its pain sales force co 10,000
                            prescribers and 5,000 pharmacists.

 E ndo                   c. E ndo distributed copies of a book by KOL D r. Lynn Webster entitled Avoiding
                            Opioid Abuse l~hile Ma11aging Pain (2007). Endo's internal planning documents
                            describe the purpose of distributing this book as to "[i]ncrease the breadth and
                            depth of the Opana ER prescriber base." The book claims that when faced
                            with signs of aberrant behavior, the doctor should regard it as
                            "pseudoadcliction" and thus, increasing the dose in mos/ cases . . . should be the
                            clinicia11 1s first respo11se." (emphasis added).

                         d. Endo spent $246,620 to buy copies of FSMB's Responsible Opioid Prescribing
                            (2007), which was distributed by Eada's sales force. This book asserted that
                            behaviors such as "requesting drugs by name," "demanding or manipulative
                            behavior," seeing more than one doctor to obcain opioids, and hoarding, are all
                            signs of "pseudoaddiction."

 J anssen                c. From 2009 to 2011 Janssen's website, I...el's Talk Pain, stated that
                            "pseudoaddiction ... refers to patient behaviors that may occur when pain is
                            under-treated" and that "[plseudoaddictioo is different from true addiction
                            because such behaviors can be resolved with effective pain management."
                            (emphasis added).

 Purdue                  f.   Purdue published a prescriber and law enforcement education pamphlet in 201 1
                              entitled Providin Relie , Pret1e11ti11 Abuse, which described " seudoaddiction" as a

 90
      John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, Milwaukee Wisc. J Sentine l (Feb. 19, 20 12).

                                                          103
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                        concept that "emerged in the literature to describe the inaccurate interpretation
                        of [drug-seeking behaviors] in patients who have pain that has not been
                        effectively treated."

                    g. Purdue distributed to physicians, at least as of November 2006, and posted on
                        its unbranded website, Partners Against Pain, a pamphlet copyrighted 2005 and
                        titled Clinical Issues in Opioid Pmcribing. This pamphlet included a list of conduct,
                       including "illicit drug use and deception" it defined as indicative of
                        "pseudoaddiction" or untreated pain. It also states: "Pseudoaddiction is a term
                        which has been used to describe patient behaviors that may occur when pain is
                        undertreated. . . . Even such behaviors as illicit drug use and deception can
                        occur in the patient's efforts to obtain relief. Pseudoaddiction can be distinguished
                       from tnte addiction in that the behaviors resolve when the pain is effectively
                        treated." (Emphasis added.)

                    h. Purdue sponsored FSMB's "Responsible Opioid Prescribing (2007), which taught that
                       behaviors such as "requesting drugs by name, "demanding or manipulative
                       behavior," seeing more than one doctox to obtain opioids, and hoarding, are all
                       signs of "pseudoaddiction." Purdue also spent over $100,000 to support
                       distribution of the book.

                   1.   Purdue sponsored APF's A Polirymake1Js Guide to Understanding Pain & Its
                        Management, which states: "Pseudo-addiction describes patient behaviors that
                        may occur when pain is undertreated. . .. Pseudo-addiction can be distinguished
                        from true addiction in that this behavior ceases when pain is effectively treated."
                        ffimphasis added.)

        5. The Manufacturer Defendants               and Their Third-Party            Allies   Claimed
           Withdrawal is Simply Managed

        261.    The Manufacturer Defendants and their third-party allies promoted the false and

 misleading messages below with the intent and expectation that, by misrepresenting the

 difficulty of withdrawing from opioids, prescribers and patients would be more likely to start

 chronic opioid therapy and would fail to recognize the actual risk of addiction.

        262.    In an effort to underplay the risk and impact of addiction, the Manufacturer

 Defendants and their third-party allies frequently claim that, while patients become "physically"

 dependent on opioids, physical dependence can be addressed by gradually tapering patients'

 doses to avoid the adverse effects of withdrawal. They fail to disclose the extremely difficult and



                                                  104
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 painful effects that patients can experience when they are removed from opioids-effects that

 also make it less likely that patients will be able to stop using the drugs.

           263.   In reality, withdrawal is prevalent in patients after more than a few weeks of

 therapy. Common symptoms of withdrawal include: severe anxiety, nausea, vomiting,

 headaches, agitation, insomnia, tremors, hallucinations, delirium, and pain. Some symptoms may

 persist for months, or even years, after a complete withdrawal from opioids, depending on how

 long the patient had been using opioids. Withdrawal symptoms trigger a feedback loop that

 drives patients to seek opioids, contributing to addiction.

        264.      Each of the publications and statements below falsely states or suggests that

 withdrawal from opioids was not a problem and they should not be hesitant about prescribing or

 using opioids:

 Actavis             a. Documents from a 2010 sales training indicate that Actavis trained its sales force
                        that discontinuing opioid therapy can be handled "simply" and that it can be
                        done at home. Actavis's sales representative training claitned opioid withdrawal
                        would take only a week, even in addicted patients.

 Endo                b. A CME sponsored by Endo, titled Perdstent Pain in the Older Adult, taught that
                        withdrawal symptoms can be avoided entirely by tapering the dose by 10-20%
                        per day for ten days.


 Janssen             c. A Janssen PowerPoint presentation used for trruru.ng its sales representatives
                        titled "Selling Nucynta ER" indicates that the "low incidence of withdrawal
                        symptoms" is a "core message" for its sales force. This message is repeated in
                        numerous Janssen training materials between 2009 and 2011. The studies
                        supporting this claitn did not describe withdrawal symptoms in patients taking
                        Nucynta ER beyond 90 days or at high doses and would therefore not be
                        representative of withdrawal symptoms in the chronic pain population. Patients
                        on opioid therapy long-term and at high doses will have a harder time
                        discontinuing the drugs and are mo.re likely to experience withdrawal symptoms.
                        In addition, .in claiming a low rate of withdrawal symptoms, Janssen relied upon
                        a study that only began tracking withdrawal symptoms in patients two to four
                        days after discontinuing opioid use; Janssen knew or should have known that
                        these symptoms peak earlier than that for most patients. Relying on data after
                        that initial window painted a misleading picture of the likelihood and severity of
                        withdrawal associated with chronic opioid therapy. Janssen also knew or should

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                           have known that the patients involved in the study were not on the drug long
                           enough to develop rates of withdrawal symptoms comparable to rates of
                           withdrawal suffered by patients who use opioids for chronic pain-the use for
                           which Janssen promoted Nucynta ER.

                      cl. Janssen sales representatives told 1be counties prescribers that patients on
                          Janssen's drugs were Jess susceptible to withdrawal than those on other opioids.

 Purdue               e. Purdue sponsored APF's A Poliry11Jaker's Guide to U11dersta11di11g Pain & Its
                         Ma11age11Je11t, which taughr that "Symptoms of physical dependence can often be
                         ameliorated by gradually decreasing the dose of medication during
                         discontinuation," but did not disclose the significant hardships that often
                         accompany cessation of use.

                      f.   Purdue sales representatives told The counties prescribers tbac the effects of
                           withdrawal &om opioid use can be successfully managed.

                    g. Purdue sales representatives told The counties prescribers that the potential for
                       withdrawal on Buttans was low due to Butrans's low potency and its extended
   ____
.___            _,____ release mechanism.


         6. The Manufacturer Defendants and Their Third-Party Allies Misrepresented
            that Increased Doses Pose No Significant Additional Risks

         265.     Each of the following misrepresentations was created with the intent and

 expectation that, by misrepresenting and failing to disclose the known risks of high dose opioids,

 prescribers and patients would be more likely to continue to prescribe and use opioids, even

  when they were not effective in reducing patients' pain, and not to discontinue opioids even

  when tolerance required them to reach even higher doses.

         266.     The Manufacturer Defendants and their third-party allies claimed that patients and

  prescribers could increase doses of opioids indefinitely without added risk, even when pain was

  not decreasing or when doses had reached levels that were "frighteningly high," suggesting that

  patients would eventually reach a stable, effective dose. Each of the Manufacturer Defendant<\'

  claims also omitted warnings of increased adverse effects that occur at higher doses, and

  misleadingly suggested that there was no greater risk to higher dose opioid therapy.



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           267.   These claims are false. Patients receiving high doses of opioids as part of long-

  term opioid therapy are three to nine times more likely to suffer an overdose from opioid-related

  causes than those on low doses. As compared to available alternative pain remedies, scholars

  have suggested that tolerance to the respiratory depressive effects of opioids develops at a slower

  rate than tolerance to analgesic effects. Accordingly, the practice of continuously escalating

  doses to match pain tolerance can, in fact, lead to overdose even where opioids are taken as

  recommended.       Regulatory authorities have acknowledged that available data suggest a

 relationship between increased doses and the risk of adverse effects. Moreover, it is harder for

  patients to terminate use of higher-dose opioids without severe withdrawal effects, which

 contributes to a cycle of continued use, even when the drugs provide no pain relief and are

 causing harm-the signs of addiction.

         268.     Each of the following claims suggests that high-dose opioid therapy is safe:

 Actavis             a.   Documents from a 2010 sales training indicate that Actavis trained its sales force
                          that "individualization" of opioid therapy depended on increasing doses "until
                          patient reports adequate analgesia" and to "set dose levels on [the] basis of
                          patient need, not on [a) predetermined maximal dose." Actavis further
                          counseled its sales representatives that the reasons some physicians had for not
                          increasing doses indefinitely were simply a matter of physician "comfort level,"
                          which could be overcome or used as a tool to induce them to switch to Actavis's
                          opioid, Kadian.

 Cephalon            b. Cephalon sponsored APF's Treatment Options: A G11ide for People Living with Pain
                        (2007), which claimed that some patients "need" a larger dose of their opioid,
                        regardless of the dose currently prescribed.

                     c. Cephalon sponsored a CME written by KOL Dr. Lynn Webster, Optimizjng
                        Opioid Tr-eatment for Breakthrough Pain, which was offered online by Medscape,
                        LLC from September 28, 2007 through December 15, 2008. The CME taught
                        that non-opioid analgesics and comhination opioids that include aspirin and
                        acetaminophen are less effective to treat breakthrough pain because of dose
                        limitations.

                      d. Cephalon sales representatives assured The counties prescribers that opioids
                         were safe, even at high doses.


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 Endo           e. Endo sponsored a website, painknowledge.com, through APF and NIPC, which,
                   in 2009, claimed that opioids may be .increased until "you are on the right dose
                   of medication for your pain," and once that occurred, further dose .increases
                   would not occur. Endo funded the site, which was a part of Endo's marketing
                   plan, and tracked visitors to it.

                f.   Endo distributed a patient education pamphlet edited by KOL Dr. Russell
                     Portenoy titled Understanding Your Pain: Taking Oral Opioid Analgesics. In Q&A
                     format, it asked: "If I take the opioid now, will it work later when I really need
                     it?" The response was: "The dose can be .increased .... You won't 'run out' of
                     pain relief."

 Janssen        g. Janssen sponsored a patient education guide entitled Finding Relief: Pain
                   Management for Older Adults (2009), which its personnel reviewed and approved an
                   its sales force distributed. This guide listed dose limitations as "disadvantages" of
                   other pain medicines and omitted any discussion of risks of increased doses of
                   opioids. The publication also falsely claimed that it is a "myth" that "opioid
                   doses have to be bigger over time."


 Purdue         h. Purdue's In the Face ofPain website, along with initiatives of APF, promoted the
                   notion that if a patient's doctor does not prescribe them what- in their view-is
                   a sufficient dose of opioids, they should find another doctor who will. Io so
                   doing, Purdue exerted undue, unfair, and improper influence over prescribers
                   who face pressure to accede to the resulting demands.

                1.   Purdue sponsored APF's A Policymaker's Guide to Understanding Pain & I ts
                     Management, which taught that dose escalations arc "sometimes necessary,"
                     even .indefinitely high ones. This suggested that high dose opioids are safe and
                     appropriate and did not disclose the risks from high dose opioids. This
                     publication is still available online.

                J·   Purdue sponsored APF's Treatment Options: A Guide for People Living with
                     Pain (2007), which taught patients that opioids have "no ceiling dose" and are
                     therefore the most appropriate treatment for severe pain. The guide also
                     claimed that some patients "need" a larger dose of the drug, regardless of the
                     dose currently prescribed. This language fails to disclose heightened risks at
                     elevated doses.

                k. Purdue sponsored a CME issued by the American Medical Association in 2003,
                   2007, 2010, and 2013. The CME, Overview of Management Options, was
                   edited by KOL Dr. Russell Portenoy, among others, and taught that other drugs,
                   but not opioids, are unsafe at high doses. The 2013 version is still available for
                   CME credit.

                1.   Purdue sales representatives told The counties prescribers that opioids were just
                     as effective for treating patients long-term and omitted any discussion that
                     increased tolerance would require increasing, and increasingly dangerous, doses.
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          7. The Manufacturer Defend ants and T heir Third-Party Allies Deceptively
             Omitted or Minimized Adverse Effects of Opioids and Overstated the Risks of
             Alternative Forms of Pain T reatment.

          269.     Each of the following misrepresentations was created with the intent and

  expectation that, by omitting the known, serious risks of chronic opioid therapy, including the

  risks of addiction, abuse, overdose, and death, and emphasizing or exaggerating risks of

  competing products, prescribers and patients would be more likely to choose opioids. The

  Manufacturer Defendants and their third-party allies routinely ignored the risks of chronic opioid

  therapy. These include (beyond the risks associated with misuse, abuse, and addiction):

  hyperalgesia, a "known serious risk associated with chronic opioid analgesic therapy in which

  the patient becomes more sensitive to certain painful stimuJi over time;"91 hormonal dysfunction;

  decline in immune function; mental clouding, confusion, and dizziness; increased falls and

  fractures in the elderly; neonatal abstinence syndrome (when an infant exposed to opioids

  prenatally withdraws from the drugs after birth); and potentially fatal interactions with alcohol or

  benzodiazepines, which are used to treat post-traumatic stress disorder and anxiety (disorders

  frequently coexisting with chronic pain conditions).92

          270.     Despite these serious risks, the Manufacturer Defendants asserted, or implied, that

  opioids were appropriate first-line treatments and safer than alternative treatments, including

  NSAIDs such as ibuprofen (Advil, Motrin) or naproxen (Aleve). While NSAIDs can pose

  significant gastrointestinal, renal , and cardiac risks, particularly for elderly patients, Defendants'

  exaggerated descriptions of those risks were deceptive in themselves, and also made their

  ~ 1 Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physicians
  for Responsible Opioid Prescribing, Re Docket No. FDA-20 12-P-0818 (Sept. I0, 2013).
  92
    Several of these risks do appear in the FDA-mandated warnings. See, e.g., the August 13, 2015 OxyContin Label,
  Section 6.2, identifying adverse reactions includfog: "abuse, addiction ... death, ... hyperalgesia, hypogonadism ...
  mood altered ... overdose, palpitations (in the context of withdrawal), seizures, suicidal attempt, suicidal ideation,
  syndrome of inappropriate antidiuretic hormone secretion, and urticaria [hives].''
                                                          109
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 omissions regarding the risks of opioids all the more striking and misleading. The Manufacturer

 Defendants and their third-party allies described over-the-counter NSAIDs as life-threatening

 and falsely asserted that they were responsible for 10,000-20,000 deaths annually (more than

 opioids), when in reality the number is closer to 3,200. This description of NSAIDs starkly

 contrasted with their representation of opioids, for which the listed risks were nausea,

 constipation, and sleepiness (but not addiction, overdose, or death). Compared with NSAIDs,

 opioids are responsible for roughly four times as many fatalities annually.

        271.    As with the preceding misrepresentations, the Manufacturer Defendants' false and

 misleading claims regarding the comparative risks of NSAIDs and opioids had the effect of

 shifting the balance of opioids' risks and purported benefits. While opioid prescriptions have

 exploded over the past two decades, the use ofNSAIDs has declined during that same time.

        272.    Each of the following reflects Defendants' deceptive claims and omissions about

 the risks of opioids, including in comparison to NSAIDs:

 Actavis           a. Documents from a 2010 sales training indicate that Actavis trained its sales
                      force that the ability to escalate doses during long-term opioid therapy, without
                      bitting a dose ceiling, made opioid use safer than other forms of therapy that
                      had defined maximum doses, such as acetaminophen or NSAIDs

                   b. Actavis also trained physician-speakers that "maintenance therapy with opioids
                      can be safer than long-term use of other analgesics," including NSAIDs, for
                      older persons.

                   c. K.adian sales representatives told The counties prescribers that NSAIDs were
                      more toxic than opioids.

 Cephalon          d. Cephalon sponsored APF's Treatment Options: A Guide for People Llving with Pain
                      (2007), which taught patients that opioids differ from NSAIDs in that they
                       have "no ceiling dose" and are therefore the most appropriate treatment for
                       severe pain. The publication attributed 10,000 to 20,000 deaths annually to
                       NSAID overdose. Treatment Options also warned that risks of NSAIDs increase
                       if ''taken for more than a period of months," with no corresponding warning
                       about opioids.

                    e. Cephalon sales representatives told County prescribe.rs that NSAIDs were more

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                     toxic than Cephalon's opioids.

 Endo           f.   Endo distributed a "case study" to prescribers titled Ca.re Challe11ges zi1 Pain
                     Manage111ent: Opioid Therapy for Chronic Pain. The study cites an example, meant to
                     be representative, of a patient "with a massive upper gastrointestinal bleed
                     believed to be related to his protracted use of NSAIDs" (over eight years), and
                     recommends treating with opioids instead.

                g. Endo sponsored a website, painknowledge.com, through APF and NIPC,
                   which contained a flyer called "Pain: Opioid Therapy." This publication included
                   a list of adverse effects &om opioids that omitted significant adverse effects like
                   hyperalgesia, immune and hormone dysfunction, cognitive impairment,
                   tolerance, dependence, addiction, and death. Endo continued to provide
                   funding for this website through 2012, and closely tracked unique visitors to it.

                h. Endo provided grants to APF to distribute Exit lf/ormds (2009), which omitted
                   warnings of the risk of interactions between opioids and benzodiazepines,
                   which would .increase fatality risk. Exit Wounds also contained a lengthy
                   discussion of the dangers of using alcohol to treat chronic pain bur did not
                   disclose dangers o f mixing alcohol and opioids.

                i.   Endo sales representatives told The counties prescribers that NSAIDs were
                     more toxic than ooioids.

 Janssen        J· Janssen sponsored a patient education guide titled Finding &lief: Pain Manageme111
                   for Older Adults (2009), which its persoaocl reviewed and approved and its sales
                     force distributed. This publication described the advantages and disadvantages
                     of NSAIDs on one page, and the "myths/ facts" of opioids on the facing page.
                     The disadvantages of NSA!Ds arc described as involving "stomach upset or
                     bleeding," "kidney or liver damage if taken at bigh doses or for a long time,"
                     "adverse reactions in people with asthma," and "can increase the risk of heart
                     attack and stroke." The only adverse effects of opioids listed axe "upset
                     stomach or sleepiness," which the brochure claims will go away, and
                     constipation.

                k. Janssen sponsored /\PF's Exit Wo11nds (2009), which omits warnings of the risk
                   of interactions between opioids and benzodiazepincs. Janssen's label for
                   Duragesic, however, states that use with benzodiazcpioes "may cause
                   respiratory depression, ~ow blood pressure], and profound sedation or
                   potentially result in coma. Exit ll?'o1111ds also contained a lengthy discussion of
                   the dangers of using alcohol to treat chronic pain but did not disclose dangers
                   of 1ni..x.i.og alcohol and opioids.

                I.   Janssen sales representatives told The counties prescribcrs that Nucynta was
                     not an opioid, making it a good choice for chronic pa.in patients who previously
                     were unable to continue opioid therapy due to excessive side effects. This
                     statement was misleading because N ucynta is, in fact, an opioid and has the
                     same effects as other opioids.
                                               ) 11
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  Purdue               m. Purdue sponsored APF's Exit Wounds (2009), which omits warnings of the risk
                          of interactions between opioids and benzodiazepines, which would increase
                          fatality risk. Exit Wounds also contained a lengthy discussion of the dangers of
                          using alcohol to treat chronic pain but did not disclose dangers of mixing
                          alcohol and opioids.

                       a. Purdue sponsored APF's Treatment Options: A Guide for People Living with
                          Pain (2007), which advised patients that opioids differ from NSAIDs in that
                          they have "no ceiling dose" and are therefore the most appropriate treatment
                          for severe pain. The publication attributes 10,000 to 20,000 deaths annually to
                          NSAID overdose. Treatment Options also warned that risks of NSAIDs
                          increase if "taken for more than a period of months," with no corresponding
                          warning about opioids.

                       o. Purdue sponsored a CME issued by the American Medical Association in 2003,
                          2007, 2010, and 2013; The 2013 version is still available for CME credit. The
                          CME, Overview of Management Options, was edited by KOL Dr. Russell
                          Portenoy, among others, and taught that NSAIDs and other drugs, but not
                          opioids, are unsafe at high doses.

                       p. Purdue sales representatives told The counties prescribers that NSAIDs were
                          more toxic than opioids.

          8. Purdue Misleadingly Promoted OxyContin as Providing 12 Hours of Relief

          273.      In addition to making the deceptive statements above, Purdue also dangerously

  misled doctors and patients about OxyContin's duration and onset of action.

          274.      Purdue promotes OxyContin as an extended-release opioid, but the oxycodone

  does not enter the body on a linear rate. OxyContin works by releasing a greater proportion of

  oxycodone into the body upon administration, and the release gradually tapers, as illustrated in

  the following chart, which was, upon information and belief, adapted from Purdue's own sales

               93
  materials:




  93
     Jim Edwards, "How Purdue Used Misleading Charts to Hide OxyContin's Addictive Power," CBSNews.com,
  Sept 28, 2011, http://www.cbsnews.com/news/how-purdue-used-misleading-charts-to- hide-oxycontins-addictive-
  power/ (accessed May 30, 2017). The 160 mg dose is no longer marketed. Purdue's promotional materials in the past
  displayed a logarithmic scale, which gave the misleading impression the concentration remained constant.

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              OxyContin Pl Figure, Linear y-axis

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             I -1omg           ~20mg        ..,.40mg      -o-eomg     -o-1eo~       -H-10mgq12tlSa..dy-Stat.e   I
                                                          Figure 1
 The reduced release of the drug over time means that the oxycodone no longer provides the same

 level of pain relief; as a result, in many patients, OxyContin does not last for the 12 hours for

 which Purdue promotes it- a fact that Purdue has known at all times relevant to this action.

        275.            OxyContin tablets provide an initial absorption of approximately 40% of the

 active medicine. This has a two-fold effect. First, the initial rush of nearly half of the powerful

 opioid-OxyContin is roughly twice as powerful as morphine-triggers a powerful

 psychological response. OxyContin thus behaves more like an immediate release opioid, which

 Purdue itself once claimed was more addicting in its original 1995 approved drug label. Second,

 the initial burst of oxycodone means that there is less of the drug at the end of the dosing period,

 which results in the drug not lasting for a full J2 hours and precipitates withdrawal symptoms in

 patients, a phenomenon known as "end of dose" failure. (The FDA found in 2008 that a

 "substantial number" of chronic pain patients will experience "end-of-dose failure" with


                                                           113
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  OxyContin.) The combination of fast onset and end-of-dose failure makes OxyContin

  particularly addictive, even compared with other opioids.

            276.             Purdue nevertheless has falsely promoted OxyContin as if it were effective for a

  full 12 hours. Its advertising in 2000 included claims that OxyContin provides "Consistent

  Plasma Levels Over 12 Hours." That claim was accompanied by a chart depicting plasma levels

  on a Jogarithnllc scale. The chart minimized the rate of end-of-dose failure by depicting 10 mg

  in a way that it appeared to be half of 100 mg in the table's y-axis. That chart, shown below,

  depicts the same information as the chart above, but does so in a way that makes the absorption

  rate appear more consistent:




   Consistent      Plasma Levels Over 12·Houn
   ............ dull(ftl/nll.)..,....._of...,. ...... ..,._...

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            277.             More recently, other Purdue advertisements also emphasized "Q12h" (meaning

  twice-daily) dosing. These include an advertisement in the February 2005 Journal of Pain and

  2006 Clinical Journal of Pain featuring an OxyContin logo with two pill cups, reinforcing the

  twice-a-day message. Other advertisements that ran in the 2005 and 2006 issues of the Journal of

  Pain depict a sample prescription for OxyContin, with ''Ql2h" handwritten for emphasis.



                                                                       114
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            278.    The information that OxyContin did not provide pain relief for a full 12 hours was

 known to Purdue, and Purdue's competitors, but was not disclosed to general practitioners.

 Purdue's knowledge of some pain specialists' tendency to prescribe OxyContin three times per

 day instead of two (which would have compensated for end-of-dose failure) was set out in

 Purdue's internal documents as early as 1999 and is apparent from MED WATCH Adverse Event
                              94
 reports for OxyContin.            Even Purdue's competitor, Endo, was aware of the problem; Endo

 attempted to position its Opana ER drug as offering "durable" pain relief, which Endo

 understood to suggest a contrast to OxyContin. Opana ER advisory board meetings featured pain

 specialists citing lack of 12-hour dosing as a disadvantage of OxyContin. Endo even ran

 advertisements for Opana ER referring to "real" 12-hour dosing.

           279.    Purdue's failure to disclose the prevalence of end-of-dose failure meant that

 prescribcrs in the Counties were not informed of risks relating to addiction, and that they

 received the misleading message that OxyContin would be effective for treating chronic pain for

 the advertised duration. Furthermore, doctors wouJd compensate by increasing the dose or

 prescribing "rescue" opioids, which had the same effect as increasing the amount of opioids

 prescribed to a patient. 95• 96




 94
      MED WATCH refers to the FDA's voluntary adverse event reporting system.

 95
   Purdue's Clinical lssues in Opioid Prescribing, put out in 2005 under Purdue's unbranded Partners Against fain
 banner, states that "it is recommended that a supplementary immediate-release medication be provided to treat
 exacerbations of pain that may occur with stable dosing." References to "rescue" medication appear in publications
 Purdue sponsored such as APF's A Policymaker's Guide (2011) and the 2013 CME Overview of Pain Management
 Options.
 96 The Connecticut Attorney General's office filed a citizens' petition with the FDA on January 27, 2004, requesting
 that the OxyContin label be amended with a warning not to prescribe the drug more than twice daily as a means of
 compensa1ing for end-of-dose failure. The FDA denied this request on September 11, 2008. The FDA found that the
 state had failed to present sufficient evidence that more frequent dosing caused adverse ou1comes, but the FDA did
 not challenge 1he Connecticut finding that end-of-dose failure of OxyContin was prevalent. Indeed, the FDA found
 that end-of-dose failure affected a "substantial" number of chronic pain patients prescribed OxyContin.
                                                        115
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      C. Each of th e Manufacturer Defendants Engaged in Deceptive Marketing, Both
         Branded and Unbranded, that Targeted and Reached Prcscribers within the
         Counties.

         280.    The Manufacturer Defendants- and the Front Groups and KOLs who depended

  on and worked alongside them-were able to affect a sea change in medicaJ opinion in favor of

  accepting opioids as a medically necessary long-term treatment for chronic pain. As set forth

  below, each of the Manufacturer Defendants contributed to that result through a combination of

  both direct marketing efforts and third-party marketing efforts over which that the Manufacturer

  Defendants exercised editorial control. These deceptive and misleading statements were directed

  to, and reached, prescribers and patients within the Counties, with the intent of distorting their

  views on the risks, benefits, and superiority of opioids for treatment of chronic pain.

         281.    The Manufacturer Defendants engaged in their deceptive marketing campaign,

  both nationwide and in the Counties, using a number of strategies. Defendants trained their sales

  forces and recruited physician speakers to deliver these deceptive messages and omissions, and

  they in tum conveyed them to prescribers. The Manufacturer Defendants also broadly

  disseminated promotional messages and materials, both by del ivering them personally to doctors

  during detai ling visits and by mailing deceptive advertisements directly to prescribers. Because

  they are disseminated by the Manufacturer Defendants drug manufacturers and relate to the

  Manufacturer Defendants' drugs, these materials are considered "labeling," which means the

  Manufacturer Defendants are Jiable for their content.

         282.    As described below, upon information and belief, there are a number of County-

  area prescribers who received the Manufacturer Defendants' misrepresentations. Each of the

  misrepresentations received by these doctors constitutes an integral piece of a central ly directed

  marketing strategy to change medical perceptions regarding the use of opioids to treat chronic

  pain. The Manufacturer Defendants were aware of each of these misrepresentations, and the
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  Manufacturer Defendants approved of them and oversaw their dissemination at the national,

  corporate level.

          1. Actavis

          283.    As described below, Actavis promoted its branded opioid, Kadian, through a

  highly deceptive marketing campaign, carried out principally through its sales force and

  recruited physician speakers. As internal documents indicate, this campaign rested on a series of

  misrepresentations and omissions regarding the risks, benefits, and superiority of opioids, and

 indeed incorporated each of the types of deceptive messages. Based on the highly coordinated

 and uniform nature of Actavis's marketing, Actavis conveyed these deceptive messages to

 County prescribcrs. Actavis did so with the intent that County prescribers and/or consumers

 would rely on the messages in choosing to use opioids to treat chronic pain.97

                  a. Actavis' Deceptive Direct Marketing

          284.    To help devise its marketing strategy for        Kadi~     Actavis commissioned a report

  from one of its consultants in January 2005 about barriers to market entry. The report concluded

 that two major chal lenges facing opioid manufacturers in 2005 were (i) overcoming "concerns

 regarcling the safety and tolerability" of opioids, and (ii) the fact that ''physicians have been

 trained to evaluate the suppo.rting data before changing their respective practice behavior." To

 address these challenges, the report advocated a "(p]ublication strategy based on placing in the

  literature key data that influence members of the target audience" with an "emphasis ... on

 ensuring that the message is believable and relevant to the needs of the target auclience." This

  would entai l the creation of "effective copy points ... backed by published references" and

  "developing and placing publications that demonstrate [the] efficacy [of opioids] and [their]


  97
    Actavis also sold various generic opioids, including Norco, which were widely prescribed in The counties and
  benefited from Acta vis's overall promotion of opioids, but were not directly marketed by sales representatives.
                                                        117
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  safety/positive side effect profile." According to the report, this would allow physicians to

  "reachO a mental agreement" and change their ''practice behavior" without having first evaluated

  supporting data-of which Actavis (and other Defendants) had none.

            285.   The consulting firm predicted that this manufactured body of literature "w[ould],

 in turn, provide greater support for the promotional message and add credibility to the brand's

 advocates" based on "either actual or perceived 'scientific exchange'" in relevant medical

 literature. (emphasis added). To this end, it planned for three manuscripts to be written during the

 first quarter of 2005. Of these, "(t)he neuropathic pain manuscript will provide evidence

 demonstrating KADJAN is as effective in patients with presumptive neuropathic pain as it is in

 those with other pain types"; "[t]he elderly subanalysis . .. will provide clinicians with evidence

 that KADIAN is efficacious and well tolerated in appropriately selected elderly patients" and

 will "be targeted to readers in the geriatrics specialty"; and "[t]he QDF/BID manuscript will ...

 call attention to the fact that KADJAN is the only sustained-release opioid to be labeled for [once

 or twice daily] use." In short, Actavis knew exactly what each study would show-and how that

 study would fit into its marketing plan-before it was published. Articles matching Actavis's

 descriptions later appeared in the Journal of Pain and the Journal of the American Geriatrics

 Society.

            286.   To ensure that messages based on this science reached individual physicians,

 Actavis deployed sales representatives, or detailers, to visit prescribers in the Counties and

 across the country. At the peak of Actavis's promotional efforts in 2011 , the company spent $6.7

 million on detailing.

            287.   To track its detailers' progress, Actavis's sales and marketing department actively

  monitored the prescribing behavior of physicians. It tracked the Kadian prescribing activity of

  individual physicians, and assessed the success of its marketing efforts by tabulating how many
                                                   118
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  Kadian prescriptions a prescriber wrote after be or she had been detailed. As descri.bed below,

  Kadian monitored numerous County physicians.

         288.    Actavis also planned to promote Kadian by giving presentations at conferences of

  organizations where it believed it could reach a high concentration of pain specialists. Its cho ice

  of conferences was also influenced by the host's past support of opioids. For example, Actavis

  documents show that Actavis presented papers concerning Kadian at an annual meeting of AGS

  because AGS's guidelines "support the use of opioids."

         289.    Actavis targeted prescribers using both its sales force and recruited physician

  speakers, as described below.

                       1.   Actavis' Deceptive Sales Training

         290.    Actavis's sales representatives targeted physicians to deliver sales messages that

  were developed centrally and deployed uniformly across the country. These sales representatives

  were ctitical in delivering Actavis's marketing strategies and talking points to individual

  prescribers.

         291.    Actavis's strategy and pattern of deceptive marketing is evident in its internal

  training materials. A sales education module titled "Kadian Learning System" trained Actavis's

  sales representatives on the marketing messages-including deceptive claims about improved

  function, the risk of addiction, the false scientific concept of "pseudoaddiction," and opioid

  withdrawal- that sales representatives were directed and required, in turn, to pass on to

  prescribers, nationally and in The counties.

         292.    The sales training module, dated July l , 2010, includes the misrepresentations

  documented in this Complaint, starting with its promise of improved function. The sales training

  instructed Actavis sales representatives that "most chronic benign pain patients do have

  markedly improved ability to function when maintained on chronic opioid therapy," when, in
                                                  119
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  reality, available data demonstrate that patients on chronic opioid therapy are less likely to

  participate in daily activities like work. The sales training also misleadingly implied that the dose

  of prescription opioids could be escalated without consequence and omitted important facts

  about the increased risks of high dose opioids. First, Actavis taught its sales representatives, who

  would pass the message on to doctors, that pain patients would not develop tolerance to opioids,

  which would have required them to receive increasing doses: "Although tolerance and

  dependence do occur with long-term use of opioids, many studies have shown that tolerance is

  limited in most patients with [Chronic pain]." Second, Actavis instructed its sales personnel that

  opioid ''(d)oses are titrated to pain relief, and so no ceiling dose can be given as to the

  recommended maximal dose." Actavis failed to explain to its sales representatives and, through

  them, to doctors, the greater risks associated with opioids at high doses.

         293.    Further, the 2010 sales training module highlighted the risks of alternate pain

  medications without providing a comparable discussion of the risks of opioids, painting the

  erroneous and misleading impression that opioids are safer. Specifically, the document claimed

  that "NSAIDs prolong the bleeding time by inhibiting blood platelets: which can contribute to

  bleeding complications" and "can have toxic effects on the kidney." Accordingly, Actavis

  coached its sales representatives that "(t]he potential toxicity of NSAIDs limits their dose and, to

  some extent, the duration of therapy" since "[t]hey should only be taken short term." By contrast,

  the corresponding section related to opioids neglects to include a single side effect or risk

  associated with the use of opioids, including from long-term use.

         294.    ll1is sales training module ruso severely downplayed the main risk associated

  with Kadian and other opioids-addiction. It represented that "there is no evidence that simply

  takjng opioids for a period of time wiJl cause substance abuse or addiction'' and, instead, "[i]t

  appears likely that most substance-abusing patients in pain management practices had an abuse
                                                  120
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  problem before entering the practice." This falsely suggests that few patients would become

  addicted, that only those with a prior history of abuse are at risk of opioid addiction, and that

  doctors could screen for those patients and safely prescribe to others. To the contrary, opioid

  addiction affects a significant population of patients; while patients with a history of abuse may

  be more prone to addiction, all patients are at risk, and doctors may not be able to identify, or

  safely prescribe to, patients at greater risk.

          295.    The sales training also noted that there were various "signs associated with

  substance abuse," including past history or family history of substance or alcohol abuse, frequent

  requests to change medication because of side effects or lack of efficacy, and a "social history of

  dysfunctional or high-ri sk behaviors including multiple arrests, multiple marriages, abusive

  relationships, etc." This is misleading, as noted above, because it implies that only patients with

  these kinds of behaviors and history become addicted to opioids.

          296.    Further, the sales training neglected to disclose that no risk-screening tools related

  to opioids have ever been scientifically validated. The AHRQ recently issued an Evidence

  Report that could identify "[n]o study" that had evaluated the effectiveness of various risk

  mitigation strategies- including the types of patient screening impli ed in Actavis's sales

  training-on outcomes related to overdose, addiction, abuse or misuse.

          297.    The sales training module also directed representatives to counsel doctors to be on

  the lookout for the signs of "[p]seudoaddjction, 11 which were defined as "[b]ehaviors (that mimic

  addictive behaviors) exhibited by patients with inadequately treated pain." However, the concept

  of "pseudoatltliclion" is unsubstantiated and meant to mislead doctors and patients about the risks

  and signs of addiction.

          298.    Finally, the 2010 national training materials trivialized the harms associated with

  opioid withdrawal by explaining that "[p]bysical dependence simply requires a tapered
                                                   121
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  withdrawal should the opioid medication no longer be needed." This, however, overlooks the

  fact that the side effects associated with opiate withdrawal are severe and a serious concern for

  any person who wishes to discontinue long-term opioid therapy.

         299.    The Kadian Leaming System module dates from July 2010, but Actavis sales

  representatives were passing deceptive messages on to prescribers even before then. A July 2010

  "Dear Doctor" letter issued by the FDA indicated that "[b)etween June 2009 and February 2010,

  Actavis sales representatives distributed . . . promotional materials that . . . omitted and

  minimized serious risks associated with [Kadian)." Certain risks that were misrepresented

  included the risk of "(m]isuse, La]buse, and [d]iversion of [o]pioids" and, specifically, the risk

  that "[o]pioid agonists have the potential for being abused and are sought by drug abusers and

  people with addiction disorders and are subject to criminal diversion." The FDA also took issue

  with an advertisement for misrepresenting Kadian's ability to help patients "live with less pain

  and get adequate rest with less medication," when the supporting study did not represent

  "substantial evidence or substantial clinical experience."

         300.    Actavis's documents also indicate that the company continued to deceptively

  market its drugs after 2010. Specifically, a September 2012 Kadian Marketing Update, and the

  "HCP Detail" aid contained therein, noted that Kadian's "steady state plasma levels" ensured that

  Kadian "produced higher trough concentrations and a smaller degree of peak-to-trough

  fluctuations" than other opioids.

         301.       Actavis also commissioned surveys of prescribers to ensure Kadian sales

  repr~sentatives   were promoting the "steady-state" message. That same survey-paid for and

  reviewed by Actavis-found repeated instances of prescribers being told by sales representatives

  that Kadian had low potential of abuse or addiction. This survey also found that prescribers were

  influenced by Actavis's messaging. A number of Kadian prescribers stated that they prescribed
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 Kadian because it was ''without the addictive potential" and wouldn't "be posing high risk for

 addiction." As a rcsuJt, Actavis's marketing documents celebrated a "perception" among doctors

 that Kadian had "low abuse potential".

        302.    Finally, the internal documents of another Defendant, Endo, indicate that

 pharmaceutical sales representatives employed by Endo, Actavis, and Purdue discussed the

 AAPM/ APS Guidelines with doctors during detailing visits. These guidelines deceptively

 concluded that the risk of addiction is manageable for patients regardless of past abuse histories.

                      u.   Actavis' Deceptive Speaking Training

        303.    Actavis also increasi ngly rcJied on speakers-physicians whom Actavis recruited

 to market opioids to their peers- to convey similar marketing messages. Actavis set a goal to

 train 100 new Kadian speakers in 2008 alone, with a plan to set up "power lunch

 teleconferences" connecting speakers to up to 500 participating sites nationwide. Actavis sales

 representatives, who were required to make a certain number of sales visits each day and week,

 saw the definition of sales cal l expanded to accommodate these changes; such calls now included

 physicians' "breakfast & lunch meetings with Kadian advocate/speaker."

        304.    A training program for Actavis speakers included training on many of the same

 messages found in the Kadian Leaming System, as described below. The deceptive messages in

 Actavis's speakers' training are concerning for two reasons: (a) the doctors who participated in

 the training were, themselves, prescribing doctors, and the training was meant to increase their

 prescriptions of Kadian; and (b) these doctors were trained, paid, and directed to deliver these

 messages to other doctors who would write prescriptions of Kadian.

        305.    Consistent with the training for sales representatives, Actavis's speakers' training

 falsely minimized the risk of addiction posed by long-term opioid use. Actavis claimed, without

 scientific foundation, that "[olpioids can be used with minimal risk in chronic pain patients
                                                 123
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  without a hi story of abuse or adcliction." The training also deceptively touted the effectiveness of

  "Risk Tools," such as the Opioid Risk Tool, in determining the "risk for developing aberrant

  behaviors" in patients being considered for chronic opioid therapy. In recommending the use of

  these screening tools, the speakers' training neglected to disclose that none of them had been

  scientifical ly validated.

          306.    The speakers' training also made reference to "pseudoaddiction" as a "[c]ondition

  characterized by behaviors, such as drug hoarding, that outwardly mimic addiction but are in fact

  driven by a desire for pain relief and usually signal undertreated pain." It then purported to assist

  doctors in identifying those behaviors that actually indicated a risk of addiction from those that

  did not. Behaviors it identified as "[m]ore suggestive of addiction" included "[p]rescription

  fo rgery, '' "[iJnjecting oral formulations," and "(m]ultiple dose escalations or other nonadherence

  with therapy despite warnings." Identified as "[l]ess suggestive of addiction" were "[a]ggressive

  complaining about the need for more drugs," "(rJequesting specific drugs," "[d]rug hoarding

  during periods of reduced symptoms," and "[u]napproved use of the drug to treat another

  symptom. " By portraying the risks in this manner, the speakers' training presentation deceptively

  gave doctors a false sense of security regarding the types of patients who can become addicted to

  opioids and the types of behaviors these patients exhibit.

          307.    The speakers' training downplayed the risks of opioids, while focusing on the

  risks of competing analgesics like NSAIDs. For example, it asserted that "Acetaminophen

  toxicity is a major health concern." The slide further warned that "Acetaminophen poisoning is

  the most common cause of acute liver failure in an evaluation of 662 US Subjects with acute

  liver failure between 1998-2003," and was titled "Opioids can be a safer option than other

  analgesics." However, in presenting the risks associated with opioids, the speakers' training

  focused on nausea, constipation, and sleepiness, and ignored the serious risks of hyperalgesia,
                                                  124
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  honnonal dysfunction, decline in immune function, mental clouding, confusion, and dizziness;

  increased falls and fractures in the elderly, neonataJ abstinence syndrome, and potentially fatal

  interactions with alcohol or benzodiazepines. As a result, the training exaggerated the risks of

  NSAIDs, both absolutely and relative to opioids, to make opioids appear to be a more attractive

  first-line treatment for chronic pain.

          308.      The speakers' training aJso misrepresented the risks associated with increased

  doses of opioids. For example, speakers were instructed to "[s]tart low and titrate until patient

  reports adequate analgesia" and to "[s]et dose levels on [the] basis of patient need, not on

  predetermined maximal dose." However, the speakers' training neglected to warn speakers (and

  speakers bureau attendees) that patients on high doses of opioids are more likely to suffer

  adverse events.

                 b. Actavis's Deceptive Statements to the Counties' Prescribers and Patients

         309.    The misleading messages and training materials Actavis provided to its sales

  force and speakers were part of a broader strategy to convince prescribers to use opioids to treat

  their patients' pain, without complete and accurate information about the risks, benefits, and

  alternatives. This deception was nationa] in scope and included the Counties. Actavis's

  nationwide messages reached the Counties prescribers in a number of ways. For example, they

  were carried into the Counties by Actavis's sales representatives during detai ling visits as well as

  made available to County patients and prescribers through websites and ads, including ads in

  prominent medical journals. They have aJso been delivered to County prescribers by Actavis's

  paid speakers, who were required by Actavis policy and by FDA regulations to stay true to

  Actavis's nationwide messaging.

          310.      Once trained, Actavis's sales representatives and speakers were directed to, and

  did, visit potential prescribers in the Counties, as elsewhere, to deliver their deceptive messages.
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  These contacts are demonstrated by Actavis's substantial effort in trac.I<lng the habits of

  individual County physicians prescribing Kadian) and by the direct evidence of Actavis detailing

  County p rescribers.

         31 1.     Actavis tracked, in substantial detail, the prescribing behavior of the Counties'

  area physicians.

         2. Cephalon

         312.      At the heart of Cephalon's deceptive promotional efforts was a concerted and

  sustained effort to expand the market for its branded opio ids, Actiq and Fentora, far beyond their

  approved use in opioid-tolerant cancer patients. Trading on their rapid-onset formulation,

  Cephalon touted its opioids as the answer to "breakthrough pain"-a term its own KOL allies

 planted in the medical literature-whether cancer pain or not. Cephalon promoted this message

  through its sales force) paid physician speakers, advertisements, and CMEs, even after the FDA

  issued the company warnings and rejected an expanded drug indication.

         313.      Even as it promoted Actiq and Fentora off-label, Cephalon also purveyed many of

  the deceptive messages described above. It did so both directly- through detailing visits and

  speaker programs- and through the publ ications and CMEs of its third-party partners. These

  messages      included   misleading   claims about functional     improvement,    addiction   risk,

  pseudoaddiction, and the safety of alternatives to opioids.

         3 14.     Based on the highly coordinated and uniform nature of Cephalon's marketing,

  Cephalon conveyed these deceptive messages to the Counties' prescribers. The materials that

  Cephalon generated in collaboration with third-parties were also distributed or made available:: in

 the Counties. Cephalon distributed these messages, or facilitated their distribution, in the

  Counties with the intent that the Counties prescribers and/or consumers would rely on them in

  choosing to use opioids to treat chronic pain.
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                    a. Cephalon's Deceptive Direct Marketing

            315.    Like the other Manufacturer Defendants, Cephalon directly engaged in misleading

  and deceptive marketing of its opioids through its sales force and branded advertisements. These

  messages were centrally formulated and intended to reach prescribers nationwide, including

  those practicing in the Counties' area. Cephalon also spent the money necessary to aggressively

  promote its opioid drugs, setting aside $20 million to market Fentora in 2009 alone.

                           1.    Cephalon's Fraudulent Off-Label Marketing ofActiq and Fentora

           316.     Chief among Cephalon's direct marketing efforts was its campaign to deceptively

  promote its opioids for off-label uses. Cephalon reaps significant revenue from selling its opioids

  for treatment of chronic non-cancer pain. However, neither of its two opioid drugs- Actiq or

  Fentora- is approved for this purpose. Instead, both have indications that are very clearly and

  narrowly defined to limit their use to a particular form of cancer pain. Despite this restriction,

  and in order to claim its piece of the broader chronic non-cancer pain market, Cephalon

  deceptively and unlawfully marketed Actiq and then Fentora for patients and uses for which they

  were not safe, effective, or allowed.             This resulted in prescriptions written and paid and,

  grievously, caused patients to be injured and die. Cephalon's efforts to expand the market fo r its

  drugs beyond cancer pain extended to The counties prescribers.

                                      a) Cephalon launched its fraudulent marketing scheme for Actiq

            317.    Cephalon's Actiq is a powerful opioid narcotic that is delivered to the bloodstream

  by a lollipop lozenge that dissolves slowly in the mouth. As described by one patient, Actiq

  "tastes like the most delicious candy you ever ate. 1198




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       See John Carreyrou, Narcotic 'lollipop' Becomes Big Seller Despite FDA Curbs, Wall St. J., Nov. 3, 2006.

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          318.     Actiq is appropriately used only to treat "breakthrough" cancer pain that cannot be

 controlled by other medications. Breakthrough pain is a short-tenn flare of moderate-to- severe

 pain in patients with otherwise stable persistent pain. Actiq is a rapid-onset drug that takes effect

 within 10-1 5 minutes but lasts only a short time. Tt is also an extremely strong drug, considered

 to be at least 80 times more powerful than morphine. Fentanyl, a key ingredient in Actiq, has

 been linked to fatal respiratory complications in patients. Actiq is not safe in any dose for

 patients who are not opioid tolerant, meaning patients who have taken specific doses of opioids

 for a week or longer and whose systems have acclimated to the drugs.

          319.    In 1998, Actiq was approved "ONLY for the management of breakthrough cancer

 pain in patients with malignancies who are already receiving and who are tolerant to opioid

 therapy for their underlying persistent cancer pain." 99 (emphasis in FDA document). Because of

 Actiq's dangers, wider, off-label uses- as the label makes clear- are not permitted:

                  This product must 11ot be used in opioid non-tolerant patients because life-
                  threatening respiratory depression and death could occur at any dose in patients
                  not on a chronic regimen of opioids. For this reason, ACTIQ is contraindicated in
                  the management of acute or postoperative pain. 100

          320.     Actiq and Fentora are thus intended to be used only in the care of cancer patients

 and only by oncologists and pain specialists who are knowledgeable of, and skilled in, the use of

 Schedule JI opioids to treat cancer pain. Unlike other drugs, of which off-label uses are permitted

 but cannot be promoted by the drug maker, Actiq and Fentora are so potent that off- label use for

 opioid na'ive patients is barred by the FDA, as their labels make clear.



 99FDA Approval Letter for NDA 20-747 (Nov. 4, 1998) at 5, http://www.accessdata.fda.gov/drugsatfda_docs/
 appletter/ 1998/207471tr.pdf(accessed May 30, 2017).
  100
     Actiq Drug Label, July 201 1. T he 1998 version does not substantively differ: "Because life-threatening
  hypoventilation could occur at any dose in patients not taking chronic opiates, Acliq is contra- indicated in the
  management of acute or postoperative pain. This product must not be used in opioid non-to lerant patients."
  (emphasis in original).
                                                        128
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            321.   Notwithstanding the drug's extreme potency and related dangers, and the FDA's

  explicit limitations, Cephalon actively promoted Actiq for chronic non-cancer pain-an

  unapproved, off-label use. Cephalon marketed Actiq as appropriate for the treatment of various

  conditions including back pain, headaches, pain associated with sports-related injuries, and other

  conditions not associated with cancer and for which it was not approved, appropriate, or safe.

            322.   Actiq's initial sales counted in the tens of millions of dollars, corresponding to its

  limited patient population. But by 2005, Actiq sales reached $412 million, making it Cephalon's

  second-highest selling drug. As a result of Cephalon's deceptive, unlawful marketing, sales

  exceeded $500 million by 2006.

                                  b) October 1, 2006 - Cephalon fraudulently marked Actiq's
                                     successor drug, Fentora

            323.   Actiq was set to lose its patent protection in September 2006. To replace the

  revenue stream that would be lost once generic competitors came to market, Cephalon purchased

  a new opioid drug, Fentora, from Cima Labs and, in August 2005, submitted Fentora for

  approval. Like Actiq, Fentora is an extremely powerful and rapid-onset opioid. It is administered

  by placing a tablet in the mouth until it disintegrates and is absorbed by the mucous membrane

  that lines the inside of the mouth.

            324.   On September 25, 2006, Fentora was approved, like Actiq, only for the treatment

  of breakthrough cancer pain in cancer patients who were already tolerant to around- the-clock

  opioid therapy for their underlying persistent cancer pain. Fentora's unusually strong and detailed

  black box warning label- the most serious medication warning - makes clear that, among other

  things:

               Fatal respiratory depression has occurred in patients treated with FENTORA,
               including fo llowing use in opioid non-tolerant patients and improper dosing. The
               substitution of FENTORA for any other fentanyl product may result in fatal overdose.

                                                    129
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              Due to the risk of respiratory depression, FENTORA is contraindicated in the
              management of acute or postoperative pain including headache/migraine and in
              opioid non-tolerant patients. 101

          325.      When Cephalon launched Fentora on October 1, 2006, it picked up the playbook

 it had developed for Actiq and simply substituted in Fentora. Cephalon immediately shifted 100

 general pain sales representatives from selling Actiq to selling Fentora to the very same

 physicians for uses that would necessarily and predictably be off-label. Cephalon's marketing of

 Actiq therefore "primed the market" for Fentora. Cephalon had trained numerous KOLs to lead

 promotional programs for Fentora, typically including off-label uses for the drug. Cephalon

 billed Fentora as a major advance that offered a significant upgrade in the treatment of

 breakthrough pain generally-not breakthrough cancer pain in particular-from Actiq.

 Cephalon also developed a plan in 2007 to target elderly chronic pain patients via a multi-city

 tour with stops at AARP events, YMCAs, and senior living facilities.

          326.     On February 12, 2007, only four months after the launch, Cephalon CEO Frank

 Baldino told investors:

                 "[W]e've been extremely pleased to retain a substantial portion, roughly 75% of the
                 ' rapid onset opioid market. We executed our transition strategy and the results in
                 our pain franchise have been better than we expected. With the successful launch of
                 FENTORA and the progress in label expansion program, we are well positioned
                 to grow our pain franchise for many years to come. 11102

          327.     On May 1, 2007, just seven months after Fentora's launch. Cephalon's then-

 Executive Vice President for Worldwide Operations, Bob Roche, bragged to financial analysts

 that Fentora's reach would exceed even Actiq's. He described the company's successful and




  101
    Fentora Drug Label, February 2013, http://www.accessdata.fda.gov/drugsatfda_docs/label/
 2013/02 I947s0081bl.pdf (accessed May 30, 2017).

  102
      See Cephalon Q4 2006 Earnings Call Transcript, Seeking Alpha (February 12, 2007, 8:48 PM EST)
  al 5, http://scekingalpha.com/anicle/268 13-cephalon-q4-2006-eamings-call-transcript (accessed May 30, 2017)
                                                        130
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  "aggressive" launch of Fentora that was persuading physicians to prescribe Fentora for ever

  broader uses. He identified two "major opportunities"-treating breakthrough cancer pain and:

              The other opportunity of course is the prospect for FENTORA
              outside of cancer pain, in indications such as breakthrough lower
              back pain and breakthrough neuropathic pain ....

              We believe that a huge opportunity still exists as physicians and
              patients recognize FENTORA as their first choice rapid onset
              opioid medication . ... [opioids are] widely used in the treatment
              of... non-cancer patients ....

              Of all the patients taking chronic opioids, 32% of them take that
              medication to treat back pain, and 30% of them are taking their
              opioids to treat neuropathic pain. In contrast only 12% are taking
              them to treat cancer pain, 12%.

              We know from our own studies that breakthrough pain episodes
              experienced by these non-cancer sufferers respond very well to
              FENTORA. And for all these reasons, we are tremendously
              excited about the significant impact FENTORA can have on
              patient health and wellbeing and the exciting growth potential
              that it has for Cephalon.

              In surrunary, we have had a strong launch ofFENTORA and
              continue to grow the product aggressively. Today, that growth is
              coming from the physicians and patient types that we have
              identified through our efforts in the field over the last seven years.
              In the future, with new and broader indications and a much
              bigger field force presence, the opportunity that FENTORA
                                      103
              represents is enormous.

                                    c) September 2007 - Reports of death and serious side effects led
                                       the FDA to issue a public health warning for Fentora

          328.     On September 10, 2007, Cephalon sent letters to doctors warning of deaths and

  other "serious adverse events" connected with the use of Fentora, indicating that "[t]hese deaths

  occurred as a result of improper patient selection (e.g., use in opioid non-tolerant patients),




  103 See Cephalon Qi 2007 Earnings Call Transcript, Seeking Alpha (May I, 2007, 8:48 PM EST) at 23,
  http://seekingalpha.com/article/34163-cephalon-q 1-2007-eamings-call-transcript?page= I (accessed May 30, 20 17).
                                                         131
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                                                                         104
  improper dosing, and/or improper product substitution."                      The warmng did not mention

  Cephalon's deliberate role in the "improper patient selection."

          329.     Two weeks later, the FDA issued its own Public Health Advisory. The FDA

  emphasized, once again, that Fentora should be prescribed only for approved conditions and that

  dose guidelines should be carefully followed. The FDA Advisory made clear that several

  Fentora-related deaths had occurred in patients who were prescribed the drug for off-label uses.

  The FDA Advisory warned that Fentora should not be used for any off-label conditions,

  including migraines, post-operative pain, or pain due to injury, and that it should be given only to

  patients who have developed opioid tolerance. The Advisory reiterated that, because Fentora

 contains a much greater amount of fentanyl than other opiate painkillers, it is not a suitable

  substitute for other painkillers. 105

          330.     Notwithstanding the         regulatory scrutiny,        Cephalon's off-label        marketing

 continued. Cephalon's 2008 internal audit of its Sales & Marketing Compliance Programs

 concluded that marketing and tactical documents, as written, may be construed to promote off-

  label uses. The same report acknowledged that Cephalon lacked a process to confirm that

 speakers' program participants were following Cephalon's written, formal policies prohibiting

 off-label promotion, and that "non-compliant [Cephalon Speaker Programs] may be taking

  place." Moreover, the report acknowledged that Cephalon's "call universe" may include

  "inappropriate prescribers"- prescribers who had nothing to do with cancer pain.




  104
     Lener from Jeffrey M. Dayno, M.D., Vice President, Medical Services, Cephalon, Inc. to Healthcare Providers
  (Sept. I0, 2007), http://www.fda.gov/downloads/Safety/Med Watch/Safety Information/
  SafetyAlertsforHumanMed icalProducts/UCM I 54439.pdf (accessed May 30, 2017).

  105
     FDA Public Health Advisory, Important Information for the Safe Use ofFentora (fentanyl buccal tablets) (Sept.
  26, 2007), http://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetylnformationforPatientsand.Providers/
  ucm05 I273.htm (accessed May 30, 2017).
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                                  d) May 6, 2008 - The FDA rejected Cephal on's request for
                                     expanded approval of Fentora

         33 1.    Cephalon filed a supplemental new drug application, ("sNDA"), asking the FDA

 to approve Fcntora for the treatment of non-cancer breakthrough pain. Cephalon admitted that

 Fcntora already had been heavily prescribed for non-cancer pain, but argued that such
                                                                                                           106
 widespread use demonstrated why Fentora should be approved for these wider uses.

 Cephalon's application also conceded that "[t]o date, no medication has been systematically

 evaluated in clinical studies or approved by the FDA fo r the management of [breakthrough pain]

 in patients with chronic persistent non-cancer-related pain." Id

         332.    In response to Cephalon's application, the FDA presented data showing that 95%

 of all Fentora use was for tre::itment of non-cancer pain. 107 By a vote of 17-3, the relevant

 Advisory Committee- a panel of outside experts-voted against recommending approval of

 Cephalon's sNDA for Fentora, citing the potential hann from broader use. On September 15,

 2008, the FDA denied Cephalon's application and requested, in light of Fentora's already off-

 label use, that Cephalon implement and demonstrate the effectiveness of proposed enhancements

 to Fentora's Risk Management Program. In December 2008, the FDA followed that request with

 a formal request directing Cephalon to submit a Risk Evaluation and Mitigation Strategy for

 Fentora.




 •0<> See Fentora CJ/: Advisory Committee Briefing Document, U.S. FDA Anesthetic & Life Support Drugs Advisory
 Comm. & Drug Safety & Risk Mgmt. Advisory Comm . (May 6, 2008),http://www.fda.gov/ohrms/dockets/ac/08/
 briefing/2008-4356b2-02-Cephalon.pdf (accessed May 30, 2017).
 107
    See Yoo Jung Chang & Lauren Lee, Review of Fentora and Actiq Adverse Events from the Adverse Event
 Reporting System ("AERS'~ Database, U.S. FDA Anesthetic & Life Support Drugs Advisory Comm. & Drug Safety
 & Risk Mgmt. Advisory Comm. (May 6, 2008), http://www. fda.gov/ohrmS/dockets/ad08/slides/2008-4356s2-02-
 FDAcorepresentations.ppt#289, I (accessed May 30, 2017).
                                                     133
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                                     e) March 26, 2009 - the FDA's Division of Drug Marketing,
                                        Advertising and Communications ("DDMAC") warned
                                        Cephalon about its misleading advertising ofFentora

         333.         Undeterred by the rejection of its NDA, Cephalon continued to use its general

  pain sales force to promote Fentora off-label to pain specialists as an upgrade of Actiq for the

  treatment of non-cancer breakthrough pain. Deceptively and especially dangerously, Cephalon

  also continued to promote Fentora for use by all cancer patients suffering breakthrough cancer

  pain, and not only those who were opioid tolerant.

         334.         On March 26, 2009, DDMAC issued a Warning Letter to Cephalon, telling

 Cephalon that its promotional materials for Fentora amounted to deceptive, off-label promotion
                108
 of the drug.           Specifically, the Warning Letter asserted that a sponsored link on Google and

 other search engines for Fentora, which said "[l]earn about treating breakthrough pain in patients
                11109
 with cancer,           was improper because it "misleadingly broaden[ed] the indication for Fentora by

 implying that any patient with cancer wbo requires treatment for breakthrough pain is a

 candidate for Fentora therapy ... when this is not the case."

         335.         DDMAC emphasized that Fentora's label was limited to cancer patients with

 breakthrough pain "who are already receiving and wlto are tolerant to around-the-clock opioid

 therapy for their underlying persistent cancer pain." (emphasis in original). DDMAC

 explained that the advertisement was "especially concerning given that Fentora must not be used

 in opioid non-tolerant patients because life-threatening hypoventilation and death could occur at


 108
     Letter from Michael Sauers, Regulatory Review Officer, Division of Drug Marketing, Advertjsing and
 Communications, to Carole S. Marchione, Senior Director and Group Leader, Regulatory Affairs (March 26, 2009),
 http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatorylnformation/EnforcementActivitiesbyFDA/
 WamingLettersandNoticeofViolationLetterstoPharmaccuticalCompanies/UCMl66238.pdf (accessed May 30,
 2017).
  109
      Screen shots of the sponsored link are available here: http://www.fda .gov/downloads/Drugs/
 G ujdanceCompl ianceRegulatoryIn formati on/EnforcementActi v itiesbyFD AIWam ingLettersan dN oticeofViolationLe
 tterstoPharmaceuticalCompanies/UCMI 66240.pdf (accessed May 30, 2017).

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 any dose in patients not on a chronic regimen of opioids." (Emphasis in original). DD MAC also

 warned Cephalon that, based on a review of Cephalon-sponsored links for Fentora on internet

 search engines,    the company's advertisements were "misleading because they make

 representations and/or suggestions about the efficacy of Fentora, but fail to communicate any

 risk information associated with the use" of the drug. (emphasis in original).

                               f) Cephalon continues to knowingly, deceptively, and illegally
                                  promote Fenotra for off-label uses

         336.   Cephalon's own market research studies confirm that its Fentora promotions were

 not focused on physicians who treat breakthrough cancer pain. Cephalon commissioned several

 market research studies to determine whether oncologists provided an "adequate" market

 potential for Fentora. These studies' central goal was to determine whether oncologists treat

 breakthrough cancer pain themselves, or whether they refer such patients to general pain

 specialists. The first study, completed in 2007, reported that 90% of oncologists diagnose and

 treat breakthrough cancer pain themselves, and do not refer their breakthrough cancer pain

 patients to pain specialists. The second study, completed in 2009, confirmed the results of the

 2007 study, this time reporting that 88% of oncologists diagnose and treat breakthrough cancer

 pain themselves and rarely, if ever, refer those patients to general pain specialists. (One reason

 that general pain specialists typically do not treat oncological pain is that the presence of pain

 can, in itself, be an indicator of a change in the patient's underlying condition that should be

 monitored by the treating oncologist.)

         337.   Cephalon was well aware that physicians were prescribing Fentora for off-label

 uses.

         338.   Cephalon was also aware that its detai ling had an impact on prescription rates.




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              339.   In 20 I l , Cephalon wrote and copyrighted an article titled "201 1 Special Report:

 An Integrated Risk EvaJuation and Risk Mitigation Strategy for Fentanyl Buccal Tablet

 (FENTORA®) and Oral Transmucosal Fentanyl Citrate (ACTlQ®)" that was published in Pain

 Medicine News. 110 The article promoted Cephalon's drugs for off-label uses by stating that the

 "j udicious use of opioids can facilitate effective and safe management of chronic pain" and noted

 that Fentora "has been shown to be effective in treatment of [break through pain] associated with

 multiple causes of pain," not just cancer. 111

                          11.   Cephalon's Misrepresentation of the Risks Associated with the Use of
                                Opioidsfor the Long-Term Treatment ofChronic Pain

              340.   Cephalon's conduct in marketing Actiq and Fentora for chronic non-cancer pain,

 despite their clear (and deadly) risks and unproved benefits, was an c>-..1ension, and reaped the

 benefits of Cephalon's generally deceptive promotion of opioids for chronic pain.

              341.   There is insufficient scientific evidence to corroborate a link between chronic

 opioid therapy and increased functionality. There is however, sufficient evidence to show

 increased risks of overdose and addiction . 112

              342.   Along with deploying its sales representatives, Cephalon used speakers bureaus to

 belp reach prescribers. The company viewed each treating physician as a vehicle to generate

 prescriptions - whether written by that physician directly or caused indirectly by his or her

 influence over other physicians.

              343.   Having determined that speakers were an effective way to reach prescribers,

 Cephalon set to work ensuring that its speakers would disseminate its misleading messages.

  110
      http://www.pharmacytimes.com/publications/issue/2012/january20 l 2/rS l 4-jan-12-rems (accessed May 30,
 201 7).

  111   Id.

  112
   Thomas R. Frieden & Debra l loury, Reducing the Risks of Relief- The CDC Opioid-Prescribing Guideline, 347
 New Eng. J. Med. 1501-04 (2016).
                                                     136
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 Cephalon did not disclose to speakers that, even when these tools are applied, they are unable to

 control for the risk of addiction.

         344.   As with the other Manufacturer Defendants, Cephalon deployed the made-up

 concept of "pseudoaddiction" to encourage prescribers to address addictive behavior in the worst

 way possibl~with more opioids.

        345.    Working with FSMB, Cephalon also trained its speakers to tum doctors' fear of

 discipline on its head-doctors, who believed that they would be disciplined if their patients

 became addicted to opioids, were taught instead that they would be punished if they fai led to

 prescribe opioids to their patients with pain. Through this messaging, Cephalon aimed to

 normalize the prescribing of opioids for chronic pain and failed to acknowledge the serious risks

 of long-term opioid use and its inappropriateness as a front-line treatment for pain.

        346.    Finally, Cephalon al.so developed a guidebook called Opioid Medications and

 REMS: A Patient's Guide, which deceptively minimized the risks of addiction from the long-

 term use of opioids. Specifically, the guidebook claimed that "patients without a history of abuse

 or a family history of abuse do not commonly become addicted to opioids," which is dangerously

 false. Cephalon distributed the guidebook broadly, and it was available to, and intended to reach,

 prescribers in The counties.

        347.    The misleading messages and materials Cephalon provided to its sales force and

 its speakers were part of a broader strategy to convince prescribers to use opioids to treat their

 patients' pain, without complete and accurate information about the risks, benefits, and

 aJtemativcs. This deception was national iu scope and included The counties. Cepha1on's

 nationwide messages have reached The counties prescribers in a number of ways. For example,

 they were delivered by Cephalon's sales representatives in detailing visits and made available to

 County patients and prescribers through websites and ads, including ads in prominent medical
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 journals. They have also been delivered to County prescribcrs by Cephalon's paid speakers, who

 were required by Cephalon policy to stay true to the company's nationwide messaging.

                b. Cephalon's Deceptive Third-Party Statements

        348.   Like the other Defendants, Cephalon also relied on third parties to disseminate its

 messages through deceptive publications and presentations. By funding, developing and

 reviewing the content, and distributing and facilitating the distribution of these messages,

 Cephalon exercised edjtorial control over them. Cephalon, in some instances, used its sales force

 to directly distribute certain publications by these Front Groups and KOLs, rendering those

 publications "labeling" and making Cephalon responsible for their contents. Cephalon also

 deployed its KOLs as speakers for talks and CMEs to selected groups of prescribers.

        349.   Cephalon's relationships with several such Front Groups and KOLs-and the

 misleading and deceptive publications and presentations those relationships generated- are

 described below.

                      1.   FSMB - Responsible Opioid Prescribing

        350.   In 2007, for example, Cephalon sponsored and distributed through its sales

 representatives FSMB's Responsible Opioid Prescribing, which was drafted by Dr. Fishman. Dr.

 Fishman was frequently hired by a consulting Firm, Conrad & Associates LLC, to write pro-

 opioid marketing pieces disguised as science. Dr. Fishman's work was reviewed and approved by

 drug company representatives, and he felt compelled to draft pieces that he admits distorted the

 risks and benefits of chronic opioid therapy in order to meet the demands of his drug company

 sponsors.

        351.   Responsible Opioid Prescribing was a signature piece of Dr. Fishman's work and

 contained a number of deceptive statements. This publication claimed that, because pain had a

 negative impact on a patient's ability to function, relieving pain-alone- would "reverse that
                                               138
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 effect and improve function." However, the truth is far more complicated; functional

 improvements made from increased pain relief can be offset by a number of problems, including

 addiction.

        352.    Responsible Opioid Prescribing also misrepresented the likelihood of addiction

 by mischaracterizing drug-seeking behavior as "pseudoaddiction." It explained that "requesting

 drugs by name," engaging in "demanding or manipulative behavior," seeing more than one

 doctor to obtain opioids, and hoarding were all signs of "pseudoaddiction" and are likely the

 effects of undertreated pain, rather than true addiction. There is no scientific evidence to support

 the concept of "pseudoaddjction, 11 and any suggestion that addictive behavior masquerades as

 "pseudoaddiction" is false.

        353.    Cephalon spent $150,000 to purchase copies of Responsible Opioid Prescribing

 in bulk. It then used its sales force to distribute these copies to 10,000 prescribers and 5,000

 pharmacists nationwide. These were available to, and intended to, reach prescribers and

 pharmacists in The counties.

                     11.   APP- Treatment Options: A Guide for People Living with Pain

        354.    Cephalon also exercised considerable control over the Front Group APF, which

 published and disseminated many of the most egregious falsehoods regarding chronic opioid

 therapy. Their relationship, and several of the APF publications, are described in detail below.

        355.    Documents indicate that Cephalon provided APF with substantial assistance in

 publishing deceptive information regarding the risks associated with the use of opioids for

 chronic pain. An April 3, 2008 Fentora Assessment Strategy Taclics Team Meeting presentation

 outlines Cephalon's strategy to prepare for a meeting at which the FDA Advisory Committee

 would consider expanding ·the indication of Fentora to include chronic, non-cancer pain.

 Cephalon prepared by "reaching out to third-party organizations, KOLs, and patients to provide
                                                 139
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 context and, where appropriate, encourage related activity." First among the Front Groups listed

 was APF.

        356.    Cephalon was among the drug companies that worked with APF to "educate" the

 Institute of Medicine of the National Academies (IOM) on issues related to chronic opioid

 therapy. APF President Will Rowe circulated a document to Cephalon and other drug company

 personnel that contained key message points and suggested that they "[c]onsider using this

 document in your communications with the members of the IOM Committee." According to

 Rowe, recipients should ''consider this a working document which you can add to or subtract

 from." Rowe also advised that, if recipients "have an ally on that Committee," they should

 "consider sharing this document with that person."

        357.    Cephalon personnel responded enthusiastically, with Cephalon's Associate

 Director for Alliance Development stating her belief that "the document does a good job of

 bringing together many important ideas." Cephalon reviewed and directed changes to this

 document, with the Cephalon Associate Director thanking Rowe "for incorporating the points we

 had raised." The close collaboration between Cephalon and APF on this project demonstrates

 their agreement to work collaboratively to promote the use of opioids as an appropriate treatment

 for chronic pain.

        358.    Cephalon's influence over APF's activities was so pervasive that APF's President,

 Will Rowe, even reached out to Defendants-including Cephalon-rather than his own staff, to

 identify potential authors to answer a 20 11 article critical of opioids that had been published in

 the Archives of Internal Medicine.




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             359.     Starting in 2007, Cephalon sponsored APF's Treatment Options: A Guide for

 People Living wUh Pain. 113 It is rife with misrepresentations regarding the risks, benefits, and

 superiority of opioids.

             360.    For example, Treatment Options deceptively asserts that the long-term use of

 opioids to treat chronic pain could help patients function in their daily lives by stating that, when

 used properly, opioids "give [pain patients] a quality of life [they] deserve." There is no scientific

 evidence corroborating that statement, and such statements are, in fact, false. A vailablc data

 demonstrate that patients on chronic opioid therapy are actually less likely to participate in life

 activities like work.

             361.    Treatment Options also claims that addiction is rare and is evident from patients'

 conduct in self-escalating their doses, seeking opioids from multiple doctors, or stealing the

 drugs. Treatment Options further minimizes the risk of addiction by claiming that it can be

 avoided through the use of screening tools, like "opioid agreements," which can "ensure [that

 patients] take the opioid as prescribed." Nowhere docs Treatment Options explain to patients and

 prescribers that neither "opioid agreements" nor any other screening tools have been

 scientificaUy validated to decrease the risks of addiction, and the publication's assurances to the

 contrary are false and deceptive.

             362.     Treatment Options also promotes the use of opioids to treat chronic pain by

 painting a misleading picture of the risks of alternate treatments, most particularly NSAIDs.

 Treatment Options notes that NSA1Ds can be dangerous at high doses, and attributes 10,000 to

 20,000 denths a year annually to NSAID overdose. According to Treatment Options, NSAIDs

 arc different from opioids because opioids have "no ceiling dose," which is beneficial since some

 patients "need" larger doses of painkill ers than they are currently prescribed. These claims

  113
        https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (accessed May 30, 20 I 7).
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 misleadingly suggest that opioids are safe even at high doses and omit important information

 regarding the risks of high-dose opioids.

        363 .   Additionally, Treatment Options warns that the risks associated with NSAID use

 increase if NSAIDs are "taken for more than a period of months," but deceptively omits any

 similar warning about the risks associated with the long-tenn use of opioids. This presentation

 paints a misleading picture of the risks and benefits of opioid compared with alternate

 treatments.

        364.    APF distributed 17,200 copies of Treatment Options in 2007 alone. It is currently

 available online and was intended to reach The counties prescribers and phannacists.

                     111.   Key Opinion Leaders and Misleading Science

        365.    Cephalon also knew that its misleading messages would be more likely to be

 believed by prescribers if they were corroborated by seemingly neutral scientific support.

        366.    Employing these tactics, CephaJon caused the term "breakthrough pain"-a term

 it seeded in the medical literature--to be used in articles published by practitioners and clinicians

 it supported. With funding from Cephalon, for example, Dr. Portenoy wrote an article that

 purported to expand the definition of breakthrough cancer pain to non-cancer indications, vastly

 expanding the marketing potential of Cephalon's Fentora. The article was published in the

 nationally circulated Journal ofPain in 2006 and helped drive a surge in Fentora prescriptions.

        367.    The concept of "breakthrough pain" ultimately formed the sole basis for the

 central theme of promotional messages Cephalon cited to support the approval and marketing of

 Actiq and Pentora, rapid-acting opioids which begin to work very quickly but last only briefly.

 Neither of these drugs had a natural place in the treatment of chronic pain before Cephalon's

 marketing campaign changed medical practice. A recent literature survey of articles describing

 non-cancer breakthrough pain calls into question the validity of the concept, suggesting it is not a
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 distinct pain condition but a hypothesis to justify greater dosing of opioids. ln other words,

 Cephalon conjured the science of breakthrough pain in order to sell its drugs.

         368.     As one scholar has pointed out, references to breakthrough pain m articles

 published on the MEDLTNE bibliographic database spiked in 1998 and again in 2006. 114 These

 spikes coincide with FDA's approval of Actiq and Fentora.

                       1v.    Misleading Continuing Medical Education

         369.    Cephalon developed sophisticated plans for the deployment of its KOLs, broken

 down by sub-type and specialty, to reach targeted groups of prescribers through CMEs.

 Cephalon used the CME programs it sponsored to deceptively portray the risks related to the use

 of opioids to treat chronic non-cancer pain and promote the off-label use of Actiq and Fentora.

         370.    ln 2007 and 2008, Cephalon sponsored three CMEs that each positioned Actiq

 and Fentora as the only "rapid onset opioids" that would provide effective analgesia within the

 time period during which "breakthrough pain" was at its peak intensity. AJthough the CMEs used

 only the generic names of the drugs. the description of the active ingredient and means of

 administration means that a physician attending the CME knew it referred only to Actiq or

 Fentora.

         371.    The CMEs each taught attendees that there was no sound basis for the distinction

 between cancer and non-cancer "breakthrough pain," and one instructed patients that Actiq and

 Fentora were commonly used in non-cancer patients, thus effectively endorsing this use.

 Optimizing Opioid Treatment for Breakthrough Pain, offered online by Medscape, LLC from

 September 28, 2007, through December 15, 2008, was prepared by KOL Dr. Webster and M.

 Beth Dove. Jt recommends prescribing a "short-acting opioid" (e.g., morphine, hydromorphone,

 114
    Adriane Fugh-Berman, Marketing Messages in Industry-Funded CME, PharmedOut , Georgetown U. Med. Ctr.
 (June 25, 20 I 0), available at pharmedout.galacticrealms.comlr:'ugh BermanPrescriptionforConflict6-25- l O.pdf
 (accessed May 30, 2017).
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  oxycodone) "when pain can be anticipated," or a rapid-onset opioid when it cannot. The only

 examples of rapid-onset opioids then on the market were oral transmucosaJ fentanyl citrate (i.e.,

 Actiq) or fentanyl effervescent buccal tablet (i.e., Fentora): "Both are indicated for treatment of

  [breakthrough pain] in opioid-tolerant cancer patients and are frequently prescribed to treat

 [breakthrough pain] in noncancer patients as well."

        3 72.     Optimizing Opioid Treatment for Breakthrough Pain not only deceptively

 promoted Ccphalon's drugs for off-label use, but also misleadingly portrayed the risks, benefits,

 and superiority of opioids for the treatment of chronic pain. for example, the CME

 misrepresented that Actiq and Fentora would help patients regain functionality by advising that

 they improve patients' quality of life and allow for more activities when taken in conjunction

 with Jong-actJng opioids. The CME also minimized the risks associated with increased opioid

 doses by explaining that NSAIDs were less effective than opioids for the treatment of

 breakthrough pain because of their dose limitations, without disclosing the heightened risk of

 adverse events on high-dose opioids.

        373.    Around the same tlme, Dr. Webster was receiving nearly $2 miUion in funding

 from Cephalon.

        374.    Optimizing Opioid Treatment for Breakthrough Pain was available online and

 was intended to reach County prescribers.

        375.    Cephalon similarly used an educational grant to sponsor the CME Breakthrough

 Pain: Improving Recognition and Management, which was offered online between March 31,

 2008, and March 31 , 2009, by Medscape, LLC. The direct re:;ult of Cephalon's funding was a

 purportedly educational document ·that echoed Cephalon's marketing messages. The CME

 deceptively omitted Actiq's and Fentora's tolerance limitations, cited examples of patients who

 experienced pain from accidents, not from cancer, and, like Cephalon's Optimizing Opioid
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 Treatment CME, taught that Actiq and Fentora were the only products on the market that would

 take effect before the breakthrough pain episode subsided. This CME was available online and

 was intended to reach County prescribers.

         376.    Lastly, KOL Dr. Fine authored a CME, sponsored by Cephalon, titled Opioid-

 Based Management of Persistent and Brealdhrough Pain, with KOLs Dr. Christine A.

 Miaskowski and Michael J. Brennan, M.D. Cephalon paid to have this CME published in a

 supplement of Pain Medicine News in 2009. 115 It instructed prescribers that "clinically, broad

 classification of pain syndromes as either cancer- or noncancer-related has limited utility," and

 recommended dispensing "rapid onset opioids" for "episodes that occur spontaneously" or

 unpredictably, including "oral transmucosal fentanyl, 11 i.e., Actiq, and "fentanyl buccal tablet,"

 i.e., Fentora, including in patients with chronic non-cancer pain. Dr. Miaskowski disclosed in

 2009, in connection with the APS/AAPM Opioid Treatment Guidelines, that she served on

 Cephalon's speakers bureau. 11 6 Dr. l'ine also received funding from Cephalon for consulting

 services.

         377.    Opioid-Based Management of Persistent and Breakthrough Pain was avai lable to

 and was intended to reach County prescribers.

         378.    Cephalon's control over the content of these CMEs is apparent based on its

 advance knowledge of their content. A December 2005 Cephalon launch plan set forth key

 "supporting messages" to position Fentora for its product launch. Among them was the

 proposition that "15-minute onset of action addresses the unpredictable urgency of [breakthrough

 pain]." Years later, Lhe same marketing mes::;ages reappeared in the Cephalon-sponsored CMEs


  115
    hl1ps://www.yumpu.com/en/document/view/ I 140925 I /opioid-based-management-of-persistent-and-breakthrough
 -pain (accessed May 30, 20 J 7).
  116
   14 of 21 panel members who drafted the AAPM/APS Guidelines received support from Janssen,
 Cephalon, Endo, and Purdue.
                                                     145
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 described above. Echoing the Cephalon launch plan, Optimizing Opioid Treatment for

 Breakthrough Pain stated that "[t]be unpredictability of [breakthrough pain] will strongly

 influence the choice of treatment" and that Fentora "delivers an onset of analgesia that is similar

 to [Actiq] at S 15 minutes." Similarly, Opioid-Based Management of Persistent and

 Breakthrough Pain defined "breakthrough pain" as "unpredictable," over a table describing both

 cancer and non-cancer "breakthrough pain."

        379.    Cephalon tracked the effectiveness of its deceptive marketing through third

 parties, demonstrating that Cephalon not only planned for, but depended upon, their activities as

 a key element of its marketing strategy. These programs were avai lable to prcscribers in the

 Counties and, based on the uniform and nationwide character of Cepbalon's marketing, featured

 the same deceptive messages described above.

                c. Cephalon's Deceptive Third-Party Statements to Prescribers and Patients
                   within and around the Counties

        380.    Cephalon used various measures to disseminate its deceptive statements regarding

 the risks of off-label use of Actiq and Fentora and the risks, benefits, and superiority of opioids

 to County patients and prescribers.

        381.    Cephalon's speakers regularly held talks for County prescribers. These talks

 followed the same deceptive talking points covered in Cephalon's speakers' training.

        382.    Cephalon also targeted County prescribcrs through the use of its sales force.

        383.    Given that Cephalon's own studies demonstrated that the overwhelming majority

 of onco logists diagnose and treat breakthrough cancer pain themselves, Cephalon knew the only

 purpose of representatives meeting with these prescribers was to promote off-label use. Based on

 the uniform and nationwide character of Cephalon's marketing, Cephalon's deceptive messages




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  would have been disseminated to County prescribers by Cephalon's sales representatives during

  these events.

         384.     Sales representatives, and the misrepresentations on which they were trained,

  drove significant Fentora sales.

         3. Endo

         385.     Endo promoted its opioids through the full array of marketing channels. The

 company deployed its sales representatives, paid physician speakers, journal supplements, and

 advertising in support of its branded opioids, principally Opana and Opana ER. Misleading

 claims about the purportedly lower abuse potential of Opana ER featured prominently in this

 campaign. Endo also made many other deceptive statements and omissions. These included

 deceptive messages about functional improvement, addiction risk, ''pseudoaddiction," addiction

 screening tools, and the safety of alternatives to opioids.

         386.     At the same time, Endo also relied on third-party partners to promote the safety,

 efficacy, and superiority of opioids generally, through a combination of CMEs, websites, patient

 education pamphlets, and other publications. These materials echoed the misrepresentations

 described above, and also made deceptive statements about withdrawal symptoms and the safety

 of opioids at higher doses.

         387.     Through the highly coordinated and uniform nature of Endo's marketing, Endo

 conveyed these deceptive messages to County prescribers. The materials that Endo generated in

 collaboration with third-parties also were distributed or made available in The counties. Endo

 distributed these messages, or facilital..-:d their distribution, in The counties with the intent that

 County prescribers and/or consumers wou ld rely on them in choosing to use opioids to treat

 chronic pain.


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                a. Endo's Deceptive Direct Marketing

         388.   Like the other Defendants, Endo used deceptive direct marketing to increase the

 sales of its dangerous opioids. As set forth below, Endo conveyed these deceptive messages in

 training of its sales fo rce and recruited speakers, who in turn conveyed them to physicians; in a

 misleadingjournal supplement; and in unbranded advertising.

                       i.   Endo's Sales Force and Deceptive Sales Training

        389.    Endo's promotion of Opana ER relied heavily on in-person marketing, including

 to prescribers within the Counties. Endo had an aggressive detailing program. In the first quarter

 of 2010 alone, sales representatives made nearly 72,000 visits to prescribers nationwide to detail

 Opana ER. Between 2007 and 2013, Endo spent between $3 million and $10 million each

 quarter to promote opioids through its sales force.

        390.    Endo's sales representatives, like those of the other Defendants, targeted

 physicians to deliver sales messages that were developed central ly and deployed uniformly

 across the country. These sales representatives were critical in transmitting .Endo's marketing

 strategies and talking points to individual prescribers.

        391.    Endo specifically directed its sales force to target physicians who would prescribe

 its drugs to treat chronic pain. For example, an Opana Brand Tactical Plan dated August, 2007

 aimed to increase "Opana ER business from [the Primary Care Physician] community" more

 than 45% by the end of that year. Indeed, Endo sought to develop strategies that would be most

 persuasive to primary care doctors-strategies that sought to influence the prescribing behavior

 of primary care physicians through the use of :;ubjc:ct matter experts. A February 2011 Final

 Report on Opana ER Growth Trends, for example, predicted that Endo's planned "[u]se of Pain

 Specialists as local thought leaders should affect increased primary care adoption."



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         392.    Endo trained its sales force to make a number of misrepresentations to physicians

  nationwide, including to physicians in the Counties. Endo's sales representatives were trained to

  represent to these prescribers that Opana ER would help patients regain function they had lost to

  chronic pain; that Endo opioids had a lower potential for abuse because they were "designed to

  be crush resistant," despite the fact that "clinical significance of INTAC Technology or its impact

  on abuse/misuse ha[d] not been establ ished for Opana ER;" and that drug seeking behavior was a

  sign of undertreated pain rather than addiction.

         393.    Endo knew that its marketing reached physicians repeatedly because it tracked

  their exposure. Internal Endo documents dated August 23, 2006 demonstrate that the following

  percentages of physicians would view an Endo journal insert (or paid supplement) at least 3

  times in an 8 month period: 86% of neurologists; 86% of rheumatologists; 85% of oncologists;

  85% of anesthesiologists; 70% of targeted primary care physicians; and 76% of OB/GYNs.

          394. Endo was not only able to reach physicians through its marketing, but also

   successfully impart its marketing messages. The company found that its promotional

   materials tripled prescribers' ability to recall the sales message and doubled their willingness

   to prescribe Opana ER in the future. This was true of marketing that contained deceptions.

           395. For example, according to internal Endo documents, up to 10% of physicians it

   detailed were able to recall, without assistance, the message that Opana ER had "Minimal/less

   abuse/misuse" potential than other drugs. The Endo message that prescribers retained was a

   plain misrepresentation: that use of Opana ER was unlikely to lead to abuse and addiction.

   Although Opana ER always has been classified under Schedule ll as a drug with a "high

   potential for abuse", the largest single perceived advantage of Opana ER, according to a survey

   of 187 physicians who reported familiarity with the drug, was "perceived low abuse potential,"



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   cited by 15% of doctors as an advantage. Low abuse potential was among the deceptive

   messages that County prescribers received, and retained, from Endo sales representatives.

          396. Endo's own internal documents acknowledged the misleading nature of these

   statements, conceding that "Opana ER has an abuse liability similar to other opioid analgesics

   as stated in the [FDA-mandated) box warning." A September 2012 Opana ER Business Plan

   similarly stated that Endo needed a significant investment in clinical data to support

   comparative effectiveness, scientific exchange, benefits and unmet need, while citing lack of

   "head-to-head data" as a barrier to greater share acquisition.

          397. Nevertheless, Endo knew that its marketing was extremely effective in turning

   physicians into prescribers. Nationally, the physicians Endo targeted for in-person marketing

   represented approximately 84% of all prescribers of Opana ER in the first quarter of 2010. Endo

   also observed that the prescribers its sales representatives visited wrote nearly three times as

   many prescriptions per month for Opana ER as those physicians who were not targeted for

   Endo's marketing- 7.4 prescriptions per month versus 2.5. The most heavily targeted

   prescribers wrote nearly 30 prescriptions per month. Internal Endo documents from May 2008

   indicate that Endo expected that each of its sales representatives would generate 19.6

   prescriptions per week by the end of 2008. As summarized by a February 2011 report on Opana

   ER growth trends, Endo's "[a]ggressive detailing [is] having an impact."

          398. More broadly, Endo's sales trainings and marketing plans demonstrate that its sales

   force was trained to provide prescribers with misleading information regarding the risks of

   opioids when used to treat chronic pain. Foremost among these messages were misleading

   claims that the risks of addiction, diversion, and abuse associated with opioids- and Endo's

   products in particular- were low, and lower than other opioids.


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                               a) Endo's Sales Force Deceptively Minimized the Risks of
                                  Addiction Associated with Chroni c Opioid Therapy.

         399. By way of illustration, Endo's Opana ER INT AC Technology Extended-Release

  Sell Sheet Implementation Guide, which instructs Endo sales personnel how to effectively

  "support key messages" related to the marketing of Opana ER, states that it is an "approved

  message" for sales representatives to stress that Opana ER was "designed to be crush resistant,"

  even though this internal document conceded that "the clinical significance of INTAC

  Technology or its impact on abuse/misuse has not been established for Opana ER."

         400. Other Endo documents acknowledged the limitations on Opana ER's INTAC

  technology, conceding that while Opana ER may be resistant to pulverization, it can still be

  "ground" and "cut into small pieces" by those looking to abuse the drug.

         40 l. Endo's claims about the crush-resistant design of Opana ER also made their way to

  the company's press releases. A January 2013 article in Pain Medicine Ne ws, based in part on

  an Endo press release, described Opana ER as "crush-resistant." This article was posted on the

  Pain Medicine News website, which was accessible to County patients and prescribers.

         402. The only reason to promote the crush resistance of Opana ER was to persuade

  doctors that there was less risk of abuse, misuse, and diversion of the drug. The idea that Opana

  ER was less addictive than other drugs was the precise message that County prescribers took

  from Endo's marketing.

         403. On May I 0, 20 13, the FDA wamed Endo that there was no evidence that Opana

  ER's design "would provide a reduction in oral, intranasal, or intravenous abuse" and that the

  post-marketing data Endo had submitted to the PDA "are insufficient to support any conclusion

  about the overall or route-specific rates of abuse." Even though it was rebuked by the FDA,

  Endo continued to market Opana ER as having been desig11ed to be crush resistant, knowing

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   that this would (falsely) imply that Opana actually was crush resistant and that this crush-

   resistant quality would make Opana ER less likely to be abused.

           404. Endo's sales training and the promotional materials distributed by its sales

   representatives also minimized the risk of addiction. Endo also circulated education materials

   that minimized the risk of addiction. For example, Endo circulated an education pamphlet with

   the Endo logo titled "Living with Someone with Chronic Pain, 11 which implied, to persons

  providing care to chronic pain patients, that addiction was not a substantial concern by stating

   that "(m]ost health care providers who treat people with pain agree that most people do not

  develop an addiction problem." This pamphlet was downloadable from Endo's website and

  accessible to County prescribcrs.

           405. Endo's sales training also misrepresented the risks of addiction associated with

  Endo's products by implying that Opana's prolonged absorption would make it less likely to

  lead to abuse. For example, a presentation titled "Deliver the Difference for the Opana Brand in

  POA ll" sets out that one of the "(k]ey [m]cssages" for the Endo sales force was that Opana ER

  provides "[s]table, steady-state plasma levels for true 12-hour dosing that lasts." Endo's sales

   representatives used this messaging to imply to prescribcrs within the Counties that Opana ER

  provided "steady state" pain relief, making Opana less Likely to incite euphoria in patients and

   less likely to lead to addiction.

         406.    Endo further instructed its sales force to promote the misleading concept of

  "pseudoaddiction, 11-i.e., that drug-seeking behavior was not cause for alarm, but merely a

 manifestation of undertreated pain. In a sales training document titled "Understanding the

 Primary Care MD and their use of Opioids, 11 Endo noted that the "biggest concerns" among

  primary care physicians were "prescription drug abuse (84.2%), addiction (74.9%), adverse

  effects (68%), tolerance (60.7%), and medication interaction (32%)." ln response to these
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  concerns, Endo instructed its sales representatives to ask whether their customers were

  "confus[ing] 'pseudo-addiction' with 'drug-seekers"' and how confident they were that their

  health care providers "know these differences (Tolerance, Dependence, Addiction, Pseudo-

  Addiction ...)."

                                  b) Endo's Sales Force Deceptively Implied that Chronic Opioid
                                     Therapy Would Improve Patients' Ability to Function.

           407. In addition to their deceptive messages regarding addiction, Endo's promotional

   materials and sales trainings also misleadingly claimed that patients using opioids for the long-

   term treatment of chronic pain would experience improvements in their daily function. In

   reality, long-tenn opioid use has not been shown to, and does not, improve patients' function,

   and, in fact, is often accompanied by serious side effects that degrade function. Endo's own

   internal documents acknowledged that claims about improved quality of life were

   unsubstantiated ''off label claims.''

           408. Nevertheless, Endo distributed product advertisements that suggested that using

   Opana ER to treat chronic pain would allow patients to perform demanding tasks like work as a

   chef. One such advertisement states prominently on the front: "Janice is a 46-year-old chef with

   chronic low back pain. She needs a treatment option with true 12-hour dosing." The

   advertisement does not mention the "moderate to severe pain" qualification in Opana ER's

   indication, except in the fine print. These advertisements were mailed to prescribers and

   distributed by Endo's sales force in detailing visits, which would have included Endo

   representatives' visits to prescribers.

           409. Jn a 2007 sales tool that was intended to be shown by Endo sales personnel to

   physicians during their detailing visits, Endo highlighted a hypothetical patient named "Bill," a

   40-year-old construction worker who was reported to suffer from chronic low back pain.

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   According to the sales tool, Opana ER will make it more likely that Bill can return to work and

   support his family.

          4 10. Similarly, training materials for sales representatives from March 2009 ask

   whether it is true or false that "[t]he side effects of opioids prevent a person from functioning

   and can cause more suffering than the pain itself." The materials indicate that this is "[f]alse"

   because "(t)he overall effect of treatment with opioids is very favorable in most cases."

          411. A sales training video dated March 8, 20 12 that Endo produced and used to train

   its sales force makes the same types of claims. A patient named Jeffery explains in the video

   that he suffers from chronic pain and that "chronic pain [ ...] reduces your functional level."

   Jeffery claims that after taking Opana ER, he "can go out and do things" like attend his son's

   basketball game and "[t]here's no substitute for that." This video was shown to Endo's sales

   force, which adopted its misleading messaging in its nationwide sales approach, including the

   approach it used in The counties.

         412.    Claims of improved functionality were central to Endo's marketing efforts for

  years. A 2012 Endo Business Plan lists ways to position Opana ER, and among them is the claim

  that Opana ER will         help   patients   "[m]aintainO   normal functiona lity, sleep,    [and]

  work/life/performance productivity" and have a positive "[e]ffect on social relationships."

  Indeed, that business plan describes the "Opana ER Vision" as "[t]o make the Opana franchise

  (Opana ER, Opana, Opana Injection) the choice that maximizes improvement in functionality

  and freedom from the burden of moderate-to-severe pain."

                                c) Endo's Sales Force Deceptively presented the Risks and
                                   Benefits of Opioids to Make Them Appear Safer Than Other
                                   Analgesics

         4 13.   Endo further misled patients and prescribers by downplaying the risks of opioids

  in comparison to other pain relievers. For example, in the Counties and elsewhere, Endo
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  distributed a presentation titled Case Challenges in Pain Management: Opioid Therapy for

  Chronic Pain. This study held out as a representative example one patient who bad taken

  NSAIDs for more than eight years and, as a result, developed "a massive upper gastrointestinal

  bleed." The presentation recommended treating this patient with opioids instead. By focusing on

  the adverse side effects of NSAIDs, while omitting discussion of serious side effects associated

  with opioids, this presentation misleadingly portrayed the comparative risks and benefits of these

 drugs.

          414.   Endo distributed Case Challenges in Pain Management: Opioid Therapy for

 Chronic Pain to 116,000 prcscribers in 2007, including primary care physicians.

                      u.    Endo's Speakers Bureau Programs Deceptively Minimized the Risks of
                            Addiction Associated with Chronic Opioid Therapy

           415. In addition to its sales representatives' visits to doctors, Endo also used deceptive

   science and speaker programs to spread its deceptive messages.

           416. Endo leaned heavily on its speakers' bureau programs. In 2008 alone, Endo spent

   nearly $4 million to promote up to 1,000 speakers programs around the country. Endo

   contracted with a medical communications fi rm to operate its speakers bureau program,

   planning to hold a total of 500 "fee-for-service ... peer-to-peer promotional programs" for

   Opana ER in just the second half of 2011, incJuding dinners, lunches and breakfasts. These

   programs were attended by sales representatives, revealing their true pwlJOSe as marketing,

   rather than educational, events.

           417. Endo's internal reporting stated that the "return on investment" turned positive 8-

   12 weeks after such programs. Endo measured that return on investment in numbers of

   prescriptions written by physicians who attended the events. One internal Endo document

   concluded: "[w]c looked at the data for [the] 2011 program and the results were absolutely

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   clear: physicians who came into our speaker programs wrote more prescriptions for Opana ER

   after attending than they had before they participated. You can't argue with results like that."

          418. These speakers bureau presentations included the very same misrepresentations

   Endo disseminated through its sales representatives. A 2012 speaker slide deck for Opana ER-

   on which Endo's recruited speakers were trained and to which they were required to adhere to in

   their presentations-misrepresented that the drug had low abuse potential, in addition to

   suggesting that as many as one-quarter of the adult population could be candidates for opioid

   therapy.

          419. In addition, a 2013 training module directed speakers to instruct prescribers that

   "OPANA ER with INTAC is the only oxymorphone designed to be crush resistant" and

   advised that "[t]he only way for your patients to receive oxymorphone ER in a formulation

   designed to be crush resistant is to prescribe OPANA ER with INTAC." This was a key point

   in distinguishing Opana ER from competitor drugs. Although Endo mentioned that generic

   versions of oxymorphone were available, it instructed speakers to stress that "[t]he generics are

   not designed to be crush resistant." This was particularly deceptive given that Opana ER was

   not actually crush-resistant.

          420. In 2009, Endo wrote a talk titled The Role of Opana ER in the Management of

   Chronic Pain. The talk included a slide titled "Use of Opioids is Recommended for Moderate

   to Severe Chronic Noncancer Pain," which cited the AAPM/APS Guidelines-and their

   accompanying misstatements regarding the likelihood of addiction (by claiming that addiction

   risks were manageable regardJess of patients' past abuse histories) while omitting their

   disclaimer regarding the lack of supporting evidence in favor of that position. This

   dangerously misrepresented to doctors the force and utility of the 2009 Guidelines.


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         421.     The misleading messages and materials Endo provided to its sales force and its

 speakers were part of a broader strategy to convince prescribers to use opioids to treat their

  patients' pain, irrespective of the risks, benefits, and alternatives. This deception was national in

 scope and included the Counties. Endo's nationwide messages would have reached prescribcrs

 within the Counties in a number of ways. For example, they were carried into the Counties by

 Endo's sales representatives during detailing visits as well as made available to County patients

 and prcscribers through websites and ads. They also have been del ivered to County prcscribcrs

  by Endo's paid speakers, who were required by Endo policy and by FDA regulations to stay true

 to Endo's nationwide messaging.

                      111.   Endo's Misleading Journal Supplement

          422. In 2007, Endo commissioned the writing, and paid for the publishing of a

   supplement available for CME credit in the Journal of Family Practice called Pain

   Management Dilemmas in Primaiy Care: Use of Opioids, and it deceptively minimized the

   risk of addiction by emphasizing the effectiveness of screening tools. Specifically, it

   recommended screening patients using tools like the Opioid Risk Tool or the Screener and

   Opioid Assessment for Patients with Pai n. It also falsely claimed that, through the use of tools

   like tox icology screens, pill counts, and a "maximally structured approach," even patients at

   high risk of addiction could safely receive chronic opioid therapy. Endo distributed 96,000

   copies of this CME nationwide, and it was available to, and was intended to, reach County

   prescribcrs.

                      iv.    Endo's Deceptive Unbranded Advertising

           423. Endo also used unbranded advertisements to advance its goals. By electing to

   focus on unbranded marketing, Endo was able to make claims about the benefits of its opioids


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   that the regulatory authorities would never allow in its branded materials. The chart below

   compares an Endo unbranded statement with one of Endo's regulated, branded statements:


                 Living with Someone                            Opana ER Advertisement
                  with Chronic Pain                             (2011/2012/2013) (Branded)
                  (2009) (Unbranded)


     Patient education material created by Endo                     Endo advertisement


                                                        "[C]ontains oxymorphooe, an opioid
                                                        agooist and Schedule II controlled
                                                        substance with an abuse liability similar to
    "Most health care providers who treat
                                                        other opioid agooists, legal or illicit."
    people with pain agree that most people do
    not develop an addiction problem."
                                                        "All patients treated with opioids require
                                                        careful monitoring for signs of abuse and
                                                        addiction, since use of opioid analgesic
                                                        products carries the risk of addiction
                                                        even under appropriate medical use."


                  b. Endo's Deceptive Third-Party Statements

          424. Endo's efforts were not limited to directly making misrepresentations through its

   marketing materials, its speakers, and its sales force. Endo believed that support for patient

   advocacy and professional organizations would reinforce Endo's position as "the pain

   management company."

          425.     Prior to, but in contemplation of, the 2006 launch of Opana ER, Endo developed

   a "Public Stakeholder Strategy." Endo identified "tier one" advocates to assist in promoting the

   approval and acceptance of its new extended release opioid. Endo also intended to enlist the

   support of organizations that would be "favorable" to schedule II opioids from a sales

   perspective and that engaged in, or had the potential to advocate for, public policy. Endo

   sought to develop its relationships with these organizations through its funding. In 2008, Endo

   spent $1 million per year to attend conventions of these pro-opioid medical societies, including
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   meetings of AAPM, APS, and the American Society of Pain Management Nursing

   ("ASPMN").

          426. APF's ability to influence professional societies and other third parties is

   demonstrated by its approach to responding to a citizens' petition filed with the FDA by the

   Physicians for Responsible Opioid Prescribing (the "PROP Petition"). The PROP petition,

   filed by a group of prescribers who had become concerned with the rampant prescribing of

   opioids to treat chronic pain, asked the FDA to require dose and duration limitations on opioid

   use and to change the wording of the approved indication of various long-acting opioids to

   focus on the severity of the pain they are intended to treat.

          427. The PROP Petition set off a flurry of activity at Endo. It was understood that

   Endo would respond to the petition but Endo personnel wondered "[s]hould we [ . . . ] consider

   filing a direct response to this (citizens' petition] or do you think we are better served by

   working through our professional society affiliations?" One Endo employee responded: "My

   sense is the societies are better placed to make a medical case than Endo." Endo's Director of

   Medical Science agreed that "a reply from an external source would be most impactful." These

   communications reflected Endo's absolute confidence that the professional societies would

   support its position.

                           i.   APF

           428. One of the societies with which Endo worked most closely was APF. Endo

   provided substantial assistance to, and exercised editorial control, over the deceptive and

   misleading messages that APF conveyed through its National lniciative on Pain Control

   ("NIPC"). Endo was one of APF's biggest financial supporters, providing more than half of the

   $10 million APF received from opioid manufacturers during its lifespan. Endo spent $1.1


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  million on the NIPC program in 2008 alone, funding earmarked in part, for the creation of

  CME materials that were intended to be used repeated ly.

         429. Endo's influence over APF's activities was so pervasive that APF President Will

  Rowe reached oul to Defendants-including Endo-rather than his own staff, to identify

  potential authors to answer a 201 1 article critical of opioids that had been published in the

  Archives of Internal Medicine. Personnel from Defendants Purdue, Endo, Janssen, and

  Cephalon worked with Rowe to formulate APF's response which was ultimately published.

         430. Documents also indicate that Endo personnel were given advance notice of the

  materials APF planned to publish on its website and provided an opportunity to comment on

  the content of those materials before they were published. For example, in early July of 2009,

  APF's Director of Strategic Development wrote to Endo personnel to give them advance notice

  of content that APf planned to be "putting ... up on the website but it's not up yet." The Endo

  employee assured the sender that she "w[ouldl not forward it to anyone at all" and promised

  that she would '"double delete it' from [her) inbox." In response, APF's Director of Strategic

  Development replied internally with only four words: "And where's tbe money?"

         431. At no time was Endo's relationship with APF closer than during its sponsorship

  of the NIPC. Before being taken over by APF, the NIPC was sponsored by Professional

  Postgraduate Services which the Accreditation Council for Continuing Medical Education

  determined to be a "commercial interest" and could no longer serve as a sponsor. In response,

  Endo reached out to APf. An August 2009 document titled "A Proposal for the American Pain

  Foundation to Assume Sponsorship of the National lnitiative on Pain Control," pointed out that

  "[f]or the past 9 years, the NTPC has been supported by unrestricted annual grants from Endo

  Pharmaceuticals, Inc." According to this document, APF's sponsorship of the NIPC "[o]ffcrs

  the APF a likely opportunjty to generate new revenue, as Endo has earmarked substantial
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   funding: $1.2 million in net revenue for 2010 to continue the NIPC." Further, sponsorship of

   the APF would "(p)rovideO numerous synergies to disseminate patient education materials,"

   including "[h]andouts to attendees at aJl live events to encourage physicians to drive their

   patients to a trusted source for pain education- the APF website."

          432. A September 14, 2009 presentation to APF's board contained a materially similar

   discussion of NIPC sponsorship, emphasizing the financial benefit to APF from assuming the

   role of administering NIPC. The proposal "offer!ed) a solution to continue the development

   and implementation of the NIPC initiative as non-certified ... yet independent education to

   physicians and healthcare professionals in the primary care setting, while providing the APF

   with a dependable, ongoing source of grant revenue." A number of benefits related to NIPC

   sponsorship were listed, but chief among them was "a likely opportunity [for APF] to generate

   new revenue, as Endo has earmarked substantial funding: $1.2 million in net revenue for 20 10

   to continue the NJPC."

          433. Internal Endo scheduling documents indicate that "NTPC module curriculum

   development, web posting, and live regional interactive workshops'' were Endo promotional

   tasks in 2010. Endo emails indicate that Endo personnel reviewed the content created by NIPC

   and provided feedback.

          434. Behind the scenes, Endo exercised substantial control over NIPC's work. Endo

   exerted its control over NIPC by funding NJPC and APF projects; developing, specifying, and

   reviewing content; and taking a substantial role in the distribution of NIPC and APF materials,

   which in effoct determined which messages were actually delivered to prescribers and

   consumers.   As described below, Endo projected that it would be able to reach tens of

   thousands of prescribers nationwide through the distribution ofNIPC materials.


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          435. From 2007 until at least 2011, Endo aJso meticulously tracked the distribution of

   NIPC materials, demonstrating Endo's commercial interest in, and access to, NIPC's reach.

   Endo knew exactly how many participants viewed NIPC web inars and workshops and visited

   its website, Pain.knowledge.com. Endo not only knew bow many people viewed NIPC's

   content, but what their backgrounds were (e.g., primary care physicians or neurologists).

   Endo's access to and detailed understanding of the composition of the audience at these events

   demonstrates how deeply Endo was involved in NIPC's activities. Moreover, Endo tracked the

   activities of NIPC- ostensibly a third party- just as it tracked its own commerciaJ activity.

          436. Endo worked diligently to ensure that the NIPC materials it helped to develop

   would have the broadest possible distribution. Endo's 2008 to 20 12 Opana Brand Tactical Plan

   indicates that it sought to reach 1,000 prescribers in 2008 through Jive NIPC events, and also

   to "(l]everagc Jive programs via enduring materials and web posting." Endo also planned to

   disseminate NIPC's work by distributing two accredited newsletters to 60,000 doctors

   nationwjde for continuing education credit and by sponsoring a series of 18 NIPC regional

   case-based interactive workshops. Endo had earmarked more than one million dollars for

   NIPC activities in 2008 alone.

         437.   In short, NIPC was a key piece of Endo's marketing strategy. Indeed, internal

  APF emails question whether it was worthwhile for APF to continue operating NIPC given that

  NIPC's work was producing far more financial benefits for Endo than for APF. Specifically, after

  Endo approved a $244,337.40 grant request to APF to fund a series of NIPC eNewsletters, APF

  personnel viewed it as "(g]reat news," but cautioned that "the more I think about this whole

  thing, [Endo's] making a lot of money on this with still pretty slender margins on [APF'sJ end."

  APF's commitment to NIPC's "educational" mission did not figure at all in APF's consideration

  of the value of its work, nor was Endo's motive or benefit in doubt.
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                                   a) Misleading Medical Education

           438. NIPC distributed a series of eNcwslcttcr CMEs focused on "key topic[s]

   surrounding the use of opioid therapy" sponsored by Endo. These newsletters were edited by

   KOL Dr. Fine and listed several industry-backed KOLs, including Dr. Webster, as individual

   authors. Endo estimated that roughly 60,000 prescribers viewed each one. These CMEs were

   available to, and would have been accessed by, County prescribcrs. Before-and-after surveys,

   summarized in the chart below, showed that prescriber comfort with prescribing opioids

   ranged from 27% to 62% before exposure to the CME, and from 76% to 92% afterwards:


                       Topic                          Comfort level R!!!1!    Comfort level after
                                                      to tWdlna the article   readlna th• article
        Patient Selection and Initiation of Opioid            47%                    87%
     Theraov as a ComPOn8nt of Pain Treatment
     Informed Consent and Management Plans to                 48%                    81%
       Optlmiz.e Opioid Theraov for Chronic Pain
    Risk Stratification and Evaluation of HigtrRlsk           28%                    76%
         Behaviors for Chronic Opioid Theranv
         Integration of Nonpharmacologic and                  42%                    85%
       Multldlsclpllnary Therapies Into the Opioid
                     Treatment Plan
      Addressing Patlents' Concerns Associated                62%                    92%
     With Chronic Pain Treatment and Opioid Use
      Opioid Therapy In Patients With a History of            35%                    85%
               Substance Use Disorders
        Urine Drug Testing: An Underused Tool                 54%                    86%
    Appropriate Documentation of Opioid Therapy:              44%                    86%
       The Emergence of the 4As and Trust and
                 Vertfv as the Paradiam
                     Opioid Rotation                          27%                    92%
    Discontinuing Opioid Therapy: Developing and              37%                    90%
            Implementing an "Exit Strateav"


         439.     Endo doewnents made it clear that the persuasive power of N1PC speakers was

  directly proportional to their perceived objectivity. Accordingly, Endo personnel directed that,

  when giving Endo-sponsored talks, NlPC faculty would not appear to be "Endo Speakers."

  Nevertheless, the two parties understood that Endo and NIPC shared a common "mission to




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  educate physicians" and working "through the APF .. . [wa)s a great way to work out .

  .problems that could have been there without the APF's participation and support."

         440.     The materials made available on and through NIPC included misrepresentations.

  For example, Endo worked with NIPC to sponsor a series of CMEs titled Persistent Pain in the

  Older Patient and Persis/en/ Pain in the Older Adult. These CMEs misrepresented the

  prevalence of addiction by stating that opioids have "possibly less potential for abuse" in elderly

  patients than in younger patients, even though there is no evidence to support such an asserlion.

  Moreover, whereas withdrawal symptoms are always a factor in discontinuing long-term opioid

  therapy, Persistent Pain in the Older Adult also misleadingly indicated that such symptoms can

  be avoided entirely by tapering the patient's does by 10-20% per day for ten days. Persistent

  Pain in lhe Older Patient, for its part, made misleading claims that opioid therapy has been

  "shown to reduce pain and improve depressive symptoms and cognitive functioning." NIPC

  webcast these CMEs from its own website, where they were available to, and were intended to

  reach, County prescribers.

                                b) Painknowledge.com

          441. Working with NIPC enabled Endo to make a number of misleading statements

   through      the   NIPC's   website,    Painknowledge.com.      Endo     tracked    visitors   to

   PainKnowledge.com and used Painknowledge.com to broadcast notifications about additional

   NIPC programming that Endo helped to create.

          442. APF made a grant request to Endo to create an online opioid "tool-kit" for NIPC

   and to promote NlPC's website, Painknowledge.com. In so doing, APF made dear Lhal it

   planned to disseminate Defendants' misleading messaging. The grant request expressly

   indkated APF's intent to make misleading claims about functionality, noting: "Some of these


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   people [in chronic pain] may be potential candidates for opioid analgesics, which can improve

   pain, function, and quality oflife." Endo provided $747,517 to fund the project.

             443. True to APF's word, Painknowledge.com misrepresented that opioid therapy for

   chronic pain would lead to improvements in patients' ability to function. Specifically, in 2009

   the website instructed patients and prescribers that, with opioids, a patient's "level of function

   should improve" and that patients "may find [they] arc now able to participate in activities of

   daily living, such as work and hobbies, that [they] were not able to enjoy when (their] pain was

   worse."

          444. Painknowledge.com also deceptively minimized the risk of addiction by claiming

   that "(p]eoplc who take opioids as prescribed usually do not become addicted.''

   Painknowledge. com did not stop there. It deceptively portrayed opioids as safe at high doses

   and also misleadingly omitted serious risks, including the risks of addiction and death, from its

   description of the risks associated with the use of opioids to treat chronic pain.

          445. Endo was the sole funder of Painknowlcdge.com, and it continued to provide that

   funding despite being aware of the website's misleading contents.

                                 c) Exit Wounds

             446. Finally, Endo also sponsored APF's publication and distribution of Exit Wounds,

   a pubJication aimed at veterans that also contained a number of misleading statements about

   the risks, benefits, and superiority of opioids to treat chronic pain. Exit Wounds was drafted by

   Derck Mcginnis." Derek Mcginnis was frequently hired by a consulting Firm, Conrad &

   Associates LLC, to write pro-opioid marketing pieces disguised as science. Derek Mcginnis's

   work was reviewed and approved by drug company representatives, and he felt compelled to




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   draft pieces that he admits distorted the risks and benefits of chronic opioid therapy in order to

   meet the demands of his drug company sponsors.

          447. f!,):if Wounds is a textbook example of Derek Mcginnis's authorship on drug

   companies' behalf. The book misrepresented the functional benefits of opioids by stating that

   opioid medications "increase your level of functioning" (emphasis in original).

          448. Exit Wounds also misrepresented that the risk of addiction associated with the

   use of opioids to treat chronic pain was low. It claimed that "[!Jong experience with opioids

   shows that people who are not predisposed to addiction are very unlikely to become addicted

   to opioid pain medications."

          449. Finally, Exit Wounds misrepresented the safety profile of using opioids to treat

   chronic pain by omitting key risks associated with their use. Specifically, it omitted warnings

   of the risk of interactions between opioids and benzodiazepines- a warning sufficiently

   important to be included on Endo's FDA-required labels. Exit Wounds also contained a lengthy

   discussion of the dangers of using alcohol to treat chronic pain but did not disclose dangers of

   mixing alcohol and opioids- a particular risk for veterans.

          450. As outlined above, Endo exercised dominance over APF and the projects it

   undertook in an effort to promote the use of opioids to treat chronic pain. In addition, as

   outlined above, Derek Mcginnis's work was being reviewed and approved by drug company

   representatives, motivating him to draft pro-opioid propaganda masquerading as science.

   Combined, these factors gave Endo considerable influence over the work of Derck Mcginnis

   and over APF. Further, by paying to distribute Exit Wounds, Endo endorsed and approvw. ils

   contents.




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                      11.   Other Front Groups: FSMB, AAPM, and AGS

          451. In addition to its involvement with APF, Endo worked closely with other third-

   party Front Groups and KOLs to disseminate deceptive messages regarding the risks, benefits,

   and superiority of opioids for the treatment of chronic pain. As with certain APF publications,

   Endo in some instances used its sales force to directly distribute certain publications by these

   Front Groups and KOLs, making those publications "labeling" within the meaning of 21

   C.F.R.§ 1.3(a).

          452. In 2007, Endo sponsored FSMB's Responsible Opioid Prescribing, which in

   various ways deceptively portrayed the risks, benefits, and superiority of opioids to treat

   chronic pain. Responsible Opioid Prescribing was drafted by "Dr. Fishman."

          453. Endo spent $246,620 to help FSMB distribute Responsible Opioid Prescribing.

   Endo approved this book for distribution by its sales force. Based on the uniform and

   nationwide character of Endo's marketing campaign, and the fact that Endo purchased these

   copies specifically to distribute them, these copies were distributed to physicians nationwide,

   including physicians in The counties.

          454. In December 2009, Endo also contracted with AGS to create a CME to promote

   the 2009 guidelines titled the Pharmacological Management of Persistent Pain in Older

   Persons with a $44,850 donation. These guidelines misleadingly claimed that "the risks [of

   addiction] are exceedingly low in older patients with no current or past history of substance

   abuse," as the study supporting this assertion did not analyze addiction rates by age. They also

   stated, falsely, that "[a]ll patients with moderate to severe pain ... should be t;onsidcred for

   opioid therapy (low quality of evidence, strong recommendation)" when in reality, opioid




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    therapy was only an appropriate treatment fo r a subset of those patients, as recognized by

    Endo's FDA-mandated labels.

            455. AGS's grant request to Endo made explicit reference to the CME that Endo was

    funding. Endo thus knew full well what content it was paying to distribute, and was in a

   position to evaluate that content to ensure it was accurate, substantiated, and balanced before

   deciding whether or not to invest in it. After having sponsored the AGS CME, Endo's internal

   docwnents indicate that Endo's pharmaceutical sales representatives discussed the AGS

   guidelines with doctors during individual sales visits.

            456. Endo also worked with AAPM, which it viewed internally as "Industry

   Friendly," with Endo advisors and speakers among its active members. Endo attended AAPM

   conferences, funded its CMEs, and distributed its publications.

            457. A talk written by Endo in 2009 and approved by Endo's Medical Affairs Review

   Committee, 117 titled The Role of Opana ER in the Management of Chronic Pain, includes a

   slide titled Use of Opioids is Recommended for Moderate to Severe Chronic Noncancer Pain.

   That slide cites the AAPM/APS Guidelines, which contain a number of misstatements and

   omits their disclaimer regarding the lack of supporting evidence. This talk dangerously

   misrepresented to doctors the force and utility of the 2009 Guidelines. Furthermore, Endo's

   internal documents indicate that pharmaceutical sales representatives employed by Endo,

   Actavis, and Purdue discussed treatment guide) ines with doctors during individual sales visits.



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      Although they were given slighlly differenl names by each Defendant, each Defendant employed a committee
  that could review and approve materials for distribulion. These commillees included representatives !Tom all
  relevant departments within Defendants' organizations, including the legal, compliance, medical affairs, and
  marketing departments. The task of these review commiltees was to scrutinize the marketing materials Defendants
  planned to distribute and to ensure that those materials were scientifically accurate and legally sound. Tellingly,
  these committees were called lo review only materials lhat created a potential compliance issue for the company, an
  implicit recognition by defendants that they ultimately would be responsible for the content under review.

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                           u1.     Key Opinion Leaders and Misleading Science

              458. Endo also sought to promote opioids for the treatment of chronic pain through

    the use of key opinion leaders and biased, misleading science.

             459. Endo's 2010 publication plan for Opana ER identified a corporate goal of making

   Opana ER the second-leading branded product for the treatment of moderate-to-severe chronic

   pain (after OxyContin). Endo sought to achieve that goal by providing "clinical evidence for

   the use of Opana ER in chronic low back pain and osteoarthritis," and subsequently

   successfully had articles on this topic published. 118

             460. 1n the years that followed, Endo sponsored articles authored by Endo consultants

   and Endo employees, which argued that the metabolic pathways utilized by Opana ER,

   compared with other opioids, were less likely to result in drug interactions in elderly low back

   and osteoarthritis pain patients. Jn 2010, Endo directed its publication manager to reach out to

   a list of consultants conducting an ongoing Endo-funded study, to assess their willingness to

   respond to an article 119 that Endo believed emphasized the risk of death from opioids, "without

   Ofair balance." 120
             461. Endo's reliance on flawed, biased research is also evident in its 2012 marketing

   materials and strategic plans. A 2012 Opana ER slide deck for Endo's speakers bureaus-on

   which these recrujted physician speakers were trained and to which they were required to

   adhere--misrepresented that the drug had low abuse potential and suggested that as many as

  118
        These studies suffered from the Limitations common to the opioid literature---and worse. None of the
  comparison trials lasted longer 1han three weeks. Endo also commissioned a six-month, open label triaJ during which
  a full quarter of the patients failed to find a stable dose, and I 7% of patients discontinued, citing intolerable effects.
  Ln open label trials, subjects know which drug they are taking; such trials are not as rigorous as double-blind,
  controlled studies in which neither the patients nor the examiners know which drugs the patients are taking.

  119
      Susan Okie, A Flood of Opioids, a Rising Tide of Deaths, 363 New Engl. J. Med. 1981 (20 10), finding that
  opioid overdose deaths and opioid prescriptions both increased by roughly l 0-fold from I 990 lo 2007.

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        Endo did manage to get a letter written by three of those researchers, which was not published.
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    one-quarter of the adult population could be candidates for opioid therapy. Although the

    applicable law requires such speaker slide decks to reflect a "fair balance" of information on

    benefits and risks, Endo's slides reflected one-sided and deeply biased information. The

    presentation's 28 literature citations were largely to "data on file" with the company, posters,

    and research funded by, or otherwise connected to, Endo. Endo's speakers relayed the

    information in these slides to audiences that were unaware of the skewed science on which the

    information was based.

           462. A 2012 Opana ER Strategic Platform Review suffered from similar defects. Only

   a small number of the endnote referenced in the document, which it cited to indicate "no gap"

   in scientific evidence for particular claims, were to national-level journals. Many were

   published in lesser or dated journals, and written or directly financially supported by opioid

   manufacturers. Where the strategy document did cite independent, peer-reviewed research, it

   did so out of context.       For example, it cited a 2008 review article on opioid efficacy for

   several claims, including that "treatment of chronic pain reduces pain and improves

   functionality," but it ignored the article's overall focus on the lack of consistent effectiveness

   of opioids in reducing pain and improving functional status. 121

           463. Notwithstanding Endo's reliance upon dubious or cherry-picked science, in an

   Opana ER brand strategy plan it internally acknowledged the continuing need for a significant

   investment in clinical data to support comparative effectiveness. Endo also cited a lack of

   "head-to-head data" as a barrier to greater share acquisition, and the "lack of differentiation

   dala" as a challenge to addressing the "#1 Key Issue" of product differentiation. This




  12 1
      Andrea M. Trescot et al., Opioids in the management of non-cancer pain: an Update of American Society of the
  lnterventional Pain Physicians, Pain Physician 2008 Opioids Special Issue, 11 :S5-S62.
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   acknowledged lack of support did not stop Endo from directing its sales representatives to tell

   prescribers that its drugs were less likely to be abused or be addictive than other opioids.

           464. Endo also worked with various KOLs to disseminate various misleading

   statements about chronic opioid therapy. For example, Endo distributed a patient education

   pamphlet edited by KOL Dr. Russell Portenoy titled Understanding your Pain: Taking Oral

   Opioid Analgesics. This pamphlet deceptively minimized the risks of addiction by stating that

   "[a]ddicts take opioids for other reasons [than pain relief], such as unbearab le emotional

   problems," implying that patients who are taking opioids fo r pain are not at risk of addiction.

           465. Understanding your Pain: Taking Oral Opioid Analgesics also misleadingly

   omitted any description of the increased risks posed by higher doses of opioid medication.

   Instead, in a Q&A format, the pamphlet asked "[i]f I take the opioid now, will it work later

   when T really need it?" and responded that "[t]he dose can be increased ... fy]ou won't 'run out'

   of pain relief."

           466. Dr. Portenoy received research support, consulting fees, and honoraria from

   Endo for editing Understanding Your Pain and other projects.

           467. Understanding Your Pain was available on Endo's website during the time

   period of this Complaint and was intended to reach County prescribers.

           468. Endo similarly distributed a book written by Dr. Lynn Webster titled Avoiding

   Opioid Abuse While Managing Pain, which stated that in the face of signs of aberrant

   behavior, increasing the dose "in most cases . .. should be the clinician's first response."

           469. A slide from an Opana ER business plan contemplated distribution of the book as

   part of Endo's efforts lo "li]ncrease the breadth and depth of the OPANA ER prescriber base

   via targeted promotion and educational programs." The slide indicates that the book would be


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   particularly effective "for [the] PCP audience" and instructed "[s]ales representatives [to]

   deliver (the book] to participating health care professionals." The slide, shown below,

   demonstrates Endo's express incorporation of this book by a KOL into its marketing strategy:




          470. Endo Documents indicate that, around 2007, the company purchased at least

   50,000 copies of the book for distribution. internal Endo documents Demonstrate that the book

   had been approved for distribution by Endo's sales force, and that Endo had fewer than 8,000

   copies on hand in March of 2013. Based on the nationwide and uniform character of Endo's

   marketing, and the book's approval for distribution, this book was available to and was

   intended to reach prescribers.

                c. Endo's Deceptive Statements to Prescribers and Patients in and around the
                   Counties

          471. Endo also directed the dissemination of the misstatements described above to

   County patients and prescribers, inclurung through its sales force, speakers bureaus, CMEs,

   and the Painknowledge. com website.

          472. Consistent with their training, Endo's sales representatives delivered all of these

   deceptive messages to County prescribers.


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           473. Endo also directed misleading marketing to County prescribers and patients

   through the APF/NJPC materials it sponsored~ reviewed, and approved. For example, Endo

   hired a New York-based KOL to deliver a CME titled Managing Persistent Pain in the Older

   Patient on April 27, 2010. As described above, this CME misrepresented the prevalence of

   addiction in older patients and made misleading claims that chronic opioid therapy would

   improve patients' ability to function. An email invitation to the event and other NIPC programs

   was sent to "all healthcare professionals" in APF's database.

          474. The significant response to Painknowledge.com also indicates that those websites

   were viewed by County prescribers, who were exposed to the site's misJeacling information

   regarding the effect of opioids on patients' ability to function and the deceptive portrayal of the

   risks of opioids. As of September 14, 20 10, Painknowledge.com had 10,426 registrants, 86,881

   visits, 60,010 visitors, and 364,241 page views. Upon information and belief, based on the

   site's nationwide availability, among the site's visitors were patients and prescribers within the

   Counties who were exposed to the site's misleading information regarding the effect of opioids

   on patients' ability to function and the deceptive portrayal of the risks of opioids.

          475. Endo knew that the harms from its deceptive marketing would be felt in the

   Counties. It saw workers' compensation programs as a lucrative opportunity, and it promoted

   the use of opioids for chronic pain arising from work-related injuries, like chronic lower back

   pain. Endo developed plans to "rdJrive demand for access through the employer audience by

   highlighting cost of disease and productivity loss in those with pain; [with a] specific focus on

   high-risk employers and employees." ln 2007, Endo planned to reach 5,000 workers'

   compensation carriers to ensure that Opana ER wouJd be covered under disability insurance

   plans. Endo knew or should have known that claims for its opioids would be paid for by the

   County's workers' compensation program.
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         4. Janssen

          476. Janssen promoted its branded opioids, including Duragesic, Nucynta, and

   Nucynta ER, through its sales representatives and a particularly active speakers program.

   Deceptive messages regarding low addiction risk and low prevalence of withdrawal symptoms

   were a foundation of this marketing campaign. Janssen also conveyed other misrepresentations

   including that its opioids could safely be prescribed at higher doses and were safer than

   altematives such as NSA1Ds.

          477. Janssen supplemented these efforts with its own unbranded website, as well as

   third-party publications and a Front Group website, to promote opioids for the treatment of

   chronic pain. These materials likewise made deceptive claims about addiction risk, safety at

   higher doses, and the safety of alternative treatments. They also claimed that opioid treatment

   wouJd result in functional improvement, and further masked the ri sk of addiction by promoting

   the concept of pseudoaddiction.

          478. Based on the highly coordinated and uniform nature of Janssen's marketing,

   Janssen conveyed these deceptive messages to County prescribers. The materials that Janssen

   generated in collaboration with third-parties also were distributed or made available in The

   counties. Janssen distributed these messages, or facilitated their distribution, in The counties

   with the intent that County prescribers and/or consumers would rely on them in choosing to

   use opioids to treat chronic pain.

                 a. Janssen's Deceptive Direct Marketing

          479. Janssen joined the other Defendants in propagating deceptive branded marketing

   that falsely minimized the risks and overstated the benefits associated with the long-term use

   of opioids to treat chronic pain. Like the other Defendants, Janssen sales representatives visited


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   targeted physicians to deliver sales messages that were developed centrally and deployed

   identically across the country. These sales representatives were critical in transmitting

   Janssen's marketing strategies and talking points to individual prescribers. In 2011, at the peak

   of its effort to promote N ucynta ER, Janssen spent more than $90 mi llion on detailing.

          480. Janssen's designs to increase sales through deceptive marketing are apparent on

   the face of its marketing plans. For example, a lthough Janssen knew that there was no credible

   scientific evidence establishing that addiction rates were low among patients who used opioids

   to treat chronic pain, its Nucynta Business Plans indicated that one of the "drivers" to sell more

   Nucynta among primary care physicians was the "[l]ow perceived addiction and/or abuse

   potential" associated with the drug. However, there is no evidence that Nucynta is any less

   addictive or prone to abuse than other opioids, or that the risk of addiction or abuse is low.

   Similarly, Janssen knew that there were severe symptoms associated with opioid wiU1drawal

   including, severe anxiety, nausea, vomiting, hallucinations, and delirium, but Janssen touted

   the ease with which patients could come off opioids.

                       1.   Janssen's Deceptive Sales Training

          481. Janssen's sales force was compensated based on the number of Nucynta

   prescriptions written in each sales representative's territory. Janssen encouraged these sales

   representatives to maximize sales of Nucynta and meet their sales targets by relying on the

   false and misleading statements described above.

          482. For example, Janssen's sales force was trained to trivialize addiction risk. A June

   2009 Nucynta training module warns that physicians are reluctant to prescribe controlled

   substances like Nuycnta because of their fear of addicting patients, but this reluctance is

   unfounded because "the risks . . . are lactually] much smaller than commonJy believed."

   Janssen also encouraged its sales force to misrepresent the prevalence of withdrawal symptoms
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   associated with Nucynta. A Janssen sales training PowerPoint titled "Selling Nucynta ER and

   Nucynta" indicates that the "low incidence of opioid withdrawal symptoms" is a "core

   message" for its sales force. The message was touted at Janssen's Pain District Hub Meetings,

   in which Janssen periodically gathered its sales force personnel to discuss sales strategy.

          483. This "core message" of a lack of withdrawal symptoms runs throughout Janssen's

   sales training materials. For example, Janssen's "Licensed to Sell" Facilitator's Guide instructs

   those conducting Janssen sales trainings to evaluate trainees, in part, on whether they

   remembered that "(w]ithdrawal symptoms after abrupt cessation of treatment with NUCYNT A

   ER were mild or moderate in nature, occurring in 11.8% and 2% of patients, respectively" and

   whether they were able to "accurately convey" this "core message." Janssen further claimed in

   2008 that "low incidence of opioid withdrawal symptoms" was an advantage of the tapentadol

   molecule.

          484. Similarly, a Nucynta Clinical Studies Facilitator's Guide instructs individuals

   training Janssen's sales representatives to ask trainees to describe a "key point"- that "83% of

   patients reported no withdrawal symptoms after abruptly stopping treatment without initiating

   alternative therapy"-"as though he/she is discussing it with a physician."

          485. This misrepresentation regarding withdrawal was one of the key messages

   Janssen imparted to employees in the "Retail ST 10 I Training" delivered to Nucynta sales

   representatives.

          486. Indeed, training modules between 2009 and 2011 instruct training attendees that

   "most patients [who discontinued taking Nucynta] experienced no withdrawal symptoms" and

   "[n]o patients experienced moderately severe or severe withdrawal symptoms."




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          487. During the very time Janssen was instructing its sales force to trivialize the risks

   of addiction and withdrawal associated with the use of Nucynta to treat chronic pain, it knew

   or should have known, that significant numbers of patients using opioids to treat chronic pain

   experienced issues with addiction. Janssen knew or should have known that its studies on

   withdrawal were flawed and created a misleading impression of the rate of withdrawal

   symptoms and, as a result, the risk of addiction.

          488. The misleading messages and materials Janssen provided to its sales force were

   part of a broader strategy to convince prescribers to use opioids to treat their patients' pain,

   irrespective of the risks, benefits, and alternatives. This deception was national in scope and

   included the Counties. Janssen's nationwide messages reached County prescribers in a number

   of ways, including through its sales force in detailing visits, as well as through websites and

   ads. They were also delivered to County prescribers by Janssen's paid speakers, who were

   required by Janssen policy and by FDA regulations to stay true to Janssen's nationwide

   messaging.

                      11.   Janssen's Deceptive Speakers Bureau Programs

          489. Janssen did not stop at disseminating its misleading messages regarding chronic

   opioid therapy through its sales force. It also hired speakers to promote its drugs and trained

   them to make the very same misrepresentations made by its sales representatives.

          490. Janssen's speakers worked from slide decks- which they were required to

   present- reflecting the deceptive infonnation about the risks, benefits, and superiority of

   opioids outlined above. For example, a March 2011 speaker's presentation titled A New

   Perspective For Moderate to Severe Acute Pain Relief' A Focus on the Balance of Efficacy

   and Tolerability set out the following adverse events associated with use of Nucynta: nausea,


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  vomiting, constipation, diarrhea, dizziness, headache, anxiety, restlessness, insomnia, myalgia,

  and bone pain. It completely omitted the risks of misuse, abuse, addiction, hyperalgesia,

  hormonal dysfunction, decline in immune function, mental clouding, confusion, and other

  known, serious risks associated with chronic opioid therapy. The presentation also minimized

  the risks of withdrawal by stating that "more than 82% of subjects treated with tapentadol IR

  reported no opioid withdrawal symptoms.11

          491. An August 2011 speaker presentation titled New Perspectives in the

  Management ofModerate lo Severe Chronic Pain contained the same misleading discussion of

  the risks associated with chronic opioid therapy. It similarly minimized the risks of withdrawal

  by reporting that 86% of patients who stopped taking Nucynta ER "abruptly without initiating

  alternative opioid therapy" reported no withdrawal symptoms whatsoever. The same deceptive

  claims regarding risks of adverse events and withdrawal appeared in a July 2012 speaker's

  presentation titled Powerful Pain Management: Proven Across Multiple Acute and Chronic

  Pain Models.

         492.    These speakers presentations were part of Janssen's nationwide marketing efforts.

 Upon information and belief, a number of these events were available to and were intended to

 reach The counties prescribers.

                     111.      Janssen's Deceptive Unbranded Advertising

             493.           Janssen was aware that its branded advertisements and speakers programs

 would face regulatory scruti ny that would not apply to its unbranded materials, so Janssen also

 engaged in direct, unbranded marketing.

             494.           One such unbranded project was Janssen's creation and maintenance of

  Prescriberesponsibly.com (last updated July 2, 20 15), a website aimed at preseribers and patients

  that claims that concerns about opioid addiction are "overstated. 11 A disclaimer at the bottom of
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  the website states that the "site is published by Janssen Pharmaceuticals, Inc., which is solely

  responsible for its content." This website was available to and intended to reach County

  prescribers and patients.

                 b. Janssen's Deceptive Third-Party Statements

           495. Janssen's efforts were not limited to directly making misrepresentations through

   its sales force, speakers' bureau, and website. To avoid regulatory constraints and gjve its

   efforts an appearance of independence and objectivity, Janssen obscured its involvement in

   certain marketing activities by "collaborat[ing] with key patient advocacy organizations" to

   release misleading information about opioids.

                       i.     AAP Mand A GS - Finding Relief Pain Management for Older Adults

          496. Janssen worked with AAPM and AGS to create a patient education guide entitled

   Finding Relief Pain Management for Older Adults (2009). In doing so, Janssen contracted with

   a medical publishing firm, Conrad & Associates, LLC. The content was drafted by a writer

   ("Medical Writer X") hired by Conrad & Associates and funded by Janssen. These materials

   were reviewed, in detail, by Janssen's medical-legal review team, which conducted detailed

   reviews and gave him editorial feedback on his drafts, which was adopted in the published

   version.

          497. Medical Writer X understood, without being explicitly told, that since his work

   was funded and reviewed by Janssen, the materials he was writing should aim to promote the

   sale of more drugs by overcoming the reluctance to prescribe or use opioids to treat chronic

   pain. He knew that the publication was undertaken in connection with the launch of a new drug

   and was part of its promotional effort. Medical Writer X knew of the drug company's

   sponsorship of the publication, and he would go to the company's website to learn about the

   drug being promoted. He also knew that his clients- including Janssen-would be most
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    satisfied with his work if he emphasized that: (a) even when used long-term, opioids arc safe

    and the risk of addiction is low; (b) opioids are effective for chronic pain; and (c) opioids are

    under-prescribed because doctors are hesitant, confused, or face other barriers. 122

            498. Finding Reliefis rife with the deceptive content. Finding Reliefmisrepresents that

   opioids increase function by featuring a man playing golf on the cover and listing examples of

   expected functionaJ improvement from opioids, like sleeping through the night, returning to

   work, recreation, sex, walking, and climbing stairs. The guide states as a "fact" that "opioids

   may make it easier for people to live nonnally" (emphasis in the original). The functional

   claims contained in Finding Reliefare textbook examples of Defendants' use of third parties to

   disseminate messages that they were not allowed to say themselves. Compare, e.g.:

                           Branded Advertisement That Triggers an
                           FDA Wa · Letter 2008 123
                           Improvement in Daily Activities Includes:
                               •    Walking on a flat surface
                               •    Standing or sitting
                               •    Climbing stairs
                               •    Getting in and out of bed or bath
                               •

   with:

                          Seemingly Independent Publication: "Finding Relief: Pain
                          Management for Older Adults"
                           Final Authori , anssen 2009 :
                          Your recovery will be measured by how well you reach functional
                           goals such as
                               • Slee in without wakin from ain

  122
       Medical Writer X now acknowledges that the lists of adverse effects from chronic opioid use in the publications
  he authored, which excluded respiratory depression, overdose, and death and minimized addiction, were,
  "ridiculous" and "prime examples" of leaving out facts that the phannaceutical company sponsors and KOLs knew
  at the time were true. His writings repeatedly described U1e risk of addiction as low. Medical Writer X stated that he
  understood that the goal was to promote opioids and, as a result, discussing addiction would be "counterproductive."

  123
     This advertisement drew an FDA Warning Letter dated March 24, 2008. Though the advertisement was by drug
  company King, il is used here to demonstrate the types of claims that have been found to be unsupported.
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                          •   Walking more, or with less pain
                          •   Climbing stairs with less pain
                          •   Returning to work
                          •   E njoying recreational activities
                          •   Having sex
                          •   Sleeping in your o wn bed



         499. Finding Relief also trivialized the risks of addiction describing as a "myth" that

  opioids are addictive, and asserting as fact that "[m]any studies show that opioids are rarely

  addictive when used properly for the management of chronic pain."

         500. Finding Relief further misrepresented that opioids were safe at high doses by

  listing dose limitations as "disadvantages" of other pain medicines and omitting any discussion

  of risks from increased doses of opioids. The publication also falsely claimed that it is a "myth"

  that "opioid doses have to be bigger over time."

         501. Finally, Finding Relief deceptively overstated the risks associated with alternative

  forms of treatment. It juxtaposed the advantages and disadvantages of NSAIDs on one page,

  with the "myths/facts'' of opioids on the facing page. The disadvantages of NSAIDs are

  described as involving "stomach upset or bleeding,'' "kidney or Jiver damage if taken at rugh

  doses or for a Jong time," "adverse reactions in people with asthma," and "increase[d] . . .risk of

  heart attack and stroke." Conversely, the onJy adverse effects of opioids listed by Finding Relief

  are "upset stomach or sleepiness," which tbe brochure claims will go away, and constipation.

  The guide never mentions addiction, overdose, abuse, or other serious side effects of opioids.

         502. Janssen was not merely a passive sponsor of Finding Relief Instead, Janssen

  exercised control over its content and provided substantial assistance to /\GS and AAPM to

  distribute it. I\ "Copy Review Approval Form" dated October 22, 2008 indicates that key

   personnel from Janssen's Advertising & Promotion, Legal, Health Care Compliance, Medical

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   Affairs, Medical Communications, and Regulatory Departments reviewed and approved

   Finding Relief All six Janssen personnel approving the publication checked the box on the

   approval form indicating that Finding Relief was "Approved With Changes." Afier the

   publication was modified at the behest of Janssen personnel, Janssen paid to have its sales force

   distribute 50,000 copies of Finding Relief throughout the nation. Thus, Finding Relief is

   considered labeling for Janssen's opioids.

          503. AAPM purchased and distributed copies of Finding Reliefto all of its members,

   including those who reside in The counties.

          504. Finding Reliefs author, Medical Writer X, later said it was clear, from his

   position at the intersection of science and marketing, that the money paid by drug companies to

   the KOLs and professional and patient organizations with which he worked, distorted the

   information provided to doctors and patients regarding opioids. The money behind these and

   many other "educational" efforts also, he believes, led to a widespread lack of skepticism on the

   part of leading physicians about the h87..ards of opioids. It also led these physicians to accept,

   without adequate scrutiny, published studies that, while being cited to support the safety of

   opioids, were, in fact, of such poor methodological quality that they would not normally be

   accepted as adequate scientific evidence.

                      u.    AGS - Misleading Medical Education

          505. Janssen also worked with AGS on another project- AGS's CME promoting the

   2009 guidelines for the Pharmacological Management of Persistent Pain in Older Persons.

   These guidelines falsely claimed that "lhe risks Lof addiction] are exceedingly low in older

   patients with no current or past history of substance abuse" although the study supporting this

   assertion did not analyze addiction rates by age. They also stated falsely, that "[a] U patients

   with moderate to severe pain ... should be considered for opioid therapy (low quality of
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  evidence, strong recommendation)." Based on Janssen's control over AGS's Finding Relief,

  Janssen also would have exercised control over this project as well.

                     111.   APF

         506. Janssen also worked with APF to carry out its deceptive marketing campaign.

  Documents obtained from one of Janssen's public relations firms, Ketchum, indicate that

  Janssen and the firm enlisted APF as part of an effort to "draft media materials and execute [a]

  Jauncb plan" for Janssen's drugs at an upcoming meeting of the AAPM. Janssen also drew on

  APF publications lo corroborate claims in its own marketing materials and its saJes training.

  Janssen personnel participated in a March 2011 caJI with APF's "Corporate Roundtable," in

  which they worked with APF and drug company personnel to develop strategies to promote

  chronic opioid therapy. APF persoMel spoke with Janssen employees who "shar[ed] expertise

  from within their company for [a] public awareness campaign."

         507. Their joint work on the ''Corporate Roundtable" demonstrates the close

  collaboration between Janssen and APF in promoting opioids for the treatment of chronic pain.

  APF President Will Rowe also reached out to Defendants- including Janssen- rather than his

  own staff, to identify potential authors to answer a 2011 article critical of opioids that had been

  pubJjshed in the Archives of Internal Medicine. Additional examples of APF's collaboration

  with Janssen are laid out below:

                               a) Let's Talk Pain

         508. Most prominent among these efforts was the Let's Talk Pain website. Janssen

  sponsored Ler's Talk Pain in 2009, acting in conjunction with APF, American Academy of Pain

  Management, and American Society of Pain Management Nursing.                Janssen financed and

  orchestrated the participation of these groups in the website.


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          509. Janssen exercised substantial control over the content of the Let's Talk Pain

   website. Janssen's internal communications always referred to let's Talk Pain as promoting

   tapentadol, the molecule it sold as Nucynta and Nucynta ER. Janssen regarded Let's Talk Pain

  and another website--Prescriberesponsibly.com-- as integral parts of Nucynta's launch:


                    PR/Communication Plan for NUCYNTA ER

                                                          1
                      ''*!!Pili' 'Hhdi+fi"I ·11§'!15'*'                                 ~ T · ~ o-~ c.t f[   l(A("
                                                                            I AVOURllBLI C,I IOll AA81LITY PHOl ·ll
                                                                                                                     A~D




                                                                       ,
                       •Promote dlnlal evidence for NUCYNTA ER with dn.drtven press releases (Q2~)
                       • PDUFA o.te with
                            REUTl!RS..
                                           ----
                                           vwto'" media uslns ICOLs (Top-tier "'9Ch, Sodlll media) (QJ)
                                           ~n il
                                                              ~
                                                                          ...............
                                                                          - ----·
                                                                          f\"4tl\l"tf\'\tl.IA"""'




                       •Art ahlbft r.aturtnc art from dironk pain ,.tlenb at HCP-toalMd MINWMkjSep)
                       • Odler (lllclgM 1Ntef1111 In Ql, lti1lrAonlal of chronk pain pMJents, Onlne media
                        INteflnc o" pe1n "'8ftlll•ment)


                       • Smart Mewes, Smart dlolces
                       • Prescribe responslbly



                                                                                                        ~I
                       • Lat's talk Pain

               ..
         510. Janssen documents also reveal lhat Janssen personnel viewed APF and AAPM as

  "coalilion members" in the fight to increase market share.

         511. To this end, Janssen and APF entered inlo a partnership to "keep pain and the

  importance of responsible pain management top of mind" among prescribers and patients. They

  agreed to work to reach "target audiences" that included patients, pain management physicians,

  primary care physicians, and KOLs. One of the roles Janssen assumed in the process was to

  "fr]eview, provide counsel on. and approve materials." Janssen did in fact review and approve
  material for the Let's Talk Pain website, as evidenced by the following edits by a Janssen

  executive lo the transcript of a video lhat was to appear on the si te:



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                                                                                                                              2


                                                   Shaffer; This Is what has allowed me to oontlnue to function. It is what
   edit out of video
  ..............,..,,.......,~..............-allowed me to ha11e somewhat of a nonnal l)fe, Is the opioids. 8'91, and I du


                            Iii)   ph79ieia11, and I lat them lmew ef an) aehol'9e 1eaetians lt'lat I ft'llght feel
                      s     J'l'Oiitptly. that l'ua safe.
                      6               Anderson: hllf that le he. The job of the physldan that's prescrtblng


             512. The finaJ version of the video on Let's Talk Pain omitted the stricken language

  above.

            513. This review and approval authority extended to the Let's Talk Pain website.

  Emails between Janssen personnel and a consultant indicate that, even though the Let's Talk

  Pain website was hosted by APF, Janssen had approval rights over its content. Moreover,

  emai ls describing Janssen's review and approval rights related to Let's Talk Pain indicate that

  this right extended to "major changes and video addjtions."

            514. As a 2009 Janssen memo conceded, "[t}he Let's Talk Pain Coalition is sponsored

  by PriCara, a Divi sion of Ortho-McNeil-Janssen Pharmaceuticals, fnc." and "[t)he Coalition

  and Pricara maintain editorial control of all Let 's Talk Pai11 materials and publications"

  (emphasis added).

            515. A 2011 Consulting Agreement between Janssen and one of APF's employees,

  relating to the dissemination of national survey data, demonstrates the near-total control Janssen

  was empowered to exercise over APF in connection with the Let's Talk Pain website, including

  requiring APF to circulate and post Janssen's promotionaJ content. The agreement required APF

  to "pru1icipate in status calls between Janssen, APF, AAPM, ASPMN, and Ketchum as

  requested by Janssen" and rcqwred APF to "respond to requests to schedule status calls within

  48 hours of the request" (emphasis in original). APF also was required to "[r]evicw and provide


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   feedback to media materials, including a press release, pitch email, a key messages document,

   and social media messages, within one week of receipt" (emphasis in original).

            516. The agreement further required APF to provide a summary of the survey results in

   APF's PAIN MONITOR e-newsletter, post a link to the survey results on APF's Facebook page,

   send out tweets related to the survey, serve as a spokesperson available for media interviews,

   "[s] hare information with any media contacts with whom APF has existing relationsrups to

   promote the announcement of the national survey findings," identify at least two patient

   spokespersons to talk about the survey data, and include the survey results in "any future APF

   materials, as appropriate." Tellingly, "any ideas made or conceived by [APF] in connection

  with or during the performance" of the Agreement "shall be the property of, and belong to,

   [Janssen]."

            517. Janssen also exercised its control over Let's Talk Pain. Janssen was able to update

  the Let's Talk Pain website to describe its corporate restructuring and Janssen personnel

   asserted their control over "video additions" by reviewing and editing the interview touting the

  functional benefits of opioids. Given its editorial control over the content of Let's Talk Pain,

   Janssen was, at all times, fully aware of.- and fully involved in shaping- the website's

   content. 124

            518. Let's Talk Pain contained a number of misrepresentations.

            519. For example, let's Talk Pain misrepresented that the use of opioids for the

   treatment of chronic pain would lead to patients regaining functionality. Let's Talk Pain

   featured an interview claiming that opioids were what allowed a patient to "continue to

   fun ction."

  m lt bears noting that Janssen does not publicly identify its role in creating Let's Talk Pain's content. Instead, let's
  Talk Pain represents that "coalition members" develop the content thal appears on the website and lists Janssen as
 the only sponsor of that coalition.
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          520. In 2009, Let's Talk Pain also promoted the concept of "pseudoaddiction," which it

  described as patient behaviors that may occur when pain is under-treated" but differs "from true

  addiction because such behaviors can be resolved with effective pain management" (emphasis

  added). Let's Talk Pain was available to, and was intended to, reach the Counties patients and

  prescribers.

                                 b) Exit Wounds

         521. Janssen also engaged. in other promotionaJ projects with and th.rough APF. One

  such project was the publication and distribution of Exit Wounds, which, as described above,

  deceptively portrayed the risks, benefits, and superiority of opioid.s to treat chronic pain. Exit

  Wounds was drafted by "Medical Writer X." It is fully representative of his work on behalf of

  drug companies.

         522. Janssen gave APF substantial assistance m distributing Exit Wounds m the

  Counties and throughout the nation by providing grant money and other resources.

                 c. Janssen's Deceptive Statements to Prescribers and Patients within and around
                    the Counties

         523. Janssen also directed the mi sstatements described above to patients and

  prescribers within the Counties, including through CMEs, its sales force, and recruited

  physician speakers.

                        1.    Janssen's Deceptive Medical Education Programs in the Counties

         524. Janssen sponsored CMEs and talks attended by County prescribers.

                        11.   Janssen's Deceptive Detailing Practices in the Counties

         525. The experiences of specific prescribers confirm both that Janssen's national

  marketing campaign included the misrepresentations, and that the company disseminated these

  same misrepresentations to the Counties prescribers and consumers. In particular, these

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   prescriber accounts reflect that Janssen deta:ilers claimed that Nucynta was "not an opioid''

   because it worked on an "alternate receptor"; 125 claimed that Janssen's drugs would be less

   problematic for patients because they had anti-abuse properties and were "steady state";

   claimed that patients on Janssen's drugs were less susceptible to withdrawal; omitted or

   minimized the risk of opioid addiction; claimed or implied that opioids were safer than

   NSAIDs; and overstated the benefits of opioids, including by making claims of improved

   function.

         5. Purdue and Defendant Radcliffe

           526. Purdue and Defendant Radcliffe promoted its branded opioids- principally,

   OxyContin, Butrans, and Hysingla- and opioids generally in a campaign that consistently

   rnischaracterized the risk of addiction and made deceptive claims about functional

   improvement. Purdue did this through its sales force, branded advertisements, promotional

   materials, and speakers, as well as a host of materials produced by its third-party partners, most

   prominently APF. Purdue's sales representatives and advertising, including Defendant

   Radcliffe, also misleadingly implied that Ox:yContin provides a full 12 hours of pain relief, and

   its all ied Front Groups and KOLs conveyed the additional deceptive messages about opioids'

   safety at higher doses, the safety of alternative therapies, and the effectiveness of addiction

   screening tools.

           527. Based on the highly coordinated and uniform nature of Purdue's marketing,

   Purdue and Defendant Radcliffe conveyed these deceptive messages to prescribers within and

   around the Counties. The materials that Purdue generated in collaboration with third parties also

   were distributed or made available in the Counties by Purdue and Defendant Radcliffe. Purdue


  125
    The labels for both Nucynta and Nucynta ER describe the tapentadol molecuJe as an "opioid agonist and a
 Schedule II controlled substance that can be abused in a manner similar to other opioid agonists, legal or illicit."
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  and Defendant Radcliffe distributed these messages, or faci litated their distribution, in the

  Counties with the intent that the Counties' prescribers and/or consumers would rely on them in

  choosing to use opioids to treat chronic pain.

                  a. Purdue's Deceptive Direct Marketing

           528. Like the other Manufacturer Defendants, Purdue and Defendant Radcliffe directly

  disseminated deceptive branded and unbranded marketing focused on minimizing the risks

  associated with the long-term use of opioids to treal chronic pain. Purdue and Defendant

  Radcliffe directed these messages to prescribers and consumers through its sales force and

  branded advertisements.

           529. Purdue engaged in in-person marketing to doctors in and around the Counties.

  Purdue had 250 sales representatives in 2007, of whom 150 were devoted to promoting sales of

  OxyContin full time. Like the other Defendants' detailers, Purdue sales representatives,

  including Defendant Radcliffe, visited targeted physicians to deliver sales messages that were

  developed centrally and deployed, identically, across the country. These sales representatives

  were critical in delivering Purdue's marketing strategies and talking points to individual
                 126
  prescribers.         Indeed, Endo's internal documents indicate that pharmaceutical sales

  representatives employed by Endo, Actavis, and Purdue discussed the AAPM/APS Guidelines,

  which as discussed above deceptively concluded that the risk of addiction is manageable for

  patients regardless of past abuse histories, with doctors during individual sales visits.

           530. Purdue's sp ending on detailing reached its nadir in 2006 and 2007, as the

  company faced civil and criminal charges for misbranding OxyContin. Since settling those



   6
 12. But Purdue did not stop there. It also cracked around 1,800 doctors whose prescribing patterns demonstrated a
 probability that they were writing opioid prescriptions for addicts and drug dealers. Purdue kept the program secret
 for nine years and, when it finally did report infonnation about these suspicious doctors lo law enforcement
 authorities, it only did so with respect lo 8% of them.
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  charges in 2007, however, Purdue has sharply increased its quarterly spendi ng on promotion

  through its sales force, from under $5 million in 2007 to more than $30 million by the end of

  201 4.

           531. Purdue and Defendant Radcliffe also marketed its drugs through branded

  advertisements which relied on, among other deceptive tactics, misleading statements about the

  efficacy and onset of OxyContin. Purdue and Defendant Radcliffe marketed Purdue drug as

  effective for 12 hours while knowing that these claims were misleading because, for many

  patients, the pain relief lasted for as little as eight hours, leading to end-of-dose failure and

  withdrawal symptoms. This prompted doctors to prescribe, or patients to take, higher or more

  frequent doses of opioids, all of which increased the risk of abuse and addiction.

           532. For example, a "Conversion and Titration Gu ide" submitted to the FDA and

  distributed to physicians by Purdue, prominently referred to "Ql 2h OxyContin Tablets,"

  meaning that each tablet was intended to 11 offer ... every-twelve-hour dosing." Other marketing

  materials directed at physicians and disseminated across the country in 2006 touted that

  OxyContin's "12-hour AcroContin Delivery System" was "designed to deliver oxycodone over

  12 hours," which offered patients "life with Q12H relief." Those same marketing materials

  included a timeline graphic with little white paper pill cups at "8AM" and, further down the

  line, at "8PM" only. They also proclaimed that OxyContin provided "Consistent Plasma Levels

  Over 12 Hours" and set forth charts demonstrating absorption measured on a logarithmic scale,

  which fraudulently made it appear that levels of oxycodone in the bloodstream slowly taper

  over a 12-hour lime period.

           533. Purdue advertisements that ran in 2005 and 2006 issues of the Journal of Pain

  depicted a sample prescription for OxyContin with "Q 12h" handwritten. Another advertisement

  Purdue ran in 2005 in the Journal ofPain touted OxyContin's "Q l 2b dosing convenience" and
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  displayed two paper dosing cups, one labeled "8 am" and one labeled "8 pm," implying that

  OxyContin is effective for the 12-hour period between 8 a.m. and 8 p.m. Similar ads appeared

  in the March 2005 Clinical Journal of Pain.

         534. Purdue continued to include prominent 12-hour dosing instructions in its branded

  advertising, such as in a 20 12 Conversion and Titration Guide, which states: "Because each

  patient's treatment is personal I Individualize the dose I Q 12h OxyContin Tablets."

         535. As outlined above, however, these statements are misleading because they fail to

  make clear that a 12-hour dose does not equate to 12 hours of pain relief. Nevertheless, Purdue's

  direct marketing materials have misleadingly claimed OxyContin offers 12 hour "dosing

  convenience."

         536. As described below, these deceptive statements regarding the efficacy of

  OxyContin were also carried into the Counties by Purdue's detailers, including Defendant

  Radcliffe and the Purdue Sales Representative Defendants.

         537. Purdue's direct marketing materials also misrepresented that opioids would help

  patients regain functionality and make it easier for them to conduct everyday tasks like walking,

  working, and exercising.

         538. For example, m 2012, Purdue disseminated a mailer to doctors titled "Pain

  vignettes." These "vignettes" consisted of case studies describing patients with pain conditions

  that persisted over a span of several months. One such patient, "Paul," is described as a "54-

  year-old writer with osteoarthritis of the hands," and the vignettes imply that an OxyContin

  prescription will help him work. None of these ads, however, disclosed the truth- that there is

  no evidence that opioids improve patients' lives and ability to function and that there was

  substantial evidence to the contrary.


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         539. Some of the greatest weapons in Purdue's arsenal, however, were unbranded

  materials it directly funded and authored. These were in addition to the unbranded materials,

  described below, that Purdue channeled through third parties.

         540. In 2011 , Purdue published a prescriber and law enforcement education pamphlet

  titled Providing Relief, Preventing Abuse, which deceptively portrayed the signs-and therefore

  the prevalence-of addiction. However, Purdue knew, as described above, that OxyContin was

  used non-medically by injection less than less than 17% of the time. Yet, Providing Relief,

  Preventing Abuse prominently listed side effects of injection like skin popping and track marks

  as "Indications of Possible Drug Abuse"--downplaying much more prevalent signs of addiction

  associated with OxyContin use such as asking for early refills, making it seem as if addiction

  only occurs when opioids are taken illicitly.

         541. Providing Relief. Preventing Abuse also deceptively camouflaged the risk of

  addiction by falsely supporting the idea that drug-seeking behavior could, in fact, be a sign of

  "pseudoaddiction" rather than addiction itself. Specifically, it noted that the concept of

  "pseudoaddiction" had "emerged in the literature" to describe "ldrug-seeking behaviors] in

  patients who have pain that has not been effectively treated." Nowhere in Providing Relief,

  Preventing Abuse did Purdue disclose the lack of scientific evidence justifying the concept of

  "pseudoaddiction," or that the phrase itself had been coined by a Purdue vice president.

         542. Providing Relief, Preventing Abuse was available national ly and was intended to

  reach The counties prescribers. As described below, the deceptive statements in Providing

  Relief, Preventing Abuse regarding addiction were the very same messages Purdue directed at

  The counties prescribers through its sales force.

         543. Purdue also disseminated misrepresentations through two of its unbranded

  websites, Jn the Face ofPain and Partners Against Pain.
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          544. Consistent with Purdue's efforts to portray opioid treatment as "essential" fo r the

  proper treatment of chronic pain and label skepticism related to chronic opioid therapy as an

  "inadequate understancting" that leads to "inadequate pain control," In /he Face of Pain

  criticized policies that limited access to opioids as being "at odds with best medical practices"

  and encouraged patients to be "persistent" in fincting doctors who will treat their pain. This was

  meant to imply that patients should keep looking until they find a doctor willing to prescribe

  opioids.

         545. In the Face of Pain was avai lable nationally and was intended to reach the

  Counties' prescribers.

         546. Purdue also used its unbranded website Partners Against Pain to promote the

  same deceptive messages regarding risk of addktion and delivered by its sales representatives.

  On this website, Purdue posted Clinical Issues in Opioid Prescribing, a pamphlet that was

  copyrighted in 2005. Purdue also distributed a hard-copy version of this pamphlet. Clinical

  Issues in Opioid Prescribing claimed that "illicit drug use and deception" were not indicia of

  addiction, but rather inctications that a patient's pain was undertreated. The publication indicated

  that "[p]seudoaddiction can be distinguished from true adctiction in that the behaviors resolve

  when the pain is effectively treated." In other words, Purdue suggested that when faced with

  drug-seeking behavior from their patients, doctors should prescribe more opioids-turning

  evidence of addiction into an excuse to sell and prescribe even more drugs.

          547. Purdue's misleading messages and materials were part of a broader strategy to

  convince prescribers to use opioids to treat their patients' pain, irrespective of the risks, benefits,

  and alternatives. This deception was national in scope and included the Counties. As described

  above, Purdue's nationwide messages would have reached County prescribers in a number of

   ways. For example, they were carried into the Counties by Purdue's sales representatives,
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  including Defendant Radcliffe and the Purdue Sales Representative Defendants, during

  detailing visits as well as made available to the Counties' patients and prescribers through

  websites and ads, including ads in prominent medical journals. They would have also been

  delivered to the Counties prescribers by Purdue's paid speakers, who were required by Purdue

  policy and by FDA regulations to stay true to Purdue's nationwide messaging.

                b. Purdue's Deceptive Third-Party Statements

         548. Purdue's efforts were not limited to making misrepresentations through its own

  sales force and its own branded and unbranded marketing materials. As described above,

  Purdue knew that regulatory constraints restricted what it could say about its drugs through

  direct marketing. For this reason, like the other Manufacturer Defendants, Purdue enlisted the

  help of third parties to release misleading information about opioids. The most prominent of

  these was APF.

                      i.   APF

                               a) Purdue's Control of APF

         549. Purdue exercised considerable control over APF, which published and

  disseminated many of the most blatant falsehoods regarding chronic opioid therapy. Their

  relationship, and several of the APF publications, is described in detail below.

         550. Purdue exercised its dominance over APF over many projects and years. Purdue

  was APF's second-biggest donor, with donations totaling $1.7 million. Purdue informed APF

  that the grant money reflected Purdue's effort to "strategically align its investments in nonprofit

  organizations that share [its] business interests," making clear that Purdue's fund ing depended

  upon APF continuing to support Purdue's business interests. lndeed, Purdue personnel

  participated in a March 2011 call with APF's "Corporate Roundtable," where they suggested

  that APF "[s]end ambassadors to talk about pain within companies and hospitals." Thus, Purdue
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   suggested what role APF could play that would complement its own marketing efforts. On that

   call, Purdue personnel also committed to provide APF with a list of "industry state advocates"

   who could help promote chronic opioid therapy, individuals and groups that, upon information

   and belief, APF reached out to. Purdue personnel remained in constant contact with their

   counterparts at APF.

          551. This alignment of interests was expressed most forcefully in the fact that Purdue

   hired APF to provide consulting services on its marketing initiatives. Purdue and APF entered

   into a "Master Consulting Services" Agreement on September 14, 2011. That agreement gave

   Purdue substantial rights to control APF's work related to a specific promotional project.

   Moreover, based on the assignment of particular Purdue "contacts" for each project and APF's

   periodic reporting on their progress, the agreement enabled Purdue to be regularly aware of the

   misrepresentations APF was disseminating regarding the use of opioids to treat chronic pain in

   connection with that project. The agreement gave Purdue--but not APF- the right to end the

   project (and, thus, APF's funding) for any reason. This agreement demonstrates APF's lack of

   independence and its willingness to surrender to Purdue's control and commercial interests,

   which would have carried across all of APF's work.

          552. Purdue used this agreement to conduct work with APF on the Partners Against

   Pain website. Partners Against Pain is a Purdue-branded site, and Purdue holds the copyright.

          553. However, its ability to deploy APF on this project illustrates the degree of control

   Purdue exercised over APF. In 2011, it hired an APF employee to consult on the Partners

   Against Pain rollout, to orchestrate the media campaign associated with the launch of certain

   content on the website, and to make public appearances promoting the website along with a

   celebrity spokesperson. Purdue contemplated paying this consultant $7,500 in fees and

   expenses for 26 hours of work. Purdue would require this consultant to "to discuss and rehearse
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  the delivery of [Purdue'sl campaign messages" and Purdue committed that "[m]essagc points

  will be provided to [the] Consultant in advance and discussed on [a planned] call." At all times,

  decisions regarding the final content on the Partners Against Pain website were "at the sole

  discretion of Purdue."

         554. APF also volunteered to supply one of its staff (a medical doctor or a nurse

  practitioner) to assist Purdue as a consultant and spokesperson for the launch of one of Purdue's

  opioid-related projects, Understanding & Coping with Lower Back Pain, which appeared on

  Partners Against Pain. One of the consultants was APF's paid employee, Mickie Brown. 'The

  consultant's services would be provided in return for a $ 10,000 consulting fee for APF and

  $ 1,500 in honoraria for the spokesperson. All documents used by the consultant in her media

  appearances would be reviewed and approved by individuals working for Purdue. It was not

  until later that APF worried about "how Purdue secs this program fitting in with our [existing]

  grant request."

         555. Given the financial and rcputational incentives associated with assisting Purdue in

  this project and the direct contractual relationship and editorial oversight, APF personnel were

  acting under Purdue's control at all relevant times with respect to Partners Against Pain.

         556. APF acquiesced to Purdue's frequent requests that APF provide "patient

  representatives" fo r Partners against Pain. Moreover, APF staff and board members and Front

  Groups ACPA and AAPM, among others (such as Dr. Webster), appear on lnthefaceo.fPain. com

  as "Voices of Hope"- "champions passionate about making a difference in the lives of people

  who live with pain" and providing "inspiration and encouragement" to pain patients. APF also

  contracted with Purdue for a project on back pain in which, among other things, it provided a

  patient representative who agreed to attend a Purdue-run "media training session."


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          557. According to an Assurance of Voluntary Compliance ("A VC") entered into

   between the New York Attorney General and Purdue Pharma on August 19, 2015,

   lnthefaceofpain.com received 251,648 page views between March 2014 and March 2015. With

   the exception of one document linked to the website, Inthefaceofpain. com makes no mention of

   opioid abuse or addiction. Purdue's copyright appears at the bottom of each page of the website,

   indicating its ownership and control of its content. There is no other indication that 11 of the

   individuals who provided testimonials on Jnthefaceofpain. com received payments, according to

   the A.VC, of $231,000 for their participation in speakers programs, advisory meetings and travel

   costs between 2008 and 2013. The New York Attorney General found Purdue's failure to

   disclose its financia l connections with these individuals had the potential to mislead consumers.

          558. Nowhere was Purdue's influence over APF so pronounced as it was with the

   APF's "Pain Care Forum" ("PCP"). PCF was and continues to be run not by APF, but by

   Defendant Purdue's in-house lobbyist, Burt Rosen. As described by a fom1er drug company

   employee, Rosen exercised full control of PCP, telling them "what to do and how to do it" This

   control allowed him, in turn, to run APF as, in accordance with Rosen's thinking, "PCF was

   APF, which was Purdue." PCF meets regularly in-person and via teleconference, and shares

   information through an email listserv.

          559. In 2011 , APF and another third-party advocacy group, the Center for Practical

   Bioethics, were considering working together on a project. Having reviewed a draft document

   provided by the Center for Practical Bioethics, the APF employee cautioned that "this effort

   will be in cooperation with the efforts of the PCF" and acknowledged that "l know you have

   reservations about the PCP and phanna involvement, but l do believe working with them and

   keeping the Jines of communications open is important." The Center for Practical Bioethics



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  CEO responded by indicating some confusion about whom to speak with, asking "[iJs Burt

  Rosen the official leader" and reflecting what other sources have confirmed.

           560. In 2007, the PCF Education Subgroup, consisting of drug companies Purdue and

  Alpharma, and Front Groups APF and ACPA (self-described as "industry-funded" groups),

  developed a plan to address a perceived "lack of coordination" among the industry and pro-

  opioid professional and patient organizations. PCF members agreed to develop simplified "key"

  messages" to use for public education pw·poses. Their messages were reflected in programs like

  NIPC's Let's Talk Pain (put together by Endo and APF), and Purdue's Jn the Face ofPain.

          561. When the FDA required drug companies to fund CMEs related to opioid risks in

  accordance with its 2009 REMS, Purdue, along with these Front Groups, worked through the

  PCF to ensure that, although it was mandatory for drug companies to fund these CMEs, it

  would not be mandatory for prescribers to attend them. A survey was cfrculated among

  Defendants Endo, Janssen, and Purdue, which predicted that the rates of doctors who would

  prescribe opioids for chronic pain would fall by 13% if more than four hours of mandatory

  patient education were required in accordance with the REMS. With a push from PCF, acting

  under Purdue's direction, the CMEs were not made mandatory for prescribers.

          562. APF showed its indebtedness to Purdue and its willingness to serve Purdue's

  corporate agenda when APF chairman Dr. James N. Campbell testified on the company's behalf

  at a July 2007 hearing before the Senate Judiciary Committee ''evaluating the propriety and

  adequacy of the OxyContin criminal settlement." 127 Despite its ostensible role as a patient



 127
     Evaluating the Propriety and Adequacy of the Oxycontin Criminal Settlement: Before the S. Comm. On the
 Judiciary, t LOtb Cong. 46-50, 110-1 16 (2007) (statements of Dr. James Campbell, Chairman, APF),
 https://www.judiciary.senate.gov/ imo/media/doc/Campbell%20Testimony%20073 l07.pdf (accessed May 30, 2017).
 Purdue was also able to exert control over APP through its relationships with APF's leadership. Purdue-sponsored
 KOLs Russell Portenoy and Scott Fishman chaired APF's board. Another APF board member, Peny Fine, also
 received consuJting fees from Purdue. APF board member Lisa Weiss was an employee of a public relations firm
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   advocacy organization, APF was willing to overlook substantial evidence-resulting in the

   jailing of Purdue executives-that Purdue blatantly, despite its clear knowledge to the contrary,

   told physicians and patients that OxyContin was "rarely" addictive and less addictive than other

   opioids. Like Purdue, APF ignored the truth about opioids and parroted Purdue's deceptive

   messaging. Dr. Campbell testified on Purdue's behalf that addiction was a "rare problem" for

   chronic pain patients and asserted: "[T]he scientific evidence suggests that addiction to opioids

   prescribed by legitimate chronic non-cancer pain patients without prior histories of substance

   abuse using the medication as directed is rare. Furthermore, no causal effect has been

   demonstrated between the marketing of OxyContin and the abuse and diversion of the drug."

   There was, and is, no scientific support for those statements.

           563. APF President Will Rowe reached out to Defendants-including Purdue- rather

   than his own staff, to identify potential authors to answer a 2011 article critical of opioids that

   had been published in the Archives of Internal Medicine ..

           564. Purdue's control over APF shaped, and was demonstrated by specific APF, pro-

   opioid publications. These publications had no basis in science and were driven (and can only

   be explained) by the commercial interest of pharmaceutical companies-Purdue chief among

   them.

                                    b) A Policymaker's Guide

           565. Purdue provided significant funding to and was involved with APF's creation and

   dissemination of A Policymaker's Guide to Understanding Pain & !Ls Management, originally

   published in 2011 and still available online. A Policymaker's Guide to Understanding Pain &




  that worked for both Purdue and APF. Weiss, in her dual capacity, helped vet the content of the Purdue-sponsored
  Policymaker's Guide, which is described below.
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   Its Management misrepresented that there were studies showing that the use of opioids for the

   long-term treatment of chronic pain could improve patients' ability to function.

           566. Specifically, A Policymaker's Guide lo Understanding Pain & !rs Management

   claimed that "multiple clinical studies" demonstrated that "opioids . . . are effective in

   improving [d]aily function, [p]sychological health [and] [o]verall health-related quality of life

   for people with chronic pain" and implied that these studies established that the use of opioids

   long-tem1 Jed to functional improvement. The study cited in support of this clajrn specifically

   noted that there were no studies demonstrating the safety of opioids Jong-term and noted that

   "[f]or functional outcomes, the other [studied) analgesics were significantly more effective than

   were opioids." 128

           567. The Policymaker's Guide also misrepresented the risk of addiction. It claimed that

   pain had generally been "undertreated" due to "[m]isconceptions about opioid addiction" and

   that "less than I% of children treated with opioids become addicted."

           568. Moreover, the Policymaker's Guide attempted to distract doctors from their

   patients' drug-seeking behavior by labeling it as "pseudoaddiction," which, according to the

   guide, "describes patient behaviors that may occur when pain is undertreated." Like Partners

   Against Pain, A Policymaker's Guide noted that "[p]scudo-addiction can be distinguished from

   true addiction in that this behavior ceases when pain is effectively treated." The similarity

   between these messages regarding "pseudoaddiction" highlights the common, concerted effort

   behfod Purdue's deceptive statements.

           569. The Policymaker's Guide further misrepresented the safety of increasing doses of

   opioids and deceptively minimized the risk of withdrawal. For example, the Policymaker's


  123Andrea D. Furlan et al., Opioids for chronic noncancer pain: a meta-analysis of effectiveness and side effects,
  174(11) Can. Med. Ass'n J. 1589 (2006).
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   Guide claimed that "(s]ymptoms of physical dependence" on opioids in long-term patients "can

   often be ameliorated by gradually decreasing the dose of medication during discontinuation"

   while omitting the significant hardship that often accompanies cessation of use. Similarly, the

   Policymaker's Guide taught that even indefinite dose escalations are "sometimes necessary" to

   reach adequate levels of pain relief while completely omitting the safety risks associated with

   increased doses.

          570. Purdue provided substantial monetary assistance toward the creation and

  dissemination of the Policymaker's Guide, providing APF with $26,000 in grant money. APF

   uJtimately disseminated Policymaker's Guide on behalf of Defendants, including Purdue.

   Purdue was not only kept abreast of the content of the guide as it was being developed, but,

   based on the periodic reports APF provided to Pmdue regarding its progress on the

   Policymaker's Guide, had editorial input of the contents.

          571. The Policymaker's Guide was posted online and was available to, and intended to

   reach The counties prescribers and consumers. As described below, the deceptive statements in

   Policymaker's Guide regarding addiction and functionality were the very same messages

   Purdue directed at The counties through its own sales force.

                                c) Treatment Options: A Guide for People Living with Pain

          572. Purdue's partnership with APF did not end with the Policymaker's Guide. Purdue

  also substantially assisted APF by sponsoring Treatment Options: A Guide for People Living

   with Pain, starting in 2007. Based on Purdue's control of other APF projects, Purdue also wouJd

   have exercised control over Treatment Op1ions.

          573. Treatment Options is rife with misrepresentations regarding the safety and

   efficacy of opioids. For example, Treatment Options misrepresents that the long-term use of


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   opioids to treat chronic pain could help patients function in their daily lives by stating that,

   when used properly, opioids "give [pain patientsl a quality oflife [they] deserve."

           574.    Further, as outlined above, Treatment Options claims that addiction is rare and

   that, when it does occur, it involves unauthorized dose escalations, patients who receive opio ids

   from multiple doctors, or theft, painting a narrow and misleading portrait of opioid addiction.

          575. Treatment Options also promotes the use of opioids to treat long-term chronic

   pain by denigrating alternate treatments, most particularly NSAIDs. Treatment Options notes

   that NSAlDs can be dangerous at high doses and inflates the number of deaths associated with

   NSAID use, distinguishing opioids as having less risk. According to Treatment Options,

   NSAIDs are different from opioids because opioids have "no ceiling dose." This lack of ceiling

   is considered to be beneficial as some patients "need" larger doses of painkillers than they are

   currently prescribed. Treatment Options warns that the risks associated with NSAID use

   increased if NSAIDs are "taken for more than a period of months," but deceptively omits any

   similar warning about the risks associated with the long-term use of opioids.

          576. Treatment Options was posted online and remains online today. It was available

   to and intended to reach The counties prescribers and patients. As described below, the

   deceptive statements in Treatment Options regarding addiction and functionality echo the

   messages Purdue directed at The counties through its own sales force. Purdue also engaged in

   other promotional projects with and through APF. One such project was the publication and

   distribution of Exit Wounds, which, as described above, deceptively portrayed the risks,

   benefits, and superiori ty of opioids to treat chronic pain.

          577. Purdue provided APF with substantial assistance in distributing Exit Wounds in

   The counties and throughout the nation by providing grant money and other resources.


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                      11.   Purdue's Work with Other Third Party Front Groups and KOLs

          578. Purdue also provided other third-party Front Groups with substantial assistance in

   issuing misleading statements regarding the risks, benefits, and superiority of opioids for the

   long-term treatment of chronic pain.

                                a) FSMB - Responsible Opioid Prescribing

          579. In 2007, Purdue sponsored FSMB's Responsible Opioid Prescribing, which, as

   described above, deceptively portrayed the risks, benefits, and superiority of opioids to treat

  chronic pain. Responsible Opioid Prescribing also was drafted by Dr. Scott Fishman.

          580.    Purdue spent $150,000 to help FSMB distribute Responsible Opioid Prescribing.

  The book was distributed nationally, and was available to and intended to reach prescribers in

  The counties.

                                b) AGS - Pharmacological Management of Persistent Pain in
                                   Older Persons

          58 1. Along with Janssen, Purdue worked with the AGS on a CME to promote the 2009

  guidelines for the Pharmacological Management of Persistent Pain in Older Persons. As

  discussed above, these guidelines falsely claimed that "the risks [of addiction] are exceedingly

   low in older patients with no current or past history of substance abuse" as the study supporting

  this assertion did not analyze addiction rates by age. They also stated, falsely, that "(a]ll patients

  with moderate to severe pain should be considered for opioid therapy (low quality of evidence,

  strong recommendation)."

          582. Controversy surrounding earlier versions of AGS guidelines had taught AGS that

  accepting money directly from drug companies to fund the guidelines' development could lead

  to allegations of bias and "the appearance of conflict." Accordingly, AGS endeavored to

   eliminate "the root cause of that flack" by turning down commercial support to produce the

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   2009 Guidelines. Having determined that its veneer of independence would be tarrushed if it

   accepted drug company money to create the content, AGS decided to develop the guidelines

   itself and turn to the drug companies for funding to distribute the pro-drug company content

   once it had been created. As explained by AGS personnel, it was AGS's "strategy that we will

   take commercial support to disseminate [the 2009 Guidelines] if sucb support is forthcoming."

   AGS knew that it would be difficult to find such support unJess the report was viewed favorably

   by opioid makers.

           583. AGS sought and obtained grants from Endo and Purdue to distribute

   Pharmacological Management of Persistent Pain in Older Persons. As a result, the publication

   was distributed nationally, and was avai lable to and was intended to reach The counties

   prescribers.    Indeed,   internal documents of another Defendant,                 Endo, indicate that

   pharmaceutical sales representatives employed by Purdue discussed treatment guidelines that
                                                                                                   129
   minimized the risk of addiction to opioids with doctors during individual sales visits.

                                   c) Chronic Pain Management and Opioid Use: Easing Fears,
                                      Managing Risks, and Improving Outcomes

           584. Purdue sponsored a 20 12 CME program called Chronic Pain Management and

   Opioid Use: Easing Fears, Managing Risks, and Improving Outcomes. The presentation

   deceptively instructed doctors that, through the use of screening tools, more frequent refills, and

   other techniques, high-risk patients showing signs of addictive behavior could be treated with

   opioids. This CME was presented at various locations in the United States and is available

   online today.




  129
     As described above, Purdue also provided substantial support for the AAPM/ APS guidelines. The 1997 AAPM
  and APS consensus statement The Use ofOpioids for the Treatment ofChronic Pain was authored by one of its paid
  speakers, and 14 out of 2 1 panel members who drafted the AAPM/APS Guidelines received support from
  Defendants Janssen, Cephalon, Endo, and Purdue.
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                               d) Managing Patient's Opioid Use: Balancing the Need and Risk

         585. Purdue also sponsored a 2011 CME taught by KOL Lynn Webster via webinar

  titled Managing Patient's Opioid Use: Balancing the Need and Risk. This presentation also

  deceptively instructed prescribers that screening tools, patient agreements, and urine test

  prevented "overuse of prescriptions" and "overdose deaths." At the time, Dr. Webster was

  receiving significant funding from Purdue. Versions of Dr. Webster's Opioid Risk Tool appear

  on, or are linked to, websites run by Purdue (and other Defendants). The webinar was available

  to and was intended to reach The counties prescribers.

                               e) Path of the Patient, Managing Chronic Pain in Younger Adults
                                  at Risk/or Abuse

         586. Purdue also sponsored a CME program entitJed Path of the Parient, Managing

  Chronic Pain in Younger Adults at Risk/or Abuse. Path of rhe Patient was devoted entirely to

  the message of treating chronic pain with opioids. Although the program purported to instruct a

  treating physician how to manage chronic pain in younger adults al risk for abuse, it does no

  such thing.

         587. This "educational" program, addressing treatment of a population known lo be

  particularly susceptible to opioid addiction, presents none of the alternative treatment options

  available, only discussing treatment of chronic pain with opioids.

         588. In a role-play in Path ofthe Patient, a patient who suffers from back pain tells his

  doctor that he is taking twice as many hydrocodone pills as directed. The doctor reports that the

  pharmacy called him because of the patient's early refills. The patient has a history of drug and

  alcohol abuse. Despite these facts, the narrator notes that, because of a condition known as

  "pseudoaddiction," the doctor should not assume his patient is addicted even if he persistently

  asks for a specific drug, seems desperate, hoards medicine, or "overindulges in unapproved

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   escalating doses." The doctor in the role-play treats this patient by prescribing a high-dose,

   long-acting opioid. This CME was available online and was intended to reach County

   prescribers.

                                  f) Overview of Management Options

           589. Purdue also sponsored a CME titled Overview of Management Options issued by

   the American Medical Association in 2003, 2007, and 2013 (the latter of which is still available

   for CME credit). The CME was edited by KOL Russel Portenoy, among others. It deceptively

   instructs physicians that NSAIDs and other drugs, but not opioids, are unsafe at high doses. In

   reality, the data indicates that patients on high doses of opioids are more likely to experience

   adverse outcomes than patients on lower doses of the drugs. Dr. Portenoy received research

   support, consulting fees, and honoraria from Purdue (among others), and was a paid Purdue

   consultant. This CME was presented online in the United States and was available to The

   counties prescribers.

                       111.   Purdue's Misleading Science

           590. Purdue also misrepresented the risks associated with long-tenn opioid use by

   promoting scientific studies in a deceptive way. In 1998, Purdue funded two articles by Dr.

   Lawrence Robbins, which showed that between 8% and 13% of the patients he studied became

   addicted to opioids- a troubling statistic for Purdue, whose market, and marketing, depended

   upon the claim that opioids were rarely addictive. 130 Purdue had these articles placed in

   headache-specific journals where they would be less likely to be encountered by pain specialists

   or general practitioners. The first of these    articl~s   has been cited a mere 16 times; the second



  130
     Lawrence Robbins, Long-Acting Opioidsfor Severe Chronic Daily Headache, 10(2) Headache Q. 135 (1999);
  Lawrence Robbins, Works in Progress: Oxycodone CR, a Long-Acting Opioid, for Severe Chronic Daily Headache,
  l9 Headache Q. 305 (1999).

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    docs not even appear on Google scholar. Five years later, Purdue funded a study of OxyContin

    in diabetic neuropathy patients, which was published in 2003. Notwithstanding the fact that that

    Purdue-funded studies, testing Purdue's own drugs, bad previously indicated that addiction rates

    were between 8% and 13%, Purdue's 2003 article reached back to the 1980 Porter-Jick Letter to

    support its claim that OxyContin was not commonly addictive. This article was placed in a

    prominent pain journal and has been cited 487 times. 131 While this article was drafted over a

   decade ago, it continues to be relied upon to further the misrepresentations that opioids are not

   addictive.

                                     a) Purdue's Deceptive Statements to the Counties' Prescribers and
                                        Patients

            591. Purdue directed the dissemination of the misstatements described above to the

   Counties' patients and prescribers through the Front Groups, KOLs, and publications described

   above, as well as through its sales force in the Counties and through advertisements in

   prominent medical journals. The deceptive statements distributed through each of these

   channels reflect a common theme of misrepresenting the benefits of Purdue's opioids, unfairly

   portraying the risks of addiction associated with their use, and deceptively implying that they

   would improve patients' ability to function.

            592. The deceptive message that OxyContin provided 12 hours of pain relief was not

   only available to, and intended to, reach the Counties' prescribers through nationally circulated

   advertising, but was also carried directly into the offices of the Counties' doctors by Purdue's

   sales representatives.




  131
      C. Peter N. Watson et al., Controlled-re/ease oxycodone relieves neuropathic pain: a randomized controlled trial
  I painful diabetic neuropathy, I05 Pain 71 (2003).
                                                         207
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         593. Likewise, the deceptive messages minimizing addiction were not only dfrected at

  the Counties' patients and prescribers through the publications circulated above, but were also

  disseminated directly by Purdue's sales force.

         594. Purdue also used its sales fo rce to disseminate misleading statements about the

  ability of opioids to improve functionality.

         595. Purdue's national marketing campaign included the misrepresentations described

  above and the company disseminated these same misrepresentations to the Counties' prescribers

  and consumers. In particular, these prescriber accounts reflect that Purdue detailers omitted or

  minimized the risk of opioid addiction; claimed that Purdue's drugs would be less problematic

  for patients because they had extended release mechanisms, were tamper proof, and were

  "steady state"; claimed that OxyContin would provide 12 hours of pain relief; represented that

  screening tools could help manage the risk of addiction; minimized the symptoms of

  withdrawaJ; claimed or implied that opioids were safer than NSAIDs; and overstated the

  benefits of opioids, including by making claims of improved function.

         596. A survey of a sample of physicians, who reported the messages that they retained

  from detailing visits and other promotional activity, documented that Purdue sales

  representatives from at least between 2008 and 20 12, promoted OxyContin as being effective

  for a full 12 hours. Purdue sales representatives also promoted OxyContin as improving

  patients' sleep (an unsubstantiated functional improvement) to an orthopedic surgeon in 2006

  and to a physicians' assistant in 2013. Purdue sales representatives also told internists that the

  reformulation of OxyContin prevented illegal drug use and that the formulation was 'less

  addicting,'' rather than being harder to adulterate. In 201 1, Purdue sales representatives also

  claimed that the sustained-release property of OxyContin reduced patient "buzz," which is

  neither based on scientific evidence nor true.
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          597. The same survey indicated that Purdue sales representatives promoted its

   Schedule II1 opioid Butrans as having low or little abuse potential.

     D. The Result of the Manufacturer Defendants' Fraudulent Scheme

          598. Through their direct promotional efforts, along with those of the third-party Front

   Groups and KOLs they assisted and controlled, and whose seemingly objective materials they

   distributed, Defendants accomplished exactly what they set out to do: change the institutional

   and public perception of the risk-benefit assessments and standard of care for treating patients

   with chronic pain. As a result, doctors began prescribing opioids long-term to treat chronic pain

   to persons residing io the Counties- something most would never have considered prior to

   Defendants' campaign.

          599. But for the misleading information disseminated by the Manufacturer Defendants,

   doctors would not, in most instances, have prescribed opioids as medically necessary or

   reasonably required to address chronic pain.

         1. The Manufacturer Defendants' Fraudulent and Deceptive Marketing of Opioids
            Directly Caused Harm to the Plaintiffs

          600. The Manufacturer Defendants set out to change the medical and general

   consensus supporting chronic opioid therapy with the intention of encouraging doctors to

   prescribe opioids despite the absence of genuine evidence supporting chronic opioid therapy

   and the contrary evidence regarding the significant risks and limited benefits from long-term

   use of opioids.

                 a. Increase in Opioid Prescribing Nationally

          60 I . The Manufacturer Defendants' scheme to change the medical consensus regarding

   opioid therapy for chronic pain was greatly successful. During the year 2000, outpatient retail



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   pharmacies filled 174 million prescriptions for opioids nationwide, rising to 257 million in

   2009. 132

              602.     Opioid prescriptions increased even as the percentage of patients visiting doctors

   for pain remained constant. A study of 7.8 million doctor visits between 2000 and 2010 found

   that opioid prescriptions increased from 11.3% to 19.6% of visits, as NSAID and

   acetaminophen prescriptions fell from 38% to 29%, driven primarily by the decline ofNSAID

   use. 133

              603. Approximately 20% of the population between the ages of 30 and 44 and nearly

   30% of the population over 45 have used opioids. Indeed, "[o)pioids are the most common

   means of treatment for chronic pain." 134 From 1980 to 2000, opioid prescriptions for chronic

   pain visits doubled. This resulted not from an epidemic of pain, but an epidemic of prescribing.

   A study of 7.8 million doctor visits found that prescribing for pain increased by 73% between

   2000 and 2010-even though the number of office visits in which patients complained of pain

   did not change and prescribing of non-opioid pain medications decreased. For back pain

   alone-one of the most common chronic pain conditions-the percentage of patients prescribed

   opioids increased from 19% to 29% between 1999 and 2010, even as the use of NSAIDs or

   acetaminophen declined and referrals to physical therapy remained steady- and climbing.

              604. This increase corresponds with, and was caused by, the Manufacturer Defendants'

   massive marketing push. As reflected in the chart below, according to data obtained from a

   marketing research company, the Manufacturer Defendants' spendjng on marketing of opioids

  132Office of National Drug Control Policy, 2011 Prescription Drug Abuse Prevention Plan, Whitehouse.gov, (no
  longer available on whitehouse.gov), https://obamawhitehouse.archives.gov/ondcp/prescription-drug-abuse I
  (accessed May 30, 2017).
  133
     Matthew Daubresse et al., Ambulatory Diagnosis and Treatment ofNonmalignant Pain in the United
  States, 2000-2010, 51{l0) Med. Care 870 (2013).
  134
        Deborah Grady et al., Opioids for Chronic Pain, 171 (16) Arch. Intern. Med. 1426 ( 2011 ).
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   nationwide-including all of the drugs at issue here-stood at more than $20 million per

   quarter and $91 million annually in 2000. By 2011, that figure hit its peak of more than $70

   million per quarter and $288 million annually, an increase of more than three-fold. By 2014, the

   figures dropped to roughly $45 million per quarter and $182 million annually, as the

   Manufacturer Defendants confronted increasing concerns regarding opioid addiction, abuse,

   and diversion, and as Janssen, which accounted for most of the spending reduction, prepared to

   sell its U.S. rights to Nucynta and Nucynta ER. Even so, Defendants still spent double what

   they spent in 2000 on opioid marketing.

                     All Promotional Spendl"I on Non-Injectable Oplolds by All Defendants (Quarterly)




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                605. The Manufacturer Defendants' opioid detailing visits to individual doctors made

   up the largest component of this spending, with total detailing expenditures more than doubl ing

   between 2000 and 2014 to $168 million annually.

                                                               211
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              606. Each of the Manufacturer Defendant's promotional spending reflects its

   participation in this marketing blitz. Between 2000 and 2011:

                       a) Actavis's promotional spending, which was virtually nonexistent m the

                                   2004-2008 period, began to sharply rise 2009.                 The third quarter of 2011

                                   saw a peak of $3 million at one point in 2011 and nearly $7 million for the

                               year, as shown below:

                 All Promotional Spendlnc on Non-Injectable Oplolds by Defendant Acbvls (Quarterly)




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                       b) Cephalon's quarterly spending steadily climbed from below $1 million in

                               2000 to more than $4 mil1ion in 2014 (and more than $13 million for the

                               year), including a peak, coinciding with the launch of Fentora, of nearly $9

                               million half way through 2007 (and more than $27 million for the year), as

                                   shown below:



                                                                  212
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                    All Promotional Spendlna on Non-Inject.able Oplokh by Defendant Cephalon (()larterly)




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            JllOO     :1ID01   -    -      -      :111111   JOOI   111111   -   -   -      JOU    JDll   llDlJ   JllM l01S




                        c) Endo 's quarterly spending went from the $2 milJion to $4 million range

                               from 2000 to 2004 to more than $10 million follo\.\oing the launch of Opana

                               ER in mid-2006 (and more than $38 million for the year in 2007) and more

                               than $8 million coinciding with the launch of a reformulated version m

                               2012 (and nearly $34 million fo r the year):




                                                                   213
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                           d) Janssen's quarterly spending dramatically rose from Jess than $5 million in

                                  2000 to more than $30 million in 2011 , coinciding with the launch of

                                  Nucynta ER (with yearly spending at $ 142 million for 2011) as shown

                                  below:




                                                                       214
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                   All Promotional Spendlns on Non-Injectable Oplolds by Defendant Janssen (Quarterly)




         l l t•111•111•111•111•111•11J4111•111•111• 11 J•t114111•111•1114l
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                        c) Purdue's quarterly spending notably decreased from 2000 to 2007, as

                             Purdue came under investigation by the Department of Justice, but then

                             spiked to above $25 million in 20 1l (for a total of $ 110 million that year),

                             and continued to rise, as shown below:




                                                                215
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                        All Promotional Spendlnc on Non-lnje<Uble Oplolds by Defendant Purdue (Quarterly)




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                        b. The Plaintiff Counties' Increased Spending on Opioids

          607.          As a direct and foreseeable consequence of the Manufacturer Defendants'

  wrongful conduct, the County Plaintiffs have been required to spend substantial sums of money

  each year in their efforts to combat the public nuisance created by Defendants' deceptive

  marketing campaign. Plaintfffs have incurred, and continue to incur, costs related to opioid

  addiction and abuse, including, but not limited to, heaJth care costs, criminal justice and

  victimization costs, social costs, lost productivity costs, and property damage. Defendants'

  mfarepresentations regarding the safety and efficacy of long-term opioid use proximately caused

  injury to Plaintiff::> and their citizens.

                                1.          The Manufacturer Defendants' Misrepresentations Were Material

            608. The Manufacturer Defendants' misrepresentations were material to, and

   influenced, the decisions of prescribers within and around the Counties. But for the
                                                                         216
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   Manufacturer Defendants' fraudulent and deceptive marketing, prescribers would have

  accurately understood the risks and benefits of opioids and would not have prescribed opioids

   where not medically necessary or reasonably required to treat chronic pain. Misrepresentations

  as to, for example, whether patients were likely to become addicted to the drug, would be able

   to resume life actjvities, and would experience long-term relief were not minor or insubstantial

  matters, but the core of prescribers' decision-making.

                       11.   The Plaintiff Counties' Increased Costs Correlate with Defendants'
                             Promotion

          609. Plaintiffs' spending in connection with opioids rose along with the Manufacturer

  Defendants' spending to promote opioids. That spending was directly impacted by opioid use

  (and its consequences in abuse, addiction, and overdose) in the Counties.

          610. It is also distressing (and a sign of further problems ahead) that the drop in opioid

  prescribing beginnjng in 2014 has been accompanied by a corresponding increase in the

  Manufacturer Defendants' promotional spending, which is headed towards a new high, despite

  evidence of the grave toll that opioids are taking on law enforcement, public health, and

   individual lives.

         2. The Manufacturer Defendants' Fraudulent and Deceptive Marketing of Opioids
            Directly Caused Harm to the Plaintiffs' Citizens.

                 a. Increased Opioid Use Has Led to an Increase in Opioid Abuse. Addiction.
                    Diversion and Death

           611. Nationally, the sharp increase in opioid use has led directly to a dramatic increase

   in opioid abuse, addiction, diversion, overdose, and death . Scientific evidence demonstrates a

   very strong correlation between therapeutic exposure to opioid analgesics, as measured by

   prescriptions filled, and opioid abuse. "Deaths from opioid overdose have risen steadily since




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    1990 in parallel with increasing prescription of these drugs." 135 Prescription opioid use

   contributed to 16,917 overdose deaths nationally in 2011- more than twice as many deaths as

   heroin and cocaine combined; drug poisonings now exceed motor vehicle accidents as a cause

   of death. More Americans have died from opioid overdoses than from participation in the

   Vietnam War.

              612. Contrary to the Manufacturer Defendants' misrepresentations, most of the illicit

   use stems from prescribed opioids; in 2011, 71% of people who abused prescription opioids got

   them through friends or relatives, not from drug dealers or the internet. According to the CDC,

   the 80% of opioid patients who take low-dose opioids from a single prescriber (in other words,

   who are not illicit users or "doctor-shoppers") account for 20% of alJ prescription drug

   overdoses.

              613. Death statistics represent only the tip of the iceberg. According to 2009 data, for

   every overdose death that year, there were nine abuse treatment admissions, 30 emergency

   department visits for opioid abuse or misuse, 118 people with abuse or addiction problems, and

   795 non-medical users. Nationally, there were more than 488,000 emergency room admissions

   for opioids other than heroin in 2008 (up from almost 173,000 in 2004).

              614. Emergency room visits tied to opioid use likewise have sharply increased in the

   Counties.

              615. Widespread opioid use and abuse in the Counties arc problems even when they do

   not resuJt in injury or death. Opioid addiction is affecting residents of all ages, ethnicities, and

   socio-economic backgrounds in the Counties. Many adtlicls start with a legal opioid

   prescription-chronic back pain, fibromyalgia, or even dental pain- and do not realize they are

   addicted until they cannot stop taking the drugs.

  135
        Deborah Grady et al., Opioids for Chronic Pain, 171 ( 16) Arch. Intern. Med. 1426 ( 2011 ).
                                                             218
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            616. These glaring omissions, described consistently by counselors and patients, mirror

   and confirm the Manufacturer Defendants' drug representatives' own widespread practice, as

   described above, of omitting any discussion of addiction from their sales presentations to

   physicians or in their "educational" materials.

                   b. Increased Opioid Use Has Fueled An Illegal Secondary Market for Narcotics
                      and the Criminals Who Support It

            617. The Manufacturer Defendants' success in extending the market for opioids to new

   patients and chronic condjtions has created an abundance of drugs available for criminal use

   and fueled a new wave of addiction, abuse, ruversion and injury. The Manufacturer Defendants'

   scheme supplies both ends of the secondary market for opioids-producing both the inventory

   of narcotics to sell and the addicts to buy them. One researcher who has closely studied the

   public health consequences of opioids has found, not surprisingly, that a "substantial increase in

   the nonrnerucal use of opioids is a predictable adverse effect of substantial increases in the

   extent of prescriptive use." 136 It has been estimated that the majority of the opioids that are

   abused come, dfrectly or indirectly, through doctors' prescriptions.

            618. A significant black market in prescription opioids also has arisen, not only

   creating and supplying additional addicts, but fueling other criminal activities.

            619. In addition, because heroin is cheaper than prescription painkillers, many

   prescription opioid adructs m igrate to heroin. Self-reported heroin use nearly doubled between

   2007 and 2012, from 373,000 to 669,000 individuals. In 2010, more than 3,000 people in the

   U.S. died from heroin overdoses, also nearly double the rate in 2006. Nearly 80% of those who

   used heroin in the past year had previously abused prescription opioids. Patients become


  136
     G. CaJeb Alexander et al., Rethinking Opioid Prescribing to Protect Patient Safety and Public Health,
  308( 18) JAMA 1865 (2012).

                                                         2 19
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   addicted to opioids and then move on to heroin because these prescription drugs are roughly

    four times more expensive than heroin on the street. In the words of one federal DEA official,

    "Who would have ever thought in this country it would be cheaper to buy heroin than pills ...

    [t]hat is the reality we're facing. 11137

            620. That reality holds true in the Counties. According to addiction programs, a typical

   course sees addicts requesting more and more opioids from their doctors, who eventually cut

   them off. Marry addicts then doctor-shop for additional prescriptions, and when that source runs

   out, tum to the streets to buy opioids illicitly. A significant number become heroin addicts.

   Addiction treatment programs, whose patient populations vary, reported rates of patients who

   had switched from prescription opioids to heroin ranging from half to 95%. Those addicts who

   do reach treatment centers often do so when their health, jobs, families and relationships reach

   the breaking point, or after turning to criminal activity such as prostitution and theft to sustain

   their addiction. Unfortunately, few are successful in getting and staying clean; repeated relapse

   is common.

          3. The Manufacturer Defendants' Fraudulent Marketing Has Led to Record
             Profits

            621. Whi le the use of opioids has taken an enormous toll on the Counties and its

   residents, the Manufacturer Defendants have gained blockbuster profits. In 2012, health care

   providers wrote 259 million prescriptions for opioid painkillers 138- roughly one prescription

   per American adult. Opioids generated $8 billion in revenue for drug companies just in 20 I 0.



  137
     Matt Pearce & Tina Susman, Philip Seymour Hoffman's death calls attention to rise in heroin use,
  L.A. Times, Feb. 3, 201 4, http://articles.latimes.com/2014/feb/03/nation/la-na-heroin-surge-20 140204 (accessed
  May 30, 2017).

  138
      Press Release, Center for Disease Control, Opioid painkiller prescribing varies widely among states: Wliere you
  live makes a difference (July l, 20 14), https://www.cdc.gov/media/releases/2014/p070 I-opioid-painkiller.html
  (accessed May 30, 2017).
                                                         220
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              622.   Financial information - where available - indicates that the Manufacturer

   Defendants each experienced a material increase in sales, revenue, and profits from the

   fraudulent~    misleading, and unfair market activities Laid out above. Purdue's OxyContin sales

   alone increased from $45 million in 1996 to $3.l billion in 20 l 0.

             4. The Manufacturer Defendants Fraudulently Concealed Their
                M isrepresenta tioos

              623. Al all times relevant to this Complaint, the Manufacturer Defendants took steps to

   avoid detection of, and fraudulently conceal, their deceptive marketing and conspiratorial

   behavior.

              624. First, and most prominently, the Manufacturer Defendants disguised their own

   role::~   in the deceptive marketing of chronic opioid therapy by funding and working through

   patient advocacy and professional front organizations and KOLs. The Manufacturer Defendants

   purposefully bid behind these individuals and organizations to avoid regulatory scrutiny and to

   prevent doctors and the public from discounting their messages.

              625. While the Manufacturer Defendants were listed as sponsors of many of the

   publications described in this Complaint, they never disclosed their role in shaping, editing, and

   exerting final approval over their content. The Manufacturer Defendants exerted their

   considerable influence on these promotional and "educational" materials.

              626. 1n addition to hiding their own role in generating the deceptive content, the

   Manufacturer Defendants manipulated their promotional materials and the scientific literature

   to make it appear as if they were accurate, truthful, and supported by substantial scientific

   evidence. The Manufacturer Defendants distorted the meaning or import of studies they cited

   and offered them as evidence for propositions they did not actually support. The true lack of

   support for the Manufacturer Defendants' deceptive messages was not apparent to the medical

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   professionals who relied upon them in making treatment decisions, nor could they have been

   detected by Plaintiffs.

           627. Thus, while the opioid epidemic was evident, the Manufacturer Defendants, in

   furtherance of their respective marketing strategies, intentionally concealed their own role in

   causing it. The Manufacturer Defendants successfully concealed from the medical community,

   patients, and health care payers facts sufficient to arouse suspicion of the existence of claims

   that Plaintiffs now assert. Plaintiffs were not alerted to the existence and scope of the

   Manufacturer Defendants industry-wide fraud and could not have acquired such knowledge

   earlier through the exercise of reasonable diligence.

           628. Through their public statements, marketing, and advertising, the Manufacturer

   Defendants' deceptions deprived the plaintiffs of actual or presumptive knowledge of facts

   sufficient to put them on notice of potential claims.

      G. Through Their P ublic Statements, Marketing, And Advertis ing, Defendants'
         Deceptions Deprived Plaintiff Of Actual Or Presumptive Knowledge Of Facts
         Sufficient To Put T hem On N otice Of Potential Claims. Defendants Entered Into
         And E ngaged In A Civil Conspiracy.

         629.    Defendants entered into a conspiracy to engage m the wrongful conduct

  complained of herein, and intended to benefit both independently and jointly from their

  conspiratorial enterprise.

         630.    Defendants reached an agreement between themselves to set up, develop, and

  fund an unbranded promotion and marketing network to promote the use of opioids for the

  management of pain in order to mislead physicians, patients, and others through

  misrepresentations or omissions regarding the appropriate uses, risks and safety of opioids.

          631.   This network is interconnected and interrelated and relied upon Defendants'

  collective use of and reliance upon unbranded marketing materials, such as KOLs, scientific

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  literature, CMEs, patient education materials, and Front Groups. These materials were developed

  and funded collectively by Defendants, and Defendants relied upon the materials to intentionally

  mislead consumers and medical providers of the appropriate uses, risks and safety of opioids.

         632.    By knowingly misrepresenting the appropriate uses, risks, and safety of opioids,

  Defendants committed overt acts in furtherance of their conspiracy.

         H.      The Distributor Defendants Flooded the Counties with Suspiciously Large
                 Amounts of Opioids.

         633.    The Distributor Defendants are opioid distributors in the Counties.

         634.    The Distributor Defendants purchased opioids from manufacturers, such as the

  named Manufacturer Defendants herein, and distributed and sold them to pharmacies throughout

  the Counties and neighboring counties.

         635.    The Distributor Defendants played an integral role in the chain of opioids being

  distributed throughout the Counties.

         636.    According to the Drug Enforcement Adminjstration Automation of Reports and

  Consolidated Orders System ("ARCOS"), from 2006 to 2016 pharmaceutical distributors,

  including the Distributor Defendants, supplied a drastically increasing and alarming number of

  opioid pain medications to the Counties.

         637.    The Distributor Defendants had actual knowledge and were on notice that the

  controlled substances they distributed were readily abused, overprescribed, susceptible to

  diversion for illegal purposes and/or   otherwise sought for illegal and/or   illegitimate purposes.

         638.    The Distributor Defendants had actual knowledge and were each on notice that

  there was an alarming and suspicious rise in the number of prescriptions being written and

  opioids being distributed within the Counties during this time period.



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           639.   As entities involved in the manufacture and distribution of opioid medications,

  Defendants were engaged in abnormally and/or inherently dangerous activity and had a duty of

  care under West Virginia law.

           640.   Pursuant to the West Virginia Controlled Substances Act and West Virginia law,

  Defendants were required to provide effective controls and procedures to guard against diversion

  of controlled substances.

           641.   The Distributor Defendants had a duty to identify and report susp1c1ous or

  alarming orders of opioid pharmaceuticals to the proper authorities and governing bodies,

  including the West Virginia Board of Pharmacy.

           642.   The Distributor Defendants knew or should have known that they were supplying

  vast amounts of dangerous drugs that were resulting in addiction, abuse, diversion, misuse, and

  other problems in the Counties associated with the opioid epidemic and the supply of dangerous

  drugs to the Counties was so disproportionate to the population, the drugs were being abused

  and/or diverted.

           643.   The Distributor Defendants owed the Counties a duty of care, yet failed in their

  duty to take any action to prevent or reduce the distribution of these drugs or the addiction,

  abuse, diversion misuse and other problems they were causing.

           644.   The Distributor Defendants were in a unique position and had a duty to inspect,

  report, or otherwise limit the manufacture and flow of these drugs to the Counties.

           645.   The Distributor Defendants, in the interest of their own massive profits,

  intentionally failed in these duties.

           646.   The Distributor Defendants have displayed a continuing pattern of failing to

  report    suspicious orders, including those relating to the Counties.


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               647.   In 2008, McKesson paid a $ 13.25 million fine to settle similar claims regarding

  suspicious orders from internet pharmacies. 139

              648.    Despite these prior penalties, McKesson's pattern of failing to report suspicious

  orders continued for many years.

               649.   According to the DEA, McKesson "supplied various U.S. pharmacies an

  increasing amount of oxycodone and hydrocodone pills" during the time m q uestion, and

  "frequently misused products that are part of the current opioid epidemic." 140

              650.    On January 17, 2017, the DEA announced that McKesson had agreed to pay a

  record $150 miJlion fine and suspend the sale of controlled substances from distribution centers

  in several states. 14 1

              65 1.   In 2008, Defendant Cardinal paid a $34 million penalty to resolve allegations that

  it failed to report suspicious opioid orders. 142

              652.    Despite this past penalty, in 2017, it was announced that Defendant Cardinal

  agreed to a $44 million fine to "resolve allegations that it failed to alert the Drug Enforcement

  Agency to suspicious orders of powerful narcotics by pharmacies in Florida, Maryland, and New

             143
  York.



  139
      http://www.wvgazettemail.com/news-health/201612 18/suspicious-drug-order-rules-never-en forced-by-state
  (accessed May 30, 2017).

  140
     https://www.justice.gov/opa/pr/me kesson-agrees-pay-record-150-m i11ion-settJement-fa iIure-report-suspicious-
  orders (accessed May 30, 2017).
  141   id

  142
     https://www.justice.gov/ usao-wd wa/pr/united-states-reaches-34-mi11 ion-settlement-card inal-health-ci vi 1-
  penalties-under-O (access May 30, 20 17)
  143
     https://www. washingtonpost.eom/nat ional/hea lth-sc ience/cardina I-heal th-fined-44-m i11ion-for-opioid-reporting-
  violations/2017/0 I11 J/4 f217c44-d82c-l 1e6-9a36- J d296534b3 I e_ story.htm l?utm_term=. 7049c4431465 (accessed
  on May 30, 20 17).

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            653.    Defendant AmeriSource faced a criminal inquiry "into its oversight of painkiller

  sales" in 2012. 144

            654.    Despite the charges, fines, and penalties brought against the Distributor

  Defendants in the past, they continued to fail to report suspicious orders or prevent the flow of

  prescription opioids, including into the Counties.

            655.    The Distributor Defendants are also members of the Healthcare Distribution

  Management Association ("HDMA"). The HDMA created ''Industry Compliance Guidelines"

  which stressed the critical role of each member of the supply chain in distributing controlled

  substances.      The HDMA guidelines provided that "[a]t the center of a sophisticated supply

  chain, Distributors are uniquely situated to perform due diligence in order to help support the

  security of controlled substances they deliver to their customers."

            656.    Between the years in question, including 2007 through 2016, the Distributor

  Defendants have shipped and distributed millions of doses of highly addictive controlled opioid

  pain kilJers into the Counties.

            657.    Many of these orders should have been stopped, or at the very least, investigated

  as potential suspicious orders.

            658.    The sheer volume of the increase in opioid pain medications being distributed to

  retailers, should have put the Distributor Defendants on notice to investigate and report such

  orders.

            659.    The Distributor Defendants distributed and/or caused to be delivered an excessive

  and unreasonable amount of opioid pain medications to retailers in the Counties.




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      http://www.nytimes.com/20 13/06/ 12/busincss/wa lgreen-to-pay-80-m i 11 ion-settlement-over-painkiUer-sales.htm I
  (accessed on May 30, 2017).
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          660.   Upon information and belief, the Distributor Defendants did not refuse to

  clistribute, supply or cause to be delivered any opioid medications to any pharmacy in the

  Counties from 2007 to the present

          661.   The Distributor Defendants knew or shou ld have known that they were

  distributing, supplying or causing to be delivered levels of opioid medications that far exceeded

  the legitimate needs of the Counties.

          662.   The Distributor Defendants knew or should have known that large amounts of the

  opioid medications they were djstributing, suppling and causing to be delivered and/or used in

  the Counties were being abused and/or diverted in the Counties.

         663.    The Defendants made substantial profits from the opioids sold in the Counties.

         664.    The Distributor Defendants violated West Virginia law and regulations relating to

  distributors, by failing to properly identify and/or report suspicious orders.

         665.    By the actions and inactions described above, the Distributor Defendants showed

  a reckless disregard for the safety of the residents of the Counties.

         666.    By the actions and inactions described above, the Distributor Defendants caused

  great harm to the Counties.

         667.    On December 27, 2007, the U.S. Department of Justice, Drug Enforcement

  Administration, sent a letter to Defendant Cardinal stating, "This letter is being sent to every

  entity in the United States registered with the Drug Enforcement Agency (DEA) to manufacture

  or distribute controlled substances. The purpose of this letter is to reiterate the responsibilities of

  controlled substance manufacturers and distributors to inform" appropriate authorities about

  suspicious orders.




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         668.    The DEA has provided briefings to each of the Distributor Defendants and

  conducted a variety of conferences regarding their duties under applicable law.

         669.    The DEA sent a Jetter to each of the Distributor Defendants on September 26,

  2006, warning that it would use its authority to revoke and suspend registrations when

  appropriate. The letter expressly states that a distributor, in addition to reporting suspicious

  orders, has a "statutory responsibility to exercise due diligence to avoid filling suspicious orders

  that might be diverted into other than legitimate medical, scientific, and industrial channels." The

  DEA warns that "even just one distributor that uses its DEA registration to facilitate diversion

  can cause enormous harm."

         670.    The DEA sent a second letter to the Defendant Distributors on December 27,

  2007. This Jetter reminded tbe Distributor Defendants of their statutory and regulatory duties to

  "maintain effective controls against diversion" and "design and operate a system to disclose to

  the registrant suspicious orders of controlled substances." The Jetter further explains:

         The regulation also requires that the registrant inform the local DEA Division
         Office of suspicious orders when discovered by tbe registrant. Filing a monthly
         report of completed transactions (e.g., "excessive purchase report" or "high uruty
         purchases") does not meet the regulatory requirement to report suspicious orders.
         Registrants are reminded that their responsibility does not end merely with the
         filing of a suspicious order report. Registrants must conduct an independent
         analysis of suspicious orders prior to completing a sale to detennine whether the
         controlled substances are likely to be diverted from legitimate channels.
         Reporting an order as suspicious will not absolve the registrant of responsibility if
         the registrant knew, or should have known, that the controlled substances were
         being diverted.

         The regulation specifically states that suspicious orders include orders of unusual
         size. orders deviating substantially from a normal pattern, and orders of an
         unusual frequency. These criteria are disjunctive and are not all inclusive. For
         example, if an order deviates substantially from a normal pattern, the size of the
         order does not matter and the order should be reported as suspicious. Likewise, a
         registrant need not wait for a "normal pattern" to develop over time before
         determining whether a particular order is suspicious. The size of an order alone,
         whether or not it deviates from a normal pattern, is enough to trigger the
         registrant's responsibility to report the order as suspicious. The determination of
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         whether an order is suspicious depends not only on the ordering patterns of the
         particular customer, but also on the patterns of the registrant's customer base and
         the pattern throughout the segment of the regulated industry.

         Registrants that rely on rigid formulas to define whether an order is suspicious
         may be failing to detect suspicious orders. For example, a system that identifies
         orders as suspicious only if the total amount of a controlled substance ordered
         during one month exceeds the amount ordered the previous month by a certain
         percentage or more is insufficient. This system fails to identify orders placed by
         a pharmacy if the pharmacy placed unusually large orders from the beginning of
         its relationship with the distributor. Also, this system would not identify orders
         as suspicious if the order were solely for one highly abused controlled substance
         if the orders never grew substantially. Nevertheless, ordering one highly abused
         controlled substance and little or nothing else deviates from the normal pattern of
         what pharmacies generally order.

         When reporting an order as suspicious, registrants must be clear in their
         communication with DEA that the registrant is actually characterizing an order as
         suspicious. Daily, weekly, or monthly reports subnUtted by registrant indicating
         "excessive purchases" do not comply with the requirement to report suspicious
         orders, even if the registrant calls such reports "suspicious order reports."

         Lastly, registrants that routinely report suspicious orders, yet fill these orders
         without first determining that order is not being diverted into other than legitimate
         medical, scientific, and industrial channels, may be failing to maintain effective
         controls against diversion. Failure to maintain effective controls against diversion
         is inconsistent with the public interest .. . and may result in the revocation of the
         registrant's DEA Certificate of Registration.

         671.   As a result of the repeated refusal by the Defendant Distributors over the course

  of years to abide by applicable law, the regulatory authorities have repeatedly taken

  administrative action to force compliance. The United States Department of Justice, Office of the

  Inspector General, Evaluation and Inspections Divisions, reported that the DEA issued final

  decisions in 178 registrant actions between 2008 and 2012. The Office of Administrative Law

  Judges issued a recommended decision in a total of 177 registrant actions before the DEA issued

  its final decision, including 76 actions involving orders to show cause and 41 actions involving

  immediate suspension orders. The Drug Enforcement Administration's Adjudication of

  Registrant Actions, United States Department of Justice, Office of the Inspector General,

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  Evaluation and Inspections Divisions, I-2014-003 (May 2014). The public record reveals many

  of these actions:

         On Apri l 24, 2007, the DEA issued an Order to Show Cause and Immediate
         Suspension Order against the AmerisourceBergen Orlando, Florida distribution
         center (Orlando Facility) alleging failure to maintain effective controls against
         diversion of controlled substances. On June 22, 2007, AmerisourceBergen
         entered into a settlement which resulted in the suspension of its DEA registration;

         On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
         Suspension Order against the Cardinal Health Auburn, Washington Distribution
         Center (Auburn Facility) for failure to maintain effective controls against
         diversion of hydrocodone;

         On December 5, 2007, the DEA issued an Order to Show Cause and lm.mediate
         Suspension Order against the Cardinal Health Lakeland, Florida Distribution
         Center (Lakeland Facility) for failure to maintain effective controls against
         diversion of hydrocodone;

         On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
         Suspension Order against the Cardinal Health Swedesboro, New Jersey
         Distribution Center (Swedesboro Facility) for failure to maintain effective
         controls against diversion of hydrocodone;

         On January 30, 2008, the DEA issued an Order to Show Cause and lmmediate
         Suspension Order against the Cardinal Health Stafford, Texas Distribution Center
         (Stafford Facility) for failure to maintain effective controls against diversion of
         hydrocodone;

         On May 2, 2008, McKesson Corporation entered into an Administrative
         Memorandum of AgTeement (2008 MOA) with the DEA which provided that
         McKesson would "maintain a compliance program designed to detect and prevent
         the diversion of controlled substances, inform DEA of suspicious orders required
         by 21 C.F.R. § 1301.74(b), and follow the procedures established by its
         Controlled Substance Monitoring Program";

         On September 30, 2008, Cardinal Health entered into a Settlement and Release
         Agreement and Administrative Memorandum of Agreement with the DEA related
         to its Auburn Facility, Lakeland Facility, Swedesboro Facility, and Stafford
         Facility. The docwnent also referenced allegations by the DEA that Cardinal
         failed to maintain effective controls against the diversion of controlled substances
         at its di stribution facilities located in McDonough, Pennsylvania (McDonough
         Facility), Valencia, California (Valencia Facility) and Denver, Colorado (Denver
         Facility);


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           On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
           Suspension Order against the Cardinal Health Lakeland, Florida Distribution
           Center (Lakeland Facility) for failure to maintain effective controls against
           diversion of oxycodone;

           On June 11, 2013, Walgreens paid $80 million in civil penalties for dispensing
           violations under the CSA regarding the Walgreens Jupiter Distribution Center and
           six Walgreens retail pharmacies in Florida;

           On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the
           DEA to reso lve the civil penalty portion of the administrative action taken against
           its Lakeland, Florida Distribution Center; and

          On January 5, 2017, McKesson Corporation entered into an Administrative
          Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000
          civil penalty for violation of the 2008 MOA as well as fai lure to identify and
          report suspicious orders at its facilities in Aurora, CO; Aurora, IL; Delran, NJ;
          LaCrosse, WI; Lakeland, FL; Landover, MD; La Vista, NE; Livonia, MI;
          Methuen, MA; Sante Fe Springs, CA; Washington Courthouse, OH; and West
          Sacramento, CA

          672.      Rather than abide by these public safety statutes, the Distributor Defendants,

  individually and/or collectively through trade groups in the industry, pressured the U.S.

  Department of Justice to "halt" prosecutions and lobbied Congress to strip the DEA of its ability

  to immediately suspend distributor registrations. The result was a "sharp drop in enforcement

  actions" and the passage of the "Ensuring Patient Access and Effective Drug Enforcement Act"

  which, ironically, raised the burden for the DEA to revoke a distributor's license from "imminent

  harm" to "immediate harm" and provided the industry the right to "cure" any violations of law

  before a suspension order can be issued. •4s




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  • sSee Lenny Bernstein and Scott I Iigham, ltTVestigation: The DEA Slowed Enforcement While the Opioid
  Epidemic Grew Out ofControl, WASH. POST (Oct. 22, 2016), https://www.washingtonpost.com/investigations/the-
  dea-slowed-enforcement-while-the-opioid-epidemic- grew-out-of-controV2016/ 10/22Jaea2bf8e-7f7 I- I Je6-8d 13-
  d7c704ef9fd9_story.htm l?utm_tenn=.d84d374ef062; Lenny Bernstein and Scott Higham, Investigation: U.S.
  Senator Calls for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, WASH. POST (Mar. 6, 2017),
  https://www.washingtonpost.com/in vestigations/us-senator-cal Is-for-in vest igat ion-o f-dea- en forcemenl-
  slowdown/20 17/03/06/5846ee60-028b- I le7-b Ie9-a05d3c2 I f7cf_story.htm1?utm_lerrn=.b44410552cde.
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                                     FIRST CAUSE OF ACTION
                                           Public Nuisance
                                       (Against All Defendants)

          673. Plaintiffs incorporate the aJlegations within all pnor paragraphs within this

   Complaint as if they were fully set forth herein.

          674. Defendants, individually and acting through their employees and agents, and in

   concert with each other, have intentionally, recklessly, or negligently engaged in conduct or

   omissions which endangered or injured the property, health, safety and/or comfort of a

   considerable number of persons in the Counties by their production, promotion, distribution,

   marketing, and prescribing of opioids for use by residents of the Counties.

          675. Defendants' conduct - over whicb they had control - significantly interfered, and

   continues to significantly interfere with the public health and safety, the public peace, and the

   public comfort in the Counties.

          676. Defendants' conduct is unreasonable.

          677. Defendants' conduct constitutes a public nuisance.

          678. The public nuisance is substantial and unreasonable. Defendants' actions caused

   and continue to cause tbc public health epidemic and state of emergency that exists in the

   Counties and is described in the Complaint, and that harm outweighs any offsetting benefits.

          679. Defendants' conduct is not insubstantial or fleeting. It bas caused deaths, serious

   injuries, and a severe disruption of public peace, order and safety in the Counties and it is

   ongoing, and has and continues to produce permanent and long-lasting damage.

          680. The ongoing tortious conducl by Defendants causes a repeated or continuous

   injury. The damages have not occurred all at once, but have increased as time bas progressed.

   The tort is not completed and all Plaintiffs damages will not be incurred until Defendants'

   wrongdoing ceases. The wrongdoing has not ceased and the public nuisance remains unabated.
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             681. At all times material herein, the Manufacturer Defendants, Defendant Radcliffe,

   and the Purdue Sales Representative Defendants knew or should have known that their

   promotion and marketing of opioids was false and misleading and that the deceptive marketing

   scheme and other unlawful, unfair, and fraudulent actions would cause and/or be a substantial

   factor in causing a public nuisance in the Counties.

          682. The Distributor Defendants knew or should have known tbat their over-

   distribution of opioids into the Counties and their refusal and failure to prevent the abuse and/or

   diversion of opioids into and throughout the Counties would cause and/or would be a

   substantial factor in causing a public nuisance in the Counties.

          683. Defendant Board of Pharmacy knew or should have known that its failure to act

   upon and/or investigate suspicious orders and its failure to prevent the abuse and/or diversion of

   opioids into and throughout the Counties would cause and/or would be a substantial factor in

   causing a public nuisance in the Counties.

          684. The Doctor Defendants knew that their improper and illegal prescribing,

   distribution, and diversion of opioids into the Counties and/or the surrounding areas would

   cause and/or would be a substantial factor in causing a public nuisance in the Counties.

          685. Defendants' conduct was accompanied by wanton and willful disregard to those

   persons     who foresecably might be harmed by Defendants' acts or omissions.

          686. It is, or should be and should have been reasonably foreseeable to Defendants,

   that their conduct would cause death, injuries, and damage to the citizens of the Counties, and

   would otherwise significantly and unreasonably intt:rfore with public health, safety and welfare,

   and with the public's right to be free from disturbance and reasonable apprehension of danger to

   person and property within the Counties.



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           687. Defendants' conduct directly and proximately caused injury to Plaintiffs and its

   residents. Plaintiffs continue to be directly and proximately injured by Defendants' actions in

   creating a public nuisance.

           688. The nuisance created, perpetuated, and maintained by Defendants can be abated

   and further recurrence of the harm and inconvenience can be abated. Stemming the misleading,

   unsupported, marketing of prescription opioids and stemming the flow of illegally distributed

   prescription opioids into the Counties will help to alleviate the opioid epidemic and the

   associated threat to the health and safety of the Counties.

           689. Plaintiffs and its residents suffered special injuries distinguishable from those

   suffered by the general public.

           690. The Plaintiff Counties are ''authorized to enact ordinances, issue orders, and take

   other appropriate and necessary actions for the elimination of hazard to public health and safety

   and to abate or cause to be abated anything which the commission[s] detennineO to be a public

   nuisance." W.Va. Code § 7-1 - l{a). The Plaintiff Counties have declared the opioid epidemic

   within their communities and counties to be a public nuisance and file this lawsuit seeking

   redress for their damages.

                                     SECOND CAUSE OF ACTION
                                           Unjust Enrichment
                                        (Against All Defendants)

           691. Plaintiffs incorporate the allegations within all pnor paragraphs within this

   Complaint as if they were fuJly set forth herein.

           692. Defendants acted willfully, wantonly, and with conscious disregard of the rights

   of the Plaintiffs and its residents.




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           693. Defendants knowingly, willfully, and intentionally marketed, promoted, supplied,

   distributed, regulated and/or caused to be delivered opioid drugs in the Counties in a false,

   misleading, deceptive, and otherwise improper manner.

           694. As an expected and intended result of their conscious wrongdoing as set forth in

   this Complaint, Defendants have profited and benefited from opioid purchases made by

   Plaintiffs and its residents.

           695. In exchange for the opioid purchases, and at the time Plaintiffs and its residents

   made these payments, Plaintiffs and its residents expected that Defendants had provided all of

   the necessary and accurate information regarding those risks and had not misrepresented any

   material facts regarding those risks.

           696. Plaintiffs and their residents conferred a benefit upon Defendants and Defendants

   knowingly accepted such benefit, to which they are not entitled.

           697. Defendants, through the wrongful conduct described above, have been unjustly

   enriched at the expense of Plaintiffs.

           698. In equity and good conscience, it would be unjust and inequitable to permit

   Defendants to enrich themselves at the expense of the Plaintiffs and their residents.

           699. By reason of the foregoing, Defendants must disgorge their unjustly acquired

   profits and other monetary benefits resulting from their unlawful conduct and provide

   restitution to the Plaintiffs.

                                    THIRD CAUSE OF ACTION
                                       Fraud by Concealment
                                         (All Defendanls)

           700. Plaintiffs incorporate the allegations within all pnor paragraphs within this

   Complaint as if they were fully set forth herein.


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           701. Defendants' misrepresentation and/or concealing and/or deceiving of their

   improper marketing, promotion, distribution, supplying, and/or regulation of opioid drugs

   coupled with Defendants' knowledge of the risks and harms created by their actions and

   conduct, as discussed herein, constitutes fraud, misrepresentations, and deceit, both actual and

   concealed.

          702. At all times material herein, Plaintiffs did not know or could not have known

   through the exercise of reasonable diligence of Defendants' tortious and improper conduct and

   in relied upon Defendants' fraudulent conduct to their detriment.

                                 FOURTH CAUSE OF ACTION
                                Negligence and Negligent Marketing
                                  (The Manufacturer Defendants)

          703. Plaintiffs incorporate the allegations within all prior paragraphs within this

   Complaint as if they were fully set forth herein.

          704. ln West Virginia, "the existence of a duty to use due care is found in the

   foreseeability that harm may result if it is not exercised. The test is, would the ordinary

   [corporation] in the defendant[s'] position, knowing what [they] knew or should have known,

   anticipate that harm of the general nature of that suffered was likely to result?" Sewell v.

   Gregory, 179 W.Va. 585, 371 S.E.2d 82 (1988). The ex.istence of a duty also involves "policy

   considerations underlying the core issue of the scope of the legal system's protection" including,

   inter alia, the "likelihood of injury, the magnitude of the burden of guarding against it, and the

   consequences of placing that burden on the defendant." Robertson v. LeMaster, 171 W.Va. 607,

   301 S.E.2d 563 (1983).

          705. The Manufacturer Defendants owed a duty of care lo Plaintiffs in the marketing,

   advertising, sale and promotion of their highly dangerous, addictive and abusive opioid drugs.


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   Each Manufacturer Defendant owed Plaintiffs a duty to use reasonable care and to exercise due

   care to Plaintiffs and the Plaintiffs' citizens because it was foreseeable, and in fact known to the

   Defendant Manufacturers that their conduct would result in the injuries and damages to the

   Counties..

          706. The Manufacturer Defendants were aware of the dangerous situation involving

   opioids, including but not limited to the addiction, abuse and diversion that was occurring, and

   had actual knowledge that the safety, efficacy, addictiveness and abuse potential of their drugs

   was negligently and recklessly marketed, advertised, and promoted.

          707. The Manufacturer Defendants' knew their marketing was a substantial factor in

   physicians, patients, and others prescribing,   purchasing or using opioids in the Counties.

          708. The Manufacturer Defendants knew the opioid drugs they manufactured,

   marketed and sold were unreasonably dangerous and highly addictive and were highly

   susceptible to abuse and diversion.

          709. For years, the Manufacturer Defendants knew that their opioid drugs were highly

   susceptible to addiction, misuse, abuse and/or diversion; opioid drug addiction, misuse, abuse

   and/or diversion bore a direct relationship to the amount and volume of opioids being

   prescribed; and that their opioid drugs were being misused, abused and diverted across the

   country, including in the Counties.

          710. Upon information and belief, the Manufacturer Defendants purposefully or

   negligently flooded communities across the country, including the Counties, with highly

   dangerous and addictive opioids knowing that lht:st: drugs were being misused, abused and

   diverted.

           711. The Manufacturer Defendants knew or should have known that opioid addiction

   and its related consequences would injure and damage communities across the country,
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   incl uding the Counties. As discussed herein, applicable West Vi rginia Jaws, and the industry

   standards applicable to the manufacture, advertising, labeling, distribution and sale of opioid

   drugs exist to control addiction, abuse and/or diversion associated with these dangerous drugs.

   Moreover, the Manufacturer Defendants were repeatedly warned and/or put on notice

   concerning their actions and the effects their actions were having in communities across the

   country, including the Counties.        The escalating amounts of highly addictive drugs being

   prescribed and distributed, and the sheer volume of these prescription opioids, further alerted

   the Manufacturer Defendants that addiction was fueling increased addiction, abuse and

   diversion, and that legitimate medical purposes were not being served.

           712. Despite this knowledge, and in direct disregard for the known and foreseeable

   harms to Plaintiffs, the Manufacturer Defendants negligently and recklessly breached their duty

   to Plaintiffs by, but not limited to:

                      a) Negligently and recklessly marketing, advertising, and promoting their
                         opioid drugs in the Counties and surrounding areas;

                      b) Misrepresenting and misstating the addiction, abuse and/or diversion
                         potential of their opioid drugs;

                      e) Overstating the benefits of chronic opioid therapy, prom1smg
                         improvement in patients' function and quality of life, and failing to
                         disclose the lack of evidence supporting long-term use;

                      d) Downplaying, trivializing and/or obscuring opioids' serious risks and
                         adverse outcomes, including the risk of addiction, abuse, diversion,
                         overdose, and death~

                      e) Overstating opioids' superiority compared with other treatments, such as
                         other non-opioid analgesics, physical therapy, and other alternatives;

                      f) Mischaracterizing the difficuJty of withdrawal from opioids and the
                         prevalence of withdrawal symptoms;

                      g) Marketing opioids for indications and benefits that were not supported by
                         substantial evidence;

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                     h) Funding, supporting, and encouraging misleading and incomplete studies
                        of prescription opioids; and

                     i) Failing to implement reasonable controls and safeguards to identify
                        prevent and/or reduce the misuse, abuse, and/or diversion of their opioid
                        drugs.

          713. As stated herein, the Manufacturer Defendants' breach of duty bears a causal

   connection with and/or proximately resulted in the harm and damages to Plaintiffs.

          714. As a direct and proximate result of the Manufacturer Defendants' actions, as set

   forth herein, Plaintiffs have suffered and continue to suffer injury and damages, including but

   not limited to, incurring excessive costs related to diagnosis, treatment, and cure of abuse and/or

   addiction or risk of addiction to opioids; bearing the massive costs of these illnesses and

   conditions by having to provide necessary resources for care, treatment fac ilities, and law

   enforcement associated with opioid addiction, abuse and diversion; and property damage.

                                  FIFTH CAUSE OF ACTION
                              Fraud and Intentional Misrepresentation
                                  (The Manufacturer Defendants)

          7 15. Plaintiffs incorporate the allegations within all prior paragraphs within this

   Complaint as if they were fully set forth herein.

          716. The Manufacturer Defendants, individually and acting through their employees

   and agents, and in concert with each other, knowingly made material misrepresentations and

   omissions of facts to Plaintiffs, its residents and those who prescribed drugs to its residents in

   order to induce the prescription, purchase, administration and consumption of opioid drugs in

   the Counties and/or surrounding areas, as set forth herein.

          717. Defendants knew at the time that they made their misrepresentations and

   omissions that they were false.



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          718. Defendants intended that Plaintiffs, their residents, and those who prescribed

   opioid drugs to their residents would rely on their misrepresentations and omissions.

          719. Plaintiffs, their residents and those who prescribe drugs to their residents

   reasonably relied upon Defendants' misrepresentations and omissions.

          720. In the alternate, the Manufacturer Defendants recklessly disregarded the falsity of

   their representations regarding opioids.

          721. By reason of their reliance on the Manufacturer Defendants' misrepresentations

   and omissions of material fact, Plaintiffs and its residents suffered actual pecuniary damage.

          722. The Manufacturer Defendants' conduct was willful, wanton, and malicious and

   was directed at the public generally.

                                    SIXTH CAUSE OF ACTION
                                  Negligence and Misrepresentation
                 (Defendant Radcliffe and the Purdue Sales Representati ve Defendants)

          723. Plaintiffs incorporate the allegations within au prior paragraphs within this

   Complaint as if they were fully set forth herein.

          724. In West Virginia, "the existence of a duty to use due care is found in the

   foreseeability that harm may result if it is not exercised. The test is, would the ordinary person

   in the defendant[s'] position, knowing what [they] knew or should have known, anticipate that

   harm of the general nature of that suffered was likely to result?" Sewell v. Greg01y, 179 W.Va

   585, 371 S.E.2d 82 (1988). The existence of a duty also involves "policy considerations

   underlying the core issue of the scope of the legal system's protection" including, inter alia, the

   "likelihood of injury, the magnitude of the burden of guarding against it, and the consequences

   of placing that burden on the defendant.'' Robertson v. LeMaster, 171 W.Va. 607, 301 S.E.2d

   563 (1983).


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          725. At all times material herein, Defendant Radcliffe was a Purdue sales detail person

   and/or district manager in West Virginia and was responsible for the promotion, advertisement,

   sale, marketing, and/or distribution of OxyContin in West Virginia, including to those who

   prescribed and/or consumed the drug in the Counties and their surrounding areas.

          726. At all times material herein, Defendant Radcliffe was a Purdue sales detail person

   and/or district manager in West Viiginia who promoted, marketed, sold and/or distributed

   OxyContin in West Virginia, including prescribers and consumers within the Counties and

   their surrounding areas.

          727. At all times material herein, Defendants Ross and Carnes (hereinafter "the Purdue

   Sales Representative Defendants") were Purdue sales detail persons who promoted, advertised,

   marketed, sold and/or distributed OxyContin in West Viiginia, including prescribers and

   consumers within the Counties and their suITounding areas.

          728. Defendant Radcliffe and the Purdue Sales Representative Defendants owed a duty

   of care to Plaintiffs in the marketing, advertising, sale, and promotion of Purdue's highly

   dangerous, addictive and abuse-prone OxyContin.

          729. Defendant Radcliffe and the Purdue Sales Representative Defendants owed

   Plaintiffs a duty to use reasonable care because, ;nter alia, it was foreseeable, and in fact known

   to Defendant Radcliffe, that his conduct would result in injuries and damages to and within the

   Counties.

          730. Defendant Radcliffe and         the Purdue Sales Representative Defendants were

   aware of the dangers associated with OxyContin in West Virginia and the Counties, including

   but not limited to the addiction, abuse, and diversion that was occurring, and Defendant

   Radcliffe had actual knowledge that the safety, efficacy, addictiveness, abuse and diversion



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   potential of OxyContin was negligently and recklessly marketed, advertised, promoted, and

   sold.

           731. Defendant Radcliffe knew that OxyContin was highly susceptible to addiction,

   misuse, abuse and/or diversion; OxyContin addiction, misuse, abuse and/or diversion bore a

   direct relationship to the amount and volume of opioids being prescribed within West Virginia

   and the Counties; and that OxyContin was being misused, abused and diverted across the

   country, including in the Counties. By way of example, and not limitation:

              a) Defendant Radcliffe witnessed first-hand the devastating effects of OxyContin in
                 and around West Virginia and that OxyContin was being regularly abused,
                 misused, and diverted;

              b) Defendant Radcliffe was warned, informed, alerted, and/or made aware by
                 prescribers throughout West Virginia, including within the Counties, that
                 OxyContin was being abused, misused, and diverted and, on at least one
                 occasion, Defendant Radcliffe was informed that a family member of a
                 prescriber within West Virginfa had overdosed on OxyContin in West Virginia;

              c) Memos from sales representatives within West Virginia and/or surrounding areas
                 were distributed and/or discussed between Purdue employees and
                 representatives, including Defendant Radcliffe, which contained "red flags"
                 about OxyContin and detailed reports from prescribers that their patients were
                 misusing, abusing, and diverting OxyContin;

              d) The Weirton Daily Times, a local newspaper based in Hancock County and
                 distributed within the surrounding counties including Brooke, Ohio, and
                 Marshall, published an article entitled "Too Much Heroin and Too Many
                 Oxycontins" which contained a warning from William Beatty, the head of the
                 drug task force in Hancock County. In the article, Mr. Beatty warned that "[t]oo
                 much heroin and too many OxyContins [sic] are hitting the streets in the Upper
                 Ohio Valley ... People can die very easily from either one." After the article's
                 publication, two Purdue sales representatives visited the Weirton Daily Times
                 and made copies of the article. Upon information and belief, the sales
                 representatives that obtained the information worked for Defendant Radel iffe
                 and/or reported thfa information to Defendant Radel iffe, whereby he had actual
                 knowledge of the abuse and diversion occurring in and around the Counties; and

              e) Defendant Radcliffe was made aware of medical literature and studies that
                 concluded OxyContin was more attractive to drug abusers compared to other
                 prescription pain pills.

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           732. Defendant Radcliffe and the Purdue Sales Representative Defendants knew or

   should have known that OxyContin was unreasonably dangerous and highly addictive and

   highly susceptible to abuse and diversion yet knowingly and negligently provided false and/or

   misleading information to prescribers within West Virginia, including the Counties and their

   surrounding areas, concerning the risk of addiction, abuse and diversion of OxyContin and of

   its relative safety.

           733. Defendant Radcliffe and the Purdue Sales Representative Defendants             also

   represented to prescribers throughout West Virginia and the Counties that OxyContin was safe

   for its intended purpose.

           734. Upon information and belief, Defendant Radcliffe and the Purdue Sales

   Representative Defendants pmposeful ly or negligently caused the flooding of communities

   across West Virginia, including the Counties, with highly dangerous and addictive opioids

   knowing that these drugs were being misused, abused and diverted.

           735. Defendant Radcliffe and the Purdue Sales Representative Defendants knew or

   should have known that opioid addiction, abuse and/or diversion and their related consequences

   would injure and damage communities across the country including the Counties. As discussed

   herein, applicable West Virginia laws, and the industry standards applicable to the manufacture,

   advertising, labeling, distribution and sale of opioid drugs exist to control addiction, abuse

   and/or diversion associated with these dangerous drugs. Moreover, Defendant Radcliffe and the

   Purdue Sales Representative Defendants were aware their actions and the effects their actions

   were having in communities across the counlry, including the Counties. The escalating amounts

   of highly addictive drugs being prescribed and distributed, and the sheer volume of these

   prescription opioids, further alerted Defendant Radcliffe   and the Purdue Sales Representative



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   Defendants that addiction was fueling increased addiction, abuse and diversion, and that

   legitimate medical purposes were not being served.

          736. Despite this knowledge, and in direct disregard for the known and foreseeable

   hanns to P laintiffs, Defendant Radcliffe and the Purdue Sales Representative Defendants

   negligently and recklessly breached their duty to Plaintiffs by, but not limited to:

              a) Negligently and recklessly marketing, advertising, and promoting OxyContin in
                 the Counties and surrounding areas;

              b) Misrepresenting and misstating the addiction, abuse and/or diversion potential of
                 OxyContin;

              c) Overstating the benefits of chronic OxyContin therapy, promising improvement
                 in patients' function and quality of life, and failing to disclose the lack of
                 evidence supporting long-term use;

              d) Downplaying and/or obscuring OxyContin's serious risks and adverse outcomes,
                 including the risk of addiction, abuse, diversion, overdose, and death;

              e) Overstating OxyContin's superiority compared with other treatments, such as
                 other non-opioid analgesics, physical therapy, and other alternatives;

              f) Miscbaracterizing the difficulty of withdrawal from OxyContin and the
                 prevalence of withdrawal symptoms;

              g) Marketing OxyContin for indications and benefits that were not supported by
                 substantial evidence; and

              h) Misrepresenting to health care providers that it was more difficult to extract the
                 oxycodone from an OxyContin tablet for the purpose of misuse or abuse.

          737. At all times material herein, Defendant Radcliffe and the Purdue Sales

   Representative Defendants willingly and knowingly participated in Defendant Purdue's

   deceptive and misleading marketing scheme, were aware of its existence, and did nothing about

   it. Defendant Radcliffe and         the Purdue Sales Representative Defendants promoted,

   perpetuated, and furthered Purdue's deceptive and misleading marketing campaign by




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   knowingly falsely promoting and marketing OxyContin as less addictive and less subject to

   abuse and diversion than other opioids.

          738. Defendant Radcliffe and the Purdue Sales Representative Defendants           had a

   financial incentive to knowingly provide fa lse information to prescribers within West Virginia

   and the Counties and their pay and continued employment depending on the volume of sales

   and prescriptions written within their District and surrounding areas. Upon information and

   belief, Defendant Radcliffe and the Purdue Sales Representative Defendants received extremely

   lucrative bonuses, trips, and other items of value as a result of their success in pushing

   OxyContin into the communities of West Virginia.

          739. Defendant Radcliffe further trained his sales representatives to employ various

   tactics to evade physicians' questions regarding OxyContin's addictiveness and likelihood of

   addiction,   misuse, abuse, and/or diversion and to misrepresent and conceal facts relating to

   OxyContin safety. By way of example, and not limitation, Defendant Radcliffe trained his sales

   representatives to be "Audible Ready" when questioned about street-abuse and to misrepresent

   OxyContin's addictiveness and likelihood of abuse, diversion, and misuse.     [n a memo to one

   of his sales representatives, Defendant Radcliffe wrote:

                 You continue to get hammered with pre-1990 attitudes about
                 opioids. Dr. Steinberg shocked me! This Harvard trained physician
                 and expert for medical cases said to you "Do you know how many
                 days it takes to get addicted? Five and then they are addicted!" The
                 pharmacist at Clark's informed us that they are doing "everything
                 they can to slow it down (OxyContin)." Despite these relentless
                 attacks, you've done a good job of remaining "Audible Ready" on
                 the street abuse issue and not letting the "phobic" sell you.
                 Distinguish between iatrogenic a<l<liclion ( <l % of patients) and
                 substance abusers/diversion (about I 0% of the population abuse
                 something: weed; cocaine; heroin; alcohol; vaLium; etc.).

          740. Upon information and belief, after receiving reports from prescribers and medical

   professionals that OxyContin was being abused and diverted in and around West Virginia, and
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   that problems associated with OxyContin were metastasizing "like a cancer," Defendant

   Radcliffe instructed his sales team to ride out the controversy, ignore abuse reports, and "sell

   through it." 146

           741. Defendant Radcliffe and the Purdue Sales Representative Defendants knew their

   marketing and the information they and their sales team provided was a substantial factor in

   physicians, patients, and others prescribing, purchasing or using opioids in West Virginia and

   the Counties. In fact, within a year of being promoted to District Manager for West Virginia,

   Defendant Radcliffe's West Virginia district soared to Purdue's top rated District (up from No.

   42 the previous years).

           742. At all times material herein, prescribers and consumers within West Virginia and

   in the Counties relied upon the representations made by Defendant Radcliffe, the Purdue Sales

   Representative Defendants, and their sales team and their reliance was justified.

           743. As stated herein, Defendant Radcliffe's and the Purdue Sales Representative

   Defendants' breach of duty bears a causal connection with and/or proximately resulted in the

   harm and damages to the Plaintiffs.

           744. As a direct and proximate result of Defendant Radcliffe's and the Purdue Sales

   Representative Defendants' actions, as set forth herein, Plaintiffs have suffered and continue to

   suffer injury and damages, including but not limited to, incurring excessive costs related to

   diagnosis, treatment, and cure of abuse and/or addiction or risk of addiction to opioids; bearing

   the massive costs of these illnesses and conditions by having to provide necessary resources for

   care, treatment facilities, and law enforcement associated with opioid addiction, abuse and

   diversion; and property damage.

  146 Patrick Radden Keefe, The Family that Built an Empire of Pain: The Sackler dynasty's ruthless marketing of
  painkillers has generated billions of dollars - and millions of addicts, Tbe New Yorker (available at
  https://www .newyorker.corn/magazine/2017I I0/30/the-family-that-bu iIt-an-empire-of-pain).
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                                 SEVENTH CAUSE OF ACTION
                                  Strict Liability - Defective Design
                          (The Manufacturer Defendants/Defendant Radcliffe/
                             The Purdue Sales Representative Defendants)

             745. Plaintiffs incorporate the allegations within all prior paragraphs within this

   Complaint as if they were fully set forth herein.

             746. The Manufacturer Defendants, Defendant Radcliffe, and the Purdue Sales

   Representative Defendants are manufactures, designers, formulators, producers, creators,

   makers, constructors, assemblers, remanufacturers, rebuildcrs, rnodjfiers, alterers, packagers,

   shippers, sellers, and/or distributors of opioid drugs that were distributed, purchased, sold,

   and/or consumed within the Counties and/or by the Counties' residents.

             74 7. At all times material herein, the opioid drugs distributed, sold, purchased, and

   consumed within the Counties and/or by the Counties' residents were defective in design in that

   the foreseeable risks associated with their design exceeded the benefits associated with their

   design.

             748. At all times material herein, the Manufacturer Defendants, Defendant Radcliffe,

   and the Purdue Sales Representative Defendants knew or reasonably should have known and/or

   recognized that the opioid drugs were defective and unreasonably dangerous in that the

   foreseeable risks associated with their design or formulation exceeded the benefits associated

   with their design or fomrnlation.

             749. As a direct and proximate result of the defective design of the opioid drugs,

   Plaintiffs have suffered and continue to suffer injury and damages, including but not limited to,

   incurring excessive costs related to diagnosis, treatment, and cure of abuse and/or addiction or

   risk of addiction to opioids; bearing the massive costs of these illnesses and conditions by




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   having to provide necessary resources for care, treatment facilities, and law enforcement

   associated with opioid addiction, abuse and diversion; and property damage.

                                 EIGTH CAUSE OF ACTION
                                Strict liability - Failure to Warn
                        (The Manufacturer Defendants/Defendant Radcliffe/
                           The Purdue Sales Representative Defendants)

          750. Plaintiffs incorporate the allegations within all prior paragraphs within this

   Complaint as if they were fully set forth herein.

          75 l. The Manufacturer Defendants, Defendant Radcliffe, and the Purdue Sales

   Representative Defendants are manufactures, designers, formulators, producers, creators,

   makers, constructors, assemblers, remanufacturers, rebuilders, modifiers, alterers, packagers,

   shippers, sellers, and/or distributors of opioid drugs that were distributed, purchased, sold,

   and/or consumed within the Counties and/or by the Counties' residents.

          752. At all times material herein, the opioid drugs distributed, sold, purchased, and

   consumed within the Counties and/or by the Counties' residents were defective and

   unreasonably dangerous in that they presented an increased risk of serious injury and/or death

   and/or hann when used for their intended purpose.

          753. At aJl times material herein, the Manufacturer Defendants, Defendant Radcliffe,

   and the Purdue Sales Representative Defendants fai led to provide the warning and/or

   instruction that a manufacturer, designer, formulator, producer, creator, maker, constructor,

   assembler, remanufacturer, rebuilder, modifier, alterer, packager: shipper, seller, and/or

   distributor of opioid drugs exercising reasonable care would have provided concerning the risks

   associated with their opioid drugs in light of the likelihood that the opioid drugs would case the

   type of harm suffered by Plaintiffs.




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           754. As a direct and proximate result of the Manufacturer Defendants', Defendant

   Radcliffe's, and the Purdue Sales Representative Defendants' faiJ ure to warn concerning the

   risks and hazards of their opioid drugs, Plaintiffs have suffered and continue to suffer injury and

   damages, including but not limited to, incurring excessive costs related to diagnosis, treatment,

   and cure of abuse and/or addiction or risk of addiction to opioids; bearing the massive costs of

   these illnesses and conditions by having to provide necessary resources for care, treatment

   facilities, and law enforcement associated with opioid addiction, abuse and diversion; and

   property damage.

                                   NINTH CAUSE OF ACTION
                                            Negligence
                                    (The Distributor Defendants)

          755. Plaintiffs incorporate the allegations within aU prior paragraphs within this

   Complaint as if they were fully set forth herein.

          756. In West Virginia, "the existence of a duty to use due care is fo und in the

   foreseeability that harm may result if it is not exercised. The test is, would the ordinary

   (corporation] in the defendant(s') position, knowing what rthey) knew     OT   should have known,

   anticipate that harm of the general nature of that suffered was likely to result?" Sewell v.

   Gregory, 179 W.Va. 585, 37 1 S.E.2d 82 (1988). The existence of a duty also involves "policy

   considerations underlying the core issue of the scope of the legal system's protection" including,

   inter alia, the "likelihood of injury, the magnitude of the burden of guard ing against it, and the

   consequences of placing that burden on the defendant." Robertson v. LeMaster, 171 W.Va. 607,

   301 S.E.2d 563 (1983).

          757. The Distributor Defendants owed a duty of care to Plaintiffs in the distribution of

   highJy dangerous and addictive opioids in the Counties and surrounding areas. Each Distributor


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   Defendant owed Plaintiffs a duty to use reasonable care and to exercise due care to Plaintiffs

   and Plaintiffs' citizens because it was foreseeable, and in fact known to the Distributor

   Defendants that their conduct would result in the injuries and damages to Plaintiffs.

          758. The Distributor Defendants were aware of the potentially dangerous situation

   involv1ng opioids, including but not limited to the addiction, abuse and diversion that was

   occurring, and had actuaJ knowledge that opioid drugs were being misused, abused, and

   diverted within the Counties and surrounding areas.

          759. The Distributor Defendants further knew that opioids were unreasonably

   dangerous and highly addictive and were highly susceptible to abuse and diversion.

          760. For years, the Distributor Defendants knew or should have known that the opio id

   drugs they distributed were highly susceptible to addiction, misuse, abuse and/or diversion;

   opioid drug addiction, misuse, abuse and/or diversion bore a direct relationship to the amount

   and volume of opioids being distributed within the Counties; and that the opioid drugs they

   distributed were being misused, abused and diverted across the country, including in the

   Counties.

          761. Upon information and belief, the Di stributor Defendants purposefully or

   negligently flooded communities across the country, including the Counties, with highly

   dangerous and addictive opioids knowing that these drugs were being misused, abused and

   diverted.

          762. The Distributor Defendants had the ability - and duty - to slow down, question,

   inspect, report, alert, or otherwise limit t.he flow of these dangerous drugs into the Counties'

   communities; however, they did nothing and continued to fill thousands of suspicious orders.

           763. Moreover, given the number of prescriptions and the total population of the

   Plaintiffs' counties, the Distributor Defendants knew or should have known that they were
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   supplying opioid medications far in excess of the legitimate needs of the Counties and

   surrounding areas and intentionally distributed an excessive amount of highly addictive pain

   killers to the Counties and surrounding areas.

           764. The Distributor Defendants knew or should have known that opioid addiction and

   its related consequences would injure and damage communities across the country, including

   the Counties. As discussed herein, applicable West Virginia laws, and the industry standards

   applicable to the distribution and sale of opioid drugs exist to control addiction, abuse and/or

   diversion associated with these dangerous drugs. Moreover, the Distributor Defendants were

   repeatedly warned and/or put on notice concerning their actions and the effects their actions

   were having in communities across the country, including the Counties. The escalating amounts

   of highly addictive drugs being distributed, and the sheer volume of these prescription opioids,

   further alerted the Distributor Defendants that addiction was fueling increased addiction, abuse

   and diversion, and that legitimate medical purposes were not being served.

           765. Despite this knowledge, and in direct disregard for the known and foreseeable

   harms to Plaintiffs, the Distributor Defendants negligently and recklessly breached their duty to

   Plaintiffs by, but not limited to:

                    a) Failing to take any action to prevent or reduce the distribution of the
                       opioids;

                    b) Failing to monitor and guard against diversion and third-party misconduct
                       and enabling such misconduct;

                    c) Failing to slow down, question, inspect, report, alert, or otherwise limit the
                       flow of these dangerous drugs into our communities;

                    d) Failing to provide effective controls and procedures to guard against illegal
                       and improper diversion of controlled substances; and

                    e) Failing to acquire and utilize the necessary knowledge and skills that relate
                       to the dangerous activity in order to prevent and/or ameliorate such
                       distinctive and significant dangers associated with opioid drugs.
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           766. The Distributor Defendants further failed to comply with West Virginia law and

   industry standards by intentionally and/or negligently, without limitation:

                    a) Failing to know their customers;

                    b) Failing to know their customer base;

                    c) Failing to know the population base served by a particular pharmacy or
                       drug store;

                    d) Failing to know the average prescriptions filled in a day;

                    e) Failing to know the percentage of di verted and/or abused controlled
                       substances distributed as compared to overall purchases;

                    f) Failing to have a description of how the dispenser fulfills its responsibility
                       to ensure that prescriptions filled are for legitimate medical purposes; and

                    g) Failing to know the identification of the physicians and bogus pain clinics
                       and centers for the alleged treatment of pain that are the pharmacy or drug
                       stores' most frequent prescribers.

           767. The Distributor Defendants are in a class of a limited number of parties that can

   distribute opioids, which places them in a position of great trust by the Counties. The

   Distributor Defendants are in exclusive control of the management of the opioids it distributed

   to pharmacies and drug stores in the Counties.

          768. As such, the Distributor Defendants are required to exercise a high degree of care

   and diligence to prevent injury to the public from the diversion of opioids during distribution.

          769.    The Distributor Defendants breached their duty to exercise the degree of care,

   prudence, watchfulness, and vigilance commensurate to the dangers involved in the transaction

   of their business.

          770. The trust placed in the Distributor Defendants by Plaintiffs through the license to

   sell and distribute opioids in their respective counties creates a duty on behalf of the Distributor

   Defendants to prevent diversion of the medications it supplies to illegal purposes.
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              771. A negligent and/or intentional violation of this trust poses distinctive and

   significant dangers to the Counties and their residents from the diversion of opioids for non-

   legitimate medical purposes and addiction to the same by consumers.

              772. The Distributor Defendants' acts and omissions imposed an unreasonable risk of

   harm to others separately and/or combined with the negligent and/or criminal acts of third

   parties.

              773. Plaintiffs are without fault and the injuries to the County and its residents would

   not have occurred in the ordinary course of events had the Distributor Defendants used due care

   commensurate to the dangers involved in the distribution of opioids.

              774.     As stated herein, the Distributor Defendants' breach of duty bears a causal

   connection with and/or proximately resulted in the harm and damages to Plaintiffs.

              775. As a direct and proximate result of the Distributor Defendants' actions, as set forth

   herein, Plaintiffs have suffered and continue to suffer injury and damages, including but not

   limited to, incurring excessive costs related to diagnosis, treatment, and cure of abuse and/or

   addiction or risk of addiction to opioids; bearing the massive costs of these illnesses and

   conditions by having to provide necessary resources for care, treatment facilities, and law

   enforcement associated with opioid addiction, abuse and diversion; and property damage.

                                         TENTH CAUSE OF ACTION
                                        Malicious and Intentional Conduct
                             (West Virginia Board of Pharmacy and Defendant Potters)

              776. Plaintiffs incorporate the allegations within all prior paragraphs within this

   Complaint as if they were fully set forth herein.

              777. At all relevant times, the BOP was charged with duties to protect Plaintiffs

   through the licensing, regulating, permitting, registering, inspecting and reviewing of

   pharmacists, pharmacies, distributors and/or manufactures who distribute and/or sell opioid
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   drugs or devices used m the dispensing and administration of opioid drugs within West

   Virginia.

          778. At all relevant times, Defendant Potters was the executive director for the BOP.

          779. The BOP and Defendant Potters owed a duty of care to Plaintiffs because, inter

   alia, it was foreseeable, and in fact known to the BOP and Defendant Potters, that their conduct

   would result in injuries and damages to Plaintiffs.

          780. The BOP and Defendant Potters were aware of the potentially dangerous situation

   involving opioids, including but not limited to the addiction, abuse and diversion that was

   occurring, and had actual knowledge that opioid drugs were being misused, abused, and

   diverted within the Counties and surrounding areas which caused damage to the Counties.

          78 1. For years, the BOP and Defendant Potters knew that the opioid drugs being

   distributed within the Counties were higbJy susceptible to addiction, misuse, abuse and/or

   diversion; opioid drug addiction, misuse, abuse and/or diversion bore a direct relationship to the

   amount and volume of opioids being distributed within the Counties; and that the opioid drugs

   which were being distributed in the Counties were being misused, abused and diverted across

   the country, including within the Counties.

          782. Defendants BOP and Potters were aware that the State of West Virginia filed a

   lawsuit against some of the Distributor Defendants named herein alleging that they shipped an

   excessively high number of opioid drugs into West Virginia and the Counties. The BOP - an

   agency of the State - and Defendant Potters were aware that the State of West Virginia claimed

   in its lawsuit that the large amount of opioid drugs distributed in West Virginia, including the

   Counties, was causing addiction, abuse and/or diversion within West Virginia, including the

   Counties. Upon information and belief, the BOP and/or Defendant Potters assisted in the

   preparation, discovery and/or prosecution of the State's lawsuit.
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          783. Upon information and belief, and based in part upon their participation in the

   lawsuit brought by the State, Defendants BOP and Potters had actual knowledge of the large

  amounts of opioid drugs being djstributed into West Virginia and in the Counties; that the

  Distributor Defendants were distributing, supplying and delivering opioids far in excess of the

  legitimate needs of the Counties and surrounding areas; that opioids were being abused,

  misused, and diverted throughout West Virginia and in the Counties because of the large and

  disproportionate number of opioid drugs that were being distributed, delivered, and supplied by

  the Distributor Defendants into West Virginia and the Counties; that the Distributor Defendants

   were required to report "suspicious" orders to Defendants BOP and Potters, who in tum, were

  required to review, investigate and/or report the "suspicious" orders; that the large and

  disproportionate number of opioid drugs delivered and distributed into West Virginia was

  causing injuries and damage to communities in West Virginia, includi ng the Counties; and that

  Plaintiffs and other counties throughout West Virginia were incurring and would continue to

  incur damage and injury if Defendants BOP and Potters did not appropriately act upon reports

  of "suspicious" orders.

          784. Subsequent to the commencement of the State's lawsuit, distributors of opioid

  drugs, including the Distributor Defendants, submitted approximately 7,200 reports of

  "suspicious" orders to Defendants BOP and Potters.

          785. The "suspicious" orders revealed to Defendants BOP and Potters that large

  amounts of opioid drugs were being distributed into West Virginia, including the Counties; that

   the opioid drugs were being regularly abused, misused, and diverted in the Counties; their

  duties and obligations under the Jaw required Defendants    BOP and Potters to investigate and

   report said "suspicious" orders; and Plaintiff Counties and other communities across West

   Virginia were and would continue to suffer harm and damages if the supply of opioid drugs was
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   not stopped and/or lessened. Despite this knowledge, Defendants BOP and Potters nonetheless

   willfully, recklessly, intentionally, maliciously, wantonJy, and in bad faith, ignored,

  disregarded, and breached their duties and failed to take any action.

          786. As a result of his Defendant Potters' disregard of his duties and obligations,

   Defendant Potters was fired as the Director ofthc Board of Pharmacy in 2017.

          787. At all relevant times, Defendants BOP and Potters had a duty to comply with all

  applicable laws and regulations and to fulfill their duties to protect Plaintiffs through

  compliance with their duties related to licensing, permitting and registration of all pharmacies,

  distributors and/or manufacturers of drugs within West Virginia.

          788. At all relevant times, and pursuant to clearly established West Virginia statutes,

  regulations, and other laws, Defendants BOP and Potters had a duty and obligation to:

             (a)   Dctermjne the qualifications of the Defendant distributors and phamlacies for
                   a license, permit and registration (W.Va. Code 30-5-6(d));

             (b)   Issue, renew, deny, suspend, revoke or reinstate the Defendant distributors and
                   pharmacies license, permit and registration (W.Va. Code 30-5-6(t));

             (c)   Investigate aJleged violations of the laws concerning the West Virginia
                   Pharmacy Practice Act, W.Va. Code 305-1 et. Seq. (W.Va. Code 30-5-6(1));

             (d)   Institute appropriate legal action to enforce the laws and regulations related to
                   the sale and/or distribution of controlled substances (W.Va. Code 30-5-6(0));

             (e)   Annually register and/or permit the Defendant djstributors and pharmacies to
                   distribute and/or sell drugs in West Virginia, including controlled opioid drugs
                   (W.Va. Code 60A-3-303; W.Va. CSR 15-2-3);

             (t)   Annually obtain and review information from the Defendant distributors and
                   pharmacies, and to determine whether the granting of a permit and/or
                   registration to distribute drugs in West Virginia is consistent with the public
                   interest (W.Va. CSR J5-2-3. l ; W.Va. CSR J 5-2-3.J l);

             (g)    Consider whether the Defendant rustributors and pharmacies have in place
                    effective controls against diversion of controlled substances into other than
                    legitimate medical, science, or industrial channels and the applicant's
                    compliance with state and local Jaw, including but not limited to, an
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                     adequately designed and operated system to disclose orders of controlled
                     substances that are suspicious because of their unusual size, deviation from
                     normal pattern or unusual frequency (W.Va. CSR 15-2-3.11 ; W.Va. Code
                     60A-3-303(a));

              (h)    Evaluate the overall security of the Defendant distributors and pharmacies
                     who apply for registration, including the requirement that registrants design
                     and operate a system to disclose orders of controlled substances that are
                     suspicious because of their unusual size, deviation from normal pattern or
                     unusual frequency (W.Va. CSR 15-2-4);

              (i)    Refuse to grant Defendant distributors or any pharmacy an annual permit
                     and/or registration when it is not in the public interests because the Defendant
                     distributors have not designed and/or maintained effective controls against
                     diversion of controlled substances into other than legitimate medical, science,
                     or industrial channels, and/or has not complied with state and local laws,
                     including but not limited to, the failure to design and operate a system to
                     disclose orders of controlled substances that are suspicious because of their
                     unusual size, deviation from normal pattern or unusual frequency (W.Va.
                     Code 60A-3-303(a));

              G)     Inspect pharmacies upon opening and then biennially to ensure that the
                     dispensing of prescription drugs is occurring according to federal and state
                     drug laws; and

              (k)    When necessary, enter and inspect Defendant distributors' premises and
                     request and audit their records and written operating procedures, to ensure
                     compliance with law (W.Va. CSRJ 5-2-3.11).

          789. At all relevant times, Defendants BOP and Potters breached their duties to

   Plaintiffs and violated clearly established statutes, regulations, and laws of West Virginia by,

   without limitation, intentionally, recklessly, maliciously, willfully, wantonly, and in bad faith:

              (a)    Failing to determine the qualifications of the Defendant distributors and other
                     pharmacies, for appropriate license, permit and registration in West Virginia;

              (b)    Failing to appropriately deny, suspend and/or revoke the license, permit and
                     registration of the Defendant distributors and other pharmacies in West
                     Virginia;

              (c)    Failing to investigate alleged violations of the laws concerning the West
                     Virginia Pharmacy Practice Act, W.Va. Code 30-5-1 et. Seq. (W.Va. Code 30-
                     5-6(1));


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           (d)    Failing to institute or cause the institution of appropriate legal action to
                  enforce the laws and regulations related to the sale and/or distribution of
                  controlled substances;

           (e)    Failing to properly register and/or permit the Defendant distributors and/or
                  other pharmacists, distributors and manufacturers who manufacture, distribute
                  and/or sold controlled opioid drugs in West Virginia;

           (f)    Failing to obtain and review information from the Defendants distributors
                  and/or other pharmacies and failing to determine that the permitting and/or
                  registration of the Defendant distributors and other pharmacies was
                  inconsistent with the public interest;

           (g)    Failing to consider whether the Defendants distributors and/or other
                  pharmacists had in place effective controls against diversion of controlled
                  substances into other than legitimate medical, science, or industrial channels
                  and the applicant's compliance with state and local law, including but not
                  limited to, an adequately designed and operated system to disclose orders of
                  controlled substances that are suspicious because of their unusual size,
                  deviation from normal pattern or unusual frequency;

           (h)    Failing to evaluate the overall security of the Defendant distributors and/or
                  other pharmacists who applied for registration, and failing to evaluate the
                  requirement that registrants design and operate a system to disclose orders of
                  controlled substances that are suspicious because of their unusual size,
                  deviation from normal pattern or unusual frequency;

            (i)   Failing to deny the annual permit and/or registration of the Defendant
                  distributors when it was clear that to otherwise issue a permit and allow their
                  registration was clearly not in the public interest because defendants did not
                  designed and/or maintained effective controls against diversion of controlled
                  substances into other than legitimate medical, science, or industrial channels,
                  and/or has not complied with state and local laws, including but not limited to,
                  the failure to design and operate a system to disclose orders of controlled
                  substances that are suspicious because of their unusual size, deviation from
                  normal pattern or unusual frequency;

            (j)   Failing to inspect pharmacies to ensure that the dispensing of prescription
                  drugs was occurring according to federal and state drug laws;

           (k)    failing to enter and inspect the D~fc::ndant distributors premises and audit their
                  records and written operating procedures, to ensure compliance with law;

            (I)   Knowingly and/or intentionally ignoring and failing to refer to the appropriate
                  law enforcement authorities reports that orders of controlled opioid drugs
                  were suspicious because of their unusual size, deviation from normal pattern
                  or unusual frequency;
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             (m)     Knowingly and/or intentionally fai ling to investigate large numbers of reports
                     that of orders of controlled opioid drugs that were suspicious because of their
                     unusual size, deviation from normal pattern or unusual frequency;

              (n)   Failing to consider the large number of reports of orders of controlled opioid
                    drugs that were suspicious because of their unusual size, deviation from
                    normal pattern or unusual frequency or the complete absence of such reports
                    when determining the qualifications of Defendant distributors or whether the
                    permitting or registration of Defendant distributors was inconsistent with the
                    public interest;

              (o)   Concealing from law enforcement authorities reports that certain orders of
                    controlled opioid drugs were suspicious because of their unusual size,
                    deviation from normal pattern or unusual frequency;

              (p)   Failing to investigate Defendant Distributors in order to determine whether
                    Defendants had effective controls against diversion in place.

          790. At all times material herein, Defendants BOP and Potters had the ability - and

   duty - to investigate, inspect, report, alert, limit, stop, and/or restrict the distribution of

   dangerous and improper opioid drugs into the Counties' communities. Nonetheless, Defendants

   IlOP and Potters intentionally, maliciously, and in bad faith, breached their duties and ignored

   the "suspicious" orders by stuffing them in a storage box.

          791. The aforesaid conduct of Defendants BOP and Potters, was intentional, reckless,

   malicious, willful, wanton, and in bad faith, and was further carried out with a conscious,

   reckless, and outrageous indifference to the health, safety, and welfare of Plaintiffs and other

   residents, citizens, counties, and communities across West Virginia.

          792. The aforesaid conduct of Defendants BOP and Potters proximately caused the

   harm and damages to Plaintiffs stated herein.

          793. Defendants BOP and Potters substantially contributed to the occurrence of the

   widespread opioid epidemic in the Counties. The opioid epidem ic in the Counties remains an

   immediate hazard to public health and safety and is a public nuisance which remains unabated.

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   Defendants BOP and Potters have further caused injury and hrum within the Counties; the

   effects of these Defendants' conduct were felt in the Counties; and improper and illegal opioids

   were diverted, consumed, and/or sold within the Counties as a proximate result of these

   Defendants' conduct.

          794. As a direct and proximate result of the actions, conduct and/or omissions of

   Defendants BOP and Potters, as set forth herein, Plaintiffs have suffered and continue to suffer

   injury and damages, including but not limited to, incurring excessive costs related to diagnosis,

   treatment, and cure of abuse and/or addiction or risk of addiction to opioids; bearing the

   massive costs of these illnesses and conditions by having to provide necessary resources for

   care, treatment facilities, and law enforcement associated with opioid addiction, abuse and

   diversion; and property damage.

                                 ELEVENTH CAUSE OF ACTION
                                             Negligence
                                       (The Doctor Defendants)

          795. Plaintiffs incorporate the allegations within all prior paragraphs within this

   Complaint as if they were fully set forth herein.

          796. The claims asserted in this Count of the Complaint do not arise from legitimate

   health care services rendered, or which should have been rendered, by a health care provider or

   health care faci lity to a patient. Additionally, the claims do not arise out of health care or health

   care services as because the claims involve the improper and illegal prescribing of opioid pain

   medications for no legitimate medical purpose. As such, Plaintiffs' claims arc not governed by

   the West Virginia Medical Professional Liability Act, W.Va. §§ 55-7B-1, et seq. (hereinafter

   "MPLA").




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          797. At all times material herein, the Doctor Defendants were licensed to practice

   medicine and/or nursing in the State of West Virginia and distributed, supplied, and diverted in

   the Counties or by residents of the Counties.

          798. The Doctor Defendants owed a duty of care to Plaintiffs in the distribution and

   supplying of highly dangerous and addictive opioids in the Counties and surrounding areas and

   to ensure that these dangerous drugs were not improperly diverted. Each Doctor Defendant

   owed Plaintiffs a duty to use reasonable care and to exercise due care to Plaintiffs and Plaintiffs'

   citizens because it was foreseeable, and in fact known to the Doctor Defendants, that their

   conduct would result in the injuries and damages to Plaintiffs.

          799. Defendant Milan was a physician licensed to practice medicine in the State of

   West Virginia, License No. 17798, which license was first issued in July 1994. At aJI times

   material herein:

              a) Dr. Milan repeatedly prescribed excessive amounts of prescription painkillers for
                 no legitimate medical reason. Defendant Milan also prescribed opioid pain pills
                 to people "off the books." Defendant Milan wrote thousands of illegal and
                 improper prescriptions, and over a few short years, her illegal drug activity
                 added up to a marijuana equivalent of about 4,200 kilograms. Additionally,
                 during one period of time, Dr. Milan had over 40% of her patients on near
                 deadly doses of a variety of drugs;

              b) A data review conducted by the State Board of Pharmacy also revealed that Dr.
                 Milan had at least 37 "patients" who were known by law enforcement to have
                 involvement in the illegal diversion of prescription pills. Not surprisingly, the
                 effects of Defendant Milan's drug conspiracy and pill mill were far reaching,
                 from the Counties in West Virginia all the way to Florida;

              c) Federal investigators believe that that Defendant Milan's illegal and improper
                 drug related activities have led to more than 10 overdose deaths, including
                 deaths by residents of the Counties;

              d) Defendant Milan was indicted by a federal grand jury sitting in the United State
                 Court for the Northern District of West Virginia and was charged with fe lony
                 conspiracy to distribute Schedule II and Schedule Ill controlled substances in
                 violation of applicable law. Dr. Milan subsequently pied no contest to the
                 following charges: one count of "Maintaining a Drug Involved Premises," one
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                     count of "Distribution of Schedule III and IV Substances," one count of
                     "Distribution of Schedule Il and IV Substances," and two counts of "Distribution
                     of Schedule II Controlled Substances." She was sentenced to five years in
                     prison;

                e) During Defendant Milan's sentencing hearing, a federal judge described
                   Defendant Milan's conduct as "literally horrendous" and ordered Defendant
                   Milan to pay restitution in the amount of $3,206.63 for the funeral expenses of a
                   46-year-old Bridgeport businessman whose death was found "to have been
                   proximately caused by Dr. Milan;" 147

                f) As a result of her conduct, the West Virginia Board of Medicine entered a
                   Consent Order declaring that it is in the public interest to permit Dr. Milan to
                   surrender her West Virginia medical license. Dr. Milan forever relinquished her
                   license to practice medicine and surgery in the State of West Virginia, and is
                   ineligible for reinstatement or reactivation in the future; and

                g) Dr. Milan, to a reasonable degree of medical probability, breached and/or
                   violated the applicable standard of care in that she prescribed excessive amounts
                   of prescription painkillers for no legitimate medical reason and prescribed opioid
                   pain pills to people "off the books."

            800. Defendant Duffy was a physician licensed to practice medicine in the State of

   West Virginia, License No. 19978, which license was first issued in on September 1999. At all

   times material herein:

                  a) Defendant Duffy regularly prescribed prescription pain.killers for no legitimate
                     medical reason;

                  b) Defendant Duffy also signed blank prescription orders and allowed unJicensed
                     members of her staff to issue prescriptions for narcotics to patients despite the
                     fact that they weren't seen by a physician;

                  c) Defendant Duffy was indicted on 100 felony counts of illegally distributing
                     oxycodone, oxymorphone, methadone, and methylpheoidatc; and

                  d) Defendant Duffy subsequently plcd guilty to seven counts of "Aiding and
                     Abetting the Distribution of Oxycodone.'' Dr. Duffy was also required to
                     relinquish her medicaJ License and is prohibited from ever reapplying for a
                     license to practice medicine in West Virginia or any other state.



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      https://www.theet.com/news/locaUdr-edita-m iIan-sentenced-to-fl ve-years-i n-prison-for/article_29809b80-efe9-
  59 f3-bec l-07976e98a06f.html
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          801. Defendant Menez was a physician licensed to practice medicine in the State of

   West Virginia, License No. 16966, which license was first granted on July 13, 1992. At all

   times material herein:

              a) Defendant Menez prescribed prescription painkillers fo r no legitimate medjcal
                 reason and further wrote prescriptions for Fentanyl and oxycodone in exchange
                 for coerced sexual intercourse, oral sex, and manual masturbation;

              b) Defendant Menez was arrested and charged with 15 felony counts of delivery of
                 a Schedule U controlled substance and subsequently lost his Drug Enforcement
                 Administration registration; and

              c) The West Virginia Board of Medicine entered a Consent Order declaring that it
                 is in the public interest to permit Dr. Menez to surrender hls West Virginia
                 medical license. Dr. Menez forever relinquished his license to practice medicine
                 and surgery in the State of West Virginia, and is ineligible for reinstatement or
                 reactivation in the future.

          802. Defendant Feathers was a physician licensed to practice podiatry in the State of

  West Virginia, License No. 181, which license was first issued in on September 4, 1981. At aJJ

  times materially herein:

               a) Defendant Feathers regularly prescribed prescription painkillers for no
                  legitimate medical reason;

               b) As a result of his actions, Defendant Feathers was arrested and charged with
                  felony counts of "Delivery of a Controlled Substance" and "Possession of a
                  Controlled Substance with Intent to Deliver" by unlawfully, intentionally, and
                  feloniously delivering of Hydrocodone, a Schedule II controlled substance;

               c) According to the criminal documents, Defendant Feathers' allowed and/or
                  required his employees to work in exchange for narcotic prescriptions. His
                  employees were then required to return a large portion of the narcotics to
                  Defendant Feathers but allowed to keep the remainfog pills. Defendant Feathers
                  then sold prescription pills from the back door of his office/residence;

               d) Criminal documents furthc:r demonstrate that Defendant Feathers wrote
                  recurring prescriptions for a number of controlled narcotics and
                  benzodiazepines, including hydrocodone and oxycodone without any legitimate
                  medfoal need. Defendant Feathers subsequently pied guilty to the felony
                  offense of"Delivery of a ControUed Substance";



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                e) As a result of the aforementioned conduct, the West Virginia Board of
                   Medicine unanimously voted that it is an ''imminent danger to the health,
                   welfare, and safety of the public" for Defendant Feathers to hold a medical
                   license to practice podiatry in the State of West Virginia and suspended his
                   license. The Board subsequently revoked Defendant Feathers' license to
                   practice podiatry in the State of West Virginia.

           803. Defendant Beaver was licensed to practice as a physician assistant in the State of

   West Virginia, License No. 00630. At all times material herein:

               a) Defendant Beaver wrote prescriptions for herself and others by forging her
                  supervising physician's signature and wrote prescriptions for controlled
                  substance for which she had no authority to write; and

              b) A warrant for Defendant Beaver's arrest was issued for her knowingly and/or
                 intentional ly acquiring or obtaining possession of a controlled substance by
                 misrepresentation, fraud, forgery, deception, or subterfuge in violation of W.Va.
                 Code § 60A-4-403(a)(3). Upon information and belief, Defendant Beaver pled
                 guilty and/or no contest to violating W.Va. Code§ 60A-4-403(a)(3).

           804. At all times material herein, the Doctor Defendants negl igently and recklessly

   breached their duty of care to Plaintiffs and further deviated from the applicable standard of

   care by, but not limited to:

                (a)   Engaging in office-based dispensing in violation of West Virginia laws and
                      regulations governing the office based dispensing of opioid drugs;

                (b) Prescribing, dispensing, administering, mixing or otherwise preparing a
                    prescription drug, including any controlled substance under state law, other
                    than in good faith and in a therapeutic manner in accordance with accepted
                    medical standards;

                (c) Prescribing in such amounts that the Defendant Doctors knew or had reason to
                    know, under the attendant circumstances, that the amounts prescribed or
                    dispensed are excessive under accepted and prevailing medical practice
                    standards;

                (d) Prescribing with tbt: intent or knowledge that a controlled substance will be
                    used or is likely to be used other than medicinally or for an accepted
                    therapeutic purpose;

                (e) Prescribing with the intent to evade any Jaw with respect to the sale, use or
                    disposition of the controlled substances;

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                 (f)    Prescribing or dispensing a controlled substance for the Defendant Doctor's
                        personal use, or for the use of his or her immediate family when the
                        Defendant Doctor knows or bas reason to know that an abuse of controlled
                        substance(s) is occurring, or may result from such a practice;

                 (g) Prescribing controlled substances for individuals without establishing an
                     appropriate physician-patient relationship and/or without conducting
                     appropriate examinations or office visits to determine whether such
                     prescriptions, or continued prescriptions, were justified; and/or

                 (h) Other acts known and unknown.

          805. The Defendant Doctors, for their own profit, greatly contributed to the occurrence

  of the widespread opioid epidemic in the Counties. The opioid epidemic in the Counties

  remains an immediate hazard to public health and safety and is a public nuisance which remains

  unabated. The Doctor Defendants have further caused injury and harm within the Counties; the

  effects of the Doctor Defendants' conduct were felt in the Counties; and the improper and

  illegal prescriptions written by the Doctor Defendants' were diverted, consumed, and/or sold

  within the Counties.

          806.         As a direct and proximate result of the Doctor Defendants' actions, as set forth

  herein, Plaintiffs have suffered and continue to suffer injury and damages, including but not

  limited to, incurring excessive costs related to diagnosis, treatment, and cure of abuse and/or

  addiction or risk of addiction to opioids; bearing the massive costs of these illnesses and

  conditions by having to provide necessary resources for care, treatment facilities, and law

  enforcement associated with opioid addiction, abuse and diversion; and property damage.

                                   TWELFTH CAUSE OF ACTION
                               Medical Malpractice - Pied in the Alternative
                                        (The Doctor Defendants)

          807. Plaintiffs incorporate the allegations within all pnor paragraphs within this

   Complaint as if they were fully set forth herein.


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          808. The claims asserted in this Count of the Complaint only apply to the extent the

   Court determjnes that Plaintiffs' causes of action are governed by the Medical Professional

   Liability Act, W.Va. Code§§ 55-78-1, et seq.

          809. Plaintiffs properly served upon the Doctor Defendants a statement specifically

   setting forth the basis of the alleged liability of the Doctor Defendants pursuant to W.Va. Code

   § 5S-7B-6(c).

          810. At all times material herein, the Doctor Defendants failed to exercise that degree

   of care, skill, and learning required or expected of reasonable and prudent health care providers

   and/or deviated from acceptable standards of care by, without limitation:


               (a)   Engaging office based dispensing in violation of West Virginia law and
                     regulations governing the office based dispensing of opioid drugs;

               (b) Prescribing, dispensing, administering, mixing or otherwise preparing a
                   prescription drug, including any controlled substance under state law, other
                   than in good faith and in a therapeutic manner in accordance with accepted
                   medical standards;

               (c)   Prescribing in such amounts that the Defendant Doctors knew or had reason to
                     know, under the attendant circumstances, that the amounts prescribed or
                     dispensed are excessive under accepted and prevail ing medical practice
                     standards;

               (d) Prescribing with the intent or knowledge that a controlled substance will be
                   used or is likely to be used other than medicinally or for an accepted
                   therapeutic purpose;

               (e) Prescribing with the intent to evade any law with respect to the sale, use or
                   disposition of the controlled substances;

               (f)   Prescribing or dispensing a controlled substance for the Defendant Doctor's
                     personal use, or fo r lhe use of his or her immediate family when the
                     Defendant Doctor knows or bas reason to know that an abuse of controlled
                     substancc(s) is occurring, or may result from such a practice;

               (g) Prescribing controlled substances for individuals without establishing an
                   appropriate physician-patient relationship and/or without conducting

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                     appropriate examinations or office visits to determine whether such
                     prescriptions, or continued prescriptions, were justified; and/or

                (h) Other acts known and unknown.

            811. The Doctor Defendants further rendered health care services m willful and

   wanton or reckless disregard of a foreseeable risk of harm to Plaintiffs and the Counties, as the

   public health dangers associated with the diversion and abuse of prescription opioids are well-

   known.

            812. To a reasonable degree of medical probability, the Doctor Defendants' deviations

   of the standards of care, individually and/or in combination therefore, have caused and/or

   contributed to the creation of hazards to the public health and safety to the citizens of the

   Counties and have further created a public nuisance in the Counties.

            813. To a reasonable degree of medical probability, as a direct and proximate result of

   the Doctor Defendants' actions, as set forth herein, Plaintiffs have suffered and continue to

   suffer injury and damages, including but not limited to, incurring excessive costs related to

   diagnosis, treatment, and cure of abuse and/or addiction or risk of addiction to opioids; bearing

   the massive costs of these illnesses and conditions by having to provide necessary resources for

   care, treatment facilities, and law enforcement associated with opioid addiction, abuse and

   diversion; and property damage.

                                      PUNITIVE DAMAGES

            814. Plaintiffs incorporate the allegations within all pnor paragraphs within this

   Complaint as if they were fully set forth herein.

            815. The acts, omissions, and/or conduct of Defendants as described herein, were

   willful, wanton, and malicious and/or reckless and/or done with criminal indifference to the




                                                  267
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 270 of 348 PageID #: 302



  civil rights of others, specifically inclucLing the herein Plaintiffs, and warrant the assessment of

  punitive damages.

          816. The acts, omissions, and/or conduct of Defendants, as described herein, were

  further carried out with actual malice towards the herein Plaintiffs and/or were done with a

  conscious, reckless, and outrageous indifference to the health, safety, and welfare of others.

          817. Punitive damages are justified to punish Defendants for their willful, wanton,

  malicious, and/or reckless conduct which caused and/or contributed to the injuries and/or

  damages of the herein Plaintiffs.

         818. Punitive damages will serve to deter these Defendants and other reckless

  companies/individuals from conducting business in West Virginia in this reckless and unsafe

  manner and profiting from such reprehensible conduct.

                                            DAMAGES

         819. As a direct and proximate result of the Defendants' actions, conduct, and

  omissions, as set forth herein, Plaintiffs have suffered and continue to suffer injury and

  damages, including but not limited to, incurring excessi vc costs related to diagnosis, treatment,

  and cure of abuse and/or addiction or risk of addiction to opioids; bearing the massive costs of

  these illnesses and conditions by having to provide necessary resources for care, treatment

  facilities, and law enforcement associated with opioid addiction, abuse and diversion; and

  property damage.

         820. Plaintiffs have further suffered economic and noneconomic damages, inclucLing

  damages and cost!) nece!)!)ary to eliminate lhe hazard to public health and !)afety and to abate, or

  cause to be abated, the public nuisance caused by the opioid epidemic, as well as any other

  damage as may be available under West Virginia law.


                                                 268
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 271 of 348 PageID #: 303



         WHEREFORE, Plaintiffs demand judgment against Defendants, jointly and severally,

  for:

                (A)     An amount of compensatory damages determined by a judge or jury
                        according to the laws of the State of West Virginia;

                (B)     An amount of punitive damages determined by a j udge or jury according
                        to the laws of the State of West Virginia;

                (C)     Pre-judgment and post-judgment interest as provided under the law;

                (D)     Costs and attorney fees expended in the prosecution of this matter; and

                (E)     Any and all further relief as a court and/or jury deem just and proper.

         The minimum j urisdictional amount established for filing this action is satisfied.
                         PLAINTIFFS DEMAND A TRIAL BY JURY.

                                              Respectfully Submitted,

                                               BROOKE COUNTY COMMISSION,
                                               HANCOCK COUNTY COMMISSION,
                                               HARRISON COUNTY COMMISSION, LEWIS
                                               COUNTY COMMISSJON, MARSHALL
                                               COUNTY COMMISSION, OHIO COUNTY
                                               COMMISSION, TYLER COUNTY
                                               COMMlSSION, and WETZEL COUNTY
                                               COMMJSSION,
                                               Plaintiffs

                                        By:
                                                                 ons (WV Bar # 1212)
                                               Clayton J. Fitzs1  ons (V..'V Bar# 10823)
                                               Mark A. Colantonio (WV Bar #4238)
                                               FITZSIMMONS LAW FIRM PLLC
                                               1609 Warwood Avenue
                                               Wheeling, WV 26003
                                               Telephone: (304) 277-1700
                                               Fax: (304) 277-1705

                                               ls/Paul J Napoli
                                               Paul J. Napoli
                                               (Motion/or Pro Hae Vice fo be filed)
                                               Hunter J. Shkolnik
                                               (Motion/or Pro Hae Vice to be filed)
                                               Joseph L. Ciaccio
                                                  269
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 272 of 348 PageID #: 304



                                     (Motion/or Pro Hae Vice to be filed)
                                     Shayna E. Sacks
                                     (Motion/or Pro Hae Vice to be filed)
                                     Salvatore C. Badala
                                     (Motion/or Pro Hae Vice to be.filed)
                                     NAPOLI SHKOLNIK, PLLC
                                     400 Broadhollow Road- Suite 350
                                     Melville, New York 11747
                                     Telephone: (212) 397-1000
                                     Fax: (646) 843-7986

                                     Jonathan E. Turak (WV Bar# 3816)
                                     GOLD, KHOUREY & TURAK
                                     510 Tomlinson Ave.
                                     Moundsville, WV 26041
                                     Telephone: (304) 845-9750
                                     Fax: (304) 845-1 286

                                     Daniel J. Guida, Esq. (WV Bar #4604)
                                     GUIDA LAW OFFICE
                                     3374 Main St.
                                     Weirton, WV 26062
                                     Telephone: (304) 748-1213

                                     Joseph F. Shaffer (WV Bar# 6805)
                                     Samuel D. Madia (WV Bar# 10819)
                                     SHAFFER MADIA LAW PLLC
                                     343 West Main Street
                                     Clarksburg, WV 26301
                                     Telephone: (304) 622-1100
                                     Fax: (304) 622-1145

                                     Counsel for Plaintiffs




                                       270
 Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 273 of 348 PageID #: 305

                       CIVIL CASE INFORMATION STATEME!i1T ;                                         ... _
                                   CIVIL CASES            J

                                     (Other than Domestic Relations)
                                                                                 r·-
                                                                               2el7 o::c 13 M1 10: 38
                         In the Circuit Court of Marshall County, West Virginia
                                                                                                           .,
                                                                                                       "    '



I.     CASE STYLE:                                   Civil Action No. 17-C-    dlf 8 fr
Plaintiff(s)                                         Civi l Action No. 17-C-   ;)l{ 9      t+
BROOKE COUNTY COMM ISS ION;                          Civi l Action No. 17-C-    ;)50       tt
HANCOCK COUNTY COMMISSION ;
HARRISON COUNTY COMMISS ION;
LEWIS COUNTY COMMISS ION;
                                                     Civil Action No. 17-C-     J.S l     rt
MARSHALL COUNTY CO MMI SS ION;                       Civil Action No. 17-C-     ;)5;)     'ff
OHIO COUNTY COMMI SSION;
TYLER COUNTY COMMI SS ION; and                       Civil Action No. 17-C-    J53 -ff--
WETZEL COUNTY COMMISSION
                                                     Civi l Action No. 17-C-   JS l/ ff
vs.
                                                     Civil Action No. 17-C-     ~55          ~
                                                     Days to
Defendant(s)                                         Answer                    Type of Service

PURDUE PHARMA L.P.                                   30                        W.Va. Secretary of State
c/o Corporation Service Company
209 West Washington Street
Charleston, West Virginia 25302

PURDUE PHARMA INC.                                   30                        W.Va. Secretary of State
One Stamford Forum
Stamford, Connecticut 0690 I
(Principal Place of Business)

THE PURDUE FREDERICK COM PANY, INC.                  30                        W.Ya. Secretary of State
One Stamford Forum
Stamford, Connecticut 0690 I
(Principal Place of Business)

MARK RADCUFFE                                                                  Withhold service at this time

MARK ROSS                                                                      Withhold service at this time

PATTY CARNES                                                                   Withhold service at this time

TEVA PHARMACEUTICALS USA, INC.                       30                        W.Ya. Secretary of State
c/o Corporate Creations Network Inc.
5400-D Big Tyler Road
Charleston, West Virginia 25313
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 274 of 348 PageID #: 306

CEPHALON, INC.                                      30     W.Va. Secretary of State
41 Moores Road
Frazer, Pennsylvania 193 SS
(Principal Place of Business)

JANSSEN PHARMACEUTICALS, INC.                       30     W.Va. Secretary of State
I I2S Trenton-Harbourton Road
Titusville, New Jersey 08S 60
(Principal Place of Business)

ORTHO-MCN EIL-J ANS SEN                             30     W.Va. Secretary of State
 PHARMACEUTICALS, INC.
I I2S Trenton-Harbourton Road
Titusville, New Jersey 08S60
(Principal Place of Business)

JANSS EN PHARMACEUTICA, INC.                        30     W.Va. Secretary of State
I 12S Trenton-Harbourton Road
Titusville, New Jersey 08S60
(Principal Place of Business)

JOHNSON & JOHNSON                                   30     W.Va. Secretary of State
One Johnson & Johnson Plaza
New Brunswick, New Jersey 08933
(Principal Place of Business)

ENDO HEALTH SOLUTIONS INC.                          30     W.Va. Secretary of State
1400 Atwater Drive
Malvern, Pennsylvania 193SS
(Principal Place ofBusiness)

ENDO PHARMACEUTICALS, INC.                          30     W.Va. Secretary of State
c/o CT Corporation System
S400 D Big Tyler Road
Charleston, West Virginia 2S313

ALLERGAN pie                                        30     W. Va. Secretary of State
Morris Corporate Center II I
400 Interpace Parkway
Parsippany, New Jersey 07054
(U.S. Headquarters - Principal Place of Business)

ACTAVIS pie                                         30     W.Va. Secretary of State
Morris Corporate Center Ill
400 Interpace Parkway
Parsippany, New Jersey 07054
(U.S. Headquarters - Principal Place of Business)

ACTAVIS, INC.                                       30     W.Va. Secretary of State
Morris Corporate Center III
400 Interpace Parkway
Parsippany, New Jersey 07054
(Principal Place ofBusiness)
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 275 of 348 PageID #: 307

ACTAVJS LLC                                            30    W.Va. Secretary of State
Morris Corporate Center Ill
400 Interpace Parkway
Parsippany, New Jersey 07054
(Principal Place of Business)

ACTA VIS PHARMA, INC.                                  30    W.Va. Secretary of State
c/o Corporate Creations Network, Inc.
5400-D Big Tyler Road
Charleston, West Virginia 25313

WATSON PHARMACEUTICALS, INC.                           30    W.Ya . Secretary of State
2455 Wardlow Road
Corona, California 92880
(Principal Place ofBusiness)

WATSON PHARMA INC.                                     30    W.Ya. Secretary of State
c/o CT Corporation System
5400 D Big Tyler Road
Charleston, West Virginia 25313

WATSON LABORATORJES, INC.                              30    W.Va. Secretary of State
2455 Wardlow Road
Corona, California 92880
(Principal Place of Business)

MCKESSON CORPORATLON                                   30    W.Va. Secretary of State
c/o Corporation Service Company
209 West Washington Street
Charleston, West Virginia 25302

CARDINAL HEALTH, IN C.                                 30    W.Va. Secretary of State
7000 Card inal Place
Dublin, Ohio 43017
(Principal Place ofBusiness)

AMERISOU RCEBERGEN DRUG CORPORATLON                    30    W.Va. Secretary of State
c/o CT Corporation System
5400 D Big Tyler Road
Charleston, West Virginia 25313

RJTE AID OF MARYLAND, INC.                              30   W.Ya. Secretary of State
d.b.a. Rite Aid Mid-Atlantic Customer Support Center, Inc.
c/o CT Corporation System
5400 D Big Tyler Road
Charleston, West Virginia 25313

KROGER LIM ITED PARTNERSHIP 11                         30    W.Va. Secretary of State
c/o Corporation Service Company
209 West Washington Street
Charleston, West Virgin ia 25301
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 276 of 348 PageID #: 308

CVS INDIANA, L.L.C.                                30            W.Va. Secretary of State
c/o CT Corporation System
5400 D Big Tyler Road
Charleston, West Virginia 25313

WAL-MART STORES EAST, LP                           30            W. Va. Secretary of State
c/o CT Corporation System
5400 D Big Tyler Road
Charleston, West Virginia 25313

GOODWIN DRUG COMP ANY                              30            W.Va. Secretary of State
c/o William M. Albers, Sr.
1410 Main Street
Wheeling, West Virginia 26003

WEST VIRGINIA BOARD OF PHARMACY                    30            W.Va. Secretary of State
c/o David E. Potters, Executive Director
23 I 0 Kanawha Boulevard East
Charleston, WY 253 I I

WEST VIRGINIA BOARD OF PHARMACY                    20            Certified Mail through
c/o Patrick Morrisey                                             Circuit Clerk
Attorney General
State Capitol Complex
Bldg. l , Room E-26
Charleston, West Virginia 25305

DAVID POTTERS                                            Withhold service at this time

EDITA P. MTLAN, M.D.                               30    W.Va. Secretary of State
9024 N. Camden Drive
Elk Grove, California 95624-3063

TRESSIE MONTENE DUFFY, M.D.                        20    Sheriff of Berkeley County, WV
808 Jerry Court
Ma1tinsburg, West Virginia 2540 I

EUGENIO ALDEA MENEZ, M.D.                          20    Sheriff of Marion County, WV
16 Woodcliff Drive
Fairmont, West Virginia 26554

SCOTT JAMES FEATHERS, D.P.M.                       20    Sheriff of Wood County, WV
1128 Washington Garden Circle
Washington, West Virginia 26181

AMY LYNN BEAVER, P.A.-C                            20    Sheriff of Ohio County, WV
57 Pleasant View Avenue
Wheeling, West Virginia 26003

Original and 93 copies of complaint enclosed/attached.
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 277 of 348 PageID #: 309

Plaintiff:       Brooke County Commission, et al.           Case Number:
Defendant:       Purdue Pharma L.P., et al.

II.     TYPE OF CASE:

        ~General Civi l                                     0Adoption

        0    Mass Litigation                                0   Administrative Agency Appea l
             (As defined in T.C.R. Rule XIX (c))
                                                            0   Civil Appeal from Magistrate Court
                     Asbestos
                     Carpa l Tunnel Syndrome                0   Miscellaneous Civil Petition
                     Diet Drugs
                     Envi ronmental                         0   Mental Hygiene
                     Industrial Hearing Loss
                     Silicone Implants                      0   Guardianship
                     Other: - - - -
                                                            0   Medical Malpractice
        0    Habeas Corpus/Other Extraordinary Writ

        Oother: _ _ __ _ __ _ __


III.    JURY DEMAND:              [gl Yes
        CASE WfLL BE READY FOR TRIAL BY (MONTH/YEAR):                       -----''- - - -

IV.     DO YOU OR ANY OF YOUR CLIENTS OR WITNESSES IN THIS CASE REQUIRE
        SPECIAL ACCOMMODATIONS D UE TO A DISABILITY?    Yes l8]No           0
                 IF YES, PLEASE SPECIFY:
                       Wheelchair accessible hearing room and other facilities
                       Interpreter or other auxiliary aid for the hearing impaired
                       Reader or other auxiliary aid for the visually impaired
                       Spokesperson or other auxiliary aid for the speech impaired
                       Other:
                                 ~-----------------~


Attorney Name: Clayton J. Fitzsimmons                 Representing:
Firm:          Fitzsimmons Law Firm PLLC              ~ Plaintiffs    0Defendant
Address:       1609 Warwood Avenue                    D                    0
                                                        Cross-Complainant Cross-Defendant
               Wheeling, WV 26003
Telephone:     (304) 277-1 700

Dated: December 13, 2017

0       Proceeding Without an Attorney
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 278 of 348 PageID #: 310

                                                           r
Office of the Secretary of State                           '
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305                                   ,   ,,..   ..
                                                       ~~:f 1.. •. ,~ I
                                                                       ,....




                                                                                                          Mac Warner
                                                                                                       secretary of State
                                                                                                      State of West Virginia
                                                                                                    Phone: 304-558-6000
                                                                                                             886-767-8683
                                                                                                          Visit us onllne:
JOSEPH M. RUCKI                                                                                           www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041 -2129




   Control Number : 207608
             Defendant: EDITA P. MILAN, M.D.                                        County: Marshall
                        9024 N CAMDEN DRIVE
                        ELK GROVE, CA 95624 US                                  Civ il Action: 17-C-248
                                                                       Certified Number : 92148901125134100002205406
                                                                               Service Date: 12/19/2017


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in your name and on your behalf.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process in your name and on your behalf as your attorney-in-fact. Please address any questions about this document
directly to the court or the plaintiffs attorney, shown in the enclosed paper, not to the Secretary of State's office.




Sincerely,




Mac Warner
Secretary of State
     Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 279 of 348 PageID #: 311
                                                  CIVIL SUMMONS

                      IN THE CffiCUIT COURT OF MARSHALL COUNTY,WEST VIRGINIA

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                                                                                                                            ~o ,..

      BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
      COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; omo
      COUNTY COMMISSION; TYLER COUNTY COI\1MISSION; and WETZEL COUNTY COMMISSION
                    Plaintiffs

      v.
                                            CIVlL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

      PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
      MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
                   Defendants


      IN THE NAME OF THE STATE OF WEST Vffi.GINIA, you are hereby Summoned and required to serve upon

      CLAYTON J. FITZSIMMONS, C/O FITZSIMMONS LAW FIRM PLLC, whose address is 1609

      W ARWOOD A VENUE, WHEELING, WV 26003 an ANSWER including any related counterclaim you may

      have to the complaint filed against you in the above styled civil action, a true copy of which is herewith delivered

      to you. You are required to serve your answer within 30 days after service of this summons upon you, exclusive of

      the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the

      complaint and you will be thereafter barred from asserting in another action any claim you may have which must be

      asserted by counterclaim in the above styled civil action.




                                                            yt:/;;Mi£L~
      Dated    December 13th, 2017

                                                                                                           Clerk
                                                                                                           Deputy


                                                                                                                              ·· ::--:-
                                                                                                                                  ·-.
      Please Serve:

                                                                                                                                       ,_..,
                                                                                                                                       _ ,
                                                                                                                              I      r .-'-'
                                                                                                                                  'l
       EDITA P. MILAN, M.D.
      9024 N. CAMDEN DRIVE
ELK GROVE, CALIFORNIA 95624-3063
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 280 of 348 PageID #: 312
                                                           !"•   I+   o   ~



Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305




                                                                                                             Mac Warner
                                                                                                         secretary Of state
                                                                                                        Stale of West Virginia
                                                                                                      Phone: 304-558-6000
                                                                                                               886-767-8683
                                                                                                              Visit us online:
JOSEPH M. RUCKI                                                                                              www.wvsos.oom
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




    Control Number: 207607                                                              Agent: C. T . Corporation System
             Defendant: AMERISOURCEBERGEN DRUG                                         County: Marshall
                        CORPORATION
                        5400 D Big Tyler Road                                      Civil Action: 17-C-248
                        CHARLESTON, WV 25313 US                               Certified Number: 92148901125134100002205390
                                                                                  Service Date: 12/19/2017


I am enclosing:

      1 s ummons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in the name and on behalf of your corporation.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process in the name and on behalf of your corporation as your attorney-in-fact. Please address any questions about this
document directly to the court or the plaintiff's attorney, shown in the enclosed paper, not to the Secretary of State's office.




Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 281 of 348 PageID #: 313
                                             CIVIL SUMMONS

                 IN THE CIRCUlT COURT OF MARSHALL COUNTY, WEST VIRGINIA
                                                                           ,.,, •- r -:- • ,-_
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 BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
 COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSiON; omo
 COUNTY COMMISSION; TYLER COUNTY CO~MISSION; and WETZEL COUNTY COMMISSION
               Plaintiffs

 v.
                                       CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

 PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
 MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
              Defendants


 IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby Summoned and required to serve upon

 CLAYTON J. FITZSIMMONS, C/O FITZSIMMONS LAW FIRM PLLC. whose address is 1609

 WARWOOD AVENUE, WHEELING, WV 26003 an ANSWER including any related counterclaim you may

 have to the complaint filed against you in the above styled civil action, a true copy of which is herewith delivered

 to you. You are required to serve your answer within 30 days after service of this summons upon you, exclusive of

 the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the

 complaint and you will be thereafter barred from asserting in another action any claim you may have which must be

 asserted by counterclaim in the above styled civil action.



 Dated    December 13 111, 2017




                                                                                                 ( .' 1




 Please Serve:



AMERISOURCEBERGEN DRUG CORPORATION                    ~
      C/O CT CORPORATION SYSTEM
         5400 D BIG TYLER ROAD
         CHARLESTON, WV 25313
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 282 of 348 PageID #: 314

Office of the Secretary of State                    .: -·.
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305                              •. - r ~ •        ')    I r•· 9: 47
                                                  -I - • I -•   ., '--•




                                                                                                           Mac Warner
                                                                                                           secretary of State
                                                                                                        Stat& of West Virginie
                                                                                                     Phone: 304-558-6000
                                                                                                            886-767-8683
                                                                                                          Visit us online:
JOSEPH M. RUCKI
                                                                                                          www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville , WV 26041-2129




   Control Number: 207605                                                               Agent: C. T. Corporation System
             Defendant: CVS INOIANA, L.L.C.                                          County: Marshall
                       5400 0 Big Tyler Road
                       CHARLESTON, WV 25313 US                                   Civil Action : 17-C-248
                                                                            Certified Number: 92148901125134100002205376
                                                                                Service Date: 12/19/2017


I am enclosing:

       1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in your name and on your behalf.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process in your name and on your behalf as your attorney-in-fact. Please address any questions about this document
directly to the court or the plaintiff's attorney, shown in the enclosed paper, not to the Secretary of State's office.




Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 283 of 348 PageID #: 315
                 •.   ;;   I
                                                                        CIVIL SUMMONS

                               IN THE CIRCUIT COURT OF MARSHALL COUNTY, WEST VIRGINIA


 BRooiii              :tb~~i J~Mtls110N;
                            HANCOCK COUNTY COMMISSION; HARRISON COUNTY
 COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; OHIO
 COUNTY COMMISSION; TYLER COUNTY COJ\1MISSION; and WETZEL COUNTY COMMISSION
               Plaintiffs

 v.
                                                                 CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

 PURDUE PHARMA L.P., PURDUE PHARMA INC., IBE PURDUE FREDERICK COMPANY, INC.,
 MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
              Defendants


 IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby Summoned and required to serve upon

 CLAYTON J . FITZSfMMONS, C/O FITZSIMMONS LAW FIRM PLLC, whose address is 1609

 W ARWOOD A VENUE, WHEELING, WV 26003 an ANSWER including any related counterclaim you may

 have to the complaint filed against you in the above styled civil action, a true copy of which is herewith delivered

 to you. You are required to serve your answer within 30 days after service of this summons upon you, exclusive of

 the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the

 complaint and you wi ll be thereafter barred from asserting in another action any claim you may have which must be

 asserted by counterclaim in the above styled civil action.



 Dated ---'D=--e=-=c'-"-e=m=b=er'-1=-=3'-th.._,=-20"'"'1:. .;.7_ _ __

                                                                                                             Clerk

                                                                                                              Deputy




 Please Serve:                                                                                                          .
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                                                                                                                               _;>
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                                                                                                                            -· ;r-



     CVS \ND\ANA, LLC. EM
        ORPORAi\ON SYS'f
C/0 Ci CD B\G TYLER. ROAD
      5400                                              313
      CHARLESTON, WV 25
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 284 of 348 PageID #: 316

Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston , WV 25305                     ...~, -I ..r ,_ . (..? I
                                          ~ -I                     f! '' S: 48



                                                                                                             Mac Warner
                                                                                                           Secretary of State
                                                                                                         state of West Virginia
                                                                                                     Phone: 304-558-6000
                                                                                                            886-767-8683
                                                                                                          Visit us online:
JOSEPH M. RUCKI                                                                                              www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041 -2129




    Control Number: 207606                                                             Agent: C. T. Corporation System
             Defendant: RITE AID OF MARYLAND, INC.                                    County: Marshall
                        5400 D Big Tyler Road
                        CHARLESTON, WV 25313 US                                   Civil Action: 17-C-248
                                                                           Certified Number: 92148901125134100002205383
                                                                                 Service Date : 12/19/2017


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in the name and on behalf of your corporation.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process in the name and on behalf of your corporation as your attorney-in-fact. Please address any questions about this
document directly to the court or the plaintiffs attorney, shown in the enclosed paper, not to the Secretary of State's office.




Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 285 of 348 PageID #: 317
                                                             CIVIL SUMMONS .

                        IN THE CIRCUIT COURT OF MARSHALL COUNTY, WEST VIRGINIA


 BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
 COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; OHIO
 COUNTY COMMISSION; TYLER COUNTY COl\JMISSION; and WETZEL COUNTY COMMISSION
               Plaintiffs

 v.
                                                       CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

 PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
 MARK RADCLIFFE, MARK ROSS, PATIY CARNES, et al.
              Defendants


 IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby Summoned and required to serve upon

 CLAYTON J. FITZSIMMONS, C/O FITZSIMMONS LAW FIRM PLLC. whose address is 1609

 W ARWOOD A VENUE, WHEELING, WV 26003 an ANSWER including any related counterclaim you may

 have to the complaint filed against you in the above styled civi l action, a true copy of which is herewith delivered

 to you. You are required to serve your answer within 30 days after service of this summons upon you, exclusive of

 the day of service. If you fai I to do so, judgment by defau It wi II be taken against you for the relief demanded in the

 complaint and you will be thereafter barred from asserting in another action any claim you may have which must be

 asserted by counterclaim in the above styled civil action.



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                                                                                                   Clerk

                                                                                                    Deputy




 Please Serve:

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             RITE AID OF MARYLAND, INC.                                                                        4 - ~8
      D.B.A. RITE AID MID-ATLANTIC CUSTOMER                                                                      -, ;.<.:)

                 SUPPORT CENTER, INC.                                                                          (.' )
                                                                                                               , . ")
             C/0 CT CORPORATION SYSTEM
                5400 D BIG TYLER ROAD
                CHARLESTON. WV 25313
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 286 of 348 PageID #: 318
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Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston , WV 25305                       fo ,1IL- .·: . _? I
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                                                                                                    Mac Warner
                                                                                                  Secretary of State
                                                                                                state of West Virginia
                                                                                              Phone: 304-558-6000
                                                                                                       886-767-8683
                                                                                                     Visit us online:
JOSEPH M. RUCKI                                                                                      www.wvsos.oom
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 207600                                                       Agent: Corporation Service Company
             Defendant: MCKESSON CORPORATION                                  County: Marshall
                        209 West Washington Street
                        Charleston, WV 25302 US                          Civil Action: 17-C-248
                                                                   Certified Number: 92148901125134100002205321
                                                                        Service Date: 12/19/2017


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in the name and on behalf of your corporation .

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Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 287 of 348 PageID #: 319
                                                                          CIVIL SUMMONS

                             IN THE CIRCUIT COURT OF MARSHALL COUNTY, WEST VIRGINIA
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                                         ··-.          _, -          I.  -· !..!-
 BROOKE COUNTY CpMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
 COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; omo
 COUNTY COMMISSION; TYLER COUNTY CO~SSION; and WETZEL COUNTY COMMISSION
               Plaintiffs

 v.
                                                                   CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

 PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
 MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
              Defendants


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                                                                                                               Clerk

                                                                                                               Deputy




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        MCKESSON CORPORATION
   C/0 CORPORATION SERVICE COMPANY
     209 WEST WASHINGTON STREET                                                                                          .:...   -.
         CHARLESTON, WV 25302
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 288 of 348 PageID #: 320
                                                      r ... .
                                                        >•JI
Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305                                                 ~'I
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                                                                                                           Mac Warner
                                                                                                           Secretary of State
                                                                                                         Slate of West Virginia
                                                                                                    Phone: 304-558-6000
                                                                                                               886-767-8683
                                                                                                             Visit us online:
JOSEPH M. RUCKI
                                                                                                             www.WYSOS.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




    Control Number: 207601                                                             Agent: DAVID OTTERS
             Defendant: WEST VIRGINIA BOARD OF                                        County: Marshall
                        PHARMACY
                        2310 KANAWHA BLVD EAST                             Civil Action: 17-C-248
                        CHARLESTON, WV 25311 US                   Certified Number: 92148901125134100002205338
                                                                       Service Date: 12/19/2017


I am enclosing:

       1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
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Sincerely,




Mac Warner
Secretary of State
  Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 289 of 348 PageID #: 321

                                           r •··-       CJVIL SUMMONS
                                           I
                   IN THE CIRCUIT~ COURT OF MARSHALL COUNTY, WEST VIRGINIA

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   BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
   COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; omo
   COUNTY COMMISSION; TYLER COUNTY COl\jMISSION; and WETZEL COUNTY COMMISSION
                 Plaintiffs

   v.
                                               CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

   PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
   MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
                Defendants


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   asserted by counterclaim in the above styled civiJ action.



   Dated    December 13th, 2017




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   Please Serve:                                                                                               .. -~
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   WEST VIRGINIA BOARD OF PHARMACY                                                                       u:
C/O DAVID E. POTTERS, EXECUTIVE DIRECTOR
     2310 KANAWHA BOULEVARD EAST
         CHARLESTON, WV 25311
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 290 of 348 PageID #: 322

Office of lhe Secretary of Slate
                                                 ..
Building 1 Suite 157-K                           •.
1900 Kanawha Blvd E.
Charleston, WV 25305




                                                                                                   Mac Warner
                                                                                               Secretary of state
                                                                                              State of West Virginie
                                                                                            Phone: 304-558-0000
                                                                                                      886-767-8683
                                                                                                    Visit us online:
JOSEPH M. RUCKI
                                                                                                   www.wvsos.oom
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




    Control Number : 207602                                                   Agent: C. T. Corporation System
             Defendant: WAL-MART STORES EAT, LP                              County: Marshall
                        5400 D Big Tyler Road
                        CHARLESTON, WV 25313 US                         Civil Actio n: 17-C-248
                                                                  Certified Number : 92148901125134100002205345
                                                                       Service Dat e: 12/19/2017


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Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 291 of 348 PageID #: 323
                                                            CIVIL SUMMONS

                  IN THE cmturr COURT OF MARSHALL COUNTY, WEST VIRGINIA
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                                                                    ~      .
 BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
 COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; OHIO
 COUNTY COMMISSION; TYLER COUNTY COI\1MISSION; and WETZEL COUNTY COMMISSION
               Plaintiffs

 v.
                                                CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

 PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
 MARK RADCLIFFE, MARK ROSS, PAITY CARNES, et al.
              Defendants


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 asserted by counterclaim in the above styled civil action.



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                                                                                            Clerk

                                                                                            Deputy




 Please Serve:




       WAL-MART STORES EAST, LP
      C/0 CT CORPORATION SYSTEM
         5400 D BIG TYLER ROAD
        CHARLESTON, WV 25313
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 292 of 348 PageID #: 324

Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.                            ·; ~I   7 ".. ,.. I
Charleston, WV 25305
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                                                                                                       Mac Warner
                                                                                                    Secretary of sta1e
                                                                                                   Slate of West Virginia
                                                                                                 Phone: 304-558-6000
                                                                                                          886-767-8683
                                                                                                        Visit us online:
JOSEPH M. RUCKI                                                                                        www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 207604
             Defendant: WATSON LABORATORIES, INC.                                  County: Marshall
                        2455 WARLOW ROAD
                        CORONA, CA 92880 US                                  Civil Action : 17-C-248
                                                                       Certified Number: 92148901125134100002205369
                                                                           Service Date: 12/19/2017


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in the name and on behalf of your unauthorized foreign corporation.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process in the name and on behalf of your unauthorized foreign corporation as your attorney-in-fact. Please address any
questions about this document directly to the court or the plaintiffs attorney, shown in the enclosed paper, not to the
Secretary of State's office.



Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 293 of 348 PageID #: 325
                                                           CIVIL SUMMONS

               - IN THE cmCUIT COURT OF MARSHALL COUNTY, WEST VIRGINIA
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 BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
 COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; omo
 COUNTY COMMISSION; TYLER COUNTY COI\1MISSION; and WETZEL COUNTY COMMISSION
               Plaintiffs

 v.
                                                      CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

 PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
 MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
              Defendants


 IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby Summoned and required to serve upon

 CLAYTON J. FITZSIMMONS, C/O FITZSIMMONS LAW FIRM PLLC, whose address is 1609

 WARWOOD AVENUE, WHEELING, WV 26003 an ANSWER including any related counterclaim you may

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 complaint and you will be thereafter barred from asserting in another action any claim you may have which must be

 asserted by counterclaim in the above styled civil action .



 Dated    December 13th, 2017

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                                                                                                  Clerk
                                                                                                   Deputy

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 Please Serve:                                                                                                      •.:>
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WATSON LABORATORIES, INC.                                                                                   ~ -")


  2455 WARDLOW ROAD
CORONA, CALIFORNIA 92880
(PRINCIPAL PLACE OF BUSINESS)
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 294 of 348 PageID #: 326
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Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305                          ·r- "- •7ri      - ,...
                                                     . r... -· _, r... I f " S:SO




                                                                                                        Mac Warner
                                                                                                      secretary of State
                                                                                                    state of West Virginia
                                                                                                  Phone: 304-558-6000
                                                                                                           886-767-8683
                                                                                                        Visit us online:
JOSEPH M. RUCKI                                                                                         www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 207603
             Defendant: CARDINAL HEALTH, INC.                                       County: Marshall
                        7000 CARDI NAL PLACE
                        DUBLIN, OH 43017 US                                    Civil Action: 17-C-248
                                                                       Certified Number: 92148901125134100002205352
                                                                             Service Date: 12/19/2017


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
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Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 295 of 348 PageID #: 327
                                                                             CIVIL SUMMONS
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                            IN THELcmcmT COURT OF MARSHALL COUNTY, WEST VIRGlNIA

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 BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
 COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; omo
 COUNTY COMMISSION; TYLER COUNTY COl\;lMISSION; and WETZEL COUNTY COMMISSION
               P laintiffs

 v.
                                                                       CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (II)

 PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
 MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
              Defendants


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                                                                                                                    Clerk

                                                                                                                    Deputy



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 Please Serve:
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              CARDINAL HEALTH, INC.                                                                                                 _. ":)
              7000 CARDINAL PLACE                                                                                                -\;;
               DUBLIN, OHIO 43017
      (PRINCIPAL PLACE OF BUSINESS)
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 296 of 348 PageID #: 328

Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305
                                                       rn   ?:51



                                                                                                  Mac Warner
                                                                                               Secretary of State
                                                                                              State of West Virginia
                                                                                            Phone: 304·558·6000
                                                                                                      886-767 ·8683
                                                                                                    Visit us online:
JOSEPH M. RUCKI                                                                                    www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 207566
             Defendant: ACTAVIS, INC.                                        County: Marshall
                        MORRIS CORPORATE CENTER Ill
                        400 INTERPACE PARKWY                            Civil Action : 17-C-248
                        PARSIPPANY, NJ 07054 US                    Certified Number: 92148901125134100002203945
                                                                       Service Date: 12/18/2017


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      1 summons and complaint

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Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 297 of 348 PageID #: 329
            :     ....                                          CIVIL SUMMONS

                              IN THE CIRCUIT COURT OF MARSHALL COUNTY, WEST VIRGINIA
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 BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
 COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; OHIO
 COUNTY COMMISSION; TYLER COUNTY C01\1MISSION; and WETZEL COUNTY COMMISSION
               Plaintiffs

 v.
                                                         CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

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 Dated __,D=e=c=e=m=b=er'""l::..::3'--"'.._.2=0"'"1,_.7_ _ __

                                                                                                     Clerk

                                                                                                      Deputy




 Please Serve:



            ACTAVIS, INC.
   MORRIS CORPORATE CENTER 111
      400 INTERPACE PARKWAY
   PARSIPPANY, NEW JERSEY 07054
   (PRINCIPAL PLACE OF BUSINESS)
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 298 of 348 PageID #: 330

Office of the Secretary of State                '   ......
                                                '
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305
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                                                                                                         Mac Warner
                                                                                                      Secretary of State
                                                                                                     State of West Virginia
                                                                                                   Phone: 304·558-6000
                                                                                                            886--767-8683
                                                                                                         Visit us online:
JOSEPH M. RUCKI                                                                                          www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 207567
             Defendant: ALLERGAN PLC                                                County: Marshall
                        MORRIS CORPORATE CENTER Ill
                        400 INTERPACE PARKWAY                                   Civil Action: 17-C-248
                        PARSIPPANY. NJ 07054 US                   Certified Number: 92148901125134100002203952
                                                                         Service Date: 12118/2017


I am enclosing:

      1 summons and complaint

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Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 299 of 348 PageID #: 331
                                                         CIVIL SUMMONS

                  IN~TIIE        CIRCUIT COURT OF MARSHALL COUNTY, WEST VIRGINIA

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 BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
 COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; omo
 COUNTY COMMISSION; TYLER COUNTY C01\1MISSION; and WETZEL COUNTY COMMISSION
               Plaintiffs

 v.
                                                     CIVIL ACTION NO. 17·C-248, 249, 250, 251, 252, 253, 254, 255 (H)

 PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
 MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
              Defendants


 IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby Summoned and required to serve upon

 CLAYTON J. FITZSIMMONS, C/O FITZSIMMONS LAW FIRM PLLC, whose address is 1609

 WARWOOD AVENUE, WHEELING, WV 26003 an ANSWER including any related counterclaim you may

 have to the complaint filed against you in the above styled civil action, a true copy of which is herewith delivered

 to you. You are required to serve your answer within 30 days after service of this summons upon you, exclusive of

 the day of service. rf you fail to do so, judgment by defau It wi II be taken against you for the relief demanded in the

 complaint and you will be thereafter barred from asserting in another action any claim you may have which must be

 asserted by counterclaim in the above styled civil action.



 Dated    December 13th, 2017




 Please Serve:




                  ALLERGAN PLC
          MORRIS CORPORATE CENTER Ill
             400 INTERPACE PARKWAY
          PARSIPPANY, NEW JERSEY 07054
(U.S. HEADQUARTERS- PRINCIPAL PLACE OF BUSINESS)
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 300 of 348 PageID #: 332

Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305
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                                                                                                                        Mac Warner
                                                                                                                    Secretary of state
                                                                                                                   Slate of West. Virginia
                                                                                                                 Phone: 304-558-6000
                                                                                                                          886-767-8683
                                                                                                                       Visit us onllne:
JOSEPH M. RUCKI                                                                                                         www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 207565
             Defendant: JOHNSON & JOHNSON                                                          County: Marshall
                        ONE JOHNSON & JOHNSON PLAZA
                        NEW BRUNSWICK, NJ 08933 US                                            Civil Action: 17-C-248
                                                                                Certified Number: 92148901125134100002203938
                                                                                             Service Date: 12/18/2017


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in your name and on your behalf.

Please note that this office has no connecUon whatsoever with the enclosed documents other than to accept service of
process in your name and on your behalf as your attorney-in-fact. Please address any questions about this document
directly to the court or the plaintiff's attorney, shown in the enclosed paper, not to the Secretary of State's office.




Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 301 of 348 PageID #: 333
                                                          CIVIL SUMMONS

                 IN THE cmcUIT COURT OF MARSHALL COUNTY, WEST VIRGINIA
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 BROOKE co~tY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
 COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; omo
 COUNTY COMMISSION; TYLER COUNTY COI\JMISSION; and WETZEL COUNTY COMMISSION
               Plaintiffs

 v.
                                                CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

 PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
 MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
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 WARWOOD AVENUE, WHEELING, WV 26003 an ANSWER including any related counterclaim you may

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 Dated    December 131\ 2017



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 Please Serve:                                                                                                  .--,-,.J.'
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       JOHNSON & JOHNSON
  ONE JOHNSON & JOHNSON PLAZA
NEW BRUNSWICK, NEW JERSEY 08933
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 302 of 348 PageID #: 334

Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305                                        7 - \ ')
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                                                                                                                      Mac Warner
                                                                                                                   secretary of State
                                                                                                                  State of West Virginia
                                                                                                                Phone: 304-558-6000
                                                                                                                         886-767-8683
                                                                                                                      Visit us online:
JOSEPH M. RUCKI                                                                                                       www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 207609                                                                          Agent: WILLIAM ALBERS SR
             Defendant: GOODWIN DRUG COMPANY                                                      County: Marshall
                        1410 MAIN STREET
                        WHEELING, WV 26003 US                                               Civil Action : 17-C-248
                                                                                      Certified Number: 92148901125134100002205413
                                                                                           Service Date: 12/19/2017


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
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Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
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Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 303 of 348 PageID #: 335
                                                                      CIVIL SUMMONS                 .    ..
                           IN THE cmcUIT COURT OF MARSHALL COUNTY, WEST VIRGINIA
                                                                                                 • ·~I   1 , ·- .,

 BROOKE COUNTY COMMISSION; HANCOCK COUNTY                                               COMMI~~~~~~ ~~{O~ ~6UNTY
 COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; OHIO
 COUNTY COMMISSION; TYLER COUNTY C01\1MISSION; and WETZEL COUNTY COMMISSION
               Plaintiffs

 v.
                                                               CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

 PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
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 Dated __,D=-e==c=e=m=b=er:. . .,_,_: 13;,_lh_,_,=-20"""1"""7_ __ _

                                                                                                                     Clerk

                                                                                                                     Deputy




 Please Serve:



 GOODWIN DRUG COMPANY
C/O WILLIAM M. ALBERS, SR.
    1410 MAIN STREET
   WHEELING, WV 26003
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 304 of 348 PageID #: 336
   ' • Complete Items 1, 2, and 3.
   1 • Print 'loot' name and address on the reverse
   ·   so that we can r9tUm the card to yoo.
   ' • Attach this card to the back of the mallplece,                                                                     C. Date of DellVtWy I
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               WEST VIRGINIA BOARD OF PHARMACY                                               onter delivwy address below:   0 No
                     C/O PATRICK MORRJSEY
                      ATTORNEY GENERAL
                    STATE CAPITOL COMPLEX
                       BLDG. l, ROOM E-26
                    CHARLESTON. WV 25305
                     / 7-C,. g.4f ,.. JJS                                3. S«vlce Type                              o PrlarllYM.a &p..e I
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Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 305 of 348 PageID #: 337
                                             CIVIL SUMMONS

                   IN THE CffiCUIT COURT OF MARSHALL COUNTY, WEST VIRGINIA


  BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
  COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; omo
  COUNTY COMMISSION; TYLER COUNTY COMMISSION; and WETZEL COUNTY COMMISSION
                Plaintiffs

  v.
                                        CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

  PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
  MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et a l.
               Defendants


   IN THE NAME OF THE STATE OF WEST VffiGINIA, you are hereby Summoned and required to serve upon

  CLAYTON J . FITZSIMMONS, C/O FITZSIMMONS LAW FIRM PLLC, whose address is 1609

  W ARWOOD AVENUE, WHEELING, WV 26003 an ANSWER including any related counterclaim you may

  have to the complaint filed against you in the above styled civi l action, a true copy of which is herewith delivered

  to you . You are required to serve your answer within 20 days after service of this summons upon you, exclusive of

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  complaint and you will be thereafter barred from asserting in another action any claim you may have which must be

  asserted by counterclaim in the above styled civil action.



   Dated   December 13 1\ 2017




   Please Serve:



  EUGENIO ALDEA MENEZ, M.D.
     16 WOODCLIFF DRIVE
     FAIRMONT, WV 26554
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 306 of 348 PageID #: 338




                                  ~I: 11    Executt.o tht: v11min writ of     .J!ii•hc.(,      In Manor. County
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Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 307 of 348 PageID #: 339
                           .                    Civn.SUMMONS                              .                ~
                  IN TH;E CffiCUlT COURT OF MARSHALL COUNTY, WEST VJRGINIA                                       §)
  BROOKE COUNTY C9MMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
  COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; omo
  COUNTY COMMISSION; TYLER COUNTY C01\1MISSION; and WETZEL COUNTY COMMISSION
                Plaintiffs                             ~;~·,
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                                        CIVIL ACTION NO. 17-C-248, 249, 2so;;;.is"f, 2~ 253, 254, 255 (H)
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  PURDUE PHARMA L.P ., PURDUE PHARMA INC., THE PURDUE FD-.;J:DE'.B;rci?QCOMPANY, INC.,
                                                            A.~(")(/)
  MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.              ::og:-ii "O
                 Defendants                                   :(~:;i:;;
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  IN THE NAME OF THE STATE OF WEST Ym.GINIA, you are h~reby Summoned-=a'nd required t!) serve upon

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  Dated    December 13th. 2017




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  Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 308 of 348 PageID #: 340

Office of the Secretary of State                        I .   •

Building 1 Suite 157-K                                  ~
1900 Kanawha Blvd E.
Charleston, WV 25305




                                                                                                    Mac Warner
                                                                                                  Secretary of State
                                                                                                 State of West Virginia
                                                                                               Phone: 304·558-6000
                                                                                                        886-767-8683
                                                                                                     Visit us online:
JOSEPH M. RUCKI                                                                                      www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041 -2129




    Control Number: 208224                                                      Agent: Corporate Creations Network Inc.
             Defendant: ACTAVIS PHARMA, INC.                                  County: Marshall
                        5400 D Big Tyler Road
                        Charleston, WV 25313 US                           Civil Action : 17-C-248
                                                                    Certified Number: 92148901125134100002207356
                                                                        Service Date: 12/27/2017


I am enclosing:

       1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in the name and on behalf of your corporation.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
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Sincerely,




Mac Warner
Secretary of State
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 309 of 348 PageID #: 341
                                                             CIVIL SUMMONS

                          IN THE CIRCUlT COURT OF MARSHALL COUNTY, WEST VIRGINIA


     BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
     COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; omo
     COUNTY COMMISSION; TYLER COUNTY COI\JMISSION; and WETZEL COUNTY COMMISSION
                   Plaintiffs

     v.
                                                      CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (B)

     PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
     MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
                  Defendants


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     Dated _D_e__c_e~m~b~er~l_3_1 h_.2~0-....1...._7_ _ __

                                                                                                  Clerk

                                                                                                   Deputy




     Please Serve:



         ACTAVIS PHARMA. INC.
C/O CORPORAT E CREATIONS NETWORK, INC.
        5400 O BIG TYLER ROAD
                                                                                                                -.-
                                                                                                            '   I

        CHARLESTON, WV 25313
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 310 of 348 PageID #: 342
 CJFlklc: 12/1311 7




                            IN THE CIRCUIT COURT OF
                         MARSHALL COUNTY, WEST VIRG!WroEC          13 Ar1 IO: 39
 BROOKE COUNTY COMMISSION,                                 ·,
 HANCOCK COUNTY COMMISSION,
 HARRISON COUNTY COMMISSION,
 LEWIS COUNTY COMMISSION,
                                                         ::
                                                         ·I ,.
                                          Civil Action Nd: h-t-     ;i4{      ·:'k /
 MARSHALL COUNTY COMMISSION,              Civil Action No. 17-C-     )lf9     tJ- i/
 omo COUNTY COMMISSION,
 TYLER COUNTY COMMISSION, and
 WETZEL COUNTY COMMISSION,
                                          Civil Action No. 17-C-   :< 51) ff-
                                                                 ----------
                      Plaintiffs,         Civil Action No. J 7-C---.d-~G~
                                                                        / _.tf~
            vs.
                                          Civil Action No. 17-C-     ;)5;2.   ±t
 PURDUE PHARMA L.P.; PURDUE
 PHARMA INC.; THE PURDUE                  Civil Action No. 17-C-     J.G3     4
 FREDERICK COMPANY, INC.; MARK
 RADCLIFFE; MARK ROSS; PATTY              Civil Action No. 17-C-    J S-4 t-f
 CARNES; TEVA PHARMACEUTICALS
 USA, INC.; CEPHALON, INC.; JANSSEN
 PHARMACEUTICALS, INC.; ORTHO-
                                          Civil Action No. 17-C-    d-6S- tf
 MCNEIL-JANSSEN
 PHARMACE UTICALS, INC. n/k/a Janssen
 Pharmaceuticals, Inc.; JANSSEN
 PHARMACEUTIC A, INC. n/k/a Janssen
 Pharmaceuticals, Inc.; JOHNSON &
 JOHNSON; ENDO HEALTH SOLUTIONS
 INC.; ENDO PHARMACEUTICALS, INC.;
 ALLERGAN pk; ACT AVIS pk; ACT AVIS,
 INC.; ACTA VIS LLC; ACT AVIS PHARMA,
 INC.; WATSON PHARMACEUTICALS,
 INC.; WATSON PHARMA, INC.; WATSON
 LABORATORIES, INC.; MCKESSON
 CORPORATION; CARDINAL HEALTH,
 INC.; AMERISOURCEBERGEN DRUG
 CORPORATION; RITE AID OF
 MARYLAND, INC.; KROGER LIMITED
 PARTNERSHIP II; CVS INDIANA, L.L.C.;
 WAL-MART STORES EAST, LP;
 GOODWIN DRUG COMPANY; WEST
 VIRGINIA BOARD OF PHARMACY;
 DAVID POTTERS; EDITAP. MILAN,
 M.D.; TRESSIE MONTENE DUFFY, M.D.;
 EUGENIO ALDEA MENEZ, M.D.; SCOTT
 JAMES FEATHERS, D.P.M.; and AMY
 LYNN BEAVER, P.A.-C,

                      Defendants.
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 311 of 348 PageID #: 343



                                              COMPLAINT

     Plaintiffs,      BROOKE        COUNTY        COMMISSION,            HANCOCK        COUNTY

COMMISSION,              HARRISON        COUNTY         COMMISSION,           LEWIS     COUNTY

COMMISSION,              MARSHALL         COUNTY         COMMISSION,           omo      COUNTY

COMMISSION,             TYLER      COUNTY       COMMISSION,          and    WETZEL      COUNTY

COMMISSION (hereinafter collectively "Plaintiffs" or "the Plaintiff Counties") bring this civil

action to eliminate the hazard to public health and safety and to abate the public nuisance caused

by the opioid epidemic in their respective counties, and to recoup monies and costs they have

spent because of Defendants' false, deceptive and unlawful marketing and/or unlawful diversion

of prescription opioids. In support of their Complaint, Plaintiffs state as follows:

                                         INTRODUCTION

           1.      This case is about one thing: corporate greed. Defendants put their desire for

profits above the rights and interests of the Counties and the health and well-being of the citizens

of Brooke County, Hancock County, Harrison County, Lewis County, Marshall County, Ohio

County, Tyler County, and Wetzel County (hereinafter "the Counties").

           2.      Brooke County, Hancock County, Harrison County, Lewis County, Marshall

 County, Ohio County, Tyler County, and Wetzel County, like much of the United States, are in

 the midst of an opioid epidemic that threatens and harms the well-being of its citizens. The

opioid epidemic has gro"vn to such proportions that on October 26, 2017, President Donald J.

Trump proclaimed the abuse of prescription opioid drugs a National Public Health Emergency.
                                                                                          '
Notably, West Virginia was one of only two states mentioned by name in President Trump's

 speech.




                                                  2
  Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 312 of 348 PageID #: 344

Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305




                                                                                                   Mac Warner
                                                                                               Secretary of State
                                                                                              State of West Virginia
                                                                                            Phone: 304-558-6000
                                                                                                      886-767 -8683
                                                                                                    Visit ua online:
JOSEPH M. RUCKI                                                                                    www.wvsos.oom
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 208223                                                     Agent: MORRIS CORPORATE CENTER Ill
             Defendant: ACTAVIS , LLC                                        County: Marshall
                        400 INTERPACE PARKWAY
                        PARSIPPANY, NJ 07054 US                         Civ il Action : 17-C-248
                                                                  Certified Number: 92148901125134100002207349
                                                                       Service Date: 12/27/2017


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      1 s ummo ns and complajnt

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
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Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 313 of 348 PageID #: 345

                                             CIVIL SUMMONS

                 IN THE CIRCUIT COURT OF MARSHALL COUNTY, WEST VIRGINIA


 BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
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 COUNTY COMMISSION; TYLER COUNTY CO~SSION; and WETZEL COUNTY COMMISSION
               Plaintiffs

 v.
                                       CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

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 MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
              Defendants


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 Dated    December 131\ 20 I 7




                                                                                                          '•--,
                                                                                                            -,
                                                                                                          1· .



 Please Serve:                                                                                               .,

               ACTAVIS, LLC
      MORRIS CORPORATE CENTER Ill
         400 INTERPACE PARKWAY
      PARSIPPANY, NEW JERSEY 07054
      (PRINCIPAL PLACE OF BUSINESS)
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 314 of 348 PageID #: 346
 CJF/klc: 12113/17




                           IN THE CIRCUIT COURT OF
                                                        r::         • ....
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                        MARSHALL COUNTY, WEST VIRG~EC 13 AM IQ: 39
 BROOKE COUNTY COMMISSION,
                                                                                       it I
                                                         lf''·'.
 HANCOCK COUNTY COMMISSION,
 HARRISON COUNTY COMMISSION,
 LEWIS COUNTY COMMISSION,
                                          Civil Action Nd: 17~c-   :J4t               •i1f
 MARSHALL COUNTY COMMISSION,
 omo COUNTY COMMISSION,
                                          Civil Action No. 17-C-   ).l{Cj                1f-
 TYLER COUNTY COMMISSION, and
 WETZEL COUNTY COMMISSION,
                                          Civil Action No. 17-C-   :<~    ff-
                     Plaintiffs,          Civil Action No. 17-C-   d:Gl -t1-
           vs.
                                          Civil Action No. 17-C-   :J6 ;) tf-
 PURDUE PHARMA L.P.; PURDUE
 PHARMA INC.; THE PURDUE                  Civil Action No. 17-C-   ;J.63 +(-
 FREDERICK COMPANY, INC. ; MARK
 RADCLIFFE; MARK ROSS; PATTY              Civil Action No. 17-C-   C)f)~                        tf
 CARNES; TEVA PHARMACEUTICALS
 USA, INC. ; CEPHALON, INC.; JANSSEN      Civil Action No. 17-C-   d-65                         tf
 PHARMACEUTICALS, INC.; ORIBO-
 MCNEIL-JANSSEN
 PHARMACEUTICALS, INC. n/k/a Janssen
 Phannaceuticals, Inc.; JANSSEN
 PHARMACEUTICA, INC. n/k/a Janssen
 Pham1aceuticals, Inc.; JOHNSON &
 JOHNSON; ENDO HEALTH SOLUTIONS
 INC.; ENDO PHARMACEUTICALS, INC.;
 ALLERGAN pie; ACTA VIS pie; ACTA VIS,
 INC.; ACT AVIS LLC; ACTAVIS PHARMA,
 INC.; WATSON PHARMACEUTICALS,
 INC.; WATSON PHARMA, INC.; WATSON
 LABORATORIES, INC.; MCKESSON
 CORPORATION; CARDINAL HEALTH,
 INC.; AMERISOURCEBERGEN DRUG
 CORPORATION; RITE AID OF
 MARYLAND, INC.; KROGER LIMITED
 PARTNERSHIP II; CVS INDIANA, L.L.C.;
 WAL-MART STORES EAST, LP;
 GOODWIN DRUG COMPANY; WEST
 VIRGINIA BOARD OF PHARMACY;
 DAVID POITERS; EDITA P. MILAN,
 M.D.; TRESSIE MONTENE DUFFY, M.D.;
 EUGENIO ALDEA MENEZ, M.D.; SCOTT
 JAMES FEATHERS, D.P.M.; and AMY
 LYNN BEAVER, P .A.-C,

                     Defendants.
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 315 of 348 PageID #: 347



                                               COMPLAINT

      Plaintiffs,      BROOKE        COUNTY        COMMISSION,            HANCOCK        COUNTY

 COMMISSION,              HARRISON        COUNTY        COMMJSSION,            LEWIS     COUNTY

 COMMISSION,              MARSHALL         COUNTY         COMMISSION,           omo      COUNTY

 COMMISSION,             TYLER      COUNTY       COMMISSION,          and    WETZEL      COUNTY

 COMMISSION (hereinafter collectively "Plaintiffs" or "the Plaintiff Counties") bring this civil

 action to eliminate the hazard to public health and safety and to abate the public nuisance caused

 by the opioid epidemic in their respective counties, and to recoup monies and costs they have

 spent because of Defendants' false, deceptive and unlawful marketing and/or unlawful diversion

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                                          INTRODUCTION

           1.       This case is about one thing: corporate greed. Defendants put their desire for

 profits above the rights and interests of the Counties and the health and well-being of the citizens

 of Brooke County, Hancock County, Harrison County, Lewis County, Marshall County, Ohio

 County, Tyler County, and Wetzel County (hereinafter "the Counties").

           2.       Brooke County, Hancock County, Harrison County, Lewis County, Marshall

 County, Ohio County, Tyler County, and Wetzel County, like much of the United States, are in

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 opioid epidemic bas grown to such proportions that on October 26, 2017, President Donald J.

 Trump proclaimed the abuse of prescription opioid drugs a National Public Health Emergency.

 Notably, West Virginia was one of only two states mentioned by name in President Trump's

 speech.




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   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 316 of 348 PageID #: 348

Office of the Secretary of State                                               . .. .,.
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305                                                         • ~ r] •
                                                                            :.. , L. '• 29   i.'' I


                                                                                                      Mac Warner
                                                                                                  Secretary of State
                                                                                                 State of West Virginie
                                                                                               Phone: 304-558-6000
                                                                                                         886-767·8683
                                                                                                      Visit us online:
JOSEPH M. RUCKI                                                                                       www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




    Control Number: 208221                                                       Agent: C. T. Corporation System
             Defendant: ENDO PHARMACEUTICALS , INC.                            County: Marshall
                        5400 0 Big Tyler Road
                        CHARLESTON, WV 25313 US                           Civil Action: 17-C-248
                                                                   Certified Number: 92148901125134100002207325
                                                                        Service Date: 12/27/2017


I am enclosing:

       1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-In-fact. According to law. I have accepted
service of process in the name and on behalf of your corporation.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process in the name and on behalf of your corporation as your attorney-in-fact. Please address any questions about this
document directly to the court or the plaintiff's attorney, shown in the enclosed paper, not to the Secretary of State's office.




Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 317 of 348 PageID #: 349

                                             CIVIL SUMMONS

                 IN THE CIRCUIT COURT OF MARSHALL COUNTY, WEST VIRGINIA


 BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
 COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; omo
 COUNTY COMMISSION; TYLER COUNTY C01\1MISSION; and WE1ZEL COUNTY COMMISSION
               Plaintiffs

 v.
                                        CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

 PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, CNC.,
 MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
              Defendants


 IN THE NAME OF THE STATE OF WEST YffiGINIA, you are hereby Summoned and required to serve upon

 CLAYTON J. FITZSIMMONS, C/O FITZSIMMONS LAW FIRM PLLC, whose address is 1609

 WARWOOD AVENUE, WHEELING, WV 26003 an ANSWER including any related counterclaim you may

 have to the complaint filed against you in the above styled civil action, a true copy of which is herewith delivered

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 Dated    December 1311i. 2017

                                                        ~M~ clerk
                                                        ~~, . Deputy....... . .
                                                                                           ;~~        C:3

                                                                                           r ·1 .-.




 Please Serve:
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 318 of 348 PageID #: 350
 CJF/klc: 12/13/1 7




                            IN THE CIRCUIT COURT OF
                         MARSHALL COUNTY, WEST VIRG!WroEC 13 AM IO: 39

 BROOKE COUNTY COMMISSION,                                                     11 I
                                                          ::·1.
 HANCOCK COUNTY COMMISSION,
 HARRISON COUNTY COMMISSION,
                                                         I I   r .1
                                           Civil Action No: t7-C-     ~4{ -' 1 \k
 LEWIS COUNTY COMMISSION,
 MARSHALL COUNTY COMMISSION,               Civil Action No. 17-C-     )Lf Cj    tr
 omo COUNTY COMMISSION,
 TYLER COUNTY COMMISSION, and
 WETZEL COUNTY COMMISSION,
                                           Civil Action No. 17-C-     )51)  ff
                      Plaintiffs,          Civil Action No. 17-C-     2Gl -t-f
            VS.
                                           Civil Action No. 17-C-     ;)6;) -t+
 PURDUE PHARMA L.P.; PURDUE
 PHARMA INC.; THE PURDUE                   Civil Action No. 17-C-     J.G3       +f-
 FREDERICK COMPANY, INC.; MARK
 RADCLIFFE; MARK ROSS; PAITY               Civil Action No. 17-C-     JS-~        rf
 CARNES; TEVA PHARMACEUTICALS
 USA, INC.; CEPHALON, INC.; JANSSEN
 PHARMACEUTICALS, INC.; ORTHO-
                                           Civil Action No. 17-C-     d-65            tf
 MCNEIL-JANSSEN
 PHARMACEUTICALS, INC. n/k/a Janssen
 Phannaceuticals, Inc.; JANSSEN
 PHARMACEUTICA, INC. n/k/a Janssen
 Phannaceuticals, Inc.; JOHNSON &
 JOHNSON; ENDO HEALTH SOLUTIONS
 INC.; ENDO PHARMACEUTICALS, INC.;
 ALLERGAN pie; ACTA VIS pie; ACTAVIS,
 INC.; ACTAVIS LLC; ACTAVlS PHARMA,
 INC.; WATSON PHARMACEUTICALS,
 INC.; WATSON PHARMA, INC.; WATSON
 LABORATORIES, INC.; MCKESSON
 CORPORATION; CARDINAL HEALTH,
 INC.; AMERISOURCEBERGEN DRUG
 CORPORATION; RITE AID OF
 MARYLAND, INC.; KROGER LIMITED
 PARTNERSHIPil; CVS INDIANA, L.L.C.;
 WAL-MART STORES EAST, LP;
 GOODWIN DRUG COMPANY; WEST
 VIRGINIA BOARD OF PHARMACY;
 DAVID POTTERS; EDITA P . MILAN,
 M.D.; TRESSIE MONTENE DUFFY, M.D.;
 EUGENIO ALDEA MENEZ, M.D.; SCOTT
 JAMES FEATHERS, D.P.M.; and AMY
 LYNN BEAVER, P.A.-C,

                      Defendants.
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 319 of 348 PageID #: 351



                                               COMPLAINT

      Plaintiffs,      BROOKE        COUNTY        COMMISSION,            HANCOCK        COUNTY

 COMMISSION,              HARRISON        COUNTY         COMMISSION,           LEWIS     COUNTY

 COMMISSION,              MARSHALL         COUNTY         COMMISSION,           omo      COUNTY

 COMMISSION,             TYLER      COUNTY       COMMISSION,          and    WETZEL      COUNTY

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 Notably, West Virginia was one of only two states mentioned by name in President Trump's

 speech.




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  Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 320 of 348 PageID #: 352

Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305                                                   '   .. 11
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                                                                                                       Mac Warner
                                                                                                      Secretary of State
                                                                                                     Slate of West Virginia
                                                                                                   Phone: 304-558-6000
                                                                                                           886-767-8683
                                                                                                         Visit us online:
JOSEPH M. RUCKI                                                                                         www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 208222
             Defendant: ENDO HEALTH SOLUTIONS INC                               County: Marshall
                        1400 ATWATER DRIVE
                        MALVERN PA 19355 us
                                   I
                                                                           Civil Action: 17-C-248
                                                                  Certified Number: 921 48901125134100002207332
                                                                       Service Date: 12/27/2017


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in the name and on behalf of your unauthorized foreign corporation.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process in the name and on behalf of your unauthorized foreign corporation as your attorney-in-fact. Please address any
questions about this document directly to the court or the plaintiff's attorney, shown in the enclosed paper, not to the
Secretary of State's office.



Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 321 of 348 PageID #: 353
                                                                CIVIL SUMMONS

                        IN THE CIRCIDT COURT OF MARSHALL COUNTY, WEST VIRGINIA


  BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
  COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; omo
  COUNTY COMMISSION; TYLER COUNTY COl\jMISSION; and WETZEL COUNTY COMMISSION
                Plaintiffs

  v.
                                                       CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

  PURDUE PB.ARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
  MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
                Defendant.s


  INTHE NAME OF THE STATE OF WEST VIRGINIA, you are hereby Summoned and required to serve upon

  CLAYTON J. FITZSIMMONS, C/O FITZSIMMONS LAW FIRM PLLC, whose address is 1609

  WARWOOD AVENUE, WHEELING, WV 26003 an ANSWER including any related counterclaim you may

  have to the complaint filed against you in the above styled civil action, a true copy of which is herewith delivered

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  Dated --"D~e~c~em
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                                                                                                   Clerk

                                                                                                   Deputy




  Please Serve:
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                                                                                                                 '1
 ENDO HEALTH SOLUTIONS INC                                                                                         )
                                                                                                                 .,
     1400 ATWATER DRIVE
   MALVERN, PENNSYLVANIA
(PRINCIPAL PLACE OF BUSINESS)
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 322 of 348 PageID #: 354
 CJF/klc: 12/13/ 17

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                            IN THE CIRCUIT COURT OF
                         MARSHALL COUNTY, WEST VIRGm'r'JEC 13 AM IQ: 39
 BROOKE COUNTY COMMISSION,
 HANCOCK COUNTY COMMISSION,                                 li'"                     . ·1I\I
 HARRISON COUNTY COMMISSION,
 LEWIS COUNTY COMMISSION,
                                            Civil Action Nd: 'l.7-C-   :Jlf t»                it
 MARSHALL COUNTY COMMISSION,                Civil Action No. 17-C-     ;llf CJ            tJ-
 omo COUNTY COMMISSION,
 TYLER COUNTY COMMISSION, and
 WETZEL COUNTY COMMISSION,
                                            Civil Action No. 17-C-     260 ff
                      Plaintiffs,           Civil Action No. 17-C-     2Gl ~
            vs.
                                            Civil Action No. 17-C-     ;)6;/. tf-
 PURDUE PHARMA L.P.; PURDUE
 PHARMA INC.; THE PURDUE                    Civil Action No. 17-C-     ;J.63 +{-
 FREDERICK COMPANY, INC .; MARK
 RADCLIFFE; MARK ROSS; PATTY                Civil Action No. 17-C-     JS-Cf                  tf
 CARNES; TEVA PHARMACEUTICALS
 USA, INC.; CEPHALON, INC.; JANSSEN
 PHARMACEUTICALS, INC.; ORTHO-
                                            Civil Action No. 17-C-     d-GS'                   tf
 MCNEIL-JANSSEN
 PHARMACEUTICALS, INC. n/k/a Janssen
 Pharmaceuticals, Inc.; JANSSEN
 PHARMACEUTICA, INC. n/k/a Janssen
 Pharmaceuticals, Inc.; JOHNSON &
 JOHNSON; ENDO HEALTH SOLUTIONS
 INC.; ENDO PHARMACEUTICALS, INC.;
 ALLERGAN pie; ACT A VIS pie; ACTA VIS,
 INC.; ACTA VIS LLC; ACTA VIS PHARMA,
 INC.; WATSON PHARMACEUTICALS,
 INC.; WATSON PHARMA, INC.; WATSON
 LABORATORIES, INC.; MCKESSON
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 MARYLAND, INC.; KROGER LIMJTED
 PARTNERSHIP II; CVS INDIANA, L.L.C.;
 WAL-MART STORES EAST, LP;
 GOODWIN DRUG COMPANY; WEST
 VIRGINIA BOARD OF PHARMACY;
 DAVID POTTERS; EDIT AP. MILAN,
 M.D.; TRESSIE MONTENE DUFFY, M.D.;
 EUGENIO ALDEA MENEZ, M.D.; SCOTT
 JAMES FEATHERS, D.P.M. ; and AMY
 LYNN BEAVER,P.A.-C,

                      Defendants.
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 323 of 348 PageID #: 355



                                               COMPLAINT

      Plaintiffs,      BROOKE        COUNTY        COMMISSION,            HANCOCK        COUNTY

 COMMISSION,              HARRISON        COUNTY         COMMISSION,           LEWIS      COUNTY

 COMMISSION,              MARSHALL         COUNTY         COMMISSION,           omo       COUNTY

 COMMISSION,             TYLER      COUNTY       COMMISSION,          and    WETZEL       COUNTY

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   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 324 of 348 PageID #: 356

Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305                                     ',• t "'t t   '\. r   t)     .,.lll • 0
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                                                                                                               Mac Warner
                                                                                                              Secretary of State
                                                                                                             State of West Virginia
                                                                                                        Phone: 304-558-6000
                                                                                                               BBS.767 -8683
                                                                                                             Visit us online:
JOSEPH M. RUCKI                                                                                                 www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 208226                                                                  Agent: Corporation Service Company
             Defendant: PURDUE PHARMA, L.P.                                               County: Marshall
                        209 West Washington Street
                        Charleston, WV 25302 US                                      Civil Action: 17-C-248
                                                                       Certified Number: 92148901125134100002207363
                                                                                    Service Date: 12127/2017


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in your name and on your behalf.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
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directly to the court or the plaintiffs attorney, shown in the enclosed paper, not to the Secretary of State's office.




Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 325 of 348 PageID #: 357

                                             CIVIL SUMMONS

                 IN THE CIRCUIT COURT OF MARSHALL COUNTY, WEST VIRGINIA


 BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
 COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; OHIO
 COUNTY COMMISSION; TYLER COUNTY COMMISSION; and WETZEL COUNTY COMMISSION
               Plaintiffs

 v.
                                        CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

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              Defendants


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 asserted by counterclaim in the above styled civi l action.




          December 13 111• 2017


                                                       Yt:lDAL~
 Dated


                                                                                                 Clerk
                                                                                                 Deputy
                                                                                       : ....,




 Please Serve:
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 326 of 348 PageID #: 358
 CJF/klc: 12113117

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                           IN THE CIRCUIT COURT OF
                        MARSHALL COUNTY, WEST VIRG!WnlEC I 3 AM IO: 39

 BROOKE COUNTY COMMISSION,
 HANCOCK COUNTY COMMISSION,
 HARRISON COUNTY COMMISSION,
 LEWIS COUNTY COMMISSION,
                                           Civt
                                                               ii1 "r
                                                    . No:" 1'"7-c-
                                            . ·1 Action                          JYi      .\\k / '
 MARSHALL COUNTY COMMISSION,
 omo COUNTY COMMISSION,
                                           Civil Action No. 17-C-                J.L(9 tr
 TYLER COUNTY COMMISSION, and
 WETZEL COUNTY COMMISSION,
                                           Civil Action No. 17-C----..::...;.._      ___ff_
                                                                                 ;( 60

                     Plaintiffs,           Civi l Action No.     17-C-___.J~G~{_-tf_..__
           vs.
                                           Civil Action No. 17-C-                :2 5 ;J. tt
 PURDUE PHARMA L.P.; PURDUE
 PHARMA INC.; THE PURDUE                   Civil Action No. 17-C-                 ;,i-G3 +f--
 FREDERICK COMPANY, INC.; MARK
 RADCLIFFE; MARK ROSS; PATTY               Civil Action No. 17-C-                J S-Lf tf
 CARNES; TEVA PHARMACEUTICALS
 USA, INC.; CEPHALON, INC.; JANSSEN
 PHARMACEUTICALS, INC.; ORTHO-
                                           Civil Action No. 17-C-                d-6"5"    tf
 MCNEIL-JANSSEN
 PHARMACEUTICALS, INC. n/k/a Janssen
 Pharmaceutica ls, fnc.; JANSSEN
 PHARMACEUTICA, INC. n/k/a Janssen
 Pharmaceuticals, Inc.; JOHNSON &
 JOHNSON; ENDO HEALTH SOLUTIONS
 INC.; ENDO PHARMACEUTICALS, INC.;
 ALLERGAN pie; ACT AVIS pie; ACT Avrs,
 INC.; ACT AVIS LLC; ACTA vrs PHARMA,
 INC.; WATSON PHARMACEUTICALS,
 INC.; WATSON PHARMA, INC.; WATSON
 LABORATORIES, INC.; MCKESSON
 CORPORATION; CARDINAL HEALTH,
 INC.; AMERISOURCEBERGEN DRUG
 CORPORATION; RITE AID OF
 MARYLAND, INC.; KROGER LIMITED
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 M.D.; TRESSIE MONTENE DUFFY, M.D.;
 EUGENIO ALDEA MENEZ, M.D.; SCOTT
 JAMES FEATHERS, D.P .M. ; and AMY
 LYNN BEAVER, P.A.-C,

                     Defendants.
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 327 of 348 PageID #: 359



                                               COMPLAINT

      Plaintiffs,      BROOKE        COUNTY        COMMISSION,            HANCOCK        COUNTY

 COMMISSION,              HARRISON        COUNTY         COMMISSION,           LEWIS     COUNTY

 COMMISSION,              MARSHALL         COUNTY         COMMISSION,           omo      COUNTY

 COMMISSION,             TYLER      COUNTY       COMMISSION,          and    WETZEL      COUNTY

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 of Brooke County, Hancock County, Harrison County, Lewis County, Marshall County, Ohio

 County, Tyler County, and Wetzel County (hereinafter "the Counties").

           2.       Brooke County, Hancock County, Harrison County, Lewis County, Marshall

 County, Ohio County, Tyler County, and Wetzel County, like much of the United States, are in

 the midst of an opioid epidemic that threatens and harms the well-being of its citizens. The

 opioid epidemic has grown to such proportions that on October 26, 2017, President Donald J.

 Trump proclaimed the abuse of prescription opioid drugs a National Public Health Emergency.

 Notably, West Virginia was one of only two states mentioned by name in President Trump's

 speech.




                                                   2
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 328 of 348 PageID #: 360



                                               COMPLAINT

      Plaintiffs.      BROOKE        COUNTY        COMMISSION,            HANCOCK         COUNTY

 COMMISSION,              HARRISON        COUNTY         COMMISSION,           LEWIS      COUNTY

 COMMISSION.              MARSHALL         COUNTY         COMMISSION,           omo      COUNTY

 COMMISSION,             TYLER      COUNTY       COMMISSION.          and    WETZEL      COUNTY

 COMMISSION (hereinafter collectively ''Plaintiffs" or "the Plaintiff Counties") bring this civil

 action to eliminate the hazard to public health and safety and to abate the public nuisance caused

 by the opioid epidemic in their respective counties, and to recoup monies and costs they have

 spent because of Defendants' false. deceptive and unlawful marketing and/or unlawful diversion

 of prescription opioids. In support of their Complaint, Plaintiffs state as follows:

                                          INTRODUCTION

           I.       This case is about one thing: corporate greed. Defendants put their desire for

 profits above the rights and interests of the Counties and the health and well-being of the citizens

 of Brooke County, Hancock County, Harrison County. Lewis County, Marshall County, Ohio

 County, Tyler County, and Wetzel County (hereinafter "the Counties").

           2.       Brooke County, Hancock County, Harrison County, Lewis County, Marshall

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 Trump proclaimed the abuse of prescription opioid drugs a National Public Health Emergency.

 Notably, West Virginia was one of only two states mentioned by name in President Trump's

 speech.




                                                   2
... . .....   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 329 of 348 PageID #: 361
                                                                     CMLSUMMONS

                                    IN THE CIRCUIT COURT ~6,rll&ftMB~SllLIU!M••n11'SIF•-····Wllltl"ST VIRGINIA


               BROOKE COUNTY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
               COMMISSION; LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; omo
               COUNTY COMMISSION; TYLER COUNTY COMMISSION; and WETZEL COUNTY COMMISSION
                             Plaintiffs

               v.
                                                               CIVIL ACTION NO. 17-C-248, 249, 250, 251, 252, 253, 254, 255 (H)

               PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
               MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
                                          Defendants


               IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby Summoned and required to serve upon

               CLAYTON J. FITZSIMMONS, C/O FITZSIMMONS LAW FIRM PLLC. whose address is 1609

               WARWOOD AVENUE, WHEELING, WV 26003 an ANSWER including any related counterclaim you may

               have to the complaint filed against you in the above styled civil action, a true copy of which is herewith delivered

               to you. You are required to serve your answer within 20 days after service of this summons upon you, exclusive of

               the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the

               complaint and you wiII be thereafter barred from asserting in another action any claim you may have which must be

               asserted by counterclaim in the above styled civil action.



               Dated ~D=e=c=em=be=r--=1=3_,m·--=2=0..:..17"'------

                                                                                                           Clerk

                                                                                                            Deputy




               Please Serve:
  Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 330 of 348 PageID #: 362
                                                               r ··.. .
                                                               r·-
Office of the Secretary of State                               w
Building 1 Suite 157-K
1900 Kanawha Blvd E.
                                                            2013 ,.. , ,. .
Charleston, WV 25305
                                                                   .. , .. , -.:i   ;··w=20

                                                                                                         Mac Warner
                                                                                                      Secretary of State
                                                                                                     State of West Virginia
                                                                                                   Phone: 304-558-6000
                                                                                                            886· 767-8683
                                                                                                          Visit us online:
JOSEPH M. RUCKI                                                                                           www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




    Control Number: 208274                                                            Agent: Corporate Creations Network Inc.
             Defendant: TEVA PHARMACEUTICALS USA,                                    County: Marshall
                        INC.
                        5400 D Big Tyler Road                                  Civil Action : 17-C-248
                        Charleston, WV 25313 US                      Certified Number: 92148901125134100002209398
                                                                             Service Date: 12/28/2017


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in the name and on behalf of your corporation.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process in the name and on behalf of your corporation as your attorney-in-fact. Please address any questions about this
document directly to the court or the plaintiff's attorney, shown in the enclosed paper, not to the Secretary of State's office.




Sincerely,




Mac Warner
Secretary of State
  Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 331 of 348 PageID #: 363

Office of the Secretary of State
Building 1Suite157-K
1900 Kanawha Blvd E.
Charleston, WV 25305                                        Leia . .';:; -3 !"IO=21



                                                                                                     Mac Warner
                                                                                                  Secretary of State
                                                                                                 State of West Virginia
                                                                                               Phone: 304-558-6000
                                                                                                        886-767 -8683
                                                                                                     Visit us online:
JOSEPH M. RUCKI                                                                                       www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 208273                                                       Agent: Corporate Creations Network Inc.
             Defendant: WATSON PHARMA, INC NOW                                 County: Marshall
                        ACTAVIS PHARMA, INC.
                        5400 D Big Tyler Road                             Civil Action: 17-C-248
                        Charleston, WV 25313 US                     Certified Number: 92148901125134100002209381
                                                                         Service Date: 12/28/2017


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
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document directly to the court or the plaintiff's attorney, shown in the enclosed paper, not to the Secretary of State 's office.




Sincerely,




Mac Warner
Secretary of State
  Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 332 of 348 PageID #: 364
                                                                            r··
                                                                        I • "--
Office of the Secretary of State                                        f
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305                                                  2010    !,    •
                                                                             "' ·• -3 .f1•· 10: 2


                                                                                                       Mac Warner
                                                                                                      Secretary of State
                                                                                                     State of West Virginia
                                                                                                Phone: 304-558-6000
                                                                                                       886-767-8683
                                                                                                     Visit us online:
JOSEPH M. RUCKI                                                                                         www.wvsos.oom
Marshall County Courthouse
600 7th Street
Moundsville. WV 26041-2129




   Control Number: 208272
          Defendant: ORTHO-MCNEIL-JANSSEN                                         County: Marshall
                     PHARMACEUTICALS INC.
                     1125 TRENTON-HARBOURTON                            Civil Action : 17-C-248
                     ROAD                                         Certified Number: 92148901125134100002209374
                     TITUSVILLE. NJ 08560 US
                                                                       Service Date: 12/28/2017


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law. I have accepted
service of process in the name and on behalf of your unauthorized foreign corporation.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process in the name and on behalf of your unauthorized foreign corporation as your attorney-in-fact. Please address any
questions about this document directly to the court or the plaintiffs attorney, shown in the enclosed paper, not to the
Secretary of State's office.



Sincerely,




Mac Warner
Secretary of State
  Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 333 of 348 PageID #: 365
                                            ~ .·..


Office of the Secretary of State                             II
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305
                                                                          '''/[I: 22


                                                                                                  Mac Warner
                                                                                                 Secretary of State
                                                                                                State of West Virginia
                                                                                            Phone: 304-558-6000
                                                                                                      886-767·8683
                                                                                                    Visit us online:
JOSEPH M. RUCKI                                                                                    www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 208270
             Defendant: WATSON PHARMACEUTICALS, INC.                         County: Marshall
                        2455 WARDLOW ROAD
                        CORONA, CA 92880 US                             Civil Action : 17-C-248
                                                                  Certified Number: 92148901125134100002209350
                                                                       Service Date: 12/28/2017


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
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process in the name and on behalf of your unauthorized foreign corporation as your attorney-in-fact. Please address any
questions about this document directly to the court or the plaintiff's attorney, shown in the enclosed paper, not to the
Secretary of State's office.



Sincerely,




Mac Warner
Secretary of State
 Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 334 of 348 PageID #: 366
                                            ~.. .
Office of the Secretary of State        ,......
Building 1 Suite 157-K
                                        ..
                                        "
1900 Kanawha Blvd E.
Charleston, WV 25305                  ,. ~ 11        Ji ...! - 3
                                      L!.       .1                 ! .. fO: 21



                                                                                                                Mac Warner
                                                                                                            Secretary of state
                                                                                                           Stale of West Virginia
                                                                                                         Phone: 304-558·6000
                                                                                                                  886-767 ·8683
                                                                                                                 Visit us online:
JOSEPH M. RUCKI                                                                                                 www.wvsos.com
Marshall Cqunty Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 208271
             Defendant: JANSSEN PHARMACEUTICA, INC.                                       County: Marshall
                        1125 TRENTON-HARBOURTON
                        ROAD                                                          Civil Action: 17-C-248
                        TITUSVILLE , NJ 08560 US                                 Certified Number: 92148901125134100002209367
                                                                                     Service Date: 12/28/2017


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in the name and on behalf of your unauthorized foreign corporation.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process In the name and on behalf of your unauthorized foreign corporation as your attorney-in-fact. Please address any
questions about this document directly to the court or the plaintiffs attorney, shown in the enclosed paper, not to the
Secretary of State's office.



Sincerely,




Mac Warner
Secretary of State
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 335 of 348 PageID #: 367

                                              CMLSUMMONS

                          THE cmcUIT COURT OF MARSHALL COUNTY, WEST VIRGINIA


                     TY COMMISSION; HANCOCK COUNTY COMMISSION; HARRISON COUNTY
                    LEWIS COUNTY COMMISSION; MARSHALL COUNTY COMMISSION; omo
       .lUU"~.;;"f)Dl j
                  OMMISSION; TYLER COUNTY COMMISSION; and WETZEL COUNTY COMMISSION
                      Plaintiffs

  v.
                                         CIVIL ACTION NO. 17-C-248, 249, 250, 251 , 252, 253, 254, 255 (H)

  PURDUE PHARMA L.P., PURDUE PHARMA INC., THE PURDUE FREDERICK COMPANY, INC.,
  MARK RADCLIFFE, MARK ROSS, PATTY CARNES, et al.
               Defendants


  IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby Summoned and required to serve upon

  CLAYTON J . FITZSIMMONS, C/O FITZSIMMONS LAW FIRM PLLC, whose address is 1609

  W ARWOOD AVENUE, WHEELING, WV 26003 an ANSWER including any related counterclaim you may

  have to the complaint filed against you in the above styled civil action, a true copy of which is herewith delivered

  to you. You are required to serve your answer within 20 days after service of this summons upon you, exclusive of

  the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the

  complaint and you will be thereafter barred from asserting in another action any claim you may have which must be

  asserted by counterclaim in the above styled civil action.




          Q4 ~             N~;f     /J v.
     -+I 1~ ~ o{;~~ -es
 sc6ft JAMES FEATHERS, D.P.M.
1128 WASHINGTON GARDEN CIRCLE
     WASHINGTON, WV 26181
 •
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 336 of 348 PageID #: 368




Secretary of State
Bldg. 1, Suite 157-K                                 Mac Warner                               Phone:        304-558-8000
1900 Kanawha Blvd . East                           Secretary of State                        Toll-free:     877-826-2954
Charleston, WV 25305-ono                         State Of West Virginia                         Web:      www.wvsos.com




Wednesday, December 27, 2017


Marshall County Circuit Court
600 7th Street
Moundsville, WV 26041-2129




RE: 17·C-248 - KROGER LIMITED PARTNERSHIP II



We are returning the enclosed legal documents for the following reasons:



     See attached print out. If this is the organization on which you want service, please place the correct name on the
     documents and return to our office. You must include the correct ending such as: LLC, Limited Liability Company,
     Corp, Corporation, Inc., Incorporation, Ltd., etc.

     We have no listing for the defendant, please provide an out-of-state address in which our office can serve.




Kimberly Hill
Business & Licensing Service of Process Specialist
                                         PARTNERS~
           Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 337 of 348 PageID #: 369
Organization KROGER LIMITED
Control#:        0                               ~
 OrgType    Domestic/Fol'8ign   Profit/NonPr   State/Prov   Total Cap.Stock      ParVal    Etfectlve Date    Tenn. Date   Tenn. Reason

   LP                F               p            OH                                           11/19/1997

 Principal Office Address

 1014 VINE STREET
 CINCINNATI
 OH     45202            USA


 Agent of Process

 CORPORATION SERVICE COMPANY
 209 WEST WASHINGTON STREET
 CHARLESTON
 WV     25302


 OBA_ __
 Name                                                                         Effective Date      Termination Date
 PEYTON'S SOUTHEASTERN                                                        12/15/1997
         Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 338 of 348 PageID #: 370
              Request for Legal Process to be Served by the West Virginia Secretary of State
Please serve the named defendant, Kroger Limited Partnership I1                            in the attached matter according to
the provision of law cited below. The fee of $20 per defendant required by W. Va. Code §59- 1-2 is attached ($30 if defendant is
out of U.S.). Check all applicable:

0      §21A-5-17c      Service on non-resident employer & others liable for unemployment compensation payments

D §29-19-14            Service on professional fund raising counsel, nonresident charitable organizations or professional solicitors
                       soliciting contributions from people in this State

D   §31 D-5-504 &      Service on authorized domestic corporation
    §56-3-13

[!] §3 I D-15-15 I 0   Service on authorized fo reign corporation

D   §3 I D-1 5-15 I0   Service on unauthorized foreign corporation

D   §318- 1-111 &      Service on authorized domestic or foreign limited liability company
    §318-9-906

D §33-4- 12            Service on licensed insurer

D   §33-4-13 &         Service on unlicensed or unauthorized foreign insurer
    §33-2-22

D   §38- IA-7 &        Service on non-resident trustee of a security trust
    §38-1 A-8

D   §46A-2-137         Service on certain nonresidents under WV Consumer Credit and Protection Act

D   §47-9-4            Service on authorized domestic or foreign limited partnership formed under §47-9, or limited liability
                       partnership (LLP) formed under §478-10 (see also §56-3-13a, §478-9-6)

o §47-9-4              Service on unauthorized foreign limited partnership or LLP

o §56-3-31             Service on nonresident motor vehicle operator involved in an accident in this state, or on his/her insurer

o §56-3-33(a)          Service on individual under the long-arm statute because the individual is:
                        O   (I) Transacting business in this state

                        0   (2) Contracting to supply services or things in this State

                        0   (3) Causing tortious injury in this state by act or omission (see §56-3-33(4) for description of causing tortious
                                injury)

                       O    (4) Non-support of minor children (pursuant to Lozinski v. Lozinski)

                        0   (5) Causing injury in this State by breach of warranty

                       O    (6) Having interest in, using or possessing real property in this State

                        O   (7) Contracting to insure person, property or risk located in WV at the time of contracting

D   §38-5A-5           Service of suggestee execution as provided for in §38-5A


Form   sr.s                 Secretary of State, Bldg I, Rm , I S7K. 1900 Kanawha Blvd, E, Charleston, WV 25305-0770
 Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 339 of 348 PageID #: 371


 CLAYTON J. FITZSIMMONS                                                                        WV: (304) 277-1700
      1609 Warwood Avenue                                                                      OH: {740) 695-1702
Wheeling, Wcsr Virgini.a 26003·71 10                                                           To11' (866) 206-7077
      Fiu.simmonsFirm.com                                                                      Fax: (304) 277-1705


                                              fITZSiMMO~S
                                                                                                           -....
                                                                     0



                                                     L.AW        F       IRM


                                                       January 3, 2018


    Mr. Joseph Rucki                                                                                            1

    Clerk of the Circuit Court                                                                              , .......,
    Marshall County Courthouse
    600 Seventh Street
    Moundsville WV 26041

                          Re:          Brooke County Commission, et al. v. Pnrdu e Pharma L.P., et al.
                                       Civil Action No. 17-C-248 et al.

    Dear Mr. Rucki:

               Enclosed herewith please find the fo llowing with regard to the above-styled action:

               (1)      A Civil Case Information Statement;

            (2)         One (l) Form SP-5, "Request for Legal Process to be served by the W. Va. Secretary
    of State";

               (3)     The three (3) copies of a Complaint;

               (4)      A check made payable to your order in the amount of $25.00 for service of process.

           Will you please issue a Summons and have a copy of the Complaint and Summons served
    upon the Defendant as set forth on the enclosed Civil Case Information Statement.

               Thanking you, I remain
                                                                Very truly yours,

                                                                FITZSfMMONS LAW FIRM PLLC




    CJF/klc
    Enclosures


    { 00252798- 1}                 WEST VIRGINIA         •   OH I O      •   PENNSYLVANIA
       Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 340 of 348 PageID #: 372

            Request for Legal Process to be Served by the West Virginia Secretary of State
Please serve the named defendant, K roger Limited Partnership II                           in the attached matter according to
the provision of law cited below. The fee of $20 per defendant required by W. Va. Code §59-1-2 is attached ($30 if defendant is
out of U.S.). Check all applicable:

0 §21A-5- 17c          Service on non-resident employer & others liable for unemployment compensation payments

D   §29- 19- 14        Service on professional fund raising counsel, nonresident charitable organizations or professional solicitors
                       soliciting contributions from people in this State

D   §3 1D-5-504 &      Service on authorized domestic corporation
    §56-3- I3

D   §3 10- 15- 15 10   Service on authorized foreign corporation

D   §310-1 5-15 1o     Service on unauthorized foreign corporation

[!] §3 I B- 1- 11I &   Service on authorized domestic or foreign li mited liability company
    §31B-9-906

D   §33-4-12           Service on licensed insure r

D   §33-4-13 &         Service on unlicensed or unauthorized foreign insurer
    §33-2-22

D   §38- IA-7 &        Service on non-resident trustee of a security trust
    §38- l A-8

D   §46A-2-1 37        Service on certain nonresidents under WV Consumer Credit and Protection Act

D   §47-9-4            Service on authorized domestic or fo reign limited partnership formed under §47-9, or limited liability
                       partnership (LLP) formed under §478- 10 (see a lso §56-3-J3a, §478-9-6)

o §47-9-4              Service on unauthorized foreign limited partnership o r LLP

D §56-3-31             Service on nonresident motor vehicle operator involved in an accident in this state, or on his/her insurer

o §56-3-33(a)          Service on ind ividual under the long-arm statute because the individual is:

                        D   (I) Transacting business in this state

                       D    (2) Contracting to supply services or things in this State

                        D   (3) Causing tortious injury in this state by act or omission (see §56-3-33(4) for description of causing tortious
                                injury)

                        D (4) Non-support ofminor children (pursuant to Lozinski v. Lozinski )
                        D    (5) Causing inj ury in this State by breach of warranty

                        D    (6) Having interest in, using or possessing real property in this S tate

                        D    (7) Contracting to insure person, property or risk located in WY at the time of contracting

D §38-5A-5             Service of suggestee execution as provided for in §38-SA



Form SP-5                   Secretary of State , Bldg l , Rm , 157K, 1900 Kanawha Blvd, E, C harleston, WV 25305-0770                       1105
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 341 of 348 PageID #: 373

                       CIVIL CASE INFORMATION STATEMENT
                                    CMLCASES
                                    (Other than Domestic Relations)

                        In the Circuit Court of Marshall County, West Virginia



l.     CASE STYLE:                                  Civil Action No. 17-C-248
                                                                                                ....
                                                                                                 ..
Plaintiff(s)                                        Civi l Action No. 17-C-249                 ·-  .l
                                                                                               \

BROOKE COUNTY COMMISSION;                           Civil Action No. 17-C-250
                                                                                               ..
HANCOCK COUNTY COMMISSION;
HARRISON COUNTY COMMISSION;                         Civil Action No. I 7-C-25 I                 ..,
LEWIS COUNTY COMMISSION;
MARSHALL COUNTY COMMISSION;                         Civil Action No. I 7-C-252                 • ."1

OHIO COUNTY COMM ISS ION;                                                                      r-v
                                                    Civi l Action No. l 7-C-253               co
TYLER COUNTY COMMI SSION; and
WETZEL COUNTY COMMISSION
                                                    Civil Action No. I 7-C-254
vs.
                                                    Civil Action No. I7-C-255




                                                    Days to
Defendant(s)                                        Answer                  Type of Service


KROGER LIMITED PARTNERSH IP IT                      30                       W.Va. Secretary of State
1014 Vine Street
Cincinnati, OH 45202
(Principal Place ofBusiness)




1 copies of complaint enclosed/attached.
Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 342 of 348 PageID #: 374

Plaintiff:     Brooke County Commission. et al.          Case Number: 17-C-248 et al.
Defendant:     Purdue Pharma L.P., et al.

II.    TYPE OF CASE:

       ~General Civil                                   0Adoption

       0   Mass Litigation                              0   Administrative Agency Appeal
           (As defined in T.C.R. Ru le XIX (c))
                                                        0   Civil Appeal from Magistrate Court
                   Asbestos
                   Carpal Tunnel Syndrome               0   Miscellaneous Civil Petition
                   Diet Drugs
                   Environmental                        0   Mental Hygiene
                   Industrial Hearing Loss
                   Silicone Implants                    0   Guardianship
                   Other: _ _ __
                                                        0   Medical Ma lpractice
       0 Habeas Corpus/Other Extraordinary Writ
       D Other: _ _ _ _ _ _ _ _ _ __

111.   JURY DEMAND:             ~Yes

       CASE WILL BE READY FOR TRIAL BY (MONTH/YEAR):                    - -- -I- - - -


IV.    DO YOU OR ANY OF YOUR CLIENTS OR WITNESSES IN THIS CASE REQUIRE
       SPECIAL ACCOMMODATIONS DUE TO A DISABILITY?                      0  Yes [8j No
            IF YES, PLEASE SPECIFY:
                  Wheelchair accessible hearing room and other faci lities
                  Interpreter or other auxiliary aid for the hearing impaired
                  Reader or other auxiliary aid for the visually impaired
                  Spokesperson or other auxiliary aid for the speech impaired
                  Other:
                         - - - - -- - - - - - - -- - -- - --
Attorney Name: Clayton J. Fitzsimmons             Representing:
Firm:          Fitzsimmons Law Firm PLLC          ~ Plaintiffs  0 Defendant
Address:       1609 Warwood Avenue                0 Cross-Complainant 0Cross-Defendant
               Wheeling, WV 26003
Telephone:     (304) 277-1700

Dated: January 3, 2018

D      Proceeding Without an Attorney
    Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 343 of 348 PageID #: 375

Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305                                                               ..... ,.. .




                                                                                                   Mac Warner
                                                                                                   Secretary of Sta1a
                                                                                                 state of West Virginie
                                                                                             Phone: 304-558-6000
                                                                                                    886-767-8683
                                                                                                  Visit us online:
JOSEPH M. RUCKI                                                                                  www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 208703
             Defendant: JANSSEN PHARMACEUTICALS, INC.                        County: Marshall
                        1125 TRENTON-HARBOURTON
                        ROAD                                            Civil Action: 17-C-248
                        TITUSVILLE, NJ 08560 US                   Certified Number: 92148901125134100002213340
                                                                       Service Date: 1/8/2018


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Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
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questions about this document directly to the court or the plaintiffs attorney, shown in the enclosed paper, not to the
Secretary of State's office.



Sincerely,




Mac Warner
Secretary of State
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 344 of 348 PageID #: 376

Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston , WV 25305
                                                                                  .. .......
                                                                                               -,


                                                                                                         Mac Warner
                                                                                                       Secretary d state
                                                                                                      State of West Virginia
                                                                                                    Phone: 304-558-6000
                                                                                                             886-767-8683
                                                                                                          Visit us online:
JOSEPH M. RUCKI                                                                                           www_wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 208701
             Defendant: THE PURDUE FREDERICK                                 County: Marshall
                        COMPANY, INC.
                        ONE STAM FORD FORUM                             Civil Action: 17-C-248
                        STAMFORD, CT 06901 US                     Certified Number: 92148901125134100002213333
                                                                       Service Date: 1/8/2018


I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in the name and on behalf of your unauthorized foreign corporation.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process in the name and on behalf of your unauthorized foreign corporation as your attorney-in-fact. Please address any
questions about this document directly to the court or the plaintfff's attorney, shown in the enclosed paper, not to the
Secretary of State's office.



Sincerely,




Mac Warner
Secretary of State
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 345 of 348 PageID #: 377

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Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston. WV 25305




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JOSEPH M. RUCKI                                                                                    WW#.WVSOS.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 208707
             Defendant: CEPHALON, INC.                                       County: Marshall
                        41 MOORES ROAD
                        FRAZER, PA 19355 US                             Civil Action : 17-C-248
                                                                  Certified Number: 92148901125134100002213371
                                                                       Service Date: 1/8/2018


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Mac Warner
Secretary of State
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 346 of 348 PageID #: 378

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                                                                                                State of West Virginie
                                                                                              Phone: 304-558·6000
                                                                                                       886-767·8683
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JOSEPH M. RUCKI                                                                                     www.wwos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 208705
             Defendant: ACTAVISPLC                                           County: Marshall
                       MORRIS CORPORATE CENTER Ill
                       400 INTERFACE PARKWAY                            Civil Action : 17-C-248
                       PARSIPPANY, NJ 07054 US                    Certified Number: 921 48901125134100002213364
                                                                       Service Date: 1/8/2018


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Secretary of State
  Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 347 of 348 PageID #: 379

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Charleston, WV 25305




                                                                                                  Mac Warner
                                                                                                Secretary of State
                                                                                              state of West Virginia
                                                                                            Phone: 304-558-6000
                                                                                                     886-767-8683
                                                                                                  Visit us online:
JOSEPH M. RUCKI                                                                                    www.wvsos.com
Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 208704
             Defendant: PURDUE PHARMA INC.                                   County: Marshall
                        ONE STAMFORD FORUM
                        STAMFORD, CT 06901 US                           Civil Action : 17-C-248
                                                                  Certified Number: 92148901125134100002213357
                                                                       Service Date: 1/8/2018


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Secretary of State's office.



Sincerely,




Mac Warner
Secretary of State
   Case 5:18-cv-00009-JPB Document 1-1 Filed 01/18/18 Page 348 of 348 PageID #: 380

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Marshall County Courthouse
600 7th Street
Moundsville, WV 26041-2129




   Control Number: 208814
             Defendant: KROGER LIMITED PARTNERSHIP II                            County: Marshall
                        1014 VINE STREET
                        CINCINNATI, OH 45202 US                             Civil Action: 17-C-248
                                                                  Certified Number: 92148901125134100002213982
                                                                       Service Date: 1/9/2018


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Mac Warner
Secretary of State
